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             EXHIBIT A
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                                                                                                       IHOP
                                                                                                       mOP #1385
                                                                                                            #1385


                                              FRANCfflSEAGREEMENT
                                              FRANCHISE AGREEMENT

                                                                                                           "el
             /WST.S£jEfaWCHIS
                            CHISE E AGREEMENT
                                    AGR^MENT ("Agreement")
                                                     ("Agreement") isis made
                                                                        made and
                                                                             andentered into
                                                                                         into as
                                                                                              as of this ^.Cfr'_ day
                                                                                                 ofthis           day
       of CI'
      of     C^'^^4^^^ , ,2005,(the         (the"Effective
                                                "EffectiveDate") bybyand
                                                                      andbetween
                                                                           betweenINTERNATIONAL
                                                                                    INTERNATIONALHOUSE   HOUSEOF  OF
       PANCAKES,INC. (hereinafter
      PANCAKES,             (hereinafter referred
                                         referredto
                                                  toas
                                                    as"Franchisor")   and1385
                                                       "Franchisor")and    1385-- TYLER,
                                                                                  TYLER,INC.,
                                                                                          INC.,aa Texas
                                                                                                  Texascorporation
                                                                                                          corporation
      (hereinafter referred
      (hereinafter referred to
                             toas
                               as"Franchisee")
                                  "Franchisee") with
                                                 withreference  tothe
                                                      reference to thefollowing
                                                                       following facts:
                                                                                  facts:
              A.
              A.      Franchisorhas
                     Franchisor hasdeveloped
                                    developed and
                                              andis
                                                  iscontinuing
                                                    continuingto develop certain
                                                               todevelop certainSystems
                                                                                 Systemsfor
                                                                                          foroperating
                                                                                             operatingIHOP
                                                                                                       IHOP
      Restaurants underthe
      Restaurants under thenames
                           names "MOP,"
                                  "mOP."'"Th
                                          "TheeInternational
                                                Intemational House
                                                             House of
                                                                   ofPancakes"
                                                                      Pancakes"and
                                                                                 and"International  House of
                                                                                     "International House of
      Pancakes Restaurant" which
      Pancakes             which feature the
                                          the sale
                                              sale of
                                                   of pancakes and
                                                                 and various other food
                                                                                     food products,
                                                                                           products, and  which,
                                                                                                      and which,
      conductedin
      conducted m accordance
                   accordance with
                              withthe
                                   theprovisions
                                      provisions of
                                                  ofthis
                                                    this Agreement andandFranchisor's
                                                                          Franchisor's Operations  Bulletins, are
                                                                                       Operations Bulletins,  are
      designedto
      designed toenable
                 enablesuch
                        suchbusinesses
                            businesses to compete more
                                       tocompete   moreeffectively
                                                         effectively in
                                                                     intheir
                                                                        theirrespective
                                                                             respective marketplaces;
                                                                                        marketplaces;
             B.
             B.     Franchisor now
                    Franchisor nowowns
                                   owns or
                                         orlicenses
                                           licenses and
                                                    andhereafter
                                                        hereafter will develop,
                                                                       develop, license
                                                                                license or
                                                                                        or purchase
                                                                                           purchase valuable
                                                                                                    valuable
      Trademarksused
      Trademarks usedin
                     inconnection
                        connectionwith
                                  withthe
                                       theoperation ofIHOP
                                          operationof MOPRestaurants;
                                                            Restaurants;and
                                                                          and
              C.
              C.                          to obtain
                       Franchisee desires to obtain a franchise to
                                                                to use
                                                                   use the
                                                                       the Systems and
                                                                                     and the
                                                                                          the Trademarks
                                                                                              Trademarks associated
                                                                                                          associated
      therewithin
      therewith inconnection
                   connectionwith
                              withthe
                                  theoperation
                                      operationof
                                                ofone
                                                   oneFranchised
                                                       FraachisedRestaurant
                                                                   Restaurantata specificFranchisedLocation,
                                                                              at a specific Franchised Location,and
                                                                                                                 and
      Franchisorisiswilling
      Franchisor    willingto
                            togrant
                               grantsaid
                                     saidfranchise
                                          franchiseupon
                                                    uponthe
                                                          theterms
                                                              tennsand
                                                                    andsubject
                                                                         subjectto   theconditions
                                                                                  tothe  conditions set
                                                                                                    setforth below.
                                                                                                        forthbelow.
      Franchiseehas
      Franchisee  hasexecuted
                      executedthis
                               this Agreement pursuant
                                               pursuanttotothe
                                                            thefollowing
                                                               following(check
                                                                          (checkone):
                                                                                  one):
                              [[ ]     AreaDevelopment
                                       Area DevelopmentAgreement,dated
                                                                  dated
                              [[ ]     Multi-Store
                                       Multi-Store Development
                                                   DevelopmentAgreement,dated
                                                                        dated
                              [[ ]     Novation
                                       NovationProgram
                              [[ ]     Single
                                       Single Store
                                              Store Development
                                                    Development Program
                                                                  Program
                               [ -]I   Purchase Program
                                                Program
                               f[ ]    Renewal or
                                                or extension
                                                   extension of
                                                             of an  existing franchise
                                                                anexisting   franchise
                               [ ]     Assignment ofofan existing franchise
                                                      anexisting  franchise
                              [X]      Other

              WHEREFORE,
              WHEREFORE, IT
                         IT IS
                            IS AGREED:
                               AGREED:

                                                        II
                                               GRANT OF
                                                     OFFRANCHISE
                                                         FRANCHISE

              1.01
              1.01 Use
                   Use of S.
                          S)stems.
                             stems.

               Franchisor hereby
               Franchisor hereby grants
                                 grants to  Franchisee and
                                        to Franchisee  and Franchisee
                                                           Franchisee hereby
                                                                        hereby accepts
                                                                               accepts aa franchise
                                                                                          franchise to
                                                                                                    to operate
                                                                                                       operate one
                                                                                                                one
      Franchised Restaurant at
      Franchised             atthe
                               the Franchised
                                   Franchised Location
                                               Location during
                                                        during the
                                                               theTerm
                                                                   Tenn hereof
                                                                         hereofin
                                                                                in accordance with
                                                                                               with the  provisions
                                                                                                     the provisions
      of this Agreement and
      ofthis             andany
                             anyancillary
                                 ancillary documents pertaining hereto.
                                           documents pertaining  hereto.
              1.02 Certain Definitions
              1.02         Definitions

      "Affiliate" when
      "Affiliate" whenused
                        usedherein
                             hereinin
                                    inconnection with
                                                 withFranchisor or
                                                                orFranchisee,
                                                                   Franchisee,includes each
                                                                                         eachBusiness Entity which
      directly, or
      directly, orindirectly,          one or
                   indirectly, through one or more
                                              more intermediaries,
                                                   intermediaries, controls, is controlled by,or
                                                                   controls, is controlled by, or is under common
                                                                                                  is under common
      control with
      control withFranchisor
                    FranchisorororFranchisee,as
                                              asapplicable. Without
                                                            Withoutlimiting
                                                                      limitingthe
                                                                               theforegoing,the  term
                                                                                             theterm"Franchisee-
                                                                                                       "Franchisee-
IHOPOC3 OS
IHOPOC30S
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     Affiliate"includesanyBusine
                 ssEntitymorethan49%ofwhosestock,membersMp^resJs, ^artne^hip
     Affiliate" includes any Business Entity more than 49% of whose stock, membership interests, Partnership
     ^^X^   ^^ ^p S^;^:Eq^
     Rights,or other equity ownership interests (collectively "Equity") or voting control,is held by person(s) or
     Ss^L^o          yjuoSyZe7eTan7hoTd
     Business Entities who,jointly or severally,hold more than 49% of the Equity
                                                                          Equity or         control of Franchisee.
                                                                                  or voting control    Franchisee.


     "ApplicableLaw"meansandincludesallapplic
     ^Sns^rdmanc"es;poUaes-andpjoc^^^^ ablecommonlaw^d^appMl^^^
     "Applicable Law" means and includes all applicable common law and all applicable statutes, laws,rules,
     regulations,ordinances,policies and procedures established by any Governmental Authority,which governs
     ^Zc^^Z^
     the construction or operation of the Franchised Restaurant, including all building codes and local zoning
     p^vTsi'^s7and±alHa"t^"disabi1ky, foodanddruglawsandreflations,asm eff^^^
     provisions,and all labor,disability,food and drug laws and regulations,as in effect on the Effective Date,and
     asmay
     as maybebeamended
                amendedfrom
                          fromtime  totime.
                               timeto  time.
     "Business Entity" means any limited liability company or P"tnershiP' gener^,PartaersluP or Hmited
     "Business Entity" means any limited liability company or partnership, general partnership or limited
     partnership7aand
     partnership,  nd'any trust,association,
                      any trust, association,corporation
                                             corporationor otherentity
                                                         orother       which is not an individual.
                                                                 entitywhich is
                                                                              notanindividual.
     "ContinuingRoyalty"
     "Continuing  Royalty"shall
                          shallhave
                                havethe
                                    themeani  nggiven
                                        meaning  giventhat
                                                      thatterm
                                                           terminm Section
                                                                   Section6.01  below.
                                                                           6.01below.
     "FranchisedArea"
     "Franchised Area"shall
                      shallmean
                            meanthat
                                  thatgeographic
                                      geographicarea
                                                 areawhich  iseither
                                                     which is eitherdescribed
                                                                     describedin,
                                                                              in.or
                                                                                 oroutlined
                                                                                    outlinedon
                                                                                            onaa map
                                                                                                 map attached
                                                                                                     attached
     hereto as,Exhibitit "A".
     hereto as. Exhib    "A".

     "FranchisedLocation"
     "Franchised Location"shall
                          shallhave
                                havethe
                                    themeaning
                                        meaninggiven thatterm
                                               giventhat termin
                                                              inSection
                                                                Section2.01,
                                                                        2.01,
     "FranchisedRestaurant"
     "Franchised Restaurant"means
                            meansthe
                                  theIHOP
                                     MOPRestaurant
                                          Restaurantfranchised
                                                    franchisedpursuant
                                                               pursuantto
                                                                       tothis Agreement.
                                                                          thisAgreem ent.
     "GovernmentalAuthority"
     "Governmental Authority"means
                              meansand
                                    andincludes
                                        includesall
                                                allFederal,
                                                    Federal,state,
                                                             state,county,
                                                                   county,munic
                                                                          municipal
                                                                                ipalor
                                                                                    orlocal
                                                                                       localgovernmental
                                                                                            governmentalor
     quasi-govemmental agencies,                                                                         or
     quasi-governmental          commissions and authorities.
                        agencies,commissions andauthorities.
     "GrossSales",
     "Gross Sales",as asused
                        usedininthis
                                 thisAgreement,
                                      Agreement,shall
                                                    shallmean
                                                          tneanthe
                                                                 thetotal
                                                                     totalrevenues
                                                                          revenuesderived
                                                                                    derivedby   Franchisee
                                                                                            byFranch     iseeinm and  from the
                                                                                                                 and_fro
     F^nco  h^Res     tour^t  ;whet  herf
     Franchised Restaurant, whether for       cash sales
                                                    sales of
                                                           of food  and other
                                                              food and   other merchandise
                                                                               merchandise or otherwise,or charge sales
                                                                                                                         m^he
     ^oTo^re^         uerfrom"an
                                           orcash
                                      y'sour                                                 orothe   lwise'   orch"  ges£
     thereof, or revenues    from any        ce7ris
                                        source       mg out
                                                arising  out of the operation
                                                                      operation of the
                                                                                    the Franchised Restaurant,deducting
                                                                                        Fran^^ ^^^^are separately stated
     SLom;       (a)'al7r efunds
     therefrom:(a)all refunds'aird     aliowan ces, -i7iny;
                                 and allowances,if any;(b)  (b) any
                                                                 any sales or excise taxes
                                                                      sdes    excise
                                                                                     ^whlc which
                                                                                            hare_   sePar             ated and
                                                                                                                           and
     SF      ranvd   ;i^oUe   ~cts"f romcu
     which Franchisee collects from customersst^^ananddpays
                                                                          or
                                                                                                            atelyi  t
                                                             \o^to any federal,state or local taxing authority; and(c)any
                                                          pays
     ^oun;sudepos°Hed7nany"veDding'mfl^^^^^
     amounts deposited in any vending machines or pay telephones which are located in or about the Franchised
     ^^^aiTven
     Restaurant,    d'ing
                if said    'macmachines
                        vending  hi^'and/o    r pay
                                          and/or paytelephones
                                                    telephonesare
                                                               areleased
                                                                   leasedand
                                                                          andnot
                                                                               notowned
                                                                                  ownedbyby Franch
                                                                                            Franchisee,
                                                                                                   isee,inm which
                                                                                                            which
     case Gross Sales shall include
     case GTOSS Sales       include only
                                    only the
                                         thecommissions  Franchisee
                                             commissions Franch      receives
                                                                isee receives Itherefrom.

     "MOPRestaurant"
     "IHOP  Restaurant" means
                        meansaa restaurant
                                restaurantoperated
                                           operated under
                                                    underFranchisor's
                                                          Franchisor's Tradem
                                                                       Trademarks
                                                                               arks and
                                                                                    andin
                                                                                        inaccordance with the
                                                                                          accordancewith
     FTanchisor'TSystems
                  systeinsand specializingin                                                              the
     Franchisor's         and specializing inthe
                                             thesale
                                                 saleof
                                                     ofpancakesandotherauthorizedmenu
                                                        pancakes and other authorized menu  items.       items.
     "InidalTerm"
     "Initial Term" shall
                    shallhave
                          havethe
                              themeaning
                                  meaninggiven
                                         giventhat
                                               thatterm
                                                   termin
                                                        inSection
                                                          Section3.01.
                                                                  3.01.
     "LeasingAffiliate"meanstheAffiliateofFranchisorwhichistheFranchisee'ssublessorfortheFranchised
     "Leasing Affiliate" means the Affiliate of Franchisor which is the Franchisee's sublessor for the Franchised
     Location,
     Location,if applicable.
                 applicable.

     "LocalAdvertising
     "Local Advertising Fee"
                        Fee"shall
                             shallhave
                                  havethe
                                       themeani
                                          meaning
                                               nggiven
                                                  giventhat
                                                       thatterm
                                                            tennin
                                                                inSection
                                                                   Section7.02.
                                                                          7.02.
     "Majority Owner" means anyownerwhich,directly orindirectly, owns51% ormoreoftheStockof
     "Majority Owner" means any owner which, directly or indirectly, owns 51% or more of the Stock of
     Franchisee.
     Franchisee.

     "MasterLease,"
     "Master Lease. " ififapplicable,
                          applicable, means
                                        meansthe
                                              thelease
                                                 leasefor
                                                        forthe
                                                           theFra nchised Location
                                                               Franchised Location under
                                                                                     UDdCTwhich
                                                                                             ^hi(:hFFranchisor  or its
                                                                                                     rancMsor^r^ts
     Leasing Affiliate
     Leasing AJ[miate"isrth  e lessee,
                         is the lessee, and pursuant
                                            pursuant to
                                                     to which Franchisor
                                                              Franchisor or
                                                                         or its
                                                                            its Leasing Affiliate
                                                                                Leasing Affiliat e has
                                                                                                   has'.subleased the
     Franchised Location
     Franchised Location to Franchisee.
                               Franchisee.

IHOPOC305
IHOPOC305                                                           2
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      "NationalAdvertising
      "National AdvertisingFee"
                           Fee"shall
                                shallhave
                                     havethe
                                          themeaning
                                             meaninggiven
                                                     giventhat termin
                                                          thatterm    Section7.01.
                                                                   inSection 7.01.
      "New MasterLease"
      "New       Lease"shall
                        shallhave
                             havethe
                                  themeaning
                                     meaning given
                                             givensuch
                                                   suchterm   Section 3.07(a).
                                                            inSection
                                                       termin         3.07(a).
      "Novation Program"
      "Novation Program" means
                           means the
                                   theFranchisor's
                                       Franchisor's program
                                                    program pursuant    which Franchisee
                                                                     to which
                                                            pursuant to       Franchisee has
                                                                                         hassubstituted
                                                                                             substituted this
                                                                                                         this
                foraa preexisting
      Agreement for               franchiseagreement.
                      preexisting franchise agreement.
      "OperationsBulletins"
      "Operations  Bulletins" shall
                                shall mean
                                      meanthetheFranchisor's
                                                Franchisor's Operations
                                                              OperationsManual,
                                                                           Manual, and    a11bulletins,
                                                                                    and all  b"lletms'  notic^s', and
                                                                                                        notices,  an^
      supplementsthereto,
      supplements  thereto,and
                            andall
                                 allancillary
                                    ancillarymanuals,
                                              manuals,specifications
                                                      specificationsandmaterials,asthesamemaybeamendedand
                                                                     and materials,as the same may  be amended
                                                                                                                  and
              from time
      revised from  time to
                         to time.
                            time.

      "Owner" shall
      "Owner" shallmean
                    meana shareholder,
                          shareholder. general
                                       generalpartner,
                                               partner, limited partner, member,
                                                        limited partner, member, or
                                                                                 orother
                                                                                    otherowner
                                                                                         ownerof
                                                                                               ofthe
                                                                                                 theBusiness
                                                                                                     Business
      Entity.
      Entity.

      "Partnership"shall
      "Partnership" shallmean
                         meanand
                              andinclude
                                 includeany generalpartnership
                                         anygeneral            andlimited
                                                    partnershipand limitedpartnership.
                                                                          partnership.
      "PartnershipRight"
      "Partnership  Right"shall
                           shallmean
                                meanthe
                                     thevoting
                                        votingpower,
                                               power,property,
                                                     property, profits
                                                               profitsor
                                                                       orlosses,
                                                                         losses,or
                                                                                 orpartnership interestsof
                                                                                   partnershipinterests of aa
      Partnership,
      Partnership, or any of them.
                   or any ofthem.

      "PurchaseProgram"
      "Purchase  Program"means
                         meansFranchisor's
                               Franchisor'sprogram
                                           programpursuant
                                                   pursuantto
                                                            towhich
                                                               whichthe
                                                                    theFranchisee  assumesthe
                                                                        Franchiseeassumes   theownership,
                                                                                                ownership,
      operation andmanagement
      operation and managementof
                              ofan
                                 anIHOPRestaurantwhichwasdevelopedand/oroperatedbyFranchisoror
                                   IHOP  Restaurant which was developed and/or operated by Franchisor orits
                                                                                                        its
      Affiliate priorto
      Affiliate prior tothe executionhereof.
                        theexecution hereof.
      "Renewal Term" shall have
                           have the
                                the meaning given thatterm
                                            given that tennin
                                                           in Section
                                                              Section 3.02
                                                                      3. 02or
                                                                           or 3.03
                                                                              3.03 as
                                                                                   asthe context requires.
                                                                                      thecontext requires.
      "SingleStore
      "Single StoreDevelopment
                     DevelopmentProgram"
                                   Program"means
                                            meansFranchisor's
                                                   Franchisor'sprogram
                                                                programpursuant
                                                                         pursuanttotowhich
                                                                                       whichFranchisee
                                                                                             Fimichiseeleases
                                                                                                         leasesor
                                                                                                                or
      purchases the
      purchases   theFranchised
                      FranchisedLocation
                                 Location and
                                          andeither
                                              either converts
                                                     converts an existing restaurant
                                                              anexisting              into an
                                                                          restaurant, ulto"lMop^restauTlt_^ror
                                                                                              IHOP  restaurant
      develops," constructs
      develops,  constmctsand
                            andequips
                               equipsan
                                      anIHOP
                                        MOPRestaurant
                                              Restaurantthereat inaccordance
                                                         thereatin accordancewith
                                                                               withFranchisor's
                                                                                    Franchisor'scurrent
                                                                                                currentstandards
                                                                                                        standards
      and
      andspecifications.
          specifications.
      "Stock"shall
      "Stock" shallmean
                    meanall
                          allcorporate shares
                                        shares(whether
                                               (whethercommon,
                                                          common, preferred
                                                                    preferredor orotherwise)
                                                                                  otherwise)in
                                                                                             inthe
                                                                                                thecase
                                                                                                   caseof
                                                                                                        ofaa corporation,
                                                                                                             corporation,
      all membership
      all membership interests
                       interests in
                                  in the
                                     the case
                                          case of
                                               of aa limited
                                                     limited liability  company, aa partner's
                                                              liability company,      partner's Partnership Rights
                                                                                                Partnership   Rights in
                                                                                                                      in aa
      Partnership, and
      Partnership, andin
                       in all cases all
                          all cases all voting
                                        voting rights
                                               rights in
                                                       inthe Business Entity.
                                                         theBusiness    Entity.
       "Systems" means
       "Systems"  means the
                         the systems,
                             systems, products,
                                      products, methods,
                                                methods, techniques  Mid other
                                                          techniques and  other Trade
                                                                                Trade Secrets
                                                                                      Secrets designated
                                                                                              designated by
                                                                                                         by
      Franchisorfor
      Franchisor forFranchisee's
                    Franchisee'suse
                                 usein
                                    inconnection
                                       connectionwith theFranchised
                                                  withthe  FranchisedRestaurant.
                                                                     Restaurant.
      "TableAllowances"
      "Table Allowances"shall
                           shallmean
                                 meanall
                                      allrebates,allowances,
                                                 allowances,discounts
                                                             discountsand
                                                                        andother
                                                                            othermonetary
                                                                                  monetarycompensation
                                                                                            compensationreceived
                                                                                                             received
      byF'ranchi
      by         soror
         Franchisor orits
                       itsAffiliate
                          Affiliateon
                                    onaccount
                                       accountof
                                              ofthepurchaseoffooditems suppliesorservicesby
                                                 the purchase of food items, supplies or services by  all
                                                                                                      all franchisees
                                                                                                          franclusees
      m consideration
      in considerationfor
                       forthe
                           theopen
                               opendisplay
                                     displayby
                                            byall
                                               allfranchisees
                                                   franchiseesof
                                                               ofaa supplier's
                                                                    supplier'sproduct,
                                                                               product,trademark
                                                                                        trademarkor orlogo.
                                                                                                       logo. "Table
                                                                                                               "Table
      Allowances" shall
      Allowances"  shallnot
                         notinclude
                             inc'ludeany
                                     aayallowances
                                         allowancesgranted
                                                     grantedon
                                                             onaccount
                                                                accountofofpurchasesbylessthanall Franchisees.
                                                                            purchases  by less than all Franchisees.
      "Term" means
      "Term"   means and
                     and includes
                         includes the
                                  the Initial
                                      Inidal Term
                                              Term of
                                                   of this
                                                      this Agreement,
                                                           Agreement. and
                                                                      and any
                                                                          any and
                                                                              and all
                                                                                  all extensions
                                                                                      extensions and
                                                                                                 and renewals
                                                                                                     renewals
      thereof.
      thereof.

      "Trademarks" means
      "Trademarks"   meansthose
                           thosetrademarks,
                                 trademarks, service
                                              service marks,trade
                                                             tradenames,
                                                                   names,logotypes,
                                                                           logotypes, insignia,
                                                                                      insignia,labels,
                                                                                                labels,designs
                                                                                                       designsand
                                                                                                               and
      othercommercial
      other commercial symbols,
                        symbols, which
                                 whichFranchisor
                                        Franchisormay
                                                    mayfrom
                                                        fromtime   to time authorize or direct Franchisee
                                                              tuneto tuneauthorizeordirectFranchlseeto    to use in
                                                                                                             usein
                  withthe
      connection with theoperation
                          operationof
                                    ofthe
                                      theFranchised
                                          Franchised Restaurant,
                                                      Restaurant, and which  may include  the names "IHOP,"
                                                                  andwhichmayinclude thenames "IHOP'" The     "The
      InternationalHouse
      International Houseof
                          ofPancakes"
                            Pancakes"and
                                       and"International
                                           "InternationalHouse
                                                         Houseof   PancakessRestauran
                                                                ofPancake    Restaurant,"and the
                                                                                       t/'and thegoodwill
                                                                                                  goodwUlannexed
                                                                                                          annexed
      thereto.
      thereto.


IHOPOC3 05
IHOPOC305                                                         3
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      "TradeSecrets"
      "Trade  Secrets"means
                          meansthe
                                 theFranchisor's
                                     Franchisor'sSystems
                                                  Systemsand andsecret
                                                                  secretformulae,
                                                                         fonnulae,processes,
                                                                                    processes,ingredients,     and method
                                                                                                  ingredients^and   methodssof
                                                                                                                             of
           ^on7ncT
      operation,      udmgan
                 including      ymforma
                              any       tionconc
                                  information     ermngththe
                                              concerning    ebusme   ss,
                                                                business,         liabilities,
                                                                           assetsJi
                                                                           assets,  abilities, operations,
                                                                                               op^^^^^^^    affairs,customers,
      products, ;pians"or'?rospects
              sl plans or prospects of Franchisor
                                        Franchisor oror its Affiliate(s)
                                                        itsAffilia                   not been made
                                                                   te(s) which has not          Tde available to the public,
                                                                                                       avMlableto_^PUbuc;
      SnTa^rs  tudre s', reports,
      and all studies,   reports^records or
                                          or other documents
                                                   documents or     materials which contain,
                                                                 or materials         contain, or    are prepared on
                                                                                                 or are               the basis
                                                                                                                   on the basis

         anysuch
      of,any        non-publicinformation.
              suchnon-public      information.
      "WeeklyReportingPeriod"shallmeanMondaythroughSunday,orsuchother7 consecutivedayperiod
      "Weekly Reporting Period" shall mean Monday through Sunday,or such other 7 consecutive day period
                 byFranchisor
      designated by
      designated    Franchisorfrom
                              fromtime  totime.
                                   time to time.
                                                                   H
                              FRANCffiSEDLOCATION
                              FRANCHISED LOCATIONAND EXCLUSIVETERRITORY
                                                  ANDEXCLUSIVE TERRTTORY
               2.01      Franchised
                         Franchised Location.
                                        a ion.

              (a) Franchisor
              (a) Franchisorhereby
                             herebygrants
                                   grantsand
                                          andFranchisee
                                             Franchiseehereby
                                                        herebyaccepts
                                                              acceptsaa franchise
                                                                        franchiseto
                                                                                  tooperate
                                                                                    operateone Franchised
                                                                                            oneFranchis ed
      Restaurant at
      Restaurant atthe
                    thefollowing
                       following location
                                 location(hereinafter
                                          (hereinafter the "Franchised Location"):
                                                       the "Franchised Location"):
                                  115West
                                  115 WestSouthwest
                                            SouthwestLoop
                                                     Loop323
                                  Tyler,
                                  Tyler, Texas 75701
                                         Texas 75701

               (b) Franchisee
              (b)       Franchiseeacknowledges
                                    acknowledgesandandagrees
                                                        agreesthat
                                                               thatselection
                                                                    selectionof
                                                                              ofthe
                                                                                theFranchised
                                                                                    FranchisedLocation
                                                                                                Locationis   Franchisee's
                                                                                                          is Franchlsee's
                  sibility,andthat ifFranchisor
      sole responsibility,and that if Franchisorshall
                                                  shallhave,
                                                       have,in
                                                             inits
                                                                itssole
                                                                   soleand
                                                                        andabsolute
                                                                            absolutediscretion,
                                                                                     discretion,provided
                                                                                                provide  dany
                                                                                                           any assistance
                                                                                                               assistanc e
      to Franch isee in
      to Franchisee  in evaluating  or selecting the
                        evaluating or            the Franchised
                                                     Franchised Location,
                                                                  Location, such
                                                                             such assistance
                                                                                  assistance shall not be
                                                                                             shaU not  be construed
                                                                                                          construed as a
      ^arranty^guarantyor7theFa7surance5anykindthatsuchFrancMseLocadonwillnecessarilybeasuccessful                    a^ a
      warranty,guaranty or other assurance of any kind that such Franchise Location will necessarily be a successful
      or profitable
         profitable site.
                    site.

               2.02
               2.02 Exclusivity.
                    Exclusivity.

               Solong
               So  longas
                        asFranchisee
                           Franchiseefaithfully
                                       faithfullyperforms
                                                   performsand andobserves
                                                                    observeseacheachand
                                                                                     andall  of theobli8ati
                                                                                          auofAe     obligations
                                                                                                              TOSanand conditions
                                                                                                                       dcondh^
      tobe
      to beperformed
            Derfomie^andand'obse  rved by
                             observed  byFranchisee
                                           Franchiseeunder
                                                        underor orin
                                                                   inconnection
                                                                      connection withwith this
                                                                                          thisAgreement,
                                                                                               Agreement, Franchisor,
                                                                                                               Franchisor, during
                                                                                                                           during
      the'T^
      the Term,shTun     ot own,
                  shall not  own, operate,
                                   operate, franchise
                                             franchise ororlicense
                                                             license any
                                                                      anyIHOPMOP Restaurant
                                                                                    Restaurant which
                                                                                                 which     is
                                                                                                           is located
                                                                                                              located  within the
                                                                                                                       within  Ae
      FraDchised'Area.
      Franchised          Notwithstanding any
                    Area. Notwithstanding    anyvoluntary
                                                  voluntary policy     which Franchisor
                                                               policy which                  may from
                                                                                Franchisor may     fromtime
                                                                                                          time to
                                                                                                                totime
                                                                                                                   dmej establish
      regarding thetespacing
                      soaciaeof
                              of1HOP
                                 MOPRestaurants
                                        Restaurantspursuant
                                                      pursuantto     which it
                                                                  towhich     it may
                                                                                 mayannounce
                                                                                      announceitsitsintention    l forebear from
                                                                                                      intention to
      locating IHOP
      locating  MOP Restaurants
                       Restaurants within certain    areas surrounding
                                            certain areas  surrounding the  the Franchised
                                                                                 Franchised Area,
                                                                                              Area' Franchisee
                                                                                                      Frallchisee.acknowledges
      andagrees
           aereesthat
                   thatFranchisor,
                       Franchisor, or
                                    orits
                                       itsAffiliates,
                                          Affiliates,expressly                                                     acknowlitseag^
      and                                             expresslyreserves
                                                                   reservesthetheexclusive    andunrestricted right,
                                                                                   exclusiveand   unrestricted    nght,in
                                                                                                                        initssole
                                                                                                                              sole
      andabsolute
      and  absolute discretion,
                     discretion, now
                                 nowand
                                      andininthe
                                              thefuture,
                                                  future, directly   and indirectly,   to own,  operate,    franchise
                                                          duectly andindu-ectly. to own, operate, traDcture_ana_llce  and license
      both~w~i
      both     thin~and
            within      outside of
                    and outside  ofthe
                                    theFranchised
                                        Franchised Area
                                                     Area restaurants
                                                            restaurants operating
                                                                          operating under
                                                                                       undernames
                                                                                              names other
                                                                                                        otherthan
                                                                                                              than'"International
      Houseof
      House   ofPancakes"
                 Pancakes"oror"IHOP,"
                               "IHOP," regardless
                                         regardlessofoftheir
                                                        theirproximity
                                                               proximityto tothe   Franchised
                                                                               theFranchi  sedRestaurant,and
                                                                                               Restaurant,         whetherror
                                                                                                               andwhethe    ornot
                                                                                                                               not
      suchother
      such  otherrestaurants
                   restaurantsoffer
                               offerproducts
                                     productswhich
                                                whichare
                                                       arcthe
                                                           thesame
                                                                 sameororsimilar
                                                                           similartotothosewhichareormaybeofferedby
                                                                                       those  which    are or  may  be offered  by
      theFranchised
      the Franchised Restaurant.
                       Restaurant. Nothing herein
                                              hereingrants any anyexclusive
                                                                   exclusive rights
                                                                                rig as to the customers who may be served
      byFranchisee,
      by  Franchisee,Franchisor
                       Franchisoror   itsAffiliates,
                                   orits  Affiliates,or
                                                      orby
                                                         byanyanyother
                                                                   otherfranchisee.
                                                                         franchisee.
                                                            III
                                                            ffl
                                                     TERMAND
                                                     TERM ANDRENEWAL
                                                              RENEWAL

               3.01
               3.01 Initial
                    Initial Term.
                            Tenn.

                (a) Subject
                (a) Subjectto toearlier
                                 earliertermination
                                         terminationpursuant
                                                    pursuanttotothe
                                                                theprovisions
                                                                    provisionsof
                                                                               ofthis
                                                                                 thisAgreement
                                                                                      Agreementand
                                                                                                 Midthe
                                                                                                     theconditions
                                                                                                         COIldirionsset
                                                                                                                    set
      forthininparagraph
      forth     paragraph3".3.05,
                              05,'fhe "InitialTerm"
                                  the "Initial Term"of
                                                    ofthis
                                                       thisAgreement
                                                           AgreementshallcommenceupontheEffectiveDateand
                                                                      shall commence  upon the Effective Date and shall
                                                                                                                  shall
      expire
      expire(check
               (checkapplicable
                       applicableprovision):
                                    provision):

IHOPOC3
IHOPOC30055                                                            4
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                         [ ]] _ years
                                yearsafter
                                      afterthe
                                           thedate     Franchised Restaurant
                                                   theFranchised
                                               datethe            Restaurant opens
                                                                             opens for business,or
                                                                                   for business, or
                        [X]on
                        [X] onFebruary
                                Pebmary23, 23, 2020,which
                                                      whichdate
                                                             dateisisone daypreceding
                                                                     oneday precedingthe
                                                                                       thescheduled
                                                                                          scheduledexpiration
                                                                                                     expirationdate
                                                                                                                dateofof
                        the Master Lease,
                        the         Lease, if the
                                                the Franchised Location has   been subleased
                                                                          has been subleased from
                                                                                             from the  Franchisor or
                                                                                                   the Franchisor orits
                                                                                                                     its
                        Affiliate, or
                        Affiliate, orif
                                      ifnot,the
                                              theday
                                                  daypreceding
                                                       precedingthe             expirationdate
                                                                      scheduledexpiration
                                                                  thescheduled            dateofofFranchisee's
                                                                                                  Franchisee'slease
                                                                                                               leaseoror
                        sublease with
                        sublease        its third
                                  withits         party landlord.
                                            third party landlord.

                 (b) Notwithstanding
                (b)  Notwithstanding anything
                                       anything herein
                                                  hereinto
                                                         tothe
                                                            thecontrary,
                                                                contrary, the
                                                                          theTerm
                                                                              Termofofthis  Agreement(and
                                                                                       thisAgreement      (andthe
                                                                                                               theTerm
                                                                                                                   Term ofof
       anyRenewal
       any  RenewalAgreement
                      Agreementexecuted
                                  executedpursuant
                                             pursuantto
                                                      toSection
                                                        Section3.02   and/or3.03)
                                                                 3.02and/or        shall
                                                                             3.03)shallautomaticaUyterminate(i)upon
                                                                                         automatically   terminate (i) upon
       theearlier
       the  earlierexpiration
                   expirationorortermination of,
                                               of.as
                                                  asapplicable,
                                                     applicable. Franchisor's    theLeasing
                                                                              orthe
                                                                 Franchisor's or               Affiliate's Master
                                                                                     LeasingAffiliate's    Master Lease,
                                                                                                                  Lease,ifif
       any,or
       any,   orany
                anylease
                    leaseor
                          orsublease,
                              sublease,as
                                        asapplicable,
                                           applicable,for
                                                       forthe
                                                           theFranchised
                                                                FranchisedLocation,   or (ii) upon  the occurrence
                                                                           Location, or(ii) upontheoccurreDceofany   of any
       event which
       event   which prevents
                       prevents or
                                 or prohibits
                                    prohibits Franchisee
                                                Franchisee from
                                                             from occupying
                                                                   occupying the
                                                                               the Franchised
                                                                                   Franchised Location
                                                                                                 Location or    Franchised
                                                                                                             or Franchised
       Restaurant; provided,
       Restaurant;   provided, however,
                                however, that
                                          thatFranchisee
                                               Franchiseeshall
                                                           shallnot  doanything
                                                                  notdo            which  will  cause  such  Master
                                                                        anything whichwill causesuchMasterLease^     Lease,
       lease or
       lease  orsublease
                 sublease to
                           to be
                              beterminated or or otherwise amended
                                                            amended or              without the
                                                                      or modified without         prior written
                                                                                             the prior written consent of
                                                                                                                consent  of
       Franchisoror
       Franchisor   orthe
                       theLeasing
                          LeasingAffiliate,as asapplicable, which   consentmay
                                                              whichconsent   maybegrantedor
                                                                                  be granted      withheld for
                                                                                               orwithheld   forany
                                                                                                                anyreason
                                                                                                                    reason
       in
       in its
          its sole and absolute
              sole and  absolutediscretion.
                                 discretion.

               3.02       ial Renewal Term.
               3. 02 Special
                     S                Tenn.

               (a)
               (a)      If(i)
                        If (i)the
                              theInitial
                                  InitialTerm
                                         Termset  forthin
                                              set forth inSection
                                                          Section3.01
                                                                  3.01isisless than10
                                                                          lessthan    years;(ii)
                                                                                   10years;                 theLeasing
                                                                                                 Franchisor,the
                                                                                            (ii)Franchisor,     Leasing
      Affiliate, or
      Affiliate, orFranchisee,
                    Franchi'see, as
                                 asapplicable,
                                    applicable, shall
                                                shall have
                                                      haveaccepted   anyrenewal,
                                                            accepted any renewal, extension
                                                                                  extension or New Master
                                                                                             orNew   Master Lease
                                                                                                            Leasefor
                                                                                                                   for
      the Pranchised   Location,
      the Franchised Location,    thereby
                                  thereby extending
                                          extending   theMaster Lease beyond the Initial Term; (iii) Franchisee
                                                      the Master Lease  beyond the Initial Term;(iii) Franchisee shall
                                                                                                                 shall
      haveagreed
      have   agreedto
                    topay
                       paya Deferred
                             DeferredInitial
                                       InitialFee
                                              Feeas
                                                  asset
                                                     setforth
                                                        forthin  Section5.01(b);
                                                              inSection  5.01(b);and
                                                                                   and(iv)
                                                                                      (iv)Franchisee
                                                                                           Franchiseeshall
                                                                                                       shallhave
                                                                                                             havesatisfied
                                                                                                                  satisfied
      in all respects the requirements and
      in all respects the requirements  andconditions
                                             conditionsset
                                                        setforthinSections3.04through3.06,
                                                            forth in Sections 3.04 through        Franchisor shall
                                                                                            3.06,Franchisor   shaUprovide
                                                                                                                   provide
      Franchisee with
                   withthe
                        theright,but
                                  butnot
                                       notthe
                                           theobligation("Renewal
                                                          ("Renewal Right"),   toexecute
                                                                      Right"), to executeaa new
                                                                                            newfranchise
                                                                                                 fi^nchiseagreement
                                                                                                           agreement(the
                                                                                                                       (the
      "RenewalAgreement")
      "Renewal     Agreemenf)for fora period
                                       period(the
                                               (the~"Specia   RenewalTerm")
                                                    "SpeciallRenewal            which shall
                                                                        Term") which   shallcommence
                                                                                             commenceat  atthe
                                                                                                            theend
                                                                                                                endofofthe
                                                                                                                         the
      Inidal Term and
      Initial        andshall
                         shall terminate (subject
                                          (subject to
                                                   toearlier termination asasprovided
                                                                              provided in
                                                                                       in Section   3.01(b)) one
                                                                                          Section 3.01(b))   oneday
                                                                                                                 day prior
                                                                                                                      prior
      tothe
      to theexpiration
              expiration of
                         ofthe
                            theNew
                                NewMaster
                                      MasterLease
                                              Lease(but
                                                     (butin
                                                         inno
                                                            noevent   foraa period
                                                               eventfor            which when
                                                                            periodwhich   when combined    with the
                                                                                                combined with   theInitial
                                                                                                                     Initial
      Term
      Tennis          than 25
              is more than  25 years).
                               years).

              (b) This
              (b)     This Section
                           Section3.02
                                    3.02shall
                                         shallnot
                                               notapply
                                                   apply(i)
                                                          (i) if  this Agreement
                                                               if this Agreement has
                                                                                   hasbeen
                                                                                        beenexecuted
                                                                                             executed asasaa renewal
                                                                                                             renewaloror
      extensionof
      extension ofa preexisting
                    preexistingfranchise
                                franchiseagreement; (ii)
                                                       (ii)if
                                                           ifFranchisee
                                                              Franchiseehashasexecuted
                                                                               executedthis   Agreement in
                                                                                         thisAgreement       connection
                                                                                                           inconnection
      withits
      with itspurchase
              purchase of
                       ofan
                          anexisting
                             existing franchisee's business        theexisting
                                                              andthe
                                                   business and        existing franchisee's
                                                                                franchisee's franchise
                                                                                             franchise agreement
                                                                                                        a^eement does
                                                                                                                   does
      notexpressly grant
      not          granta Special  Renewal Term;
                           Special Renewal   Term; or
                                                    or(iii)  if"other"
                                                       (iii) if "other" is
                                                                         ischecked
                                                                           checked in  Recital  C to this Agreement.
                                                                                    inRecital C to thisAgreement.
               3.03 General
               3.03         Renewal Term_
                    General Renewal Term.

              (a)
             (a)      IfFranchisee shall have
                      If                 have satisfied   in all
                                                satisfied in all respects
                                                                 respects the
                                                                          therequirements
                                                                              requirements and
                                                                                             andconditions
                                                                                                  conditions set
                                                                                                               setforth
                                                                                                                  forth in
                                                                                                                         in
      Sections3.04
      Sections 3.04through
                    through3.06,Franchisee
                                   Franchiseeshall
                                               shall be
                                                      begranted
                                                         grantedaa Renewal
                                                                     RenewalRight
                                                                               Rightupon
                                                                                      upon the  expiration   of the
                                                                                            the expiration oftheInitial
                                                                                                                    Initial
      Term(or
      Term  (orthe
               theSpecial
                   SpecialRenewal
                            RenewalTerm,
                                     Teraa,ififapplicable),
                                               applicable),to toenter
                                                                 enterinto
                                                                       mtoaa new
                                                                              newfranchise
                                                                                  ironchiseagreement
                                                                                              ayeement(the (the"Renewal
                                                                                                                "Renewal
      Agreement") the
      Agreement")  theterm
                        term of
                              ofwhich
                                 whichshall
                                       shallcommence
                                              commence uponuponthe theexpiration
                                                                      expiration of   the Initial Term
                                                                                  of the Initial Term (or the
                                                                                                         (or  the Special
                                                                                                                  Special
               Term, if
      Renewal Term,   if applicable)
                         appUcabIe) and
                                     andshall continue forfor a period
                                                                 period of 10years
                                                                        of 10  years (subject
                                                                                     (subject to
                                                                                               to earlier
                                                                                                  earlier termination
                                                                                                          terminadon as  as
      provided
      providedin
               inSection
                  Section3.01(b)).
                           3.01(b)).
              (b)
              (b)      This Section 3.03
                      This          3. 03 shall apply if
                                                       if this
                                                          this Agreement
                                                               Agreement has
                                                                           has been
                                                                               been executed
                                                                                    executed for
                                                                                               for^'S^cia    l Renewal
                                                                                                          vial Renewal
      Term"pursuant
      Term"  pursuanttotoSection
                         Section3.02
                                 3.02of  Franchisee'spreexisting
                                       ofFranchisee's   preexistingfranchise
                                                                    franchiseagreement,   but sha   not
                                                                              agreement, butsh^n^)ply (i)
                                                                                                        apply  (i)if
                                                                                                                  ifthis
                                                                                                                     this
                  hasotherwise been
      Agreement has             beenexecuted
                                     executed asasaa renewal
                                                     renewal ororextension
                                                                 extensionof  a
                                                                            ofa preexisting francfii^agreement (e.g.,
                                                                                preexisting franchise agreement    (e. g.,
      foran
      for an'Option
            "OptionTerm" pursuant to  toparagraph
                                        paragraph3.03     ofFranchisee's
                                                    3. 03of  Franchisee's preexisting
                                                                           preexistmg franchise
                                                                                       franchise agreement,
                                                                                                 agreement, ororif
                                                                                                                 ifsuch
                                                                                                                    such
                  franchiseagreement did
      preexisting franchise            didnot
                                           nototherwise
                                               otherwiseexpressly
                                                           expressly grant
                                                                     grantFranchisee
                                                                           Franchisee any  further
                                                                                       anyfurther righttorenew); (ii)
                                                                                                   right to renew);   (ii)
IHOPOC 3 05
IHOPOC305                                                          5
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      ifFranch
      if Franchisee     executed
                    hasexecute
               iseehas             this Agreement     in connection
                                            re. mentinc  onnectidoeswith its purchase of an existing franchisee's business
      laDdTh
                                dthisAg
               e"exIstiiifranchisee's
                         franchisee'sfranchise
                                         franchiseagreement
                                                                 onwJt   h^^^
      and  the existing                            agreementdoesnot  notexpressly
                                                                         expresslygrant            torenew
                                                                                             rightto
                                                                                    grantaa right     renewororto
                                                                                                                toenter
                                                                                                                   enter aa
      RenewafAgreement;
      Renewal   Agreement;or  or(iii)
                                 (iii)ifif"other"
                                           "other"ischeckedinRecitalC tothisAgreement.
                                                  is checked  in Recital C to this Agreement.

              3.04 Form
              3.04 Formand Ma ncrof
                        andManner ofRenewal.
                                    Renewal.
              Franchisee shall
              Franchisee shallexercise
                               exercise its
                                        its Renewal
                                            Renewal Right,
                                                    Right, if
                                                           if at
                                                              atall,
                                                                 all, strictly
                                                                      strictly in thefollowing
                                                                               inthe           manner:
                                                                                     following manner:
                       (a)at least 6 months but not more than 12 months before the expiration of the Initial Term of
      this Agreement,tt,
                     t, FranchTsee
                                see'sha
                        Franchisee
                        Franchi     shalllInotify
                                    shall  notifyFranchisor
                                           notify Franchisor
                                                  Franchi     inwnung
                                                          sor in
                                                              in writing   ^("Rene
                                                                  writing ("Renewal
                                                                              Kenew wal Notice")
                                                                                        Notice-
                                                                                      ai^oucc   ^)that
                                                                                              ^^. that
                                                                                                   m^itit
                                                                                                       itintends
                                                                                                          i"^^"to
                                                                                                          intends  toexercise
                                                                                                                     exercise
      iFR  ^alRigigh^ds
          tZ^alR  hTa^dhallreq^esYacopy ofFranchisor'sthen^uirentOffenng^^^^^^^
                              shall req^esYa   copy
      its Renewal Right and shall request a copy     of Franchisor's
                                                        Franchis or's  then-current  Offering Circular,
                                                                       then^uirent OffenngCirc^            immediately   upon
      receiot
           wt of which  Franchi see shall  signand
      receipt of which Franchisee shall sign    andreturn
                                                    returnto
                                                           toFranchisortheacknowledgment°<'^eiPt,atta^totthe
                                                             Franchisor     the acknowledgment     of receipt  attached to
           Sne'Cu  cuIar,lm d"no'so  onertha
      Offering Circular, and no sooner than    n 10
                                                  10busines
                                                     businesss days
                                                               daysnor normore
                                                                            more than
                                                                                  than20   businesss days
                                                                                       20_busines     daysafter    Franchisee
                                                                                                             afterFranchis ee
      rec'ei've ^sayOfferin
      receives said OfferinggCircular,
                              Circular,ififapplicable,
                                            applicable,and
                                                         andexecution     copies  of the Renewal
                                                             execudoncopiesoftheRenewalAgreem       Agreement,ent, Franchisee
                                                                                                                   ]
      shallexecute
      shall executethe
                    thecopies
                         copFesof
                                ofsaid
                                   saidRenewal
                                        Renewal Agreem
                                                   Agreementent and
                                                                andreturn
                                                                      returnthem
                                                                              themto  Franchisor.
                                                                                   toFranchis or.
                          (b)If
                         (b)  IfFranchisee
                                Franchiseesubleases
                                           subleasesthe
                                                      theFranchised
                                                         FranchisedLocatio
                                                                      Locationnfrom
                                                                                  fromFranchisor
                                                                                         Franchisoror orits
                                                                                                         itsLeasing  Affiliate,
                                                                                                            LeasingAffiliate ,
      Franchi   see  shallvex ecute7n
      Franchisee shall execute andd return
                                       returnto
                                              toFranchisor
                                                Franchisoror orits
                                                               itsLeasing
                                                                   LeasingAffiliate
                                                                             Affiliate,, as applicable,
                                                                                         as^appl         thee form
                                                                                                 icable^th    form of sublease
                                                                                                                   ofsubka ^e
      oruai^nd
      or         meTiTto
          amendment     toTubleas ewhichF
                           sublease whichranchiso r or the Leasing
                                           Franchisor  or     Leasing Affiliate,      applicable, shall
                                                                       Affiliate. as applicable,
                                                                                   as                shall prepare and deliver
                                                                                                           prep^e      deliver
      uto Filan'chilsS:m7cmr   d~^cew  ithS'ecu
      to Franchisee in accordance with Section  on3.3.07(b),
                                                      07(b), within 15 days
                                                                     15        after delivery the same to Franchisee
                                                                                               of  the
                                                                                                     same   to  FrancMsee by
      Franchisoror
      Franchisor orthe LeasingAffiliate.
                   theLeasing Affiliate.

                       (c) If
                      (c)  IfFranchisee
                              Franchiseeshall
                                          shallhave
                                               haveexercised
                                                     exercisedits
                                                                itsRenewal
                                                                   RenewalRight     inaccordance
                                                                             Right in              with Section
                                                                                      accoidancewith    sectioD33.04(a)
                                                                                                                 -04(a)
      and(b)
      and (b)and
              andsatisfied
                   satisfiedail'of't heconditions
                             all of the conditionscontained
                                                   containedin inSection
                                                                  Section3.06,
                                                                          3.06,Franchisor
                                                                                Franchisorshall
                                                                                             shallexecutethe
                                                                                                  execute  the Renewall
                                                                                                               Renewa
      XgreemCTreexecuted
      Agreement             by Franchisee
                    xecuted by  Franchisee and
                                           and at      expiration of the
                                                at the expiration                Term deliver
                                                                     the Initial Term  deliver one       executed copy
                                                                                               one fully executed  copy
      thereof to Franchisee.
                 Franchisee.

                       (d) IfIfFranchisee
                       (d)     Franchiseefails
                                           failsto
                                                toperform
                                                   perfonnanyanyof
                                                                 oftheAeacts,
                                                                          acts.or
                                                                                ordeliver
                                                                                   deliverany
                                                                                           anyofofthe
                                                                                                  thedocuments
                                                                                                      documentsrequired
                                                                                                                  required
      pursuant to> the
                   theprovisions
                       provi'sions'of  Sections3.04
                                   of Sections 3.04ininaa timely
                                                          timely  fashion
                                                                 fashion,  ,such
                                                                             such failure
                                                                                  ^lurejh shall be
                                                                                            allbe  deemed
                                                                                                   deenffi  an election by
                                                                                                           d^n_ele
      ^Ssee'no^to        exerciseits
                                   i'tsRenewal
                                       RenewalRight
                                                Rightand
                                                      andshall
                                                            shallautomatically
                                                                                                                    c^n5
      Franchisee  not to exercise                                automatically cause
                                                                                  causeFranchisee's
                                                                                         Franchisee'ssaid  Renewal
                                                                                                      saidRenew    alRight
                                                                                                                     Right
      toTapse
      to       'andexpire,
         lapse and  expire,and
                           andthis
                                 thisAgreement
                                      Agreementshall
                                                 shallterminateattheendoftheInitialTenn.
                                                       terminate   at the end  of the Initial Term.

              3.05 Modification
              3.05 Modification of
                                ofRenewal  Franchi e Agreement
                                   Renewal Franchise      ment
               Notwithstandinganything
               Notwithstanding   anythingherein
                                          hereincontained
                                                 containedto
                                                           tothe
                                                             thecontrary,
                                                                 contrary,the
                                                                           theRenewal   Agreement,
                                                                              RenewalAgreem      ent,ififexecuted by
                                                                                                         executedby
      partieshereto,"shalTdiffCT.'andbemodified,fromFranchisor'sthen-currentformoffranchiseagreementinthe
      parties hereto,shall differ,and be modified,from Franchisor's then-current form of franchise agreement in the
      following
      followingrespects:
                 respects:

                       (a)Franchisee
                      (a)  Franchiseeshall
                                     shallnot
                                           notbe
                                               berequired
                                                  requiredto
                                                           topay
                                                             payany
                                                                 anyInitial
                                                                      InitialFranch
                                                                             FranchiseiseFee;
                                                                                         Fee;provided,
                                                                                              provided,however,
                                                                                                        however that
                                                                                                                  that
      ifFranchisor
      if Franchisorhas
                   hasdeferred
                        defenedFranchisee's
                                Franchisee'sInitial
                                              InitialFranchise
                                                     FranchiseFee,
                                                               Fee,inwholeorinpart,pursuanttoSection5.01(d),
                                                                    in whole  or in part, pursuant to Section 5.01(d),
      Franchisee7pn
      Franchisee,     orto
                  prior toexecution
                           executionof
                                    ofthe
                                       theRenewal
                                           RenewalAgreem
                                                     Agreement,
                                                             ent,shall
                                                                 shallhave
                                                                       havepaid   theDeferred
                                                                            paidthe             Franchise
                                                                                       DeferredFranch      Fee and/or
                                                                                                        iseFee  i
      executed and
      executed anddelivered
                    deUvered to
                              toFranchisor
                                Franchisor the
                                            thepromissory
                                                promissory note, in
                                                            note, in accordance with Section 5.01(d);
                                                                     accordance   with  Section 5.01(d);

                      Cb)Franchisee's
                      (b) Franchisee'sContinuing
                                       ContinuuigRoyalty,
                                                 Royalty,National
                                                         NationalAdverti
                                                                  Advertising
                                                                         singFee andLocal
                                                                              Feeand       Advertising
                                                                                     LocalAdverti  singFee may
                                                                                                        Feemay
      exceedthe
      exceed therates
                ratesset
                       setforth
                          forthin
                                inSections
                                  Sections6.01,7.01
                                               7.01and
                                                    and7.02,
                                                        7.02,respectively, dependingontherates
                                                             respectively,depending  on the ratesset
                                                                                                 setforth
                                                                                                     forthin
                                                                                                          in the
                                                                                                             the
      thencurrent
      then current Franchise
                   FranchiseAgreement;
                             Agreement;

                      (c)The
                     (c) TheTerm
                              Termshall
                                     shallbebedeemed
                                               deemedmodified
                                                       modifiedconsistent
                                                                 consistentwith
                                                                           with Section
                                                                                 Section3.03
                                                                                         3.03(and
                                                                                             (andSection
                                                                                                  Section3.02,
                                                                                                         3-02,ifif
      applicable)above
      applicable) above'a ndeither:
                        and either:(i)
                                    (i)all
                                       allreference
                                           referencetoa renewaltermcontainedintheRenewalAgreem
                                                    to a renewal term contained in the Renewal Agreement shall be entshallbe
IHOPOC3
IHOPOC 305
        0S                                                           6
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      deleted and
      deleted andFranchisee
                   Franchiseeshall
                                shall have
                                      haveno
                                           nofurther
                                              further right
                                                      rightor
                                                            oroption
                                                              optiontotorenew
                                                                         renewor  toexecute
                                                                                orto execute any  fartherRenewal
                                                                                              anyfurther  Renewal
      Agreement, oror7ii)~if thisAgreement
                     (ii) if this Agreement has
                                             hasbeen
                                                 beenexecuted   for a Special Renewal Teirn^ Franchisee shall
                                                       executed for a  Special Renewal  Term,  Franchisee  shall be
                                                                                                                 be
      prov ided with
      provided  with one
                     one additional  Renewal Right after the Special Renewal
                          addkionri Renewal                           Renewal Term,
                                                                               Term. as
                                                                                     as described in Sections
                                                                                        described in Sections 3.02
                                                                                                              3. 02
      and 3.03.
      and 3.03.

               3.06 General
               3.06 Gene alConditions
                            ConditionsPrecedent toRenewal
                                      Precedentto

               Franchisee's right
               Franchisees  rightto
                                  toenter
                                    enterinto
                                          intoa Renewal
                                                Renewal Agreement, inaccordance
                                                        Agreement, in           with the
                                                                      accordance_with    provisions of Section
                                                                                      theprovisionsofSection
      3.03(or
      3.03 (or Section
               Section3.02,
                       3.02,ifif applicable)
                                 applicable)isisconditioned
                                                conditioned upon
                                                            uponFranchisee's
                                                                 Franchisee'sfulfillment
                                                                             fulfiUmentofofeach andall
                                                                                           eachand allof
                                                                                                       ofthe
                                                                                                         the
      following conditionsprecedent:
      followingconditions precedent:
                        (a) At
                        (a) Atthe
                               thetime
                                  timeFranchisee
                                       Franchiseedelivers
                                                 deliversits
                                                          itsRenewal
                                                             RenewalNotice
                                                                     Noticeto
                                                                           toFranchisor
                                                                              Franchisorand
                                                                                        andat     timesfrom
                                                                                              alltimes
                                                                                            atall    from
      suchnotification
      such notification to
                        tothe
                           thetime
                              tune of
                                   ofthe
                                      thecommencement
                                         commencement of theterm
                                                      ofthe      ofthe
                                                            tennof theRenewal
                                                                       Renewal Agreement,
                                                                               Agreement, Franchisee
                                                                                          Franchisee shall
                                                                                                     shaU
      havefully
      have fullyperformed
                  performed all
                             allof
                                ofits
                                   itsobligations
                                       obligationsunder
                                                   underthis
                                                         thisAgreement
                                                              Agreen ntand andunder
                                                                               underall
                                                                                      allother
                                                                                          otheragreements
                                                                                                 agreements which
                                                                                                              whichmay
                                                                                                                    may
      then be in effect between
      then be in effect between Franchise
                                Franchisee e and
                                             and Franchiso
                                                 Franchisor or its Affiliate,including  any  sublease, equipment
                                                           r oritsAffiliate, including anysublease, equipment lease,
                                                                                                                  lease,
      andpromissory
      and promissorynote,
                       note.and
                            andeach
                                eachFranchisee-Affiliate
                                      Franchisee-Affiliate shall
                                                           shaUhave
                                                                 havefully  perfoimedall
                                                                       fullyperformed    allof
                                                                                            ofits
                                                                                               itsobligations undereach
                                                                                                  obligationsunder each
      and every  agreemen
      and every agreementtbetweensuchFranchisee-AffiliateandFranchisororitsAffiliate.
                            between   such  Franchisee-Affiliate and  Franchisor  or its Affiliate.

                        (b) At
                        (b) At the
                               the time
                                   time Franchisee
                                        Franchisee notifies
                                                   notifies Franchisor
                                                            Franchisor of
                                                                       of its
                                                                          its election
                                                                              election to
                                                                                       to renew,
                                                                                          renew, and
                                                                                                 and at
                                                                                                     at the
                                                                                                         the
      commencement of
      commencement of'the
                      the Renewal Agreement,
                                  Agreement, Franchisee
                                             Franchisee shall
                                                        shall have notreceived
                                                              havenot received 44 or
                                                                                  ormore
                                                                                     more notices
                                                                                          notices of
                                                                                                  ofdefault
                                                                                                     default
      dunng'an
      during anyy24
                 24month
                    monthperiod
                         periodduring
                                duringthe
                                      theInitial
                                          InitialTerm ofthis
                                                 Termof      Agreement, whether
                                                        thisAgreement,  whetheror
                                                                                ornot
                                                                                  notsuch
                                                                                      suchdefaults
                                                                                          defaultswere
                                                                                                   were
      cured.
      cured.

                      (c)If
                      (c) IfFranchisor
                            Franchisorhas
                                        hasdeferred
                                           deferredthe InitialFranchise
                                                    theInitial FranchiseFee,
                                                                         Fee,in
                                                                              inwhole
                                                                                wholeor
                                                                                      orin
                                                                                        inpart,
                                                                                           part.pursuant
                                                                                                pursuantto
                                                                                                         toSection
                                                                                                            Section
      5.01(d), Franchisee
      5.01(d), Franchisee shall
                           shall have
                                 havepaid
                                       paidthe
                                           theDeferred
                                               Deferred Initial
                                                        InitialFee  and/orexecuted
                                                                Feeand/or   executed and
                                                                                     anddelivered
                                                                                         delivered toFranchisor aa
                                                                                                   to Franchisor
      proimssorynote
      promissory       providingfor
                  note providing  forthe
                                      thepayment
                                         paymentofofthe
                                                     theDeferred
                                                         DeferredInitial
                                                                   InitialFee,
                                                                          Fee,in
                                                                               inaccordance
                                                                                 accordance with
                                                                                            withSection
                                                                                                  Section5.01(d).
                                                                                                          5.01(d).
                       (d) Concurrently
                       (d)  Concurrently with
                                           withFranchisee's
                                                Franchisee'sdelivery
                                                                deliveryof
                                                                        ofits
                                                                           itsRenewal
                                                                               RenewalNotice,
                                                                                        Notice,Franchisee
                                                                                                   Franchiseeshall shrilhave
                                                                                                                         have
      provided
      provided written                assurance satisfactory
                                  andassurance
                vmtten evidence and             satisfactory to Franchisor of Franchisee's  financial  ability    to refurbish
                                                              toFimchis orofFranc  hisee'sfma   ncia  la^
      mdremodel
      and remodelthetheFranchised
                        FranchisedRestaurant
                                    Restaurantpursuant
                                                pursuantto toSection
                                                              Section4.03(b),
                                                                      4.03(b),and
                                                                               andprior
                                                                                   priorto
                                                                                         tothe
                                                                                             theexpiration
                                                                                                 expirationof    ofthe
                                                                                                                    theInitial
                                                                                                                        biitial
      Term.   Franchisee, at
      Term,Franchisee,    at its
                             its sole
                                 sole expense,
                                      expense, shall
                                                shall have
                                                        have completed
                                                             completed refurbishing
                                                                         refurbishing and
                                                                                       and remodeling
                                                                                            remodeling the        Franchised
                                                                                                            the Franchised
      Restaurant,pursuant
      Restaurant, pursuanttotoSection
                               Section4.03(b),
                                       4^03(b),shall
                                                shallhave
                                                       haverepaired
                                                            repairedthe
                                                                     theFranchised
                                                                        FranchisedRestaurant
                                                                                     Restaurantitso  that
                                                                                                     thatititisisin
                                                                                                  sointo         infirst
                                                                                                                    firstclass
                                                                                                                         class
      condit ion and
      condition  and repair pursuant  to Section 4.03(a),
                            pursuant to           4. 03(a), and       have otherwise brought it
                                                            and shall have                         into conformity
                                                                                                         conformity with  with
      Franchisor'sspecifications
      Franchisor's specificationsand
                                   andstandards,as
                                                 asrespects   buildingdesign,
                                                     respectsbuilding          furniture,fixtures,  signs,  equipment
                                                                       design furniture, fixtures, signs,equipmentand      and
      colorschemes,
      color schemes,asasare
                        arethen
                            thenapplicable
                                 applicablefor
                                            fornew
                                                newfranchises
                                                      fruichisesbeing
                                                                 beinggranted
                                                                       grantedby
                                                                               byFranchisor
                                                                                  Franchisofor rforthe
                                                                                                   theoperation
                                                                                                       operationof    ofIHOP
                                                                                                                        CHOP
      Restaurants;
      Restaurants;

                      (e) Franchisee
                      (e) Franchisee shall
                                       shall have
                                             have renewed
                                                  renewed or extended its
                                                          orextended   its lease
                                                                           lease or
                                                                                 or sublease,
                                                                                    sublease, or
                                                                                               orexecuted
                                                                                                   executedaa new
                                                                                                              newor
                                                                                                                  or
      amendedlease
      amended  leaseor
                     orsublease,pursuant
                                  pursuantto towhich
                                               whichFranchisee
                                                     Franchiseeshall
                                                                 shallhave  secured  the right to continue to occupy
                                                                      havesecured theri^it to continueto occupy
      theFranchised
      the Franchised Location after
                               after the
                                     theexpiration of
                                                    ofthe
                                                      theInitial Term andthroughout
                                                                 Tenn and  throughout the
                                                                                        theRenewal
                                                                                            Renewal Term.
                                                                                                      Term.
                      (f)At
                      (f) Atthe
                             thetime
                                 timeFranchisee
                                       Franchiseedelivers
                                                 deliversits
                                                          itsRenewal
                                                             RenewalNotice
                                                                     Noticeto
                                                                            toFranchisor
                                                                               Franchisorand
                                                                                          andat
                                                                                              atall
                                                                                                alltimes
                                                                                                    timesfrom
                                                                                                           fromand
                                                                                                                and
      aftersuch
      after suchnotification
                notificationtotothe
                                thetime
                                     timeof
                                          ofthe
                                            thecommencement
                                                commencement of ofthe
                                                                  theterm  of the Renewal  Agreement,    Franchisee
                                                                      termoftheRenewal Agreement, Franchisee
      shallmeet
      shall meetthe
                thethen-current
                    then-currentstandards
                                   standardsset
                                             setby
                                                byFranchisor
                                                   Franchisor for
                                                               forissuing
                                                                  issuingnew
                                                                          newfranchises
                                                                               franchisesto
                                                                                         toexisting
                                                                                            existmgfranchisees.
                                                                                                      franchisees.
               3.07 No
               3.07    Duty by
                    NoDut   b Franchisor
                               Franchisorto RenewMaster
                                         to Renew MasterLease
                                                        Lease

             (a) Franchisee
             (a) Franchiseeacknowledges
                            acknowledgesthat  itsright
                                         thatits rightto
                                                       toenter
                                                         enterinto
                                                               intoaa Renewal
                                                                      RenewalAgreement,
                                                                              Agreement, and
                                                                                          andthe
                                                                                              thecontinuation
                                                                                                   continuation
      ofthe
      of theTerm
            Termof
                 ofthe
                    theFranchise Agreement,
                                 Agreement, shall
                                            shall be         tothe
                                                  besubject to     continuation of
                                                                thecontinuation    Franchisee's
                                                                                ofFranchisee' s right
                                                                                                rightto
                                                                                                      tooccupy
                                                                                                        occupy

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IHOPOC305                                                            7
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      theFranchisedLocation. IfFranchisee'sLocationisleasedorsubleasedbyF^his^from^todparty^^
      the Franchised Location. If Franchisee's Location is leased or subleased by Franchisee from a third party,it
      Sr^^Th^;ok^nsibimy~to^^^
      shall be Franchisee's sole responsibility to maintain its lease or sublease for the Franchised Location in full
      ^ceTnd
      force   ande'ffecT
                     effect.'tfFranc   his^subsubleases
                               If Franchisee      leases'the     Locationfrom
                                                            the Location    fromthetheFranch   isoror
                                                                                       Franchisor  orits  Leasing
                                                                                                      its.Ireas     Affiliate,
                                                                                                                iDg.Affi        neither
                                                                                                                         liate',ne  i?er
      SI  a nccSl
                s   or&n^k    s^as^g
      Franchisor nor its Leasing AffiliateAffiliate shall
                                                            ^"ewal^rightoroption^aM^to^
                                                      shall be
                                                            be obligated
                                                               obligated toto exercise  any renewal right or option available to it
                                                                              exercise any
      under'th
      under    theeMaster
                     MasterLease,or    orotherwise,
                                           otherwise,andandany    decisionto
                                                             anydecision       exerciseany
                                                                            toexercise   anyoption
                                                                                             optiontotorenew
                                                                                                        renewor    extend the Master
                                                                                                                 o^Da    ule, Ma^
      ^e^y'tee^sedm'i^soleandabsolutecUscretion. IfFraDchisorOTSuch^^^^^^^^
      Lease may be exercised in its sole and absolute discretion. If Franchisor or such Leasing Affiliate shalldecide
      ^to renew
      not      reZ^'oT  or exer^e
                           exerciseany'     s^doption
                                       any said  optionto  torenew,
                                                             renew,ititmay
                                                                        mayininits
                                                                                 itssole
                                                                                     solediscretion
                                                                                          discretion(if
                                                                                                     (ifand
                                                                                                         andto   the extent
                                                                                                              toAeext        permitted
                                                                                                                       entpenn   itted
      t'o'doVo    'under'it
      to do so under     itss'Maste
                              MasterrLease)
                                       Lease)assign
                                                assignanyanysuch
                                                             suchrenewal
                                                                    renewalright
                                                                             rightororoption
                                                                                       optionto
                                                                                              to Franchisee
                                                                                                 Franchi  see who
                                                                                                              who  may
                                                                                                                   may   exercise
                                                                                                                          exercis  eitU or
                                                                                                                                        in
                                                                                                                                        m
      it's^ow'n
      its         nrnieand
           own name      andbehalf;
                                behampprovided,
                                          rovided. 'howeve
                                                      however, r. that
                                                                  thatFranchisor    shaUnot
                                                                       Franchisor shall        be required   to continue,   assume,
                                                                                          not te required tocontinue, ^sume^ or
      mdert'akeT^y'c
      undertake,             oDtouingliability
                      any continuing     liabilitywith    respectto
                                                    with respect   tothe
                                                                      thelease
                                                                         leasefor   theFranchised
                                                                                forthe  F^chisedLocation,
                                                                                                    Lwario       whether as assignor,
                                                                                                               n^whe    Ae^^
      ^^orfiuaT
      signatory              anto^an
                    or guarantor,     ditshall'b
                                     and it shalleFrancU    see'sexexclusive
                                                 be Franchisee's     clusive responsibility
                                                                                responsibility to provide
                                                                                                toprovid    such guarantees,
                                                                                                         esuchgu   arantees, security
                                                                                                                               s^
      ^^finSr^uran^s'aTmay'be'ac^^^^^^^ tothelessor Anysuch°P^n(ifexerc\s^orre^, wi
      or other financial assurances as may be acceptable to the lessor. Any such option (if exercised) or renewal,
      ^te^'sionTr"ne
      extension      or new^ Master
                               Master"Lease
                                         Lease(i(iff/accep  ted'by
                                                     accepted       Franchisoror
                                                                by Franchisor    orthe
                                                                                     theLeasing
                                                                                         LeasmgAffiliat
                                                                                                  Affiliate,
                                                                                                           e,as
                                                                                                              asapplicable)
                                                                                                                 applicable)shall
                                                                                                                               shallbe be
      referred to
      referred     to herein
                      herein asas the
                                   the "New    Master Lease."
                                       "NewMaster       Lease."

                (b)ShouldFranchisorortheLeasingAffiliate,asapplicable,asa condidontoorincoasIderationfOT
               (b) Should Franchisor or the Leasing Affiliate,as applicable,as a condition to or in consideration for
      theNew
      the  NewvM    a5terLe
                 Master        ase7be
                            Lease,   be -require
                                          requireddtotoororotherwise
                                                            otherwiseagree
                                                                         agreeto toincreases
                                                                                    increasesin      baserental,
                                                                                                 inbase     rental,percentage
                                                                                                                    percentagerental,
                                                                                                                                  rentaltaxes
                                                                                                                                            taxes
      and/OT"other
      and/or    ^thCTe   xpense^mex^e
                       expenses"     in excess ssoftho
                                                  ofthoseseprevi  ouslyrerequired
                                                             previously     quiredoof fFranchisee aslessee,undertheMasterLLease,
                                                                                         Franchisee      as lessee, under   the  Master    ease,
      FrMichisorort
      Franchisor    or theeLeasing
                              LeasingAffiliate,
                                         Affiliate,asasapplicable,
                                                         applicable,shall
                                                                       shallhave
                                                                              havethetheright
                                                                                         righttotoincrease
                                                                                                    increasein inaa like
                                                                                                                    likedollar
                                                                                                                         dollaramount,
                                                                                                                                  amountany,  any^
      ail°lo'r"a
      all, or anyny'comb     ination'roff the
                    combination                      rental, percentage
                                          the base rental,    percentage rental,
                                                                             rental, taxes
                                                                                      taxes and/or "other
                                                                                                        "odier expenses",     respectively, to
                                                                                                                exPeDsesl ;_resPe
                                                                                                                                        ctlwly^°
      besoaidb
         paid by^Franchisee
                   Franchiseeto   toFranchisor
                                      Franchisoror  orthe
                                                        theLeasing
                                                             LeasingAffiliatepursuant
                                                                                   pursuantto    thesublease
                                                                                              tothe    subleaseor oramendment
                                                                                                                     amendmen to sublease
      t^^x'wu
      to         t^by'Frbyanchis
         be executed                   ee'und
                               Franchisee         er Sections
                                               under    Sections 3.04(b)
                                                                    3"04(b) andand 3.06(e), respectively. Any such
                                                                                    3.06(e),    respectively.      Any   suchincrease(s)
                                                                                                                                 mcrease(s) min
      Franchisee base
      Franchisee's    base"re    nto], percentage
                              rental,  percentage rental,taxes taxesand/or
                                                                      and/or "otherexpenses" shallbe^equal indollai^m
                                                                                "other  expenses"       shall be  equal  in  dollar   amount
                                                                                                                                         ounttoto
      the'mc're
      the       ase(s)~ttherein
           increase(s)    herem required
                                    required of ofpranc    hisor or
                                                   Franchisor     or the  Leasing Affiliate,
                                                                     the Leasing      Affiliate, as    applicable, as
                                                                                                   as applicable,    as lessee
                                                                                                                        le       m connection
                                                                                                                           ssee in
                                                                                                                                     connect   jon
      withthe
      with  theNew
                NewMaster Lease. Lease. By  Byway
                                                way ofofillustration,
                                                         illustration, if
                                                                        ifthe
                                                                          theoriginal     Master Lease
                                                                               original Master       Leasecalled
                                                                                                             called for
                                                                                                                    toraa minimu
                                                                                                                           minimum      monthly
      reirtoi'of                                                                                                                     m  moc
      rental      $1,000^00, and
              of $1,000.00,            the New Master Lease
                                 and the                     Lease called
                                                                     called for
                                                                              for aa minimum
                                                                                     minimum monthly rental   rental of $2,000.00,       with no
                                                                                                                          $2, 000. 00, with     no

      change"inthe"a     mourtof"perce
               in the amount                  ntage rental,
                                    of percentage       rental, the
                                                                 theFranchisee's sublease minimum rental would increase by
                                                                      Franchisee's     sublease      minimum      rental  would     increase    by
      $i^W.OOper
      $1,000.00     permonth
                         monthpayable
                                    payableon  on aa weekly
                                                       weekly basis.
                                                                 basis. "Other       expenses" may
                                                                          "Otherexpenses"           mayinclude          onetime payment to
                                                                                                           includeaaonetim       e Paymen       tto
      Franch   iso/s'or
      Franchisor's or the'the'Lea    smg
                                Leasing     Affiliate
                                            Affiliate's'sMaster
                                                         MasterLandlordinconsiderationfortheNewMasterLease,
                                                                   Landlord     in consideration       for the  New   Master    Lease.    new or
                                                                                                                                          "ew°r
      increasedadnun
      increased            istrative fees
                   administrative      feesor orcommon
                                                 common area areamamten
                                                                  maintenanceance charges,
                                                                                    charges, and/or
                                                                                               and/orcapital
                                                                                                         capitalexpenditures
                                                                                                                  expenditures or   orexpenses
                                                                                                                                       expenses
      for'remo   deUmg     ,  refurbis
      for remodelling, refurbishment,   hment, expansion,
                                                  expansion, renovation,
                                                                 renovation, repair
                                                                                  repair or    decoration of
                                                                                            or decoration          the  interior,    exterior
      surrounding"arM        S'of~the
                               of the F7anch
                                                                                                               of  the. interior  '  extenOT_  OTor
      surrounding     areas            FranchisedisedLocation.
                                                       Location. Any Anysuch
                                                                           suchobligations
                                                                                  obligati   ons  shall
                                                                                                  shall   be
                                                                                                          be in
                                                                                                              m  addition   to  those
                                                                                                                 ad(l}tiontoAose_re^ed  required
      under Section 3.06(d) above; above:in  inthe
                                                theevent of                    between workwork to    be performed
                                                                                                          performed under
      under
      on~ttie"
                                                             ofany
                                                               anyconflict
                                                                    conflict between              to be                        section 3.06(d)
                                                                                                                      under Section       ^.i
      on       onehan
          the one    hand,d, and
                              andthis
                                   thisSection
                                          Secdon3.07(b),
                                                   3.07(b), on onthe
                                                                   theother
                                                                       otherhand,
                                                                                hand,the     resolution thereof
                                                                                       theresolution       thereofshall
                                                                                                                     shall  be
                                                                                                                            be <determined by
      Franchisor or
      Franchisor     orthe
                        theLeasing
                              Leasing Affiliate
                                          Affiliate,, as
                                                      asapplicable,
                                                          applicable, ininits
                                                                           itssole
                                                                               soleand      absolute discretion.
                                                                                      andabsolute       discretion.
                3. 08 Notice ofExpiration
                3.08           E irationR Required by Law.
                                              uiredb  Law.

               IfApplicable
               If ApplicableLaw Lawrequires
                                      requiresthat
                                               thatFranchisor
                                                     Franchisorgive
                                                                  givenotice
                                                                        noticeto
                                                                               toFranchisee
                                                                                  Franchiseepriorprior to
                                                                                                       tothe   expiration
                                                                                                          thegiven
                                                                                                               exPirat     of the
                                                                                                                        lonof tile
      Term,this
      Term,   thisAgreement
                  A^eement shallshallremain
                                       remainin
                                              ineffect
                                                 effecton
                                                        onaa week-to
                                                             week-to-week     basis until
                                                                       -week basis  until Franch
                                                                                          Franchisor    has         the requisite
                                                                                                    isorhasgiwntterequislte
      notice required by such Applicable Law.     v. Notwith standing anything
                                                     Notwithstanding    anything herein
                                                                                  hereintotothe
                                                                                              thecontrary,
                                                                                                  contrary, if Franchisor
                                                                                                            ifFranchi   soris not
                                                                                                                            isnot
      <SfferiDg^ew~fr
      offering         anch[sesor
                new franchises   orisisotherwise
                                        otherwisenot
                                                  notlawfully
                                                      lawfullyable
                                                                abletotooffer Franchisee   its
                                                                        offerFranchiseeitsthen-curreDtfomlofFranchlse
                                                                                               then-current   form  of Franchise
      Agreement at the time Franchisee elects to renew,    v.Franchisor
                                                             Franchisormay,
                                                                          may,atatits
                                                                                  itsoption,
                                                                                      option,agree
                                                                                                agreeto
                                                                                                      torenew
                                                                                                         renewthis   Agreement
                                                                                                                 thisAgreem   ent
      o^k7cuT
      on       rent'term
         its current     s, 'o-r
                     terms,     extendthe
                             or extend   theterm
                                            termhereof
                                                 hereofuntil   itis
                                                         until it islawfully
                                                                    lawfullyable
                                                                             ableto
                                                                                  tooffer
                                                                                     offerits
                                                                                            itsthen^urrent fonnoffranchise
                                                                                                then-current  form  of franchise
      agreement.
      agreement.




IHOPOC3
IHOPOC 3 05
         05                                                                    8
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                                                                   rv
                                                                   IV
                                 RESTAURANT CONSTRUCTION
                                 RESTAURANT CONSTRUCTION AND
                                                         AND REFURBISHING
                                                             REFURBISHENG
               4. 01 Standard
               4.01           Plans and
                     St dard Plans  and Specifications.
                                        S ecifications.

               (a)If
              (a) Ifthe
                     theFranchised
                         FranchisedRestaurant
                                    Restauranthas
                                                hasnot
                                                   notbeen
                                                       beenconstructed
                                                            constructedas
                                                                       asof
                                                                          ofthe
                                                                            theEffective
                                                                                EffectiveDate,
                                                                                         Date,Franchisor
                                                                                               Franchisoror
                                                                                                          orits
                                                                                                            Ks
      Affiliate shalffum
      Affiliate shall      ishto
                      furnish toFranchisee,
                                 Franchisee,at
                                            atno
                                               noadditional
                                                  additionalcharge
                                                            chargeto
                                                                   toFranchisee,
                                                                     Franchisee.Franchis
                                                                                Franchisor's
                                                                                         or'sstandard
                                                                                             standardplans
                                                                                                      plansand
                                                                                                           and
      specificationsi for
                      forthe
                          Aeerection
                               erectionof  ofan
                                              anMOP
                                                  HOPRestaurant
                                                        Restaurantand
                                                                    andforforequipment
                                                                             equipmentandandsigns,
                                                                                              signs,butbutexcluding
                                                                                                           excludingsite     plans.
                                                                                                                        siteplans.
      F^ancMse  e7hall,
      Franchisee shall,~at  kssole
                         at its  solecost
                                      costandandexpense,prepare
                                                           preparesite
                                                                   siteplans,
                                                                         plans,and
                                                                               andmake
                                                                                    makesuch    modifications
                                                                                          suchmodificat      ions to  Franchisor's
                                                                                                                  toFranchisor's
      standaidplans
      standard  plansand
                       andspecifications,
                            specifications, as  asmay
                                                   maybeberequired
                                                           required to   construct the
                                                                     toconstruct   the FranchiseddRestaurant
                                                                                       Franchise     Restoura    nt and
                                                                                                                    andthe
                                                                                                                         theentire
                                                                                                                             entire
      Franciusal Location
      Franchised  Locationin^ conformity
                                  confonnity withwithApplicable
                                                      Applicable Law,     Franchisee shall
                                                                 Law. Franchisee      shaHnot   make or
                                                                                            not make     orallow    any
                                                                                                           allow anychangeor
                                                                                                                        change   or
      addition~to
      addition  tobe~mad
                   be madee in in or
                                   ortoto the
                                           the'plans  or specifications
                                                plans or specifications furnished    by Franchisor
                                                                          furnished by   Franchisoror   or its
                                                                                                           its             without
                                                                                                               Affiliate without
                                                                                                               Affiliate
      Franchisor's'or
      Franchisor's     itlA
                   or its Affiliate's,
                             ffiIiate's, as
                                          as applicable,
                                             applicable, prior
                                                         prior written   consent and
                                                               written consent   and approval,
                                                                                      approval, which consent
                                                                                                          consent and approval
                                                                                                                          approval
      shall not be
      shall not be unreasonably
                    unreasonably withheld.
                                      withheld. Unless
                                                    Unless waived
                                                            waived by
                                                                    by Franchisor
                                                                         Franchisor in
                                                                                     in its
                                                                                        its sole
                                                                                            sole subjective     discretion,
                                                                                                  subjective discretion, upon upon
      compietion'of'the
      completion   of the'construc
                           construction,tion, and
                                               andprior
                                                   priorto
                                                         toopening,
                                                             opening,   Franchis eeshallcauseits arctutect t^Provide_t^to
                                                                        Franchisee  shall  cause   its  architect   to provide
      Frandii'sora"
      Franchisor     certification that
                  a certification     that the
                                            the building
                                                 building was  built in
                                                          was built   in accordance   with plans
                                                                          accordance with           previously
                                                                                            plans previousl     y submitted
                                                                                                                  submitted andand
      approvedby
      approved   byFranchisor
                    Franchisorand  andthat
                                         thatthe
                                              theplans
                                                  plansas  submittedtoMOPcomplywithallapplicablelawsand
                                                        assubmitted    to MOP   comply   with  all applicable    laws  andcodes.
                                                                                                                           codes.
               (b)If
               (b)  Ifthe
                       theFranchised
                            FranchisedRestaurant
                                          Restaurantisistotobe
                                                             beconverted
                                                                convertedto toan
                                                                               MIIHOP
                                                                                  MOPRestaurant
                                                                                         Restaurantbyby Franchis
                                                                                                         Franchisee,  Franchisorr
                                                                                                                  ee,Franchiso
      or its
      or  its Affiliate
              Affiliate will
                           will furnish
                                  furnish to
                                           to Franchisee,
                                               Franchisee, at at no
                                                                  no cost
                                                                      cost to
                                                                           to Franchisee,
                                                                               Franchisee, Franchisor's
                                                                                             Franchisor's standard     plans and
                                                                                                            standard plans     and
      specmcadon7for
      specifications    for the
                              the construction
                                   constmction of an     IHOP Restaurant
                                                     an IHOP      Restaurant and
                                                                              and for equipment
                                                                                        equiPment and signs,
                                                                                                          Mf1 ^ and/or
                                                                                                                and/OT remodel
                                                                                                                         remodri
      specifications for
      specifications    forthe
                             theconversion
                                  conversion ofofaa restaurant.
                                                    restaurant. Franchisee
                                                                   Franchisee shall,
                                                                                shall, at
                                                                                       atits
                                                                                          itssole
                                                                                              solecost
                                                                                                   costand
                                                                                                        andexpense,
                                                                                                             expense, adapt
                                                                                                                        adaptthethe
      stondard'plans
      standard   plans'to   theparticular
                         to the   particular site
                                             sitein
                                                  inconformity
                                                     confonnity withwith Franchisor's
                                                                         Franchisor's standard plans, prepare siteplans and
                                                                                       standard   plans, prepare  site plans   and
      submitthe
      submit  th^'same
                  same to  toFranchisor
                              Franchisoror orits
                                              itsAffiliate
                                                  Affiliatefor
                                                             forits
                                                                 itswritten
                                                                    writtenapproval.
                                                                             approval. Any
                                                                                        Anyfurther
                                                                                             furthermodifications
                                                                                                     modificationsto tothe
                                                                                                                        theplans
                                                                                                                             plans
      ordeviations
      or deviationsfrom
                      fromthetheprovided
                                  providedplans
                                            plansand
                                                   andspecifications
                                                        specifications are  subject to the prior written approval  of Franchisor
                                                                        aresubjecttothepriorwrittenapproval ofFranchisor
      orits
      or itsAffiliate,
            Affiliate, asasapplicable.
                            applicable. Unless
                                          Unless waived
                                                   waivedby  byFranchisor
                                                                Franchisorininits
                                                                               itssole
                                                                                  solesubjective
                                                                                       subjective discretion,
                                                                                                   discretion, upon  completion
                                                                                                               uponconq   iletion
      ofthecon
      of         stmction/and
         the construction,            priorto
                                 and prior  to opening,
                                               opening. Franchisee
                                                           Franchiseeshall    cause  its architect  to provide
                                                                        shall cause its architect to provide to Franchisor aa
                                                                                                                to Franchisor
      certificationthat
      certification  thatthe
                           thebuilding
                                 buildingwas
                                          wasconverted
                                               convertedin  inaccordance
                                                               accordancewith
                                                                            with plans
                                                                                 planspreviously
                                                                                        previouslysubmitted
                                                                                                    submittedand
                                                                                                               andapproved
                                                                                                                    approvedby   by
      Franchisorand
      Franchisor   andthat
                         thatthetheplans
                                    plansas
                                          assubmitted
                                             submittedto toIHOP
                                                             MOPcomply withall applicablelawsandcodes.
                                                                    comply   with all applicable  laws  and codes.

               4.02 Construction
               4.02               Check if applicable):
                    Construction (Check    a licable :

               (1I        (a)If
                         (a) Ifthe
                                theFranchised
                                    FianchisedRestaurant
                                                 Restaurant has
                                                            hasnot
                                                                notbeen
                                                                    beenconstructed
                                                                          constructed as
                                                                                       asofofthe  Effective Date,
                                                                                              theEffective   Date,Franchisee
                                                                                                                   Franchisee
      shall,at
      shall, atits
               itssole
                   solecost
                         costand
                               andexpense,acquire
                                               acquirethe
                                                       theFranchised
                                                          PranchisedLocationthroughpurchaseorlease,and
                                                                       Location  through   purchase    or lease, and promptly
                                                                                                                     promptly
      erect,or
      erect, orcause
               causeto tobebeerected,
                              erccted.'aannIHOP
                                           IHOPRestaurant
                                                 RestaurantonontheFranchisedLocationwhichconformstotheplansand
                                                                the Franchised  Location   which   conforms   to the plans and
      specifications furnished
      specifications   famished to  to Franchisee, pursuant to
                                        Franchisee,  pursuant  to Section
                                                                  Section 4.01(a).
                                                                            4.01(a).   Franchiseee shall
                                                                                       Franchise     shall  breaJc ground for
                                                                                                            break ground    for
      consttuctionof
      construction       the Franchised
                     of the   Franchised Restaurant,
                                            Restaurant, and
                                                         and thereafter shall  use its  best  efforts
                                                                         shall use its best efforts promptly to complete
                                                                                                       promptly   to complete
      consmictionand
      construction  andhavehaveall
                                 allfixtures,furnishings,
                                              furnishings,machiner
                                                           machineryyand
                                                                       andequipment
                                                                            equipmentinstalled,
                                                                                        installed,parking
                                                                                                   parkingareas
                                                                                                             areascompleted,
                                                                                                                   completed,
      inventorydelivered,
      inventory   delivered,business
                               businessandotherpermitsobtained,personnelemployed
                                          and other permits obtained, personnel   employe    dand
                                                                                              and  all
                                                                                                   all other
                                                                                                       other necessaryythings
                                                                                                             necessar   things
      attended'to so
      attended     so that
                        that the
                             the Franchised
                                  Franchised Restaurant
                                                Restaurant shall be
                                                                 be open
                                                                     open for
                                                                           for business
                                                                               busuess to to the
                                                                                             the public
                                                                                                 public asas expeditiously
                                                                                                             expeditiously asas
      possible,but
                 butby
                     byno    laterthan
                         nolater   than
              [ 1]      (b)If
                       (b)    Ifthe
                                 theFranchised
                                     FranchisedRestaurant
                                                Restaurantisisto
                                                              to be
                                                                 beconverted
                                                                     converted to
                                                                               toan
                                                                                  anIHOP
                                                                                     IHOPRestaurant
                                                                                            Restaurantby     Franchisee,
                                                                                                         byFranchise    e,
      Franchisee shall,
      Franchisee   shall, at
                          atits
                             itssole
                                 solecost and
                                          andexpense,
                                              expense, acquire the
                                                               theFranchised Location through
                                                                   Franchised Location  through purchase
                                                                                                 purchase ororlease,
                                                                                                               lease, and
                                                                                                                       and
      promptlyconvert
      promptly   convertthetherestaurant
                                restaurantbuilding
                                           buildingon
                                                   onthe
                                                       theFranchised
                                                           FranchisedLocation
                                                                       Locationin
                                                                                inconformity    with the
                                                                                   confonnity wlth        specifications
                                                                                                     thesPecif   icati(ms
      ftjmished to
      furnished   toFranchisee
                    Franchisee pursuant to  toparagraph
                                              paragraph 4.01(b) above.
                                                                 above. Franchisee
                                                                         Franchisee shall
                                                                                    shall use
                                                                                          useits
                                                                                              its best
                                                                                                  bestefforts
                                                                                                       efforts promptly
                                                                                                                promptly
      tocomplete
      to complete the
                    theconversion
                        conversion of ofthe
                                         theFranchised
                                             Franchised Restaurant
                                                         Restaurant so
                                                                    sothat
                                                                       thatthe
                                                                            thesame
                                                                               sameshall   be open
                                                                                     shall be openfor   business to
                                                                                                    forbusiness     tothe
                                                                                                                       the
      public
      public by  no later  than
             by no later than


IHOPOC305
/HOPOC3 05                                                              9
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                      (c)I If
                           Ifeither
                              either Section
                                     Section4.02
                                             4.02(a)
                                                  (a) or
                                                      or(b)
                                                         (b)isischecked,
                                                                 checked, Franchisee
                                                                          Franchisee shall
                                                                                     shallprovide
                                                                                           provide Franchisee  with
                                                                                                   Fraiichiseewith
     comprehensiveformationregali
                      ngallphasesofthedevelopme^proces^^^c^^^s
     comprehensive information regarding all phases of the development process of the Franchised Location as
     Sh^^r^^andw^pTo^portsd urmgcon^^^^^^
     Franchisor may require,and weekly progress reports during construction,in a formatdesignated by Franchisor.
     SuZZm
     Such      ^Uo^haUinc
           information          ru de^tho
                        shall include,     uFumit
                                       without     ation, the
                                               limitation,     name. telephone number, and address of the architect,
                                                          the name,
                                                                     t^^^
     ^Sn e^^rTgen^al'conto^an^
                 ^^
     civil engineer,surveyor,general contractor,and environmental consultant,and the primary contact for each,
     ^^' ^?^^ll?^^  ^ia {[te^^^i^^^±s
     copies of all permits, and digital photographs, and shall be submitted to Franchisor via hard copy,
     S^mc     aU^iSudm'gFubscritogtoa webbasedconstructiontrackingservice,orbysuchothermeansas
     electronically including subscribing to a web based construction tracking service,or by such other means as
     Franchisor  maydesignate.
     Franchisormay    designate.

                     (d) IfIf this
                              this Agreem
                                   Agreementent has
                                                has been
                                                      been signed
                                                             signed under
                                                                      under the   Single Store
                                                                              the Single    Store Development
                                                                                                   Development Program,
                                                                                                                   Program,
     notwithstanding7nythinrt o^contratycontained^Section4.
     notwithstanding anything to the contrary contained in Section 4.02          (a)
                                                                               02(^o   or 4.02
                                                                                        r^.    (b),
                                                                                            02(b^^  Franchisee may,at its
                                                                                                     ^^^
      S^taSthe7t3nationof~th^Agreement byFranchiso^causedbyFrandu^s^lure^oope^^
     option,forestall the termination of this Agreement by Franchisor caused by Franchisee's failure to open the
     S^R^a^Z^^fo^^
     Franchised Restaurant by the date set forth in Section 4.02(a)or(b),provided Franchisee has broken ground
     ^o^nx
     and      c'edu construction
         commenced    cuo^Jctro nb7t     hedate
                                     by the       '^ forth in
                                            date set       in Section 4.02(a)   or 4.02(b),
                                                                       4. 02(a) or 4. 02(b). by
                                                                                             by providing
                                                                                                 pro^idmg Franchisor
                                                                                                            Franchisor with
                                                                                                                        w

     ^tt^oZ  ^fF^hofisee-'
     written notice          srequestfor
                      Franchisee's   requestad^^^     ^^ time,
                                             for additional   time,specifying
                                                                    specifyingtheamountrfadditonaHime r^uest^.
                                                                                the amount    of additional time  requested,
     ^^l^Sr^dW^. ^d^y^ toFranchisorthesumof$350;00_^day
     which in no event shall exceed 60 days,and by paying to Franchisor the sum of $350.00 per day ("Delayed                 l^d
     DevelopmenttFee':)"   m"adva
                    Fee") in  advancencewit
                                        withh'said  written'notice
                                              said written   notice,,for
                                                                      foreach
                                                                           eachday
                                                                                day(in    whole
                                                                                      (m^wh   oleor
                                                                                                  orininpart)
                                                                                                        part)_forwh
                                                                                                              for which  the
                                                                                                                     ich^e
     ^S^s^uTSo^ed^
     extension of time is requested,provided,however,ifFranchisee shall have failed to open the Restaurant within
     Sl days after the date set forth
     60 d^suuafter"A"e^7erf        orth'm
                                        in Section
                                           Section 4.02(a)
                                                    4. 02(a) or
                                                              or (b),
                                                                 (b), or
                                                                      or to
                                                                          to pay
                                                                 ^edDev^mwtFW ^^ the Delayed Development Fee for the
                                                                             pay ^
     ^tenadedupe^then'suchf^Tureshallconstitutea materialbreachofthis
     extended period,then such failure shall constitute a material breach of this Agreement pursuant to Section
                                                                     AgreementpursuanttoSection
     12.02.
     12.02.

              4.03 Maintaining
              4.03 Maintainin and
                               andRefurbishing
                                  Refurbishin of FranchisedRestaurant.
                                               ofFranchised Restaurant.
             (a)> Franchisee
                  Franchiseeshall
                              shallatatall
                                        alltimes
                                           timesduring
                                                  duringthe
                                                          theTerm
                                                              Termhereof
                                                                     hereofmaintain
                                                                            mamtain at
                                                                                     atits
                                                                                       itssole
                                                                                           soleexpense
                                                                                               expensethe   interior
                                                                                                        Aeinter      and
                                                                                                                ior^and
     exteriorof
     exterior o7th7F  rancUsedRest
                 the Franchised          aurant"and
                                  Restaurant    andthe
                                                    the 'entire FranchisedLocation,includingtheParki"glotandthe^
                                                        entire Franchised   Location, including the parking  lot and
       oSt'of"
     point     sairssystem,
           of sale   ystem, ~in
                             in first
                                first  class condition
                                             conditio n and
                                                        and  repair,
                                                             repair, and in
                                                                          in compliance with all Applicable Laws
                                                                             co"lPliancewithaIl, APPUfable Laws'and
     Operat ions Bulletins,
     Operations   Bulletins, excepttotheextentFranchisor mayotherwiseexpressly
                             except   to the extent Franchisor  may   otherwise expressly agree
                                                                                           agreein writing.
                                                                                                         m wnimg.
                                                 ein,every
              (b)Except as otherwise provided herein,every55 years
                                                             yearsduring
                                                                   duringthe
                                                                         theentire
                                                                             entireTerm hereof,at Franchisee's
                                                                                   Tennhereofa^Franchisee-s
     solecost
     sole cost"anandd"exrpe nse."Fr
                       expense,     ancteseeshall
                                 Franchisee shall refurbish,
                                                  refurbish/rem odel and
                                                             remodel andimprove
                                                                         improve the
                                                                                 theFranchised Restaurant in
                                                                                     F^anchised^R esta^an^n
     ^ordTncr^th
     accordance    with T^chis    or's then
                          Franchisor's    thencurrent
                                               currentstandards
                                                       standardsas asset
                                                                     setforth
                                                                         forthin
                                                                               inthe
                                                                                  AeOperations
                                                                                      Operations Bulletins
                                                                                                    Bulletms or  oras   otherwise
                                                                                                                     as^othe   ^se
     promulgated by Franchisor and provided to         Franchisee.e.FranchiseeshallcommencethefirstsuchrefurbisUng^
                                                                    Franchisee  shall commence     the first such    refurbishing,
      S3lTng^d^rovmg"[checkonef[_]on
     remodelling and improving [check one] [ ] on                                          , or [X]. on
                                                                                           'or_[x]       the anniversary date
                                                                                                      on-thL   iu!D!re rs^d^
          Sng'T      ye^'to   m   the  Effecti
     occurring 5 years from the Effective Date.ve Date. Each
                                                         Eachsubsequent
                                                               subsequentrefurbishing,
                                                                  ^




                                                                            refurbishing, rcmodemng and
                                                                               _...
                                                                                           remodelling    and   improving
                                                                                                                 improvingshallshall
     ^onmien^e'5'y
     commence           earsfro
                   5 years   fromm"the     dateon
                                     the date   on which
                                                    whichthethelast
                                                                lastsuch
                                                                     suchrefurbishing,
                                                                           refurbis hing,  remodelling
                                                                                           remode   llmg  and
                                                                                                          and    improving
                                                                                                                  improv  m^was was
     ^^e^ed" Franchisee
     commenced.       FraTcUse'e'sha'l
                                    shalll complete
                                           complete any   such refurbishing,
                                                     any such  refurbishing, remodelling
                                                                              remod         and improving
                                                                                      ellin^nd                  as  expeditiously
                                                                                                 i"aProvin ga_"_XPedltlou^ly
     ^lDuors
     as      iIbleu 'but"m'"
        possible,    but in any'ev7
                             any event n't within
                                           withm 3030 days after commencing
                                                                   coinmencing same.
                                                                                 same; This ..refurbishment
                                                                                                 efurbishmeDt_a      and  remodel
                                                                                                                       nd_rem   ^el
     ^rTment
     requirement is  is"inadd itjiontoanddoe
                        in addition   to and doess-not
                                                    not include
                                                        include the  maintenance obligations
                                                                 the maintenance   obligations set
                                                                                                 set forth inin Section 4.03(a)
                                                                                                                           4. 03(a)
     above.
     above.

             (c)Franchisor
            (c)  Franchisoror
                           orits
                              itsAffiliate
                                 Affiliatemay,
                                           may,on
                                                onone
                                                   oneor
                                                       ormore
                                                         moreoccasions,
                                                               occasions,waive
                                                                         waiveorordefer
                                                                                  deferfor suchhPCTiod
                                                                                        fOT_suc period of time
                                                                                                       _of^m^
     as Franch isor'ma
     as Franchisor mayy'deem  appropriate. Franchisee's
                        deem appropriate,  Franchisee'sobligation
                                                        obligationto
                                                                  torefurbish,
                                                                     refurbish, remodel and improve  an
                                                                                remodel andimprove anMOPIHOP
     Restaurant.
     Restaurant.

              4. 04 Lease
              4.04  Lease Requirements
                          R uireme t and
                                       andFranchisor's
                                          Franchisor's Succession
                                                       Succession Riehts.
                                                                  Ri hts.
              (a)If
              (a) IfFranchisee
                    Franchiseeleases
                               leasesthe
                                     theFranchised
                                         FranchisedLocation
                                                   Locationor
                                                            orthe
                                                              theFranchised Restaurant from a third party,the
                                                                  FranchisedRestaurantfrom a thirdParty:^le
     leaseshall
     lease shan^p re7slypr'ovide7
                expressly provide,by"leas e addendum
                                   by lease addendumin
                                                     inaa form
                                                          formprescribed
                                                               prescribedby
                                                                         byIHOP,
                                                                            MOP.unless
                                                                                 unlessFranchisor
                                                                                        Franchisor modifies
                                                                                                   modifies
IHOPOC3055
THOPOC30                                                              10
                                                                      10
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       orwaives
      or waivesthese
                   theserequirements
                           requirementsin    inwriting,
                                                writing,that
                                                         that(i)
                                                               (i)in
                                                                   inthe
                                                                     theevent
                                                                          eventofofany
                                                                                    anybreach
                                                                                         breach or orclaim   by the
                                                                                                      clalmbyt       Landlord thereunder
                                                                                                                  heL^ldlOTd      thereunde      r
       of a'nv'breac   hbyFranc     hisee.
      of any breach by Franchisee,said       saidLandlord
                                                  Landlordshall
                                                              shallbebeobligated
                                                                         obligatedto    notifyFranchisor
                                                                                     tonotify   Franchisorin      writing at
                                                                                                              inwriting     at least
                                                                                                                               least  30
                                                                                                                                      30  days
                                                                                                                                          days
        no7to"the
      prior  to the 'temunad
                     termination  on'of   saidlease,whereupon
                                      of said          whereuponFranchisor
                                                                      Franchisoror  oran
                                                                                       anAffiliate
                                                                                           Affiliate shall
                                                                                                       shallhave     the right,
                                                                                                              have^the    right,but
                                                                                                                                  butnot
                                                                                                                                       notthethe
      ^blieatio    ^  to
      obligation, to cure curesuch
                                suchbreach
                                       breachand andsucceed
                                                      succeedto   toFranchisee's     rightsthereunder,
                                                                     Franchisee'srights      thereunder, andand(ii)
                                                                                                                  (ii) in  the  event
                                                                                                                       in theeventi     of   the
      temSnation'of'ttu
      termination      of thiss Agreement
                                 Agreement as    asa result
                                                      resultofofFranchisee's
                                                                   Franchisee'sbreach
                                                                                   breachhereof,
                                                                                            hereof, andand  upon
                                                                                                            upon    Franchisor's
                                                                                                                    Franchis    or's or
                                                                                                                                     or such
                                                                                                                                          such
      Affiliates written election
      Affiliate's              elect ion to to Franchisee
                                               Franchisee to to be made
                                                                     made within
                                                                             within 10 10 days after
                                                                                                   after the date
                                                                                                              date of said termination,
                                                                                                                         saidjermination,
      FraDchFsoror
      Franchisor    orTts    Affiliateshall
                         its Affiliate  shallhave
                                                havethe
                                                     theright
                                                          righttotosucceed
                                                                    succeedto    Franchisee's
                                                                              toFranchise     e's rights  under the
                                                                                                  rightsunder    thelease.
                                                                                                                      lease. If
                                                                                                                              IfFranchisor
                                                                                                                                  Franchisor
      or'suc'h
      or       Affiliateelects
         such Affiliate      eiectstotosucceed
                                        succeedto toFranchisee's
                                                     Franchisee'srights
                                                                      rightsunder
                                                                             underthethelease,
                                                                                         lease,as asaforesaid,   Franchiseeeshall
                                                                                                     aforesaid.Franchise         shall assign
                                                                                                                                       assign
      toFranchisor
      to Franchisor~or       suchAffiliate
                         or such   Affiliateallallof
                                                  ofits
                                                     itsright,title
                                                                 titleand
                                                                       andinterest
                                                                            interestininand
                                                                                         andto    saidlease,
                                                                                               tosaid          whereuponnthe
                                                                                                        lease,whereupo              Landlord
                                                                                                                              theLandlord
      thereundershall
      thereunder    shallattorn
                            attornto toFranchisor
                                        Franchisoror orsuch
                                                        suchAffiliate
                                                               Affiliate asasthe
                                                                              thetenant
                                                                                  tenantthereunder.        Franchiseeeshall
                                                                                          thereunder. Franchise          shallexecute
                                                                                                                                executeand  and
      deUver'to
      deliver to 'FraDcbis
                   Franchisor   or or
                                   orsuch
                                       suchAffiliate
                                              Affiliatesuch
                                                        suchassignment
                                                                assignmentand  andtake
                                                                                    takesuch
                                                                                          suchfurther
                                                                                                 furtheraction     as
                                                                                                           actionasFranchisoror
                                                                                                                       Franchisor     orsuch
                                                                                                                                         such
      Affiliate^as
      Affiliate,  as'applTc    able,in
                       applicable,    inits
                                          itssole
                                              soleand
                                                   andabsolute
                                                        absolutediscretion,
                                                                    discretion,maymaydeem
                                                                                        deemnecessary
                                                                                                necessaryj?r or advisable
                                                                                                                advisableto       effectsuch
                                                                                                                             toeffect    such
      assignment within
      assignment,      wkhin10   10'days      after written
                                      days after              demand by
                                                    written demand        by  Franchis
                                                                              Franchisor  or or
                                                                                             or  such
                                                                                                  such   Affiliate
                                                                                                         Affiliate  to   do
                                                                                                                    to.do^so so,   and upon
                                                                                                                                 '_an^.l J IPOD
      Frmchisee's failure
      Franchisee's      failure to
                                 to do
                                     do'so.    Franchisor or
                                          so, Franchisor    or such
                                                                such AffiUate
                                                                       Affiliate shall
                                                                                  shall be,
                                                                                         be, and
                                                                                              and hereby
                                                                                                    hereby is,
                                                                                                             is, appointed     Franchisee's
                                                                                                                 appointed Franchisee         's
      attorneyin
      attorney   infact
                    factto tododoso.
                                   so. This
                                        Thispower
                                               powerof ofattorney
                                                          attorneygranted
                                                                      grantedby byFranchisee
                                                                                   Franchiseeto    toFranchisor
                                                                                                      Franchisoror  orsuch
                                                                                                                        such  Affiliate is
                                                                                                                              AffiUate      is  aa
      special power of attorney coupled with1 an        aninterest and andis  irrevocable and
                                                                           isirrevocable     andshall
                                                                                                   shallsurvive
                                                                                                          survive the   death   or disability
                                                                                                                   the death or disability
      rfFrmcrhi
      of          see. Any
         Franchisee.      Anysumsumexpended
                                      expendedby  byFranchisor
                                                     Franchisoror   orsuch
                                                                       suchAffiliate
                                                                             Affiliate to
                                                                                        tocure   Franchisee'sbreach
                                                                                           cureFranchisee's      breachof ofthe
                                                                                                                             thelease
                                                                                                                                  leaseshall
                                                                                                                                         shall
      bedeemed
      be deemed additional
                    additionalsumssumsdue dueFranchisor
                                               Franchisor ororits
                                                                itsAffiliate hereunder
                                                                               hereunder and     Franchisee    shall  pay
                                                                                            andFranchisee shallpaysuchamountsuch   amountto    to
      Franchisor or
      Franchisor    oritsitsAffiliate
                            Affiliate upon
                                        upondemand.
                                                demand. TheThecovenants of       Franchisee contained
                                                                              ofFranchisee     contained in inthis
                                                                                                               thisSection     4.04(a)shall
                                                                                                                    Section 4.04(a)      shall
      survive the
               the termination
                     termination of this this Agreement.
                                               Agreement.

              (b)Franchisee
              (b)  Franchisee shall
                              shalldeliver
                                    deliver to
                                            toFranchisor
                                               Franchisor aa complete
                                                             complete copy  ofsuch
                                                                      copy of  suchlease
                                                                                    leasepromptly
                                                                                          promptly after
                                                                                                    afterexecution
                                                                                                         execution
      thereofby
      thereof byFranchisee
                 Franchiseeand
                            andthe
                                 theLandlord
                                     LandlordinintheformpreviouslyapprovedbyFrancUsor. Franchiseeshall
                                                 the form previously approved  by Franchisor. Franchisee  shallduly
                                                                                                               duly
      andtimely
      and timelyperform
                  perfomiall
                          allof
                             ofthe
                                theterms,
                                    tenns,conditions,
                                          conditions, covenantsandobligations imposeduponhimorherunder
                                                      covenants  and obligations imposed upon  him or her under the
                                                                                                                the
      lease for the
      leasefor      FranchisedLocation.
                the Franchised Location.

                                                                  V
                                                        INITIAL
                                                        INITIAL FRANCHISE
                                                                FRANCHISE FEE

                5.01 Initial
                5.01 InitialFranchise
                             FranchiseFee
                                      Fee(check
                                          checkas
                                                asapplicable
                                                  a licable :

               [[ ]     (a)If
                        (a) Ifthis
                              thisAgreement
                                   Agreementhashasbeen
                                                   beensigned
                                                          signedunder
                                                                   underthe
                                                                          thePurchase
                                                                              PurchaseProgram,
                                                                                        Program,Franchisee
                                                                                                  Franchiseeshall
                                                                                                               shallpay
                                                                                                                      payto
                                                                                                                         to
      Franchisorthe
      Franchisor thesum
                    sumof
                        of$$        ' , ,as      asan
                                                   anInitialFranchiseFee;
                                                       Initial Franchise   Fee;payable
                                                                               payable$$                upon
                                                                                                        uponthe
                                                                                                             theexecution
                                                                                                                 execution
      of^his
      of      Agreement,and
         this Agreement,   andthe
                                thebalance,
                                   balance,ififany,
                                               any,in
                                                    in_ equal     equalweekly
                                                                         weekly installments   with interest
                                                                                 installments with  intereston
                                                                                                             onthe   unpaid
                                                                                                                theunpaid
      balance  at  the rate
      balance at the rate ofof  _%       per  annum(or
                                     % per annum      (or the
                                                           the maximum
                                                                maximum raterate allowed
                                                                                  allowed by
                                                                                           by law,   whicheverr is
                                                                                               law, whicheve     is lower),
                                                                                                                    tower),
      evidencedby
      evidenced   byaa promissory
                       promissorynote
                                   noteon
                                        onthe
                                          theform
                                               formprescribed
                                                     prescribedby byFranchisor.
                                                                     FranchisorThe  Thefirst
                                                                                        firstpayment
                                                                                             paymentononthe  balance shall
                                                                                                          thebalance   shall
      be due  on the second Wednesday
      be due on the second   Wednesday following the thedate
                                                          datethe
                                                                theFranchised
                                                                    Franchised Restaurant
                                                                                 Restaurant opens   for business
                                                                                             opens for  business with
                                                                                                                  with sub-
                                                                                                                       sub-
      sequent payments duedueononeach
                                  eachsucceeding
                                       succeeding Wednesday
                                                   Wednesday until until paid
                                                                         paidin
                                                                              in full.
                                                                                 full.
                f[ 1]     (b)If
                          (b) Ifthe
                                theInitial
                                    InitialTerm
                                           Term under
                                                underthe
                                                      thePurchase
                                                         Purchase Program
                                                                  Program set
                                                                          setforth
                                                                              forthin
                                                                                   inSection
                                                                                      Section 3.01(a)
                                                                                              3.01(a)is
                                                                                                      isless
                                                                                                        lessthan
                                                                                                             than10
                                                                                                                 10
      years, and
             andFranchisee
                 Franchisee is
                            isentitled
                               entitledto
                                       toaa Special
                                            SpecialRenewal  Termpursuant
                                                    Renewal Term pursuant to
                                                                          toSection
                                                                             Section3.02,
                                                                                    3.02,Franchisee
                                                                                         Franchisee shall
                                                                                                    shall also
                                                                                                          also
     pay,as
     pay, asaa condition
               conditionprecedent
                          precedentto toFranchisee's
                                        Franchisee'sright
                                                     rightto enterinto
                                                          toenter intoaa Renewal
                                                                         RenewalAgreement
                                                                                   Agreementpursuant
                                                                                                 pursuanttotoSection
                                                                                                              Section3,02,
                                                                                                                       3^02,
     andin
     and in addition totothe
                         theInitial Franchise Fee
                                               Feepayable pursuant toto Section 5.01(a),
                                                                                 5. 01(a), aa "Deferred
                                                                                              "Deferred Initial  Fee" equal
                                                                                                         Initial Fee" equal
     to $$
     to                             for each
                                    for  each year
                                               year ofof the
                                                         the First
                                                               First Renewal
                                                                     Renewal TermTerm (not
                                                                                         (not to to exceed
                                                                                                     exceed aa total
                                                                                                                   total of
                                                                                                                          of
     $                        ; whichDeferred
                             );which  DefenedInitial
                                               InitialFee
                                                      Feeshall
                                                          shaUbe
                                                               bepayable
                                                                  payable$$                         at the timeFranchise
                                                                                                    atthetime   Franchisee e
     executesits
     executes   itsRenewal
                    RenewalAgreement
                             Agreementpursuant
                                          pursuantto
                                                   toSections
                                                      Sections3.02
                                                               3.02and
                                                                    and3.04,
                                                                         3.04,and
                                                                               andthe
                                                                                    thebalance,
                                                                                       balance,if ifany,
                                                                                                     any,in
                                                                                                          m ____^ equal
                                                                                                                      equal
     consecutive weeklyinstallments
     consecutive           installments with
                                          withinterest on
                                                       onthe
                                                          theunpaid   balance at
                                                              unpaid balance    atthe
                                                                                  therate
                                                                                      rate ofof-%% per  perannum
                                                                                                            annum(or (or the
                                                                                                                         the
     maximumrate
     maximum      rateallowed
                      allowedby bylaw,
                                   law,whicheve
                                        whicheverris
                                                   islower),
                                                      lower), evidenced
                                                              evidencedby byaa promissory
                                                                               promissorynote noteon
                                                                                                  onthe
                                                                                                      theform    prescribed
                                                                                                          formprescribed
     by
     by Franchisor.
        Franchisor.


IHOPOC3
IHOPOC3005
         5                                                                  11
                                                                            11
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             [        (c) If
                     (c)  If Franchisee
                             Franchisee isis executing
                                             executing this
                                                       this Agreement
                                                            Agreement pursuant
                                                                        pursuant to
                                                                                 to the Single Store
                                                                                    theSingle        Development
                                                                                                StoreDevelop ment
      ProgramlunderwhKhyou"p7d'a^atTonfee7LocationF^^^
      Program under which you paid a location fee("Location Fee"),Franchisee shall pay to Franchisor the sum of
      $5S'00"a7anhkial'Fran7hlseFee, lesstheLocationFeeof$ 15,000.00paidfortheFranchisedLocation,
      $50,000.00 as an Initial Franchise Fee,Less the Location Fee of $15,000.00 paid for the Franchised Location,
      payable upon execution of
              upon execution      this Agreement.
                                ofthis Agreement.
               [          IfFranchisee
                      (d)If  Franchiseeisisexecuting
                                            executingthis
                                                      thisAgreement
                                                           Agreementpursuant
                                                                        pursuantto
                                                                                 tothe
                                                                                   theterms
                                                                                       termsof
                                                                                             ofan
                                                                                                m executory
                                                                                                   executoryIHOP
                                                                                                               MOP
      Multi-Sto^e De^op^Agreement pursuanuo^^
      Multi-Store Development Agreement pursuant to which you paid a development fee ("Development Fee"),
      ^rn ^shalipart
           chls shall pay too'Fran^h
      Franchisee                    isor'the'
                              Franchisor  thesum
                                              sum of $40,000.00,
                                                     $40, 000. 00, less the Development
                                                                   less the Development Fee       2^Sn^o)r
                                                                                         Fee of $20,000.00
                                                                                                $20. 000. 00 paid for
                                                                                                                  for
      this Franchised
      this Franchised Location,
                      Location, payable upon
                                         upon execution
                                               execution of this  Agreement.
                                                         ofthis Agreement.
            []  [   (e) IfthisAgreementhasbeensignedundertheNovationProgram,orincolule(:don_witllthe
                         (e) If this Agreement has been signed under the Novation Program,or in connection with the
      renewalOTassignmento7a peexistmg franchiseagreementfortheFranc
      renewal or assignment of a preexisting franchise agreement for the Franchised Location,there shall be no
                                                                      MsedI^at^
      Ini'tialR
      Initial     'a^hisrFFee payable pursuant
                      ee'payable
               Franchise                 pursuamto   the execution
                                                  to the execution of this
                                                                        tfus Agreement,
                                                                             Agreement, but any    bala"fe which remains
                                                                                               any balance which
                                                                                            rema^
           ai^mres
      unpaid          oect'of'
                in respect of the  franchisefee
                               the franchise feepreviously
                                                previouslyincurred
                                                            incurredbybyFranchisee(oritsassignor,if
                                                                           Franchisee (or its assignor, ifapplicable)
                                                                                                          applicable):shall
      r"eSpayaUeo'nVhetermspreviouslyagreed,asshallthegeneraaccoun
                                                            l
      remain payable on the terms previously agreed,as shall the general account balance and other obligations then
                                                                  balanc
                                                                   t    eandotherobligationsthen
      owedto
      owed    toFranchisor
                 FranchisorbybyFranchisee
                                 Franchisee(or  itsassignor,
                                             (orits assignor,if
                                                              if applicable).
                                                                 applicable).
               []      (f)IfFranchiseeisexecutingthisAgreem
      DevelopmentAgreementfora FranchisedLocationwithinent
                                                         pursuanttothetermsofanexeculorymop ^
               []       (f)If Franchisee is executing this Agreementpursuant to the terms of an executory IHOP Area

      benoad    ditionaflnitial
                                                       theExclusiveTemtoiydefmedthere;n'dlere, shal!
      Development Agreement for a Franchised Location within the Exclusive Territory defined therein,there shall
      be no additional           FranchiseFee
                         Initial Franchise Feepayable
                                               payablepursuant
                                                        pursuanttotothe executionof
                                                                    theexecution   ofthis Agreement,
                                                                                     thisAgreem      but any
                                                                                                 ent,but any balance
                                                                                                             I
      ^hich'reremains
      which    mams'uunpaid
                         np'Jdm    respectof
                                in respect ofthefranchisefeepreviously incurredbyFranchiseeP^suantto
                                             the franchise fee previously incurred by Franchisee pursuant   the Area
                                                                                                          totheArea
      Deve'topmentA^eement shallremainpayableonthetermspreviouslyagreed,asshallFranchisee's
      Development Agreement shall remain payable on the terms previously agreed, as shall Franchisee's other
      obligations
      obligations to
                   to Franchisor.
                      Franchisor.

               [X]
              [X]      (g)If"other"ischeckedinRecitalC tolhisA^eement,theFranchiseeshallpaytoFra"chisor
                       (g)If "other" is checked in Recital C to this Agreement,the Franchisee shall pay to Franchisor
         sumLo^$50, 6Soas an'fniti'al
      the sum of $50,000 as an Initial Franchise
                                       Franchise Fee;
                                                 Fee; payable
                                                       payable $10,000.00
                                                               $10, 000.00 upon
                                                                              upon execution
                                                                                   execution of this
                                                                                                this Agreement, and
                                                                                                         Agreement
      thebara nce^if~any, 'in'156
      the balance,if any,in 156 equal
                                equal weekly installments
                                             installm ents with interest on the unpaid
                                                                interest    the        balance at the
                                                                                                  the rate
                                                                                                      rate of
                                                                                                           ^ 11% per
      aDnura(or
              (orthe
                  themaximum
                     maximum raterateallowed
                                                                         on                    at
                                                                                                                  ll%_Per
      annum                           allowedby
                                              bylaw, whichever
                                                 law,whichev  eris
                                                                islower),
                                                                   lower), evidenced    a promissory
                                                                                     by a
                                                                           evidenced by              note on the form
                                                                                          promi^ory note  onmeTon
                            tiisor. The
      prescribed by Franchisor.     Thefirst
                                        firstpayment
                                             payment on the
                                                        t balance shall be due on the second Wednesday following
      [heEffec
      the      tive'Dat
          Effective DateeofthisF
                          of thisranchise
                                  FranchiseAgreem entwiths
                                            Agreement  with subsequent
                                                           ubsequ      payments
                                                                  entpaym         due
                                                                            entsdue   on each succeeding Wednesday
                                                                                    oneach
      until
      until paid
            paidininfull.
                    full.

                                                    VI
                                      CONTINUINGROYALTY,
                                      CONTINUING ROYALTY, DEFINITION
                                                          DEFINBTIONOF
                                                                     OF
                                       GROSSSALES
                                       GROSS SALESAND
                                                  ANDRECORD
                                                      RECORDKEEPING
                                                              KEEPING
              6. 01 Continuing
              6.01  Continuine Royalty.
                               Rovaltv.

              Eachweek
              Each weekduring
                       duringthe
                              theTerm,
                                 Term.Franchisee
                                      Franchiseeshall
                                                 shallpay toFranchisor
                                                      payto Franchisoraa Continuing
                                                                         ContinuingRoyalty
                                                                                    Royaltyin
                                                                                           inan
                                                                                              anamount
                                                                                                amount
      equalto:
      equal to:

              [X]
              [X]      (a)4.5%
                       (a) 4. 5%of
                                ofFranchisee's
                                   Franchisee's Gross
                                                GrossSales
                                                      Salesduring
                                                           duringthe
                                                                  thepreceding Weekly Reporting
                                                                     preceding Weekly           Period,or
                                                                                      Reponing Period, or
              [[ ]     (b)The
                      (b) Thepercentage
                              percentageof
                                        ofFranchisee's
                                           Franchisee'sGross
                                                       GrossSales
                                                             Salesset
                                                                   setforth
                                                                      forthin
                                                                            inthe
                                                                              theschedule
                                                                                  scheduleattached
                                                                                           attachedhereto,
                                                                                                    11eret0'for
                                                                                                            for
      thefirst
      the firstt__ Weekly
                     WeeklyReporting
                              ReportingPeriods
                                       Periodsfollowing
                                               followingthe
                                                        theEffective Date,and
                                                            EffectiveDate,     thereafter 4.5% of Franchisee's
                                                                            andthereafter4. 5%ofFranchisee's
      Gross Sales
      Gross  Salesfor
                   forthe
                      thebalance
                          balanceof
                                 ofthe
                                    theTerm.
                                       Term.




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                                                                  12
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                    Pa m nts and
               6.02 Payments and Reportine.
                                 Re ortin .

               (a)The
               (a)TheContinuing
                      ContinuingRoyalty
                                Royaltypayment
                                        paymentfor
                                               foreach
                                                   eachWee klyReporting
                                                       Weekly ReportingPeriod
                                                                        Periodshall
                                                                              shallbe
                                                                                    bedue
                                                                                      dueon
                                                                                          onthe
                                                                                            theWednesday
                                                                                                Wedaesda
                                                                                                     y
      followingthe
      following Ae'Weei dyRe^rtm
                   Weekly ReportinggPeriod
                                    Periodin
                                           inwhich
                                             whichsuch
                                                   suchGross
                                                       GrossSales
                                                             Saleswere
                                                                  wereearned,
                                                                       earned,and
                                                                              andshall
                                                                                  shallbe
                                                                                       beaccompanied,
                                                                                          accompanied,
      whereapplicable,
      where applicable, by
                        byany
                           anyinstallment
                              uistaUment payments  duepursuant
                                          payments due         toSection
                                                       pursuantto Section5.01.
                                                                         5.01.
               (b)Franchisee's
               (b) Franchisee's weekly
                                weeklyContinuing
                                       ContinuingRoyalty
                                                 Royaltypayments
                                                         paymentsshall
                                                                 shallbe
                                                                       beaccompanied
                                                                         accompanied by
                                                                                     bya statement in such
                                                                                       a statement insuch
      fomiand
      form anddetail
              detailas
                     asFranchisor
                       Franchisorshall
                                  shallfrom
                                       fromtime
                                            timeprescribe,showing
                                                          showinghow
                                                                  howsuch
                                                                     suchContinuing
                                                                          ContinuingRoyalty wascomputed
                                                                                    Royaltywas  computed
      for7uchW
      for        eekiyReporting
          such Weekly ReportingPeriod,
                                Period,and
                                        andaccompanied
                                            accompaniedby   thecash
                                                         bythe cashregister
                                                                    registeror allelectronic
                                                                            orall            point-of-salesystem
                                                                                  electronicpoint-of-sale system
      tapes of
      tapes ofthe Franchised Restaurant
               theFranchised Restaurant for
                                        forthe sameperiod.
                                            thesame period.
               (c)On
              (c)  Onaa monthly
                        monthlybasis,
                                basis,Franchisee
                                      Franchiseeshall
                                                 shallsubmit
                                                      submitto Franchisoraa copy
                                                             toFranchisor   copyof
                                                                                 ofFranchisee's
                                                                                   Franchisee'smonthly
                                                                                                monthlysales
                                                                                                       sales
      tax reports.
      tax reports.

               (d)Within
              (d)  Within30 30days
                              daysafter
                                    afterthe
                                           theexpiration
                                                expirationof ofeach
                                                               eachcalendar
                                                                     calendarquarter    (orother
                                                                                quarter(or   other33 month
                                                                                                     monthperiod
                                                                                                             [renoddesignated
                                                                                                                       designated
      byFranchisor),
      by  Franchisor), Franchisee
                        Franchiseeshall
                                      shaUfurnish
                                              furnishFranchisor
                                                        Franchisorwith
                                                                    withaa profit
                                                                              profitand
                                                                                     and  loss
                                                                                           loss statement
                                                                                                statement   of  the Franchised
                                                                                                            °ftfle    Franclused
      Restauran^for'such
      Restaurant            previous quarter
                  for such previous   quarterandandwithin    90days
                                                      within 90 daysafter
                                                                       afterthe
                                                                             theend
                                                                                 endof  eachcalendar
                                                                                     ofeach   calendaryear,
                                                                                                        year;Franchisee
                                                                                                               Franchiseeshallshall
      furimshFranchisor
      furnish Franchisorwithwithaa profit
                                   profitand
                                           andloss
                                                lossstatement
                                                       statement and
                                                                  andbalance
                                                                       balancesheet
                                                                                 sheetof   theFranchised
                                                                                        ofthe              Restaurant
                                                                                               Franchised^Restaura       ntfor
                                                                                                                            forthe
                                                                                                                                 the
      previouscalendar
      previous  calendaryear.
                          year.All
                                AUsuch
                                    suchfinancial
                                          financialstatements
                                                      statementsshall
                                                                  shallbe  preparedin
                                                                        beprepared   inaccordance    with Generally
                                                                                        accOTdancewith    Generau       Accepted
                                                                                                                        yAcce^
      A'ccountingPrinciples
      Accounting   Principles("GAAP")
                               ("GAAP")consistently
                                             consistently applied
                                                            appliedfrom
                                                                    fromapplicable
                                                                           applicableperiod
                                                                                       periodtotoperiod
                                                                                                 penodandandshall
                                                                                                               shallbebecertified
                                                                                                                          certified
      byFranch
      by         fsee.or
          Franchisee,  or^by  Franchisee'sChief
                           by Franchisee's     ChiefExecutive
                                                       ExecutiveOfficer
                                                                   OfficerororChief    Financial
                                                                                ChiefFinancialOfficer if Franchiseeisis aa
                                                                                                  Officer,  if  Franchisee
      Business Entity,
      Business   Entity, as
                         asbeing
                            beingtrue
                                   tme and
                                         andcorrect,
                                               correct, and
                                                          andas
                                                              asbeing
                                                                 being prepared
                                                                         prepared inin accordance    with GAAP
                                                                                       accordance with    GAAP consistently
                                                                                                                     consistently
      appliedfrom
      applied fromapplicable
                    applicableperiod
                                 periodtotoperiod.
                                             period. AllAllsuch
                                                            suchfinancial
                                                                 financialstatementssha11alsocomPlywi
                                                                            statements   shall also comply    with  any specific
                                                                                                                 thanysPe     clflc
      requirementsas
      requirements  asFranchisor
                        Franchisormay
                                    mayfromfromtime
                                                  timeto totime
                                                           timedesignate.     Franchiseehereby
                                                                designate. Franchisee     herebyirrevocably
                                                                                                  irrevocablyconsents
                                                                                                                 consenteto  to  the
                                                                                                                                 the
      inspectionof
      inspection  ofsaid
                    saidfinancial
                          financialstatements
                                    statementsby   byFranchisor
                                                       Franchisoror   its Affiliate and to  Franchisor's use   of  said
                                                                   orksAffiliateandtoFranchisor's useofsaidfinancial     financial
      statements, at
      statements,  at Franchisor's
                      Franchisor's election,
                                    election, in in Franchisor's
                                                     Franchisor's offering
                                                                   offering circular
                                                                              circular for
                                                                                       for the
                                                                                            the offer
                                                                                                offer and
                                                                                                       and sale
                                                                                                           sale of of franchises.
                                                                                                                      franchises.
      Franchisee shall
      Franchisee  shall submit
                        submit all
                                 allsuch
                                    suchfinancial statements to    toFranchisor
                                                                      Franchisor bybysuch
                                                                                       suchmeans,    including    electronically,
                                                                                             means, including electronically,
      asFranchisor
      as Franchisormay
                     maydesignate     fromtime
                           designatefrom     timeto totime.
                                                       time.
              (e)If
             (e)  IfFranchisee
                    Franchiseeshould
                               shouldatatany
                                         anytime
                                             timecause
                                                  causean
                                                        anaudit  ofFranchisee's
                                                            auditof Franchisee'sbusiness
                                                                                 businessto
                                                                                          tobe
                                                                                            bemade
                                                                                               madeby byaa public
                                                                                                           public
      accountant. Franchisee
      accountant,  Franchiseeshall
                              shall furnish
                                    furnishFranchisor
                                            Franchisor with
                                                       withaa copy of said audit, without any cost or
                                                              copy of saidaudit, without any cost orexpense
                                                                                                      expensetoto
      Franchisor.
      Franchisor,

              (f)Franchisee
              (1) Franchiseeshall
                            shallallow
                                  allowFranchisor
                                        Franchisorand
                                                  andits
                                                      itsAffiliate
                                                         Affiliateaccess
                                                                   accessto,
                                                                         to,and
                                                                            andupon
                                                                                uponrequest
                                                                                     requestshall
                                                                                            shallprovide
                                                                                                  providecopies
                                                                                                          copies
      of.the
      of, theFranchisee's
             Franchisee'sstate, federal
                                federaland
                                        andlocal
                                            localincome
                                                 incometax
                                                         taxreturns      Franchisee
                                                             returns andFranchiseeherebywaivesany
                                                                     and            hereby waives  anyprivilege
                                                                                                       privilege
      pertainingthereto.
      pertaining thereto.

                (g) Upon
               (g)  Uponrequest
                          requestof
                                  ofFranchisor,
                                    Franchisor, Franchisee   mustparticipate
                                                Franchisee must   participate in  Fj'anclusor's then-current
                                                                               inFranchisor's   then-current electronic
                                                                                                              electronic
      fundstransfer
      funds  transferprogram
                      programauthorizing
                               authorizing Franchisor
                                           Franchisor toreceive payments fromFranchisee bypre-authorized
                                                      to receive payments    from  Franchisee  by  pre-authonzed bank
                                                                                                                    bank
      draft, wire
      draft, wiretransfer,
                  transfer automated clearinghouse
                                     clearinghouse(ACH)
                                                    (ACH)transfer,
                                                            transfer, or
                                                                      orotherwise,
                                                                         otherwise, as
                                                                                    asFranchisor
                                                                                       Franchisorspecifies
                                                                                                   specifiesfrom
                                                                                                             from  time-
                                                                                                                   dme-
      to-timein
      to-time  inFranchisor's
                  Franchisor'ssole
                              soleand
                                   andabsolute
                                      absolutediscretion,
                                               discredon,ininaccordance
                                                              accordancewith
                                                                           withprocedures
                                                                                proceduresthat
                                                                                            thatmay
                                                                                                 maybebeset
                                                                                                         setforth
                                                                                                            forthininthe
                                                                                                                     the
      Operations
      OperationsBulletins.
                   Bulletins.

               6.03
               6.03 Records.
                    Records.

              (a)Franchisee
             (a) Franchiseeshall
                            shallrecord
                                 recordall
                                        allsales
                                           salesin
                                                 insuch
                                                   suchform
                                                        fonnand   manner,and
                                                              andmanner,  andusing
                                                                               usingsuch
                                                                                     suchequipment,
                                                                                          equipment, as
                                                                                                      asprescribed
                                                                                                         prescribed
      inthe
      in theOperations
            OperationsBulletins,which
                                 whichmay,
                                        may,amongotherthings,requireFranchiseetouseindividual
                                              among  other things,require Franchisee  to use individua lpre-printed
                                                                                                        pre-printed
      machineserial
      machine  serialnumbered
                     numberedguest
                              guestchecks
                                    checksbearing
                                           bearingthe
                                                    the"MOP"
                                                       "MOP"logologoand advertising
                                                                    andadvert  isingslogan,
                                                                                    slogan.which
                                                                                            whichFranchisee
                                                                                                   Franchiseemust
                                                                                                               must
      purchasefrom
      purchase froma Franchisor-approved,
                      Franchisor-approved, licensed
                                            licensed vendor. Franchisee shallcauseallsuchsalesto
                                                     vendor.  Franchisee shall cause all such sales tobe
                                                                                                      beregistered
                                                                                                         registered
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                                                                      13
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      uponan
      upon  anelectronic
               electronicpoint-of-sale
                          point-of-salesystem,
                                        system,of
                                                ofsuch
                                                  suchtype
                                                       typeand   havingsuch
                                                             andhaving   suchfeatures  asspecified
                                                                              featuresas  specifiedby
                                                                                                   byFranchisor,
                                                                                                      Franchisor,and
                                                                                                                  and
      whichmay
      which  mayrequire
                  requirea lock-in
                            lock-inrunning
                                    runningtotal.
                                             total. At
                                                    Atany
                                                       anytime
                                                           timeupon   Franchisor'srequest,
                                                                 uponFranchisor's   request,Franchiseeshall
                                                                                             Franchisee  shallprovide
                                                                                                              provide
      toFranchisor
      to Franchisoror
                    orits
                       itsauthorized
                          authorizedrepresentatives
                                     representatives access,and
                                                              andif
                                                                  ifapplicable
                                                                    applicableaa key
                                                                                 keyto
                                                                                     topermit
                                                                                        permitreading
                                                                                               readingof,
                                                                                                       of,the
                                                                                                          therunning
                                                                                                              running
      totalof
      total ofthe
              thepoint-of-sale
                  point-of-sale system.
                                system. Any
                                         Any electronic
                                               electronicpoint-of-sale
                                                         point-of-salesystem
                                                                        systemmust   at all
                                                                                mustatalltiinesmeeteachandall
                                                                                            times meet each and allof
                                                                                                                    of
      Franchisor'sstandard
      Franchisor's standardspecifications   andrequirements
                             specifications and                thenin
                                                requirements then   ineffect
                                                                      effect for
                                                                             forsame.
                                                                                 same.
               (b)Franchisee
               (b)  Franchiseeshallshallkeep
                                          keepandandpreserve
                                                      preservefor foraa period
                                                                          periodofofnot
                                                                                      notless
                                                                                           lessthan
                                                                                                 than36 36months
                                                                                                             monthsafter
                                                                                                                       afterthe
                                                                                                                             theend
                                                                                                                                  endof ofeach
                                                                                                                                            each
      calendaryear
      calendar   yearor orany
                           anylonger
                                 longerperiod
                                         periodas asmay
                                                     maybe  berequired
                                                                requiredby     ApplicableLaw,suchbusinessrecordsasmay
                                                                           byApplicable        Law,   such     business   records   as  maybe  be
      prescribedby
      prescribed   byFranchisor,
                        Franchisor,including
                                      includingcashcashregister
                                                         registerreceipts,
                                                                    receipts cash    registertape
                                                                              cashregister      tapereadings,       standardizednumbered
                                                                                                      readings,standardized         "u"*ered
      guestchecks,sales
      guest             salestax
                               taxor
                                   orother
                                      othertaxtaxreturns,    bankbooks,
                                                  returns, bank      books,duplicate      depositslips,
                                                                             duplicatedeposit       slips,andandother
                                                                                                                   otherevidence
                                                                                                                          evidenceof ofGross
                                                                                                                                          Gross
      Salesand
      Sales  andbusiness
                  businesstransactions
                              transactionsin inaccordance
                                                accordance with        Franchisor'srequirements promulgated
                                                                withFranchisor's                         promulgatedfrom  fromtimeto
                                                                                                                                 time  totime.
                                                                                                                                           time.
      Inaddition
      In  additiontotothe
                        therights
                             rights granted
                                    granted Franchisor under          Section 10.07,
                                                             under Section       10.07,Franchisor
                                                                                          Franchisor and  anditsits Affiliate
                                                                                                                    Affiliate shall
                                                                                                                               shall have
                                                                                                                                      havethe the
      nght,at
      right, atany
               anytime
                     timeand
                           andirom     tuneto
                                from time    totime,
                                                time.totoenter    Franchisee'sFranchised
                                                          enterFranchisee's       FranchisedRestaurant
                                                                                                 Restaurantand   andother
                                                                                                                      otherbusiness
                                                                                                                             businessoffices
                                                                                                                                         offices
      toinspect
      to inspect(including
                  (includingthe theright
                                    righttotoinspect
                                              inspect point-of-sale
                                                        point-of-salesystems,
                                                                          systems,andandother
                                                                                          otherequipment,
                                                                                                  equipment, as    asapplicable,
                                                                                                                     applicable,andandto totake
                                                                                                                                            take
      readingsof
      readings   ofall
                    all documenters,pre-checkers
                                           pre-checkersandpointofsalesystems), audit,verifysalesandmakeorrequest
                                                            and  point   of sale  systems),    audit,  verify    sales and   make   or  request
      copies"of
      copies      booksof
              of books    ofaccount,
                              account, bank
                                         bankstatements,
                                                statements, documents,
                                                               documents, records,
                                                                              records,tax taxreturns,
                                                                                               returns, papers
                                                                                                           papersandandfiles
                                                                                                                         filesofofFranchisee
                                                                                                                                   Franchisee
      relating  to
      relating to  Gross
                   Gross    Sales
                            Sales  andbusinesstransactedand,uponrequestbyFranchisor,Franchiseeshallmake
                                   and  business    transacted     and,  upon   request   by   Franchisor,      Franchisee    shall makeany   any
      such
      such  materials    available    for
                                      for inspection     by
                                                         by  Franchisor     and   its Affiliate    at  the
                                                                             and its Affiliate at the Franchised Restaurant or
                                                                                                             Franchised     Restaurant     or atat
      Franchisee's other
                      otherbusiness
                             busmess officesas   asspecified by  byFranchisor.
                                                                     Franchisor. Such
                                                                                    Suchaudit
                                                                                           auditand/or
                                                                                                  and/orsales      verification may
                                                                                                            salesverification     mayinclude
                                                                                                                                        include
      theon-site
      the  on-sitepresence
                    presenceof  ofone
                                   oneor ormore
                                             morepersonnel
                                                    personnel of  ofFranchisor
                                                                      Franchisoror  orits
                                                                                        itsAffiliate
                                                                                            Affiliatefor for77 full
                                                                                                                  fullconsecutive
                                                                                                                      consecutivedays.days. IfIf
      Franchisor    should    cause  an  audit   to be
      Franchisor should cause an audit to be made and   made    andthetheGross
                                                                           GrossSales      businesstransacted
                                                                                   Salesbusiness        transactedand andpayments
                                                                                                                            paymentsdue   duetoto
      Franchiseeas
      Franchisee    asshown
                        shownby  byFranchisee's
                                    Franchisee'sstatements
                                                    statementsshouldshouldbebefound
                                                                                foundto         understatedor
                                                                                            beunderstated
                                                                                         tobe                    orunpaid
                                                                                                                    unpaidby byany
                                                                                                                                 anyamount,
                                                                                                                                      amount,
      Franchiseeshall
      Franchisee    shallimmediately
                           immediately pay  paytotoFranchisor
                                                    Franchisoror   orits
                                                                       itsAffiliate,
                                                                           Affiliate,ififapplicable,
                                                                                          applicable,the  theadditional
                                                                                                                additionalamount
                                                                                                                             amountpayable
                                                                                                                                       payable
      asshown
      as  shown bybysuch
                       such audit, plus
                                     plusinterest thereon
                                                     thereon at     the highest
                                                                 atthe   highest rate
                                                                                   rate of   interest allowed
                                                                                         ofinterest     allowed by  bylaw,
                                                                                                                        law, and
                                                                                                                              and^fif they
                                                                                                                                      they arearc
      foundto
      found  tobebeunderstated
                    understatedby   by2%2%or ormore,or  orif
                                                           ifrecords
                                                              recordsare arenot
                                                                             notproduced
                                                                                 producedas    asrequested
                                                                                                  requestedby    byFranchisor,
                                                                                                                    Franchisor,Franchisee
                                                                                                                                   Franchisee
      shall also
      shall  also immediately
                   immediately pay  pay toto Franchisor
                                              Franchisor the the cost
                                                                   cost ofof such
                                                                             such audit
                                                                                     audit and
                                                                                             and any
                                                                                                   any subsequent
                                                                                                          subsequent audit
                                                                                                                         audit and/or
                                                                                                                                 and/or sales
                                                                                                                                           sales
                     that may
      verification that   mayhe   beperformed due  dueto   Franchisee's prior
                                                        to Franchisee's      priorfailure
                                                                                    failure to   produce records;
                                                                                              to produce      records; otherwise,
                                                                                                                         othenvise, thethecost
                                                                                                                                             cost
      of
      ofthe
          theaudit
             auditshall
                     shallbebepaid   byFranchisor.
                                paidby    Franchisor.

                (c) Upon
               (c)   Upon request
                            request by byFranchisor,
                                          Franchisor, Franchisee
                                                       Franchiseeshall
                                                                   shallelectronically
                                                                         electronically link
                                                                                          link its
                                                                                                itsFranchised
                                                                                                    FranchisedRestaurant
                                                                                                                 Restaurant to to
      Franchisoror
      Franchisor   orits
                      itsAffiliate, andandallow
                                           allowFranchisor
                                                  Franchisorand/or   its Affiliate, to
                                                             and/orits              topoll   theFranchised
                                                                                        pollthe   FranchisedRestaurant
                                                                                                               Restauranton on aa
      dailyor
      daily  orother
                otherbasis
                      basisatatsuch
                                suchtimes
                                      timesand   insuch
                                             andin   suchmanner  asestablished
                                                          manneras               bythe
                                                                    established by    theFranchisor
                                                                                          Franchisor ororits
                                                                                                          itsAffiliate,
                                                                                                              Affiliate, with
                                                                                                                          withor
                                                                                                                               or
      withoutnotice,through
      without            throughthethecomputerized
                                       computerized POS
                                                      POSsystem
                                                           systemand
                                                                  andto   retrieve such   transaction  information
                                                                       toretrieve suchtransaction informationincludingincluding
              sales mix,
      sales, sales   mix, usage,
                           usage, and
                                    and other
                                         other operations   data as
                                                operations data  as Franchisor
                                                                    Franchisor and/or
                                                                                  and/or its
                                                                                           its Affiliate
                                                                                               Affiliate deems
                                                                                                          deems appropriate.
                                                                                                                    appropriate.
      Franchiseeshall, at
      Franchisee           atits
                              its sole
                                  sole cost
                                        cost and
                                             andexpense,obtain
                                                           obtainand
                                                                  and maintain
                                                                       maintain a separate
                                                                                     separate dedicated
                                                                                               dedicatedtelephone
                                                                                                            telephone line
                                                                                                                        line and
                                                                                                                             and
      modem, or
      modem,     or if
                     if available
                        available and
                                    and approved
                                         approved by byIHOP,
                                                        IHOP,such
                                                              such other
                                                                    other means
                                                                            means of    making    such  information    available
                                                                                    of making such information available
      electronically, such
      electronically,  suchasasthe
                                theinternet
                                     internetvia
                                              viaaa broadband
                                                    broadbandconnection,
                                                              connection,as asFranchisor
                                                                               Franchisoror orits
                                                                                               itsAffiliate
                                                                                                   Affiliatemay
                                                                                                              mayspecify
                                                                                                                   specifyfrom
                                                                                                                           from
      time
      time to
            to time.
               tune.


                                                                     VII
                                                                     VH
                                                                 ADVERTISING
                                                                 ADVERTISING

                7.01 National Advertising
                7.01 National Advertisine Fee.
                                          Fee.

             (a)In
             (a) Inaddition
                   addidontotoall otherpayments
                              allother paymentsprovided
                                                providedfor
                                                          forherein,
                                                             herein,each
                                                                    eachweek
                                                                          weekduring
                                                                               duringthe
                                                                                      theTerm,
                                                                                         Term,Franchisee
                                                                                                Franchiseeshall
                                                                                                           shall
     payto
     pay toFranchisor
            Franchisora National
                         National Advertising  Fee equal to 1% of
                                   Advertising Feeequal to 1% of theGross
                                                                  the Gross Sales
                                                                             Salesof
                                                                                   ofthe
                                                                                     theFranchised
                                                                                         FranchisedRestaurant,
                                                                                                     Restaurant,
     payable on
              onthe
                 the Wednesday following the
                                           the Weekly
                                               Weekly Reporting
                                                       Reporting Period
                                                                 Period in
                                                                         in which
                                                                            whichsuch
                                                                                  such Gross
                                                                                        Gross Sales
                                                                                              Sales were
                                                                                                    wereearned
                                                                                                         earned
     (simultaneously with
     (simultaneously  withFranchisee's
                           Franchisee's Continuing
                                        ContinuingRoyalty   payment  for the same period).
                                                    Royalty payment for the sameperiod).


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                                                                             14
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               (b)National
               (b)NationalAdvertising
                           AdvertismgFees
                                      Feespaid byFranchisee
                                          paidby Franchiseeshall beadministratively
                                                            shallbe administrativelysegregated
                                                                                    segregatedon
                                                                                               onFranchisor's
                                                                                                 Franchisor's
      orits
      or itsAffiliate's
            Affiliate's books
                        booksand
                              andrecords (the"National
                                 records(the           Advertising Fund"),
                                             "NationalAdvertising                   withthe
                                                                           together with
                                                                   Fund"),together       theaggregate
                                                                                            aggregateof:
                                                                                                      of:
                         (i) National
                         (i) National Advertising Feespayments
                                      Advertising Fees          madeby
                                                       payments made byall
                                                                       all franchisees
                                                                           franchisees of IHOP Restaurants;
                                                                                       ofIHOP  Restaurants;
                        (ii)Payments equal to
                        (ii)               to1%      theGross
                                                  ofthe
                                              1 % of          Salesof
                                                        Gross Sales   IHOP Restaurants
                                                                    ofIHOP             operated by
                                                                           Restaurants operated byFranchisor
                                                                                                   Franchisor and
                                                                                                              and
      its Affiliates;
          Affiliates; and

                          (iii) All Table
                         (iii)            Allowances received
                                    TableAllowances           byFranchisor
                                                     received by Franchisoror itsAffiliates.
                                                                           orits Affiliates.
                (c)From
               (c)  Fromsums
                          sumsavailable in   theNational Advertising
                                           inthe             Advertising Fund,
                                                                           Fund,Franchisor
                                                                                  Franchisorshall      develop advertising,
                                                                                                 shalldevelop    advertising, public
                                                                                                                                 public
      relations, and
      relations,      promotional campaigns designed
                  andpromotional                  designedto topromote    andenhance
                                                                promote and    enhancethe theimage,
                                                                                               image,identity
                                                                                                        identity or
                                                                                                                  orpatronage of
                                                                                                                    patronage     ofall
                                                                                                                                      all
      IHOPRestaurants. In
      IHOP                     In addition,
                                  addition, should
                                              shouldsufficient
                                                       sufficientsums
                                                                    sums bebe available
                                                                               availablein  in the   National Advertising
                                                                                                the National     Advertising Fund,
                                                                                                                                 Fund,
      Franchisormay,
      Franchisor    may,but  isnot
                         butis                     makeexpenditures
                                    obligatedto,make
                                notobligated              expendituresfrom
                                                                         fromthe
                                                                               theNational      AdvertisingFund
                                                                                   NationalAdvertising        Fundfor forthe
                                                                                                                           thepurpose
                                                                                                                              purpose
      ofpaymg
      of          foradvertising,public
         paying for                                         promotional     campaigns    designed    to  promote
                                    public relations andpromotional campaigns designedtopromote andenhancethe
                                            relations  and                                                         and   enhance     the
      image,identity
      image,   identity or  patronage of
                         or patronage   ofall
                                            allIHOP
                                                 IHOPRestaurants.        Permissible expenditures
                                                        Restaurants. Permissible       expenditures may   mayinclude
                                                                                                                include conducting
                                                                                                                           conducting
                   studies, purchasing computer software
      markedng studies,
      marketing                                      software and
                                                                andhardware
                                                                     hardware totofacilitate
                                                                                   facilitate customer     andmarketing
                                                                                                customer and     marketing analysis
                                                                                                                              analysis
      oradvertising
      or              generally,and
         advertisinggenerally,    andthe
                                      theproduction
                                          productionand      purchase   of              art, commercials,
                                                        andpurchaseofadvertisingart,commercials, musicaljingles,
                                                                           advertising                        musical   j ingles,print
                                                                                                                                   print
      advertisements, point
      advertisements,    point of
                                ofsale materials, media
                                  salematerials,            advertising, outdoor
                                                    mediaadvertising,     outdoor advertising
                                                                                    advertising art,art,and  direct mail
                                                                                                         anddirect  mail pamphlets
                                                                                                                            pamphlets
      and literature. It
      and                It is              agreed that
                                expressly agreed
                            is expressly             that in
                                                           in all  phases and
                                                               all phases    and aspects
                                                                                  aspects of of such    activities, including
                                                                                                 such activities,    including cost,
                                                                                                                                   cost,
      development, type,
      development,    type, format and            quantity,            placement,   choice    of  media
                                     and style, quantity, timing, placement, choice of media or agency, and
                                          style,             timing,                                      or agency,    andallall other
                                                                                                                                  other
      mattersrelating
      matters  relatingto
                        tosuch   advertising,public
                           suchadvertising,    publicrelations    andpromotional
                                                       relationsand    promotionalactivities,
                                                                                     activities,the
                                                                                                  thedecision
                                                                                                      decisionof ofFranchisor
                                                                                                                    Franchisorshallshall
      befinal. Nothing
      be                   hereinshall
                 Nothingherein          beconstrued to require Franchisor to allocate orexpendNationalAdvertising
                                   shallbe  construed    to require  Franchisor   to allocate    or expend   National    Advertising
      Fund contributions so
      Fund                    so as  to benefit
                                  as to benefit anyany particular franchisee
                                                                     franchisee oror group
                                                                                      group of  of franchisees
                                                                                                   franchisees on         pro rata
                                                                                                                  on aa pro    rata oror
                      basis or
      proportional basis     or otherwise. The      National Advertising Fund shall not be a trust fund and shall be
                                               The National     Advertising    Fund   shall   not   be  a trust  fund   and   shall   be
      commingled withwithFranchisor's other
                                         otherfunds.    Franchisee shall
                                                funds. Franchisee     shallnot
                                                                            notengage
                                                                                engagein     anysuch
                                                                                         inany    suchactivities,
                                                                                                        activities, nor
                                                                                                                    norshall
                                                                                                                         shallititerect
                                                                                                                                  erect
      ordisplay
      or display any
                  anysign
                      signorornotice
                               noticeof
                                      ofany   kindwithout the
                                         anykind              theprior  written
                                                                  prior written consent    of
                                                                                 consent ofFranchisor,       whosedecisions
                                                                                              Franchisor, whose       decisions shall
                                                                                                                                   shall
      be
      be final.
         final.

                 Suchadvertising, public
             (d)Such
             (d)                                   andpromotional
                                  public relations,and promotional services
                                                                   services shall
                                                                            shallbe
                                                                                  beprovided
                                                                                    provided and
                                                                                             andadministered
                                                                                                 administered
      asfollows:
      as

                     (i) Franchisor
                     (i) Franchisorshall
                                     shallconsult
                                           consultwith
                                                  withfranchisees  atregularly
                                                       franchiseesat regularlyscheduled
                                                                               scheduledmeetings
                                                                                         meetingsconcerning
                                                                                                  concerningthe
                                                                                                             the
                               developmentand
      type,content,frequency,development     andnature
                                                 natureof
                                                        ofproposed
                                                          proposedNational
                                                                    NationalAdvertising
                                                                             AdvertisingPrograms,
                                                                                        Programs,and
                                                                                                   andshall
                                                                                                      shallgive
                                                                                                            give
      dueconsideration
      due considerationto
                       tothe
                           the views
                               viewsof
                                     offranchisees.
                                        franchisees. The  allocationof
                                                     Theallocation  ofadvertising
                                                                       advertisingexpenditures
                                                                                  expendituresfrom
                                                                                               fromthe
                                                                                                    theNational
      Advertising Fund
                  Fundshall  befinally
                       shall be  finallydetermined by
                                                    by Franchisor,
                                                       Franchisor.

                         (ii) Franchisor shall
                         (ii) Franchisor          disburse funds
                                           shall disburse  fundsfrom
                                                                  from the
                                                                        the National Advertising FundFundfor
                                                                                                           for the purpose of
                                                                                                               the purpose  of
      paying
      paying for   its actual administrative
              for its          administrative expenses      with respect
                                                 expenses with   respect to
                                                                          to said
                                                                             said Fund,
                                                                                   Fund, its
                                                                                          its reimbursement   of direct  costs
                                                                                              reinibmsement of direct costs
                byits
      incurred by
      incurred      its Affiliate
                        Affiliatein    providing administrative
                                   in providing    administrative services
                                                                   services respecting
                                                                            respecting the
                                                                                        theNational
                                                                                             National Advertising
                                                                                                       Advertising Fund
                                                                                                                    Fundandand
      costs of
      costs                     internal Advertising Department,
            ofFranchisor's internal                     Departinent, including
                                                                      including direct
                                                                                  direct overhead
                                                                                         overhead and
                                                                                                    and excluding
                                                                                                        excluding any
                                                                                                                    any costs
                                                                                                                         costs
      relating to
      relating  to Franchisor's      Franchise Sales
                    Franchisor's Franchise        Sales Program.
                                                        Program. To  To the
                                                                          the extent
                                                                               extent the
                                                                                       the Franchisor's
                                                                                            Franchisor's Affiliate
                                                                                                          Affiliate provides
                                                                                                                     provides
      administrative services for for the
                                      the direct benefit of theNational Advertising Fund
                                                         ofthe                          Fundandandincurs
                                                                                                   incursexpenses asasa result
                                                                                                                        result
               suchexpenses
      thereof,such   expenseswill     bereimbursed
                                  willbe reimbursedfrom
                                                      fromthe
                                                            theNational
                                                               NationalAdvertising     Fund. Additionally,
                                                                         AdvertismgFund.       AdditionaUy,Franchisor
                                                                                                             Franchisorshall
                                                                                                                         shall
      disburse funds
      disburse   funds from
                         from thethe National
                                     National Advertising     Fund for
                                                Advertising Fund     for the
                                                                          the purpose
                                                                              purpose of of paying   for the
                                                                                             paying for  the other
                                                                                                             other expenses
      hereinabove
      hereinaboveset setforth
                         fonhin in paragraph
                                   paragraph7.01(c).
                                               7.01(c).




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                                                                        15
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                      (iii) Within
                     (iii)  Within a reasonable
                                      reasonable time
                                                 time after
                                                       afterthe
                                                             the expiration
                                                                 expiration of  each of
                                                                             ofeach   of Franchisor's
                                                                                         Franchisor's fiscal
                                                                                                      fiscal years,
                                                                                                             years,
      Franchisorshall
      Franchisor shallfurnish
                       furnishfranchisees
                               franchiseesinformation
                                           information with
                                                       withrespect
                                                             respectto thereceipts
                                                                    tothe          andexpenditures
                                                                           receiptsand expenditures ofofmonies
                                                                                                         moniesby
                                                                                                                by
      andfrom
      and fromthe
               theNational
                  National Advertising
                             Advertising Fund,containing       followinginformation:
                                                           thefollowing
                                                containing the           infonnation:
                                  (1)The
                                  (1) Theopening
                                         openingbalance
                                                 balancein
                                                        insuch
                                                           suchFund
                                                               Fundat     beginningof
                                                                      thebeginning
                                                                    atthe          ofsuch
                                                                                      suchfiscal
                                                                                          fiscalyear;
                                                                                                 year;
                                  (2)The
                                  (2) Thetotal
                                         totalamount
                                               amountof feespaid
                                                     offees paidinto
                                                                 intothe NationalAdvertising
                                                                     theNational AdvertisingFFund
                                                                                              undby
                                                                                                  byall
                                                                                                    allfranchisees
                                                                                                        franchisees
      during
      duringsuch fiscalyear;
             suchfiscal year;

                                  (3)The
                                  (3) Thetotal
                                         totalamount
                                               amountof
                                                     ofTable
                                                        TableAllowances
                                                             Allowancesreceived
                                                                        receivedby
                                                                                byFranchisor
                                                                                   Franchisorand
                                                                                             andits
                                                                                                 itsAffiliates
                                                                                                    Affiliates
      duringsuch
      during suchfiscal
                 fiscalyear;
                        year;

                             (4) A reasonably itemized
                             (4)                                   anddescription of
                                              itemized breakdown and                    all disbursements
                                                                                     ofaU   disbursements from
                                                                                                           fromthe
                                                                                                                 the
                           Fundduring
      National Advertising Fund  during such
                                        such preceding
                                             preceding fiscal  year,            to indicate
                                                        fiscal year, sufficient to indicate separately eachof
                                                                     sufficient              separately each  ofthe
                                                                                                                 the
      variousclasses
      various classesof
                     ofexpenditures made  fromsuch
                                    madefrom   suchFund
                                                    Fundand
                                                          andthe
                                                              theamount
                                                                  amountof ofthe expenditures made
                                                                             theexpenditures    madefor
                                                                                                      foreach
                                                                                                         eachclass
                                                                                                               class
      thereof;
      thereof; and

                                  (5) The
                                  (5) The net
                                          net balance, if any,remaining in
                                              balance, if               inthe
                                                                           the National
                                                                               National Advertising
                                                                                        Advertising Fund
                                                                                                    Fundat
                                                                                                         atthe
                                                                                                           theclose
                                                                                                               close
         such fiscal year.
      of such        year.

              IfFranchisor's
              If Franchisor'sNational
                             NationalAdvertising
                                      AdvertisingFund
                                                 Fundexpenditures
                                                      expendituresin
                                                                  inany
                                                                     anyone
                                                                        onefiscal
                                                                            fiscalyear
                                                                                  yearshall
                                                                                       shallexceed
                                                                                            exceedthe
                                                                                                   thetotal
                                                                                                      total
      amount contributed toto said
                              said Fund
                                   Fund during
                                         during said fiscal year,
                                                saidfiscal  year. Franchisor shall
                                                                             shall have
                                                                                   havethe
                                                                                        the right
                                                                                            right to
                                                                                                  to be
                                                                                                     bereimbursed
                                                                                                        reimbursed to
                                                                                                                    to
      the
      the extent of the
                 of the excess ofthose
                               of those amounts subsequently contributed to tosaid
                                                                               saidFund.
                                                                                    Fund. If
                                                                                          Ifthe
                                                                                             thecontributions
                                                                                                 contributions to
                                                                                                               tosaid
                                                                                                                  said
      Fundexceed
      Fund  exceedthe
                   theexpenditures
                       expendituresfrom
                                   fromsuch
                                        suchFund
                                            Fundin
                                                 inany
                                                   anyfiscal
                                                       fiscalyear,
                                                             year.such
                                                                   suchexcess
                                                                       excesswill
                                                                              willbe
                                                                                  beretained
                                                                                     retainedin
                                                                                             insaid
                                                                                                saidFund
                                                                                                    Fundfor
                                                                                                         for
      future advertising.
      future advertising.

              7.02
              7. 02 Local and
                          and Regional
                              Re ional Advertising
                                       Advertisin Fee.
                                                   Fee.

              (a)In
              (a) Inaddition
                    additionto
                             toall
                               allother
                                    otherpayments
                                         payments provided
                                                  providedfor
                                                           forherein,
                                                              herein,each  weekduring
                                                                     eachweek   duringthe
                                                                                       theTerm,  Franchiseeshall
                                                                                           Tenn, Franchisee shall
     payto
     pay  toFranchisor
             Franchisoraa Local
                           LocalAdvertising
                                  Advertisiug Fee
                                               Feeequal
                                                   equalto
                                                         to2%
                                                            2%of
                                                               ofthe  Gross  Sales of the Franchised
                                                                  the Gross SalesoftheFranchisedRestaurant,
                                                                                                     Restaurant,
     payableon
     payable   onthe
                  theWednesday
                     Wednesdayfollowing
                                   followingthe
                                             theWeekly
                                                WeeklyReporting
                                                        ReportingPeriod
                                                                   Periodin
                                                                          inwhich
                                                                             whichsuch
                                                                                   suchGross
                                                                                         GrossSales
                                                                                               Saleswere
                                                                                                     wereearned
                                                                                                          earned
     (simultaneously with
     (simultaneously   withFranchisee's Continuing Royalty
                                                     Royalty and
                                                              andNational
                                                                  National Advertising
                                                                           Advertising Fee
                                                                                       Feepayment forthe
                                                                                            payment for thesame
                                                                                                            same
     period).
     period).

              (b)Franchisees
             (b)  Franchiseesor orFranchisor
                                    Franchisormay,from fromtime
                                                             timeto totime,
                                                                       time,develop
                                                                             developororassist
                                                                                          assistininthe
                                                                                                     thedevelopment
                                                                                                         developmentof  ofRegional
                                                                                                                           Regional
     Advertisingcooperatives
     Advertising   cooperativesdesigned
                                   designedto topromote
                                                 promoteandandenhance
                                                                 enhancethe     value of  all 1110P   Restaurants   in
                                                                            thevalueofall IHOPRestaurants ineachregion.each  region.
     Franchisormay
     Franchisor   mayestablish
                         establishand
                                    andmodify
                                        modifyfromfromtime
                                                         tunetoto time
                                                                   timeguidelines
                                                                          guidelines and
                                                                                      andprocedures
                                                                                           procedures which
                                                                                                          whichshall
                                                                                                                   shallgovern
                                                                                                                         governthethe
     conductand
     conduct  andoperation
                   operationof ofthe
                                  theRegional
                                      RegionalAdvertising
                                                 AdvertisingCooperatives.
                                                                Cooperatives. The Thegeographical
                                                                                      geographicaldescription
                                                                                                        descnptionof ofeach
                                                                                                                        eachregion
                                                                                                                              region
     (hereinafter"Advertising
     (hereinafter  "AdvertisingRegion")shall  shallbe
                                                    bedesignated
                                                       designatedby  byFranchisor
                                                                         Franchisorininits
                                                                                        itssole
                                                                                            solesubjective
                                                                                                  subjectivejudgment,
                                                                                                              judgment,exercised
                                                                                                                          exercised
     m good
     in goodfaith, after
                      afterconsultation
                            cons'ultation with
                                           withfranchisees
                                                 franchisees in theproposed Advertising Region^If
                                                                in  the  proposed   Advertising     Region.    Ifaa majority
                                                                                                                    majorityof ofthe
                                                                                                                                  the
     FranchisedRestaurants in
     Franchised                  m the
                                    the Advertising
                                        Advertising Region
                                                       Region vote
                                                                 voteto toestablish
                                                                           establish or participate    in a Regional    Advertising
                                                                                     or participate in a Regional Advenising
                    (eachIHOP
     Cooperative (each     IHOPRestaurant being beingentitled
                                                        entitled to
                                                                  toone
                                                                     onevote),
                                                                           vote). Franchisee's
                                                                                  Franchisee's Franchised
                                                                                                   Franchised Restaurant
                                                                                                                Restaurant and
                                                                                                                             andallall
     MOP Restaurants operated by
     IHOP                             by Franchisor and       its  Affiliates   and located    in  the Advertising
                                                         and its Affiliates and located in the Advertising Region shall
                                                                                                                      Region    shall
     participatetherein
     participate thereinandandcontribute
                               contributethereto
                                            theretoononan   equalbasis
                                                         anequal    basiswith
                                                                           withall
                                                                                 allother
                                                                                    otherfranchisees
                                                                                           franchiseeswho whoareareobligated
                                                                                                                    obligatedto,
                                                                                                                               to,or
                                                                                                                                   or
     ifapplicable,
     if applicable, voluntarily elect   to,  participate  in
                                   elect to, participate in suchRegional Advertising Cooperative. Eachfranchisee
                                                             such   Regional    Advertising   Cooperative.      Each  franchisee inin
     the proposed
     the proposed Advertising
                     Advertising Region
                                    Regionshall
                                              shall be
                                                    beentitled
                                                        entitled to
                                                                  to vote
                                                                      voteinin person
                                                                               person at
                                                                                       ataa meeting
                                                                                             meetingcalled
                                                                                                        calledfor
                                                                                                                forthe
                                                                                                                    thepurpose
                                                                                                                         purpose ofof
     considering formation of  ofa Regional Advertising Cooperative,
                                                              Cooperative, or  orby
                                                                                  byballot   submitted to
                                                                                     ballot submitted     toFranchisor
                                                                                                             Franchisor inin writing
                                                                                                                             writing
     within 30
     within  30days thereafter.
                       thereafter.



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                                                                       16
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                                                      VIII
                                                      Vffl
                                                     AND TRADE SECRETS
                                          TRADEMARKS AND       SECRETS

               8.01               se Trademarks.
               8. 01 License to 1 se Trademarks.

              (a)Franchisor hereby
             (a)            herebygrants totoFranchisee, andFranchisee
                                             Franchisee, and Franchisee hereby
                                                                        hereby accepts,
                                                                               accepts, the
                                                                                        theright,
                                                                                            right,during
                                                                                                  duringthe
                                                                                                         theTerm
                                                                                                            Term
              upon the
      hereof, upon the terms
                       terms and
                              andconditions    contained herein, to use and display the Trademarks, butonly
                                   conditions contained  herein, to use and display the Trademarks,   but  only in
                                                                                                                in
      connectionwith
      connection withthe
                      theretail
                         retailsale
                                saleat
                                    atthe
                                       theFranchised
                                           FranchisedRestaurant
                                                      Restaurantof
                                                                 ofthose
                                                                    thoseitems
                                                                         itemscontained
                                                                               containedononthe
                                                                                             thestandard  menuof
                                                                                                 standardmenu   of
      IHOPRestaurants
      MOP   Restaurantsas
                        asprescribed
                           prescribedbybythe  OperationsBulletins.
                                          theOperations  Bulletins.
               (b) Nothing herein
              (b)                       give Franchisee any
                           herein shall give            anyright,
                                                            right, title
                                                                   title or interest in
                                                                         orinterest  m or
                                                                                        orto
                                                                                          to the
                                                                                             the Trademarks,
                                                                                                 Trademarks, except
                                                                                                              except aa
      mereprivilege
      mere  privilegeand
                      andlicense,
                         license,during
                                  duringthe   Term
                                          theTermhereof,
                                                    hereof,to display   and  use the  same according  to the
                                                           to display andusethesameaccording to theforegoing foregoing
      limitationsand
      limitations andupon   theterms,covenants
                      uponthe         covenantsand
                                                 andconditions
                                                     conditionscontained
                                                                containedherein.
                                                                              herein.
               8.02 Acts
               8.02      in Derogation
                    ActsinDero    ationof Franchisor'sTrademarks.
                                       ofFranchisor's T emarks.

               (a)Franchisee
              (a)  Franchiseeagrees
                                 agreesthat, as
                                              asbetween
                                                 betweenFranchisor
                                                          Franchisorand
                                                                      andFranchisee,    theTrademarks
                                                                           Franchisee, the   Trademarks of  ofFranchisor
                                                                                                               Franchisorareare
      thesole
      the soleand
               andexclusive property of    ofFranchisor and   Franchisee  now  asserts  no
                                                          and Franchisee now asserts noclaimclaim and    will
                                                                                                   and will hereafter
                                                                                                              hereafiter assert
                                                                                                                         assert
      no claim
      no  claim to
                 to any
                    any goodwill,
                        goodwill, reputation or   or ownership thereof
                                                                thereof by
                                                                        by virtue
                                                                            virtue of
                                                                                   of Franchisee's
                                                                                       Franchisee's licensed
                                                                                                       licensed use
                                                                                                                  use thereof.
                                                                                                                      thereof.
                   agrees that
      Franchisee agrees   thatitit will not door
                                        notdo  orpermit
                                                  pennit any
                                                         anyact
                                                              actor thingto
                                                                 orthing  tobe
                                                                            bedone
                                                                                doneininderogation
                                                                                         derogation ofofany
                                                                                                          anyof  Franchisor's
                                                                                                               ofFraichisors
      rightsin
      rights inconnection
                connection with
                            withthe thesame,
                                        same,either
                                              eitherduring
                                                     duringthe  Termor
                                                            theTerm      thereafter, and
                                                                      orthereafter,  andthat
                                                                                          thatititwill
                                                                                                  willuse
                                                                                                       usesame
                                                                                                            sameonly
                                                                                                                  onlyfor
                                                                                                                        forthe
                                                                                                                            the
      uses and
      uses  andin  the manner licensed
                in the           licensed hereunder andand as
                                                           as herein
                                                              herein provided.
                                                                     provided.

                         tothe
              (b) Except to
             (b)                                                 hereunder, Franchisee
                            thelimited extent expressly licensed hereunder, Franchisee shall
                                                                                       shall not
                                                                                             not use,
                                                                                                 use, or
                                                                                                      orpermit
                                                                                                         permit the
                                                                                                                the
          aspart
      use,as partof
                  ofits
                    itsname,the
                              thephrases "MOP","International
                                 phrases"IHOP",   "InternationalHouse
                                                                 Houseof
                                                                       ofPancakes",
                                                                         Pancakes","House
                                                                                     "Houseof ofPancakes",
                                                                                                 Pancakes",or  any
                                                                                                            orany
      phrase
      phraseor  combinationof
             orcombination   ofwords
                                wordsconfusingly   similarthereto.
                                      confusinglysimilar   thereto.
               8.03 Prohibition
               8.03 ProhibitionAgainst     utin Franchisor's
                                       Disputing
                                A ainstDis       Franchisor'sRights.
                                                             Ri hts.

              Franchisee agrees  thatit will not,during
                         agreesthat              during or
                                                         orafter
                                                           afterthe
                                                                 theTerm,
                                                                    Tenn, in
                                                                          inany
                                                                             anyway,
                                                                                 way,dispute
                                                                                       dispute or
                                                                                               orimpugn
                                                                                                  impugn the
                                                                                                          thevalidity
                                                                                                              validity
      of the
      of the Trademarks licensed
                          licensed hereunder,
                                   hereunder, oror the
                                                   the rights
                                                       rights of
                                                              of Franchisor
                                                                  Franchisor thereto,
                                                                             thereto, or
                                                                                      or the
                                                                                         the right
                                                                                             right of
                                                                                                    of Franchisor,
                                                                                                       Franchisor, its
                 orother
      Affiliates,or otherfranchisees
                         franchiseesofofFranchisor
                                         Franchisortotouse
                                                        usethe  sameboth
                                                            thesame   bothduring
                                                                          duringthe
                                                                                  theTerm
                                                                                      Tennand
                                                                                            andthereafter.
                                                                                                 thereafter.
               8.04
               8. 04 Use of Franchisor's Name.
                                         Name.

               Franchisee agrees
               Franchisee  agrees that
                                  thatthe
                                       the Franchised    Restaurant shall
                                           Franchised Restaurant      shall be
                                                                            benamed
                                                                               named "IHOP,"     "International House
                                                                                       "IHOP," "International    House ofof
      Pancakes" or                         of Pancakes Restaurant,"
                  or "International House of              Restaurant, " as
                                                                        as specified
                                                                           specified by
                                                                                      by Franchisor oror any
                                                                                                         any combination
                                                                                                              combination
               asmay
      thereof as maybebeapproved by byFranchisor ininits  solediscretion,
                                                      itssole  discretion, without
                                                                           without any
                                                                                    anysuffix
                                                                                         suffixor
                                                                                                orprefix  attached thereto
                                                                                                  prefix attached  thereto
      andall
      and  allsigns,advertising
                    advertising and
                                 andslogans
                                     sloganswill
                                             will only
                                                  onlybear
                                                        bearthe
                                                              thename
                                                                  name"IHOP,"
                                                                        "IHOP," "International
                                                                                  "International House
                                                                                                  House ofPancakes",
                                                                                                          of Pancakes",or
                                                                                                                        or
      "International House of Pancakes Restaurant,"
                                         Restaurant, " or  suchother
                                                        or such  other Trademarks as asFranchisor may
                                                                                                    may hereafter specify
                                                                                                                   specify
         itsOperations Bulletins.
      inits
      in                                       shall maintain
                        Bulletins. Franchisee shall  inaintain aa plaque
                                                                  plaque of
                                                                          ofreasonable
                                                                             reasonable and
                                                                                         andsuitable
                                                                                              suitable size
                                                                                                       sizeand
                                                                                                            anddesign,
                                                                                                                design. as
                                                                                                                        as
      approvedby
      approved   byFranchisor,
                    FrancMsor,behind    thecash
                                behindthe   cashregister
                                                 registeron onthe
                                                                theinterior
                                                                    interiorof
                                                                             ofthe
                                                                               thepremises,    designating  Franchisee
                                                                                    premises, designatingFranchiseeas   as
      proprietor
      proprietor of
                  of the
                     the Franchised
                         Franchised Restaurant,
                                     Restaurant, and
                                                  and shall
                                                        shall use
                                                               use Franchisee's
                                                                   Franchisee's correct
                                                                                 correct name
                                                                                          name onon all
                                                                                                     all invoices,
                                                                                                         invoices, orders,
                                                                                                                   orders,
      vouchers,checks,letterheads, andandother
                                          othersimilar
                                                 similar materials,identifying
                                                                      identifyingthe
                                                                                   the franchise
                                                                                       franchiseasasbeing
                                                                                                     beinga franchise
                                                                                                              franchiseof
      Franchisor
      Franchisor which
                  whichisisindependently
                            independently owned
                                           owned and
                                                   andoperated
                                                        operated by
                                                                  byFranchisee.
                                                                      Franchisee.




IHOPOC3 05
IHOPOC305                                                          18
                                                                   18
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               (c)FromFran
              (c)             chisee'sLocal
                  From Franchisee's    LocalAdvertising
                                               AdvertisingFee,
                                                             Fee,but
                                                                  butonly
                                                                      onlyto
                                                                           tothe
                                                                             theextent
                                                                                 extentthatthatsuch
                                                                                               suchfeefeeactually
                                                                                                           actuallyhashasbeen
                                                                                                                           beenpaid
                                                                                                                                 paid
      byFranchisee
      by  Franchiseeto toFranchisor
                          Franchisorduring
                                       duringFranchisor's
                                                Franchisor'sfiscal
                                                               fiscalyear
                                                                       yearthen
                                                                            then  in  progress,    Franchisor      shall
                                                                                  inprogress,Rranchisorshallreimburse     reimburse
      Franchiseeor
      Franchisee   orcredit
                      creditFranchisee's
                              Franchisee's account
                                             account with
                                                      withFranchisor, for:for:(i)
                                                                               (i) Franchisee's     Franchisor-approved local
                                                                                   Franchisee's Franchisor-approved             local
      advertFsmgexpenses
      advertising  expensesincurred
                               incurredduring
                                          duringsaid
                                                  saidfiscal
                                                       fiscalyear
                                                               year(after
                                                                     (afterdeducting
                                                                            deductingany       expenses^thatFranchisorhas
                                                                                          anyexpenses        that   Franchisor    has
      previously paid
      previously   paid or
                         orisis or
                                or may
                                   maybe berequired
                                             required to
                                                      to pay
                                                           payononaccount
                                                                    account of
                                                                             ofadvertising
                                                                                 advertising run      by, for,
                                                                                                run by,     for, or   on behalf
                                                                                                                  or on    behalfof°f
      Franchisee),and,
      Franchisee),  and,(ii)
                          (ii)contributions
                              contributionsmade
                                              madeby byFranchisee
                                                        Franchiseeduring
                                                                     duringsaid
                                                                             saidfiscal
                                                                                   fiscalyear
                                                                                           year(whether       Uiroughpayment
                                                                                                (whetherthrough         paymentto  to
      Franchisor or
      Franchisor  ordirectly totoa third
                                    thirdparty) to
                                                 tothe  Regional Advertising
                                                    theRegional                  Cooperative, if
                                                                    Advertising Cooperative,       ifany,
                                                                                                      any,of    whichFranchisee
                                                                                                             ofwhich     Franchisee
      isaatwmber,
      is  member,for foradvertising
                         advertisingofofthe
                                          theFranchised
                                              FranchisedRestaurant;
                                                            Restaurant;provided,
                                                                         provided,however,
                                                                                     however,thatthatthe    combinedamount
                                                                                                       thecombined        amountof of
      Franchiso r's said reimbursements
      Franchisor's       reimbursements for for any
                                                any of its fiscal       pursuant to
                                                                  years pursuant
                                                           fiscal years           to (i)
                                                                                      (i) and (ii)
                                                                                              (ii) shall in
                                                                                                          in no
                                                                                                              no event
                                                                                                                  event exceed the

      LocalAdvertising Fee
      Local                 Feeactually
                                 actually paid
                                          paidbybyFranchisee
                                                   Franchisee during
                                                                 duringsaid
                                                                         saidfiscal
                                                                             fiscalyear,    andsuch
                                                                                     year, and    suchright
                                                                                                        rightof ofreimbursement
                                                                                                                    reimbursement
      shallbe
      shall besubject
               subjecttotothe
                           thecondition
                               conditionthat
                                          thatFranchisee
                                               Franchiseefurnish
                                                            famishFranchisor     withappropriateverification,satisfactory
                                                                    Franchisorwith      appropriate    verification,    satisfactory
      toFranchisor,
      to Franchisor, of
                      ofsuch
                          suchadvertising expenditures and   andthat  theadvertising
                                                                 thatthe                resulting therefrom
                                                                          advertising resulting     therefrom has hasbeen
                                                                                                                       been placed
                                                                                                                              placed
      andpaid
      and  paidfor
                foreither
                    eitherbybyFranchisee
                               Franchiseeor orthe
                                               theRegional
                                                   RegionalAdvertising
                                                              AdvertisingCooperative
                                                                            Cooperativeof      whichFranchisee
                                                                                            ofwhich     Franchiseeisisaa member
                                                                                                                            member
      andthat
      and  thatno
               noliability totoany
                                anyparty
                                    partyexists
                                           existsor
                                                 ormay
                                                    mayexist    withrespect
                                                          existwith   respectto
                                                                              tosuch    advertising. Local
                                                                                 suchadvertising.       LocalAdvertising
                                                                                                                 Advertising Fees
                                                                                                                                Fees
      which are
      which   are contributed in in a particular fiscal
                                                  fiscal year
                                                         year ofof Franchisor,  but    which   Franchisor
                                                                   Franchisor, but which Franchisor is not     is  not required
                                                                                                                        required toto
                 orcredit on
      reimburse or          onaccount ofofadvertising expenditures incurred
                                                                       incurred by   Franchisee during
                                                                                byFranchisee       durmgsaid saidfiscal
                                                                                                                  fiscalyear,
                                                                                                                          year.shall
                                                                                                                                shall
      becomepart
      become        ofFranchisor's
               partof   Franchisor's general
                                      general operating
                                               operatingfunds.
                                                           funds.
                            Advertising Requirements.
               7.03 General Advertisin  Re uirements.

               (a) Franchisee
              (a)  Franchiseeshall
                              shallconduct
                                   conductallalllocal
                                                localadvertising
                                                      advertisingand
                                                                 andpromotion
                                                                      promotionininaccordance    with such
                                                                                    accordancewith         policiesand
                                                                                                      suchpolicies  and
      provisionswith
      provisions  withrespect
                       respectto
                               toformat,
                                 format,content,
                                          content,media,  geographic
                                                   media,geographiccoverage
                                                                       coverageand
                                                                                 andother
                                                                                     othercriteria  as
                                                                                            criteriaasare
                                                                                                       arefrom
                                                                                                          fromtime
                                                                                                                timetoto
      timecontained
      time  containedin
                      inthe
                        theOperations Bulletins,
                                       Bulletins, or  asotherwise
                                                   oras otherwisedirected
                                                                  directedbybyFranchisor,
                                                                               Franchisor, and
                                                                                           andshall
                                                                                                shallnot
                                                                                                     notuse
                                                                                                         useor  publish
                                                                                                             orpublish
      anyadvertising
      any  advertisingmaterial
                       materialwhich
                               whichdoes
                                     doesnot
                                           notconform
                                               conformto   saidpolicies
                                                        tosaid  policiesand
                                                                        andprovisions
                                                                             provisionsor
                                                                                        oras
                                                                                           asto
                                                                                              towhich
                                                                                                whichFranchisee
                                                                                                       Franchiseeshall
                                                                                                                   shall
      nothave
      not  havereceived
                receivedFranchisor's
                         Franchisor'sprior
                                     priorwritten
                                            writtenapproval; provided,
                                                               provided, however,
                                                                          however,that   ifFranchisor
                                                                                    thatif Franchisorshall
                                                                                                        shallnot
                                                                                                             notobject
                                                                                                                  object
      toany
      to  anyproposed
             proposedadvertisement
                       advertisementsubmitted
                                     submittedby byFranchisee
                                                    Franchiseefor
                                                                forapproval
                                                                    approvalwithin
                                                                              within20
                                                                                     20days
                                                                                        daysafter  Franchisor'sreceipt
                                                                                              afterFranchisor's  receipt
      thereof, such
      thereof, suchadvertisement
                    advertisement shall
                                   shall be
                                         bedeemed
                                            deemed approved subject
                                                               subject to Franchisor's right
                                                                       toFranchisor's        tosubsequently
                                                                                       rightto  subsequently withdraw
                                                                                                              withdraw
      its
      its approval.
          approval.

              (b) Franchisee
              (h)   Franchisee may
                                may not
                                      not develop,
                                          develop, create, generate,
                                                            generate, own,
                                                                      own, license,
                                                                            license, lease
                                                                                      lease or
                                                                                            or use
                                                                                               use in
                                                                                                    in any
                                                                                                       any manner
                                                                                                           manner any any
                mediumor
      computer medium     orelectronic medium
                                       medium(including    anyinternet
                                                (includingany  internethome
                                                                        homepage,
                                                                              page, website, bulletin
                                                                                    website,buUetinboard,newsgroup
                                                                                                      board, newsgroup
      orother
      or otherinternet-related
               intemet-related medium) which
                                           whichininany
                                                     any way
                                                         wayuses
                                                              usesor
                                                                   ordisplays
                                                                      displaysthe
                                                                                theTrademarks,
                                                                                    Trademarks, inin whole
                                                                                                     wholeororpart,
                                                                                                                part, and
                                                                                                                      and
      Franchiseeshall
      Franchisee  shall not
                         notcause
                            causeor
                                  orallow
                                     allowthe
                                            theTrademarks,
                                                Trademarks, or
                                                             orany
                                                                anyof
                                                                    ofthem.,
                                                                       them, to
                                                                              tobe
                                                                                 beused
                                                                                    usedorordisplayed
                                                                                            displayedininwhole
                                                                                                         wholeor orpart,
                                                                                                                    part,
      asan
      as aninternet
            internet domain
                      domain name,
                              name, or
                                     or on
                                        on ororin
                                               in connection
                                                  connection with
                                                              with any
                                                                    anyinternet   home page, website,
                                                                         mtemet home           website, bulletin
                                                                                                        bulletin board,
                                                                                                                  board,
      newsgroup ororother
                      otherinternet-related
                           intemet-related activity
                                            activity without
                                                     withoutFranchisor's
                                                             Franchisor's express  prior written
                                                                          express prior  wrinenconsent,
                                                                                                 consent, and
                                                                                                          andthen
                                                                                                               thenonly
                                                                                                                    only
      insuch
      in suchmanner
              mannerandandin
                           inaccordance
                              accordance with
                                           withsuch
                                                suchprocedures,
                                                      procedures, policies,standards
                                                                           standardsandandspecifications
                                                                                           specifications as Franchisor
                                                                                                          asFranchisor
      may
      may establish.
           establish.

                (c)Franchisor
                (c)Franchisormaymay(but
                                     (butis
                                          isnot
                                             notrequired
                                                 requiredto)
                                                          to)develop
                                                             developan anIntranet
                                                                         Intranetnetwork
                                                                                   networkthrough
                                                                                              throughwhich
                                                                                                       whichFranchisor
                                                                                                               Franchisorandand
      itsfranchisees
      its franchisees(including
                       (includingFranchisee) can  cancommunicate
                                                      communicate by    e-mail  or similar   electronic  means
                                                                     bye-mail or similar electronic means and     andthrough
                                                                                                                       through
      whichFranchisor
      which    Franchisormaymaydisseminate
                                 dissemmate updates
                                              updatestotothe
                                                          theSystem
                                                             Systemandandother
                                                                           otherconfidential
                                                                                  confidentialinformation.
                                                                                                 information. If IfFranchisor
                                                                                                                    Franchisor
                 suchan
      develops such    anIntranet
                           Intranet network,
                                    network, Franchisee   agrees to use the facilities  of the Intranet  in
                                              Franchisee agrees to usethefacilities oftheIntranet m strictcompliance
                                                                                                            strict conipliance
      withthe
      with  theSystem,and andwith
                               withsuch
                                    suchprocedures,
                                         procedures,policies,
                                                      policies,standards
                                                               standardsand
                                                                          andspecifications
                                                                               specificationsas asFranchisor
                                                                                                    Franchisormaymayestablish
                                                                                                                      establish
      fromtime
      from   timeto
                  totime
                    time(including,
                          (including, without
                                      withoutlimitation,
                                               limitation,standards,protocols    and
                                                                      protocols andrestricdons relatingtotheencryption
                                                                                     restrictions   relating to the encryption
      ofconfidential information
      of                information and
                                      andprohibitions
                                          prohibitions against
                                                         againstthe transmission of
                                                                thetransmission     oflibelous,
                                                                                       libelous, derogatory
                                                                                                   derogatory orordefamatory
                                                                                                                   defamatory
      statements). If
      statements).    If Franchisor
                         Franchisor shall
                                     shall develop
                                            develop said
                                                     saidIntranet, Franchisor
                                                                   Franchisor shall have no obligation to
                                                                                shall have    no  obligation  to maintain
                                                                                                                  maintam the
                                                                                                                            the
      Intranet,and
                 andmay     discontinue its
                     maydiscontinue     its use
                                            useatatany
                                                   anytime
                                                       time without
                                                            withoutliability
                                                                     liability to
                                                                               toFranchisee.
                                                                                  Franchisee.



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                                                                       17
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               8.05 TrademarkProtection.
               8.05 Trademark Protection.

              Inthe
              In theevent
                    eventthat
                           thatany
                               anythird
                                   thirdparty
                                        partymakes
                                              makesany
                                                   anyclaim,by
                                                            bysuit  orotherwise,
                                                                suitor otherwise,against
                                                                                 againstFranchisee
                                                                                         FrancMseebecause
                                                                                                   becauseof
                                                                                                           of
      Franchisee's use in accordance withthis
      Franchisee's use in accordance with thisAgreement
                                              Agreementof
                                                        ofthe
                                                          theTrademarks,   Franchiseeshall
                                                              Trademarks, Franchisee  shallimmediately
                                                                                            unmediatelynotify
                                                                                                       notify
      Franchisorin
      Franchisor  in writing. After
                               After receipt
                                      receiptof
                                             ofsaid
                                                saidnotice,
                                                     notice.Franchisor
                                                             Franchisorshall
                                                                          shallpromptly    takesuch
                                                                                promptly take   suchaction
                                                                                                      actionasasmay
                                                                                                                 maybe be
      necessaryto
      necessary toprotect
                    protectand
                            anddefend
                                defendFranchisee
                                        Franchiseeagainst
                                                   againstany        claim.suit
                                                                suchclaim,
                                                           anysuch           suitor
                                                                                 ordemand,
                                                                                    deinand,and
                                                                                              andFranchisor
                                                                                                   Franchisorshall  pro-
                                                                                                               shallpro-
      tect,indemnify
      tect,indemnifyandandsave
                           saveFranchisee
                                Franchiseeharmless
                                           harmlessfrom
                                                     fromany
                                                           anyloss,
                                                               loss,costs
                                                                    costsor
                                                                          orexpenses   arisingout
                                                                              expensesarising   outofofor
                                                                                                       orrelating
                                                                                                          relatingto
                                                                                                                  toany
                                                                                                                     any
      suchclaim,demand
      such         demandor orsuit. Franchisee
                                    Franchiseeshall
                                               shallhave
                                                     havenonoright
                                                              rightto  settle,compromise,
                                                                   tosettle,  conyromise, or  orlitigate
                                                                                                litigateany
                                                                                                         anysuch
                                                                                                              suchclaim
                                                                                                                   claim
      exceptin
      except instrict
               strictcompliance
                      compliancewith
                                  withany
                                        anyspecific
                                           specificdirectives
                                                    directivesprovided
                                                              providedbybyFranchisor
                                                                            Franchisorrelating
                                                                                        relatingto
                                                                                                 tosuch
                                                                                                    suchspecific
                                                                                                          specificclaim.
                                                                                                                  claim.
      Franchisorshall
      Franchisor  shallhave
                        havethe
                             theright
                                 rightto
                                       todefend,compromise
                                                 compromiseor     settleany
                                                               orsettle  anysuch
                                                                              suchclaim
                                                                                   claimatatFranchisor's    ole cost
                                                                                             Franchisor's^sole  costand
                                                                                                                     and
                using attorneys
      expense, using   attorneys of
                                  of its
                                     its own
                                         own choosing,
                                              choosing, and   Franchisee shall
                                                         and Franchisee     shall cooperate
                                                                                  cooperate fully
                                                                                              fully with
                                                                                                     with Franchisor
                                                                                                          Franchisorin in
      connection
      connectionwith    thedefense
                  withthe   defenseof
                                    ofany
                                       anysuch
                                           suchclaim.
                                                claim.

               8.06     Prosecution of Infringers
                                       Infrin ers

               IfFranchisee
               If Franchiseeshall
                               shallreceive
                                     receive notice
                                             noticeororisisinformed
                                                           informed or  orlearns
                                                                          learnsthat
                                                                                 thatany
                                                                                      anythird
                                                                                          thirdparty,
                                                                                               party, which
                                                                                                      whichitit believes
                                                                                                                believesto tobe
                                                                                                                              be
      unauthorized totouse
                         usethe
                             theTrademarks,
                                 Trademarks, is
                                              isusing
                                                  usingthe
                                                         theTrademarks or  orany
                                                                              anyvariant
                                                                                  variantthereof,
                                                                                          thereof, Franchisee
                                                                                                   Franchisee shall   promptly
                                                                                                               shaUprompdy
      notify Franchisor of
      notify                ofthe
                              thefacts
                                  factsrelating
                                       relating to
                                                 tosuch
                                                    suchalleged    infringing use.
                                                          allegedinfringing     use. Thereupon,
                                                                                     Thereupon, Franchisor
                                                                                                 Franchisor shall
                                                                                                              shalldetermine
                                                                                                                     determine
      whetheror
      whether   ornot
                   notitit wishes
                           wishesto
                                  totake
                                    takeany
                                         anyaction
                                              actionagainst
                                                      againstsuch
                                                               suchthird    personon
                                                                      thirdperson  onaccount
                                                                                       accountof
                                                                                               ofsuch
                                                                                                   suchalleged
                                                                                                        allegedinfringement
                                                                                                                 infringement
      ofFranchisor's
      of  Franchisor's Trademarks.
                         Trademarks. Franchisee
                                       Franchisee shall
                                                     shall have
                                                            have no
                                                                 noright     to make
                                                                       right to make any
                                                                                      anydemand
                                                                                           demand against
                                                                                                    againstany
                                                                                                            anysuch
                                                                                                                  suchalleged
                                                                                                                        alleged
      infringerof
      infringer ofFranchisor's Trademarks or   ortotoprosecute   or  require  Franchisor to prosecute  any
                                                      prosecute orrequire Franchisor toprosecute anyclaimof claim  ofany
                                                                                                                       anykind
                                                                                                                           kind
      or nature
      or  nature whatsoever     againstsuch
                 whatsoever against     such alleged
                                              alleged infringer    of Franchisor's
                                                        infiringer of   Franchisor's Trademark
                                                                                      Trademark for
                                                                                                 for or
                                                                                                      or on
                                                                                                         on account
                                                                                                             account of ofsuch
                                                                                                                           such
      infringement.
      infiingenaent,

               8.07
               8, 07    Modification of Trademarks
                                        Trademarks

               Fromtime
               From timeto
                         totime,ininthe  Operations Bulletins,
                                     theOperations    Bulletins, Franchisor
                                                                 Franchisormay
                                                                            mayadd
                                                                                 addto,  deleteor
                                                                                     to,delete  ormodify
                                                                                                  modify any
                                                                                                          anyor
                                                                                                              orall
                                                                                                                 all of
                                                                                                                     of
      theTrademarks.
      the Trademarks. Franchisee shall accept,
                                         accept, use,ororcease
                                                         ceaseusing,  as may be applicable, the Trademarks, including
                                                               using, asmaybeapplicable, theTrademarks, including
      anysuch
      any  suchmodified
                modified or
                         oradditional trade
                                       tradenames,
                                             names,trademarks,
                                                      trademarks, service
                                                                   service marks,
                                                                           marks,logotypes
                                                                                  logotypes and
                                                                                             andcommercial
                                                                                                 commercial symbols,
                                                                                                             symbols,
      in accordance with
      in                  theprocedures,
                     with the              policies, rules
                              procedures, policies,        and  regulations contained  in the
                                                     mles and regulations contained in the Operations
                                                                                              Operations Bulletins,
                                                                                                         Bulletins, as
                                                                                                                     as
      though  they were
      though they  were specifically set
                                     setforth
                                         forth in
                                               inthis
                                                  this Agreement.
                                                       Agreement.

               8.08
               8.08     License
                        Licenseto
                                t Use
                                  Use Trade
                                      Trade Secrets.
                                            Secrets.

              (a)Franchisor
              (a)Franchisorhereby
                            herebygrants toFranchisee,and
                                  grantsto            andFranchisee herebyaccepts,
                                                          Franchiseehereby accepts,the
                                                                                   theright,
                                                                                       right,during
                                                                                             duringthe
                                                                                                    theTerm
                                                                                                       Term
      hereof, upon
              upon the
                   the terms
                       terms and
                             andconditions
                                 conditions contained
                                            contained herein,
                                                      herein, to
                                                              to use
                                                                 use Franchisor's
                                                                     Franchisor's Trade
                                                                                  Trade Secrets,
                                                                                        Secrets, but
                                                                                                 but only
                                                                                                     only in
                                                                                                          in
      connectionwith
      connection withthe
                     theretail
                         retailsale
                               saleat
                                    atthe
                                      theFranchised
                                          PranchisedRestaurant  ofthose
                                                     Restaurantof  thoseitems
                                                                        itemscontained
                                                                              containedon
                                                                                       onthe
                                                                                          thestandard
                                                                                             standardmenu
                                                                                                      menuof
                                                                                                          of
      IHOP Restaurants as
      IHOP             asprescribed
                          prescribed by
                                      bythe
                                         the Operations Bulletins.
                                                        Bulletms.

              (b) Franchisor
              (b) Franchisor will
                              will disclose  certain of
                                   disclose certain  ofits  Trade Secrets
                                                        its Trade   Secrets to
                                                                            to Franchisee
                                                                               Franchisee inin the
                                                                                               the Operating
                                                                                                   Operating Bulletins,
                                                                                                               Bulletins,
      confidential correspondence,
                   correspondence, or or other
                                         other confidential communications,
                                                             communications, and and through
                                                                                     through the
                                                                                              the Franchisor's
                                                                                                   Franchisor's training
                                                                                                                 training
      program and  otherguidance and
               andother            andmanagement assistance,
                                                      assistance, and
                                                                  andin
                                                                      inperforming
                                                                        performing Franchisor's
                                                                                     Franchisor's^oother
                                                                                                    ther obligations
                                                                                                         obligations and
                                                                                                                      and
      exercising Franchisor's rights under
                                     underthis
                                           thisAgreement.
                                                Agreement. Franchisee acknowledges
                                                                         acknowledges that
                                                                                         thatthe
                                                                                             theTrade
                                                                                                 TradeSecrets
                                                                                                        Secretsnow
                                                                                                                nowandand
      hereafterprovided
      hereafter providedor revealedpursuant
                         orrevealed   pursuantto
                                               tothis
                                                 thisAgreement
                                                      Agreementare arerevealed
                                                                      revealedininconfidence
                                                                                  confidenceand
                                                                                              andFranchisee
                                                                                                   Franchiseeexpressly
                                                                                                               expressly
      agrees
      agreesto
             tokeep
                keepand
                     andrespect
                         respectthe
                                  theconfidence
                                      confidencesosoreposed.
                                                     reposed.
              (c) Franchisee
             (c)  Franchiseeshall
                              shallacquire
                                   acquuenonointerest
                                              interestin
                                                       in the
                                                          the Trade
                                                              TradeSecrets
                                                                     Secretsother
                                                                             otherthan
                                                                                   thanthe
                                                                                         the right
                                                                                             right to
                                                                                                   to use
                                                                                                      usethem
                                                                                                          theminin
      developmgand
      developing andoperating
                      operatingthe
                               theFranchised
                                   FranchisedRestaurant
                                             Restaurantduring
                                                          duringthe
                                                                 theTerm.
                                                                     Tenn. Franchisee's
                                                                            Franchisee'sduplication
                                                                                          duplicationor use of
                                                                                                      oruse ofthe
                                                                                                               the
      Trade Secrets in
                    inany
                       anyother
                          otherendeavor or
                                         orbusiness shall
                                                    shall constitute anunfair
                                                          constitute an unfair method
                                                                               method of
                                                                                      ofcompetition.
                                                                                         competition. Franchisee
                                                                                                       Franchisee

IHOPOC3 05
IHOPOC305                                                           19
                                                                    19
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     shall:(i)
     shall:  (i) not
                 not use
                     usethe
                          the Trade
                              Trade Secrets
                                      Secrets in
                                              in any
                                                 any business
                                                      business or  other endeavor
                                                                or other  endeavor other
                                                                                     other than
                                                                                            thanin
                                                                                                 in connection   withthe
                                                                                                    connection with   the
     Franchised Restaurant;(ii)
     Franchised                 (ii) maintain
                                     maintam absolute confidentiality  ofthe
                                                       confidentiality of theTrade    Secretsduring
                                                                               TradeSecrets   during and
                                                                                                      andafter the
                                                                                                          aftertheTerm;
                                                                                                                   Term;
     (iu) make
     (iii)  makenono unauthorized
                      unauthorizedcopycopyof
                                           ofany
                                               anyportion
                                                   ponion of
                                                           ofthe
                                                               theTrade
                                                                   Trade Secrets,
                                                                           Secrets,including
                                                                                    including the
                                                                                               the Operating
                                                                                                   Operating Bulletins,
                                                                                                               Bulletins,
     confidentialcorrespondence,
     confidential   correspondence,or  orother
                                         otherconfidential
                                               confidentialcommunications,
                                                            communications, whether      writtenororal;and
                                                                                whetherwritten  or oral; and(iv)
                                                                                                             (iv)operate
                                                                                                                  operate
     andimplement
     and   implement all
                       allreasonable
                          reasonableprocedures
                                       procedures prescribed
                                                   prescribedfrom
                                                              fromtime   totime
                                                                    timeto  timeby
                                                                                 byFranchisor
                                                                                    FrancUsorto    prevent unauthorized
                                                                                                toprevent   unauthorized
     useand
     use  anddisclosure of ofthe
                              theTrade Secrets,
                                         Secrets, including              ondisclosure
                                                  including restrictions on              to Owners
                                                                             disclosure to  Owners and
                                                                                                    andothers
                                                                                                         others who
                                                                                                                whomay
                                                                                                                     may
     haveaccess
     have   accesstotothe
                      theOperations
                           OperationsBulletins,or orany
                                                     anyof
                                                        ofthe   TradeSecrets,
                                                           theTrade             and, at Franchisor's request, Franchisee
                                                                      Secrets,and,atFranchisor'srequest,Franchisee
      shallcause
     shall  causesuch
                   suchpersons
                        personstotoexecute
                                    executeconfidentiality
                                            confidentialityagreements
                                                            agreementsononaa form
                                                                              formprescribed
                                                                                   prescribedbybyFranchisor.
                                                                                                  Franchisor. Promptly
                                                                                                                Promptly
      uponFranchisor's
     upon   Franchisors request,
                          request. Franchisee
                                    Franchisee shall         executed  copies  of such
                                                shalldeliver executed copies ofsuchagreements to
                                                     deliver                            agreements   toFranchisor.
                                                                                                       Franchisor.
             (d)Nothing
            (d)  Nothingherein
                          hereincontained
                                containedshall beconstrued
                                          shallbe construed so
                                                            soas
                                                               asto
                                                                 torequire
                                                                    requireFranchisor
                                                                           Franchisortotodivulge
                                                                                         divulgeany
                                                                                                  anyTrade
                                                                                                       TradeSecret
                                                                                                             Secret
     orother
     or otherof
             ofits
                itssecret
                   secretprocesses,formulae
                                    formulaeor  ingredients. Franchisor
                                             oringredients.  Franchisorexpresslyreserves allrightswith
                                                                         expressly reserves all rights withrespect
                                                                                                            respect
     toIHOP's
     to IHOP'sgoods,products,
                       products.Trademarks,Trade
                                              TradeSecrets,
                                                     Secrets,except
                                                              exceptfor
                                                                      forthe limitedlicense
                                                                         thelimited  licenseexpressly
                                                                                             expresslygranted
                                                                                                         grantedto
                                                                                                                 to
     Franchisee
     Franchiseeherein.
                 herein.

              8.09
              8. 09    Obligations
                       Obli ationsUUponnTerminatio
                                        Termination or
                                                    o Expiration.
                                                        x iration.

               Uponthe
               Upon   theexpiration
                          expirationorortermination
                                          termination ofofthis
                                                          thisAgreement
                                                                Agreementforforany
                                                                                anyreason,
                                                                                     reason,Franchisee   shalldeliver
                                                                                             Franchiseeshall    deliverand
                                                                                                                        and
     surrender up upto
                     to Franchisor or
                                    orits
                                        its Affiliate any and  all manuals,  Bulletins, instruction  sheets,forms,
                                                      any and all manuals, Bulletins, instruction sheets, forms, marks,
                                                                                                                    marks,
     devices,Trademarks,and
     devices,                 andthe
                                  thepossession
                                      possessionof ofany
                                                      anyphysical
                                                          physicalobjects
                                                                    objectsbearing
                                                                            bearingororcontaining
                                                                                       containingany
                                                                                                  anyofofsaid Trademarks,
                                                                                                         saidTrademar   ks,
     andshall
     and  shallnot
                notthereafter
                    thereafteruse
                                useany
                                    aiiyof
                                         ofthe
                                             thesame
                                                sameor oranysuchTrademarks orTradeSecrets;providedFranchisoror
                                                         any  such  Trademarks   or Trade Secrets; provided  Franchisor   or
     its Affiliate
     its  Affiliate shall
                    shall purchase
                           purchase from
                                      from Franchisee
                                              Franchisee at
                                                          at aa price
                                                                price equal
                                                                       equal to
                                                                              to Franchisee's
                                                                                 Franchisee's book    value, consisting
                                                                                               book value,   consisting ofof
     Franchisee'scost
     Franchisee's   costtherefor
                         thereforless
                                  lessdepreciation
                                       depreciationcomputed
                                                      computedin inaccordance
                                                                   accordancewith
                                                                               withGAAP,
                                                                                     GAAP,all
                                                                                            allsigns,
                                                                                               signs,paper
                                                                                                       papergoods,
                                                                                                             goods,dishes,
                                                                                                                    dishes,
     andother
     and  otheritems
                 itemsof
                       ofpersonal property purchased      byFranchisee
                                               purchased by  Franchiseein inthe
                                                                            theordinary
                                                                                ordinarycourse
                                                                                          courseof
                                                                                                ofits
                                                                                                    itsbusiness  whichh are,
                                                                                                       business^whic    are,
     inFranchisor's or
     in               orits
                         itsAffiliate's reasonablejudgment,
                                                    judgment, iningood, usable  condition and
                                                                   good, usablecondition andwhich
                                                                                              whichbear
                                                                                                      bearany
                                                                                                          anyTrademarks
                                                                                                               Trademarks
     of Franchisor.
         Franchisor.

                                                     IX
                                                     DC
                                      FURTHER
                                      RJRTHER OBLIGATIONS
                                              OBLIGATIONS OF
                                                          OFFRANCHISOR
                                                             FRANCfflSOR

              9.01 Initial Training.
              9.01 Initial Trainin

              IfFranchisee,or
              If             orin
                                inthe
                                  thecase
                                      caseof
                                           ofa Franchisee
                                               Franchiseewhich
                                                          whichis
                                                                isa Business
                                                                    BusinessEntity,
                                                                             Endty,an
                                                                                    anOwner
                                                                                      Ownerororother
                                                                                                otherdesignated
                                                                                                     designated
                    selected by
     representative selected   byFranchisee
                                  Franchisee and
                                              andapproved
                                                  approved by
                                                           by Franchisor
                                                              Franchisor("Designated   Representative"), has
                                                                          ("Designated Representative"), hasnot
                                                                                                             not
     previouslyundergone
     previously  undergonetraining
                             trainingconducted
                                     conductedbybyFranchisor
                                                   Franchisorfor
                                                             forthe
                                                                 theoperation
                                                                     operationof an IHOP Restaurant,Franchisor,
                                                                              ofanIHOPRestaurant,Franchisor,
     itself
     itselfor
            orthrough
              throughits
                      its Affiliate,shall:
                                    shall:

                       (a)
                       (a)      Furnish 6 weeks
                                Furnish   weeks of
                                                 oftraining ininthe
                                                                 theoperation ofofan
                                                                                   anIHOP
                                                                                        IHOPRestaurant
                                                                                               Restaurant to
                                                                                                           toFranchisee
                                                                                                               Franchisee(or(or
     its Designated
     its  Designated Representative
                      Representative ifif Franchisee
                                          Franchisee is
                                                      is aa Business
                                                            Business Entity),
                                                                        Entity), and,
                                                                                 and, upon     Franchisee's
                                                                                        upon Franchisee's request, to
                                                                                                             request,   to the
                                                                                                                            the
     inanager of
     manager    of the
                   the Franchised
                        Franchised Restaurant
                                    Restaurant(the
                                                (the "Initial
                                                     "Initial Training").
                                                               Trauiing"). Said      training shall
                                                                              Saidtraining      shall be
                                                                                                      begiven
                                                                                                          given at
                                                                                                                 at an
                                                                                                                     anIHOP
                                                                                                                         MOP
     Restaurant oror a training
                       trainmg center designated from
                                                   from time
                                                          time to
                                                                to time
                                                                    time by
                                                                          by Franchisor.
                                                                             Franchisor. Franchisee
                                                                                             Franchisee (or  its  Designated
                                                                                                          (or its Designated
     Representative if
     Representative   ifFranchisee is
                                    isa Business
                                         BusinessEntity)
                                                  Entity) shall  pursueand
                                                           shallpursue    andcomplete
                                                                              complete such
                                                                                          suchtraining
                                                                                                trainingto Franchisor's sole
                                                                                                         toFranchisor's    sole
                              unless waived
     subjective satisfaction unless   waivedby   Franchisor in
                                              byFranchisor    inits
                                                                  itssole
                                                                      solesubjective
                                                                           subjectivejudgment,
                                                                                       judgment, exercisedin
                                                                                                    exercised   m good
                                                                                                                   goodfaith,
                                                                                                                         faith,
     byreason
     by  reasonof
                ofsuch
                  suchperson's
                        person'sprior
                                 priortraining
                                       tramingand
                                               andexperience,
                                                   experience,in  inwhich
                                                                      whichcase
                                                                            casethe
                                                                                 theproposed
                                                                                      proposedmanager
                                                                                                  managerofofthe
                                                                                                              theFranchised
                                                                                                                   Franchised
     Restaurant shall be be required to
                                      to pursue and
                                                and complete such such training
                                                                        traming (unless
                                                                                 (unless waived
                                                                                            waived byby Franchisor). If
                                                                                                        Franchisor).     If the
                                                                                                                            the
     managerof
     manager    ofthe
                  theFranchised
                       FranchisedRestaurant
                                   Restaurantisisreplaced
                                                 replaced by by aa new
                                                                    newmanager,
                                                                         manager, such     new
                                                                                    suchnewmanager must attendsuch
                                                                                                 manager   must   attend  such
     Initial Training and
                      andcomplete same
                                     sametotoFranchisor's sole
                                                            solesubjective
                                                                 subjective satisfaction
                                                                             satisfaction(unless
                                                                                            (unless waived
                                                                                                     waived by
                                                                                                             byFranchisor).
                                                                                                                 Franchisor).
     Franchisor will provide such
                                suchInitial Training to
                                                     to up
                                                        up toto22 persons
                                                                   persons during
                                                                            during the
                                                                                    the first
                                                                                         first year
                                                                                               year following the
                                                                                                    following   theEffective
                                                                                                                     Effective
     Dateat
     Date  atno
              noadditional
                 additionalcost. IfIfFranchisor
                                     Franchisorprovides
                                                 providestraining
                                                            trainingto to more
                                                                          morethan
                                                                               than22 persons,or      ifFranchisee
                                                                                                   orif Franchiseerequests
                                                                                                                      requests

IHOPOC3Q5
IHOPOC3 05                                                         20
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      trainingfor
      training forits
                  its manager
                      managermore
                                morethan
                                      thanone  yearfollowing
                                           oneyear           theEffective
                                                   followingthe EffectiveDate,
                                                                          Date,Franchisee
                                                                               Franchiseemust
                                                                                          mustpay
                                                                                              payFranchisor's
                                                                                                  Franchisors
      then current training
      then current          fee for such training.
                   trainingfeefor suchtraining.

                      (b) If
                     (b)  If Franchisee has           this Agreement in
                                        hasexecuted this                 connection with
                                                                      in connection with aa sale
                                                                                            sale or
                                                                                                 or transfer ofthe
                                                                                                    transfer of the
      Franchised Restaurant  to
      Franchised Restaurant to Franchisee
                               Franchisee from
                                          from a preexisting
                                                 preexisting franchisee,
                                                             franchisee,and Franchisee        assignor
                                                                         andFranchiseeoritsassignorhaspaidthe
                                                                                       or its          has paid the
      then-currenttraining
      then-current trainingfee
                           feeas
                               ascontemplated
                                  contemplatedby     Section11.03(a)(iii)
                                                bySection                  below,which
                                                              11.03(a)(iii)below,  whichisis$5,000
                                                                                            $5,000as    ofthe
                                                                                                     asof thedate
                                                                                                              dateof
                                                                                                                   ofthis
                                                                                                                      this
                   Franchisorshall,
      Agreement, Franchisor   shall,in
                                     inaddition  to  the Initial Training, and  at no additional  charge
                                       additionto theInitial Training,andatnoadditionalchargetoFranchisee,to Franchisee,
      pe'rmitup
      permit upto
                to2 of
                     ofFranchisee's employees
                                    employees ororOwners
                                                   Ownersto  toattend  oneof
                                                                attendone  ofFranchisor's
                                                                              Frmchisor's regularly
                                                                                           regularly scheduled
                                                                                                      schedidedtraining
                                                                                                                 trainmg
      classes conducted during
                         during the
                                theone  yearperiod
                                    oneyear           following   the Effective Date, subject
                                             period following the Effective Date, subject to  to space
                                                                                                   space availability
                                                                                                         availability and
                                                                                                                      and
      Franchisor's reasonable
      Franchisor's reasonable scheduling
                               scheduUng requirements (including
                                                            (including that
                                                                        that Franchisor's
                                                                             Franchisor's new
                                                                                           new franchisees
                                                                                                 franchisees shall
                                                                                                              shall have
                                                                                                                     have
                                                    toFranchisee
                          over additional training to
      scheduling priority over                         Franchisee pursuant
                                                                    pursuant to
                                                                              tothis Section 9.01(b)).
                                                                                this Section 9. 01(b)).
                         (c) At Franchisor's
                         (c)     Franchisor'selection,furnish  managementseminars
                                                       furnishmanagement     seminarsfrom
                                                                                        fromtime
                                                                                              timetototime
                                                                                                       timefor
                                                                                                             forthe
                                                                                                                 thebenefit
                                                                                                                     benefit
      ofits
      of  its franchisees,
              franchisees, on
                            onan           or mandatory basis. Franchisor
                               anoptional or                     Franchisor shall
                                                                             shall have
                                                                                   havethe
                                                                                         the right  to require
                                                                                             right to  require Franchisee,
                                                                                                                Franchisee,
      its Designated
      its  Designated Representative
                        Representative (if               or the
                                         (ifapplicable), or     manageremployed
                                                            the manager   employed by by Franchisee
                                                                                          Franchisee forfor the
                                                                                                            theFranchised
                                                                                                                Franchised
      Restaurant,to  toattend
                       attendat
                              atleast
                                leastone
                                      onemanagement
                                          managementseminar
                                                       seminarper
                                                                peryear  ifFranchisor
                                                                    yearif Franchisordeems
                                                                                       deemsattendance
                                                                                                attendanceto tobe
                                                                                                               beessential.
                                                                                                                  essential.
      Said management seminars shall
      Said                             shall be
                                             be given
                                                given at an MOP
                                                      at an MOP Restaurant,
                                                                   Restaurant, aa training
                                                                                   training center,   or such
                                                                                             center, or   such other
                                                                                                                other place
                                                                                                                       place
      designatedfrom
      designated    fromtime
                          timeto
                               totime
                                  timebybyFranchisor. Franchisor    shallnot
                                                        Franchisorshall   notimpose
                                                                              imposeanyanyattendance
                                                                                            attendance feefeeor
                                                                                                              ortuition
                                                                                                                 tuitionfor
                                                                                                                          for
      mandatory seminars,but
      mandatory                    maycharge
                              butmay    chargea reasonable   feeor
                                                 reasonable fee ortuition
                                                                   tuition for
                                                                           foroptional
                                                                               optionalseminars.
                                                                                         seminars.
                        (d) Notwithstanding
                       (d)  Notwithstandingthethefact thatFranchisor
                                                  factthat Franchisorshall providethe
                                                                      shallprovide  theInitial
                                                                                         InitialTraining
                                                                                                Trainingand
                                                                                                         andcertain
                                                                                                             certainother
                                                                                                                     other
      management seminars
      management     seminars atat no
                                   no additional
                                      additional charge,
                                                   charge. Franchisee
                                                            Franchisee shall
                                                                        shall bear
                                                                              bearall
                                                                                    all costs
                                                                                        costs and
                                                                                               andexpenses
                                                                                                   expenses incurred
                                                                                                              incurred by
                                                                                                                        by
                   itsDesignated
      Franchisee,its  DesignatedRepresentative,
                                   Representative, and  itsmanagers
                                                    andits  managersand
                                                                      andother
                                                                          otherattendees
                                                                                attendeesininconnection
                                                                                              connectionwith
                                                                                                          withattendance
                                                                                                               attendance
      atall
      at                       andseminars,
         alltraining programs and   seminars, including  transportation costs,
                                              mcluding transportation   costs, meals,
                                                                               meals,lodging    andother
                                                                                      lodging and   otherliving
                                                                                                         livingexpenses.
                                                                                                                expenses.
      NeitherFranchisor
      Neither  Franchisor nor   any of
                           norany    ofits
                                       its Affiliates
                                           Affiliates will  payany
                                                       will pay anycompensation
                                                                     compensation forfor any
                                                                                          anyservices
                                                                                              services performed
                                                                                                       perfonned byby any
                                                                                                                      any
      trainee during any
                      any training.
                          training.

              9.02 Other
              9.02 OtherServices.
                         Services.

              Franchisoror
              Franchisor or its
                            its Affiliates
                                Affiliatesshall famishFranchisee
                                           shallfurnish Franchiseewith:

                      (a)If
                     (a) Ifthis
                            thisAgreement hasbeen
                                Agreementhas      executedpursuant
                                             beenexecuted   pursuantto
                                                                     tothe
                                                                       theFranchisor's
                                                                           Franchisor'sSingle
                                                                                       SingleStore
                                                                                              StoreDevelopment
                                                                                                   Development
      Program, Multi-Store Development Program
      Program,                                   orPurchase
                                         Programor  PurchaseProgram,
                                                              Program, on-location
                                                                        on-location assistance
                                                                                    assistancefor
                                                                                               forsuch
                                                                                                  suchperiod
                                                                                                       periodof
                                                                                                              of
      timeas
      time asFranchisor
              Franchisorshall
                        shalldeem
                              deemnecessary,but notexceeding
                                             butnot exceeding3030days
                                                                  daysallocated
                                                                       allocatedat
                                                                                atFranchisor's
                                                                                   Franchisor'ssole
                                                                                                soleandabsolute
                                                                                                    and absolute
      discretionbetween
      discretion betweenthe
                          thetime
                              time immediately
                                   immediatelyprior
                                               prior to
                                                     to and
                                                        and after
                                                             afterthe
                                                                  theopening
                                                                      openingofof the
                                                                                  the Franchised
                                                                                      FranchisedRestaurant
                                                                                                  Restaurantby
                                                                                                             by
      Franchisee.
      Franchisee.

                      (b)If
                      (b)Ifthis
                            thisAgreement has      executedpursuant
                                              beenexecuted
                                          hasbeen          pursuantto
                                                                    tothe
                                                                      theFranchisor's
                                                                          Franchisor'sSingle
                                                                                      SingleStore
                                                                                             StoreDevelopment
                                                                                                  Development
      Program,
      Program, Multi-Store
               Muiti-Store Development Program    or Purchase Program, promotional
                                         ProgramorPurchaseProgram, promotional assistanceat
                                                                                   assistance atthe
                                                                                                 thetime
                                                                                                    timeof
                                                                                                         ofthe
                                                                                                           the
      opening
      opening of
              ofthe
                 the Franchised
                     Franchised Restaurant by Franchisee.
                                           by Franchisee.

                    (c)
                     (c) Periodic  supervision and
                         Periodic supervision  and assistance from field
                                                   assistance from field representatives who
                                                                                         who shall
                                                                                             shall visit
                                                                                                   visit the
      Franchised
      FranchisedRestaurant  from time to time.
                 Restaurantfrom          time.

                    (d) Ongoingavailability
                     (d)Ongoing availabilityat
                                            atits
                                               itshome
                                                  hoiiieoffice forconsultation
                                                        officefor consultationand
                                                                               andguidance
                                                                                  guidancewith
                                                                                           withrespect
                                                                                               respectto
                                                                                                       tothe
                                                                                                         the
      operation and
                andmanagement of the Franchised  Restaurant.
                              of the Franchised Restaurant.

                       (e) In addition
                       (e) In addition to
                                       to the foregoing, additional
                                          the foregoing, additional assistance
                                                                    assistance from
                                                                                 from the
                                                                                        the staff
                                                                                             staff of
                                                                                                   of Franchisor
                                                                                                      Franchisor or
                                                                                                                 or its
      Affiliate (i) uponFranchisee's request and
                (i) upon                      andsubject to
                                                         tostaff
                                                            staffavailability,
                                                                 availability, (ii) or if
                                                                               (ii) or if Franchisee does
                                                                                          Franchisee   doesnot
                                                                                                           not have
                                                                                                               havean

       305
IHOPOC305
IHOPOC                                                            21
                                                                  21
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      approvedmanager,
      approved  manager,IHOP
                          MOPshall
                                 shallhave
                                       havethe
                                            theright
                                                rightto
                                                      toprovide
                                                        provide same ataa cost
                                                                sameat    costto
                                                                               tobe
                                                                                 bepaid   by Franchisee
                                                                                     Paid^y  Frallchiseeaatt. the
                                                                                                              thethen
                                                                                                                  ^en
      p^vai'ling"pn
      prevailing    ce°pe'r
                 price     personper
                       per person perday,
                                       day,as
                                           asshall
                                              shallbe
                                                   bespecified
                                                       specifiedfrom
                                                                fromtime
                                                                     timetototime
                                                                             timeininthe Operations  Bulletins,plus
                                                                                     theOperationsBulletins,      plus
      reasonable transportation  andliving
                  transportation and living expenses.
                                            expenses.

                          (f) If
                          (f)   If this
                                     this Agreement
                                          Agreement has   has been
                                                                been executed
                                                                        executed pursuant
                                                                                    pursuant^   to the   Franchisor's Single
                                                                                                    the Franchisor's      Single Store
                                                                                                                                    Store
      Development Program
      Development       Programor    or Multi-Store
                                        Muiti-Store Development
                                                         Development Program,
                                                                          Program, and          Franchisor determines,
                                                                                       andifif Franchisor    determines, in      its sole
                                                                                                                              mils    sole
      discretion,that
      discretion,  thatFranchisee
                         Franchiseewill willneed
                                              needtraining
                                                     trainingsupport
                                                               supportand/or
                                                                          and/oroperational
                                                                                   operational assistance
                                                                                                 assistancetotoopen
                                                                                                                 openthe     Franchised
                                                                                                                        theFranchised
      Restaurant, aa training
      Restaurant,      trainingteam
                                  teamto toprovide
                                            provide training
                                                       training support
                                                                 support and/or     operations assistance
                                                                            and/oroperations      assistance for
                                                                                                              foraa period
                                                                                                                     period of    up to
                                                                                                                               ofup   to 33
      weeks,allocated
      weeks,   allocatedat atFranchisor's
                              Franchisor'ssole soleand
                                                     andabsolute
                                                          absolutediscretion
                                                                     discreUongenerally
                                                                                  generallybetween        week prior
                                                                                             between11 week      priortotoopeningand
                                                                                                                            opening    and
      up to
      up  to 22 weeks
                 weeks after
                          afteropening.
                                 openmg. Franchisee
                                               Franchisee agrees
                                                             agrees toto pay
                                                                          pay to                    Training
                                                                                   Franchisor a Training Support Fee
                                                                                to Franchisor    a             Support    Fee   of
                                                                                                                                of  up to
                                                                                                                                    up   to
      $16, 500. 00. The
      $16,500.00.      The amount of     of the
                                            the fee
                                                  fee will
                                                       will be
                                                            be based
                                                                 based upon      the number
                                                                          upon the   number of   of trainers
                                                                                                    trainers deemed       necessary by
                                                                                                              deemed necessary          by
      Franchisor,in
      Franchisor,    inits
                        itssole
                             solediscretion. The  Theopening
                                                       openingtraining
                                                                  trainingsupport
                                                                            supportteam
                                                                                      teamis istypically   made up
                                                                                                typically made        of77 trainers,
                                                                                                                   up of     trainers,ofof
      which44 are
      which     areprovided
                     providedby  byFranchisor
                                      Franchisor at atno
                                                       noadditional
                                                           additional cost
                                                                        costtotoFranchisee.
                                                                                 Franchisee. A   A fifth trainer  will be   provided
                                                                                                   fifA trainerwill beprovidedby        by
      Franchisor, at
      Franchisor,    ata cost
                          costtotoFranchisee of    of$5,500,unless
                                                                unless waived
                                                                         waivedby     Franchisor. The
                                                                                  byFranchisor.            additional 22 trainers
                                                                                                      Theadditional                  may
                                                                                                                           trainers may
      besupplied
      be supplied by byFranchisee, with  withthetheunderstanding
                                                     understanding that thatthese   trainers   must   be committed     to
                                                                             these ttainers mustbecommitted to work onthe   work   on  the
      openingtraining
      opening    trainingfor forthe
                                 theentire
                                       entireduration
                                               durationof  ofthe
                                                               theopening
                                                                    openingtraining,
                                                                               training, and
                                                                                          andprovided
                                                                                                 providedthey      meet Franchisor's
                                                                                                            they meet      Franchisor's
      requirements, as
      requirements,     asthey
                            theymaymaybe bespecified
                                            specifiedfromfromtime
                                                                timeto totime.
                                                                          time. These
                                                                                  Theserequirements
                                                                                         requirementsinclude
                                                                                                           includebeing
                                                                                                                     beingaa certified
                                                                                                                                certified
      truner in
      trainer  intheir
                  theircurrentIHOP fflOP Restaurant,
                                           Restaurant, andandsuccessfully passing an    anSOPSOPtest
                                                                                                   testadministered
                                                                                                        administered by  by Franchisor
                                                                                                                             Franchisor
      priorto
      prior toand
                andatatthe
                        theopening. There There will
                                                   willbe
                                                        beno
                                                           noadditional
                                                               additional charge
                                                                             chargefor
                                                                                     forthese      trainen. supplied
                                                                                         these22 trainers    supplied by     Franchisee
                                                                                                                         byFranchisee
      unless Franchisee's
      unless   Franchisee's trainers
                                 trainers fail
                                            fail toto meet
                                                      meet thethe above
                                                                   above commitments
                                                                            cominitments and        qualifications,    in   which
                                                                                              and qualifications. in which case      case
      Franchiseewill
      Franchisee    willbeberequired
                              requiredto topay
                                            pay$5,500
                                                  $5,500perperadditional
                                                                addidonaltrainer
                                                                             trainersuppliedby
                                                                                     supplied    byFranchisor.
                                                                                                    Franchisor. If IfFranchisee
                                                                                                                      Franchiseedoes does
      nothave
      not        anyqualified
          have any    qualifiedopening
                                  openingtrainers,Franchisee
                                                        Franchiseewillwillbeberequired
                                                                               requiredto    payto
                                                                                         topay    toFranchisor
                                                                                                     Franchisorthethesum
                                                                                                                       sumof  of$16,500
                                                                                                                                $16, 500
      uponexecution
      upon  executionof   ofthis
                              thisfranchise
                                    francluseagreement.
                                                agreement.The  Theschedulingofthetramingteamwillgenerallybedone
                                                                    scheduling    of the training    team  will generally    be done30  30
      daysprior
      days  priortotothe
                      theanticipated
                            anticipatedopening
                                          openingdateoftheFranchisedRestaurant,basedonthescheduleprovidedby
                                                     date  of the  Franchised    Restaurant,    based  on  the schedule     provided    by
      Franchisee. If
      Franchisee.    Iftraining
                        trainingmustmustbeberescheduled
                                             rescheduledfor  forany
                                                                 anyreason
                                                                       reasonother
                                                                                otherthan
                                                                                      thanananact
                                                                                                actof
                                                                                                    ofGod,
                                                                                                       God,Franchisee
                                                                                                             Franchiseeshall shallpay
                                                                                                                                   paytoto
      Franchisorany
      Franchisor    anyincrease
                         increasein  incosts
                                        coststhat
                                               thatareincurredbyFranchisorduetotheschedulingchanges,whichcosts
                                                    are  incurred   by  Franchisor   due  to  the scheduling    changes,    which   costs
      mayinclude
      may  includebutbutarearenot
                               notlimited
                                    limitedtotoincreases
                                                 increasesininairfare,
                                                                airfare,car
                                                                         carrental,
                                                                              rental, and
                                                                                      andtraining     material shipping
                                                                                           training material    shipping andandstorage.
                                                                                                                                 storage.
      Franchisor estimates
      Franchisor    estimates this
                                 this cost
                                       cost toto be
                                                  be between
                                                      between $500$500 and               Franchisee shall
                                                                         and $6,000. Franchisee                pay   these
                                                                                                         shall pay these charges
                                                                                                                              charges toto
      Franchisor
      Franchisor within
                    within 3030days    after billing
                                days after    billing therefor.
                                                       therefor.

                                                                       X
                                                                       x
                                            OTHEROBLIGATIONS
                                            OTHER OBLIGATIONSOF
                                                             OFFRANCHISEE
                                                                FRANCfflSEE

                10.01
                10. 01 Sales and
                             and Service of Food Products.
                                                 Products.

                Franchisee shall sell, serve and
                                             and dispense only those
                                                               those items and          as shall
                                                                           and products as shall be
                                                                                                 be designated
                                                                                                    designated by
                                                                                                               by
      Franchisor in
      Franchisor in the
                    the Operations
                        Operations Bulletins. In
                                              In connection
                                                 connection therewith,
                                                            therewith, the parties agree
                                                                       the parties agree that Franchisor or
                                                                                         that Franchisor or its
                                                                                                            its
      Affiliatemay,from
      Affiliate        fromtime
                             timetototime,
                                      time,recommend
                                            recommendor  orsuggest
                                                             suggestthose
                                                                     thoseprices
                                                                            pricesto
                                                                                   tobe
                                                                                      becharged
                                                                                          chargedby byFranchisee
                                                                                                        Franchiseefor foreach
                                                                                                                          each
      menu item
      menu   item sold
                    sold or
                         or offered
                             offered at
                                     atIHOP
                                        IHOP Restaurants;
                                                Restaurants; and, for
                                                                   for purposes
                                                                        purposes of   economy and
                                                                                   of economy    and cost-saving
                                                                                                       cost-saving to to those
                                                                                                                         those
      Franchisees who
      Franchisees    whoelect
                          electto
                                tofollow
                                   follow such
                                          suchrecommendations,
                                                recommendations, maymaycause     theproduction
                                                                          causethe   production of    pre-pricedd menus and
                                                                                                  ofpre-price              and
      standardized numbered guestguestchecks which
                                               which Franchisor ororits
                                                                    its Affiliate shall
                                                                                  shall offer
                                                                                        offer for
                                                                                              forsale
                                                                                                   saleto  Franchisee. Such
                                                                                                        toFranchisee.     Such
      recommended or
      recommended     orsuggested
                          suggested prices
                                     prices are
                                            arenot
                                                notbinding
                                                    bindingininany
                                                               anyrespect
                                                                   respectupon
                                                                            uponFranchisee,
                                                                                  Franchisee, and
                                                                                                andFranchisee
                                                                                                     Franchisee is isand
                                                                                                                     andshall
                                                                                                                          shall
      beat
      be atall
            all times,
                times, free
                       freeto
                            tocharge
                               charge prices entirely of
                                                      ofits
                                                         its own
                                                             ownchoosing,
                                                                 choosing, regardless
                                                                             regardless of whether the
                                                                                         ofwhether    thesame
                                                                                                           same dodoor
                                                                                                                     ordo
                                                                                                                        donot
                                                                                                                           not
      confonnto
      conform    tothe
                   therecommended
                       recommended or   orsuggested
                                          suggestedprices. Franchisee
                                                              Franchiseeshall
                                                                          shallnot
                                                                                notbe
                                                                                    berequired
                                                                                       requiredto to use
                                                                                                     useororto
                                                                                                             topurchase
                                                                                                                purchaseanyany
                   menus or
      pre-priced menus     or pre-priced standardized
                                          standardized numbered
                                                        numbered guest
                                                                    guest checks,
                                                                           checks, and
                                                                                    and shall
                                                                                         shall be
                                                                                               be entirely
                                                                                                    eintirely free
                                                                                                              free to  procure
                                                                                                                    to procure
      menus and
              andstandardized numbered guest checks with   with prices of
                                                                       ofits
                                                                          itsown
                                                                              ownchoosing;
                                                                                   choosing; provided
                                                                                              provided however
                                                                                                          however that
                                                                                                                     thatsuch
                                                                                                                          such
      menusand
      menus   andstandardized
                   standardizednumbered
                                  numberedguest
                                             guestchecks
                                                   checksshall,ininall
                                                                    allrespects
                                                                       respectsexcept
                                                                                 exceptasasto
                                                                                            toprices,
                                                                                               prices, strictly
                                                                                                        strictly comply   with
                                                                                                                 comply with
      thespecifications
      the specifications therefor
                           thereforcontained
                                    containedininthe
                                                  theOperations
                                                      Operations Bulletins.
                                                                  Bulletins.


IHOPOC305
IHOPOC 3 05                                                                22
                                                                           22
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                10.02 Required
                10.02 R uiredPurchases
                               Purchasesof Pro rieta Products.
                                        ofProprietary Products.

                (a)Franchisee
               (a) Franchiseeshall
                                 shallpurchase
                                      purchaseonly
                                                onlyfrom
                                                     fromFranchisor
                                                           Franchisorororits
                                                                         itsAffiliate
                                                                             Affiliate(if
                                                                                      (ifoffered
                                                                                          offereddirectly
                                                                                                  directlyto
                                                                                                          toFranchisees
                                                                                                             Franchisees
      byFranchisor)
      by  Franchisor)ororfrom
                           fromFranchisor
                                 Franchisorapproved
                                           approveddistributors
                                                       distributorswho
                                                                   whohave
                                                                        havepurchased
                                                                              purchasedsuch
                                                                                          suchproducts  from
                                                                                               productsfromFranchisor
                                                                                                              Franchisor
      orits
      or itsAffiliate,
            Affiliate',all
                       allof
                           ofits
                              itsrequirements
                                 requirementsfor
                                              forbuckwheat
                                                  buckwheatflour,
                                                              flour, egg
                                                                     eggbatter,
                                                                         batter,buttermilk  mix,Harvest
                                                                                buttennilkmix.   HarvestGrain
                                                                                                          Grain'N'NNut®
                                                                                                                    Nut®
      mix, waffle
      mix,  waffle batter, Belgium
                              Belgium waffle
                                        waffle batter
                                               batter and
                                                       andsuch    other future
                                                            such other  future products
                                                                               products as as may
                                                                                              may then
                                                                                                   then be required by
                                                                                                         be  required  by
      Kmchisor, all
      Franchisor,  allof
                       ofwhich
                          whichembody
                                 embodyand
                                         andshall
                                             shallembody
                                                   embodysecret
                                                             secretformulas
                                                                   foraaulasowned
                                                                             ownedby   Franchisor(collectively
                                                                                     byFranchisor  (collectively referred
                                                                                                                 referred
      to as"Required
      toas  "RequiredProducts").
                        Products").

              (b)For
             (b) Forpurposes ofofinsuring
                                  insuring consistency  anduniformity
                                            consistency and unifonmty of
                                                                       ofproduct,  Franchisee shall
                                                                          product, Franchisee shall purchase
                                                                                                     purchase only
                                                                                                               only
      from Franchisor or
      from            or its
                         its Affiliate (if
                                       (ifoffered directly to
                                                           to Franchisees by
                                                                          by Franchisor
                                                                             Franchisor or
                                                                                         or its
                                                                                            its Affiliate)
                                                                                                Affiliate) or
                                                                                                           01from
                                                                                                              from
      Franchisor-designatedsuppliers, all
      Franchisor-designated             allof
                                           ofits
                                              itsrequirements
                                                 requirements for coffee. Further,
                                                               forcoffee. Further,Franchisee
                                                                                   Franchiseeshall
                                                                                              shallpurchase
                                                                                                    purchaseonly
                                                                                                               only
      suchblends
      such blendsof
                  ofcoffee
                    coffeeas  Franchisorshall
                           asFranchisor    shallfrom
                                                fromtime
                                                     timeto  timedesignate.
                                                          totime  designate.

                (c)Except
               (c)  Exceptas
                           asprovided
                             providedininSections   10.02(a)
                                          Sections 10.02  (a)and
                                                             and(b),
                                                                  (b),Franchisee
                                                                      Franchiseeshall
                                                                                  shallpurchase
                                                                                       purchasefor
                                                                                                foruse
                                                                                                    usein theoperation
                                                                                                       inthe   operation
      ofthe
      of theFranchised Restaurant certain
                                     certain products which    bearIHOP
                                                       whichbear    IHOPTrademarks
                                                                          Trademarks that
                                                                                       thatmay
                                                                                           may include, asprovided
                                                                                                include, as provided inin
      theOperations
      the  OperationsBulletins,dishware,
                                  dishware,silverware,
                                             silverware,napkins,
                                                         napkins,piacemats,
                                                                   placemats,coasters
                                                                               coastersand
                                                                                       andother
                                                                                           otheritems
                                                                                                 items(herein
                                                                                                       (hereinreferred
                                                                                                                referred
      toas
      to as"Trademarked
            "TrademarkedProducts").
                            Products"). All such
                                             suchrequired
                                                  requiredTrademarked
                                                           TrademarkedProducts      shallcomply
                                                                          Productsshall  comply with
                                                                                                 withthe
                                                                                                     thespecifications
                                                                                                         specifications
      setforth
      set forthininthe
                    theOperations Bulletins.
                                   Bulletins. Franchisee
                                              Franchisee may    purchase Trademarked    Products from
                                                           maypurchase Tradenmrked Products fromFranchisor
                                                                                                      Franchiseror orits
                                                                                                                      its
      Affiliate,ififmade
                     madeavailable
                          availableby
                                    byFranchisor
                                       Franchisorororits
                                                      itsAffiliate,suppliers
                                                                    suppliersdesignated
                                                                               designatedby Franchisor  or its Affiliate,
                                                                                          byFranchisororitsAffiliate,
      orsuppliers
      or supplierschosen
                     chosenby
                            byFranchisee
                               Franchiseeas asprovided  inparagraph
                                               providedin  para^-aph10.03
                                                                       10.03below,
                                                                              below,provided
                                                                                     providedsuch
                                                                                              suchsuppliers
                                                                                                    suppliersexecute
                                                                                                               execute aa
      royalty-ft-ee trademark license
      royalty-free                     inaa form
                               licensein          reasonably  satisfactory to Franchisor.
                                            form reasonably satisfactory toFranchisor.
                (d) Without
               (d)  Without Franchisor's
                             Franchisor'sprior     writtenconsent,
                                           prior written   consent, Franchisee   maynot
                                                                     Franchiseemay     notuse,
                                                                                           use,offer,
                                                                                                offer, sell, orgive
                                                                                                       sell, or giveaway,
                                                                                                                      away,
      exceptat
      except  atthe
                  theFranchised
                     FranchisedLocation,
                                Location,anyRequiredProducts,TrademarkedProducts,orothergoodsor
                                           any  Required   Products,  Trademarked   Products,  or other  goods  or services
                                                                                                                   services
      which utilize
      which   utilize Franchisor's
                      Franchisor's Trade
                                   Trade Secrets
                                          Secrets inin whole
                                                       whole or
                                                              orininpart, including
                                                                           including its
                                                                                     its recipes,
                                                                                         recipes, or
                                                                                                  or any
                                                                                                     any goods,
                                                                                                          goods, services,
                                                                                                                  services,
      materials, equipment, supplies, or  or inventory (including food, beverages, condiments, and smallwares)
                                             inventory    (including   food,  beverages,  condiments,    and   smallwu-es)
      purchasedby
      purchased    byFranchisee
                      Franchiseeor
                                 orany
                                    anyAffiliate
                                         AffiliateofofFranchisee
                                                       Franchisee(or    anyOwner,
                                                                    (orany  Owner,officer,
                                                                                    officer director,
                                                                                             director,manager
                                                                                                       managerof  ofeither)
                                                                                                                     either)
      from
      from  or
            or  through
                through  any
                        any supplier pursuant  to  any  pricing or purchasing  terms
                                     pursuant to anypricing orpurchasing terms negotiated orarranged byMOP
                                                                                     negotiated  or  arranged  by IHOPor  or
      itsAffiliates
      its Affiliatesfor
                     foror
                        oron
                           onbehalf
                              behalfof
                                    ofitself
                                       itselfor
                                             orits
                                                 itsfranchisees.
                                                    franchisees.In Inaddition,
                                                                     addition.Franchisee
                                                                               Franchiseeshall
                                                                                            shallnot
                                                                                                 notatatany
                                                                                                        anytime
                                                                                                             timepurchase
                                                                                                                  purchase
      greaterquantities of
      greater             ofsuch
                            suchproducts
                                 products than
                                           thannecessary
                                                 necessary totomeet
                                                                meetits
                                                                      itsreasonably
                                                                         reasonably anticipated
                                                                                    anticipated requirements
                                                                                                 requirements to tooperate
                                                                                                                    operate
      its IHOP Restaurant.
      its IHOP   Restaurant.

               10. 03 Compliance
               10.03             with Franchisor's Specifications.
                      Co liance with               S cifications.

               (a) All
              (a)  Al]food
                       foodproducts,services,supplies,equipment,
                                                          equipment,andandmaterials,
                                                                           materials,including
                                                                                     includingstandardized
                                                                                                standardizednumbered
                                                                                                               numbered
      guestchecks
      guest  checksand
                    andmenus,permitted
                                permittedor
                                          orrequired
                                              requiredtotobe   usedin
                                                           beused  inthe
                                                                       theoperation
                                                                           operationof
                                                                                    ofthe
                                                                                       theFranchised
                                                                                           FranchisedRestaurant
                                                                                                        Restaurantshall
                                                                                                                     shall
      bein
      be infull
            fullcompliance with  thespecifications
                            withthe  specifications set  forthin
                                                     setforth  inthe
                                                                 theOperations
                                                                     Operations Bulletins
                                                                                 Bulletins and,
                                                                                           and,except
                                                                                               exceptonly
                                                                                                        onlythose
                                                                                                              thoseitems
                                                                                                                    items
      referredto
      referred toin
                  inSections
                    Sections10.02(a)
                             10.02(a)-and (b),shall
                                      and(b),   shallbe
                                                      bepurchased
                                                         purchasedandandprocured
                                                                         procuredby
                                                                                  byFranchisee
                                                                                     Franchiseefrom
                                                                                                  fromFranchisor
                                                                                                       Franchisoror  orits
                                                                                                                       its
      Affiliate(if
      Affiliate (ifoffered
                   offeredby
                           byFranchisor
                             Franchisoror       Affiliate),from
                                            itsAffiliate),
                                        orits               fromsuppliers
                                                                 suppliersdesignated
                                                                            designatedby
                                                                                       byFranchisor
                                                                                          Franchisorororits
                                                                                                         itsAffiliate,
                                                                                                             Affiliate,or
                                                                                                                        or
      fromsuppliers
      from  suppliersselected
                      selectedby  Franchiseeand
                              byFranchisee     andnot
                                                   notdisapproved
                                                        disapprovedin in writing
                                                                         writingby
                                                                                 byFranchisor
                                                                                   Franchisorororits
                                                                                                   itsAffiliate.
                                                                                                      Affiliate.
                (b)In
                (b) Inthe
                       theevent that
                                   thatFranchisee should
                                                    should desire
                                                           desireto
                                                                  toprocure
                                                                     procure any
                                                                               anyfood
                                                                                    foodproduct
                                                                                          product other
                                                                                                   other than
                                                                                                           thanthose
                                                                                                                 thosedescribed
                                                                                                                        described
      inparagraphs 10.02(a)
      in               10.02(a)and
                                 and(b),
                                      (b),service,
                                          service,supply,
                                                  supply,equipment,
                                                          equipment, orormaterial
                                                                          materialfrom
                                                                                    fromanyany supplier
                                                                                               supplierother
                                                                                                          otherthan
                                                                                                                thanFranchisor,
                                                                                                                      Franchisor.
      its'Affiliate,
      its             or a supplier designated by
          Affiliate, or                           by Franchisor oror its
                                                                     its Affiliate,
                                                                         Affiliate, Franchisor
                                                                                     Franchisor or or its
                                                                                                       its Affiliate
                                                                                                           Affiliate shall,
                                                                                                                      shall, upon
                                                                                                                             upon
      request ofofFranchisee,
                   Franchisee, " furnish
                                 furnishtotoFranchisee
                                            Franchiseespecifications,
                                                        specifications, by
                                                                         byestablished
                                                                           established brand
                                                                                          bramdname
                                                                                                 name wherever
                                                                                                         wherever possible,
                                                                                                                    possible, for
                                                                                                                                for
      all'such
      all       items. Franchisee
          such items.   Franchisee shalldeliver
                                           deliver written
                                                   writtennotice
                                                           nodceto  Franchisoror
                                                                  toFranchisor       its Affiliate
                                                                                 orits   Affiliate of
                                                                                                   ofits
                                                                                                      itsdesire
                                                                                                          desiretotodo
                                                                                                                    doso,
                                                                                                                        so, which
                                                                                                                            which
      noticeshall
      notice  shallidentify
                     identifythe
                              thename
                                    nameand
                                          andaddress
                                              addressofofsuch
                                                          suchsupplier
                                                               supplierand    theitems
                                                                         andthe   itemsdesired
                                                                                          desiredtotobe
                                                                                                      bepurchased
                                                                                                          purchasedfromfromsuch
                                                                                                                              such
      supplier. Franchisor
                  Franchisormaymaywithhold
                                     withholdapproval
                                               approvalof  anysupplier
                                                         ofany  supplierproposed
                                                                         proposedby  byFranchisee
                                                                                        Franchiseeif, if,among
                                                                                                          amongother
                                                                                                                  othergrounds,
                                                                                                                         grounds,
      suchsuppliers
      such  suppliers shall
                        shallfail
                              failtotodemonstrate,
                                       demonstrate, to
                                                     tothe
                                                        thereasonable
                                                            reasonablesatisfaction
                                                                         satisfactionofofFranchisor
                                                                                           Franchisoror  orits
                                                                                                            its Affiliate,
                                                                                                                Affiliate,(i)
                                                                                                                            (i) the
                                                                                                                                the
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      abilityto
      ability tosupply
                 supplyaa product
                             productmeeting
                                         meetingthe  theFranchisor's
                                                         Franchisor'sspecifications,
                                                                         specifications,(ii)
                                                                                           (ii)reliability  withrespect
                                                                                               reliabilitywith    respectto tothe
                                                                                                                               thequality
                                                                                                                                     quality
      ofproduct
      of productor orservice,
                      service,or or(iii)
                                    (iii)willingness
                                           willingnessand        agreementtopermitFranchisororitsAffiliatetomakeperiodic
                                                           andagreement      to permit   Franchisor   or its Affiliate  to make    iwriodic
      inspections,reasonable
      inspections,  reasonablein   inrespect
                                     respectof   offrequency,
                                                     frequency.timetimeand
                                                                        andmanner
                                                                             mannerof  ofinspection,
                                                                                          mspection,to toassure
                                                                                                          assurecontinued
                                                                                                                  continuedconformity
                                                                                                                               coDfonmty
      tospecifications.
      to specifications. Should
                             ShouldFranchisor
                                     Frwchisoror          itsAffiliatenotdeliver toFranchisee. within30days
                                                       orits  Affiliate not deliver   to Franchisee,    within  30  daysafter
                                                                                                                          afterits
                                                                                                                                 itsreceipt
                                                                                                                                     receipt
      ofsuch
      of suchnotice, a written
                            written statement of     ofdisapproval with with respect
                                                                              respect to
                                                                                       tosuch
                                                                                          suchfood     product   or  supplier,  it
                                                                                                 food product or supplier, it shall shall be
                                                                                                                                           be
      deemedthat
      deemed   thatsuch
                     suchfood
                            foodproduct or    orsupplier
                                                 supplieris  isapproved
                                                                approved bybyFranchisor
                                                                               Franchisoror orits  Affiliate as
                                                                                               itsAffiliate   asaa supplier
                                                                                                                   supplierof ofthe
                                                                                                                                 thegoods
                                                                                                                                      goods
      describedin
      described   inthe
                     thenotice until suchsuchtime
                                                tiiite'as
                                                       as Franchisor or   itsAffiliate may
                                                                        orits            maysubsequently
                                                                                              subsequently withdraw
                                                                                                               withdrawsuchsuchapproval.
                                                                                                                                  approval.
      Franchisor or
      Franchisor    or its
                        its Affiliate shall
                                         shall be
                                               be entitled to   to disapprove or    to subsequently
                                                                                 or to  subsequently withdraw
                                                                                                         withdraw itsits approval of
                                                                                                                         approval     ofany
                                                                                                                                         any
      supplierselected
      supplier  selectedby  byFranchisee
                               Franchiseeonly onlyuponuponthe                   such  supplier  has  failed to  meet
                                                             thegroundthatsuchsupplier hasfailedtomeetoneormoreof
                                                                  ground  that                                        one  or more     ofthe
                                                                                                                                          the
      requirements hereinabove set       setforth.
                                             forth. OnceOnceFranchisee
                                                               Franchisee hashasdelivered
                                                                                  delivered aa notice
                                                                                                 notice of
                                                                                                         ofits
                                                                                                             its desire
                                                                                                                 desire to
                                                                                                                         to purchase
                                                                                                                             purchase the the
      specifieditems
      specified  itemsfromfromany
                                anysuch
                                     suchsupplier,
                                             supplier, ititshall
                                                             shallbebeentitled
                                                                      entitledto   purchasesame
                                                                                 topurchase    samefrom
                                                                                                      fromsuch
                                                                                                             suchsupplier
                                                                                                                   supplier until
                                                                                                                              untilititshall
                                                                                                                                        shall
      have received
      have  received a timely
                           timely statement of     of disapproval fromfrom Franchisor or its Affiliate; provided, however, that
                                                                             Franchisor    or its  Affiliate;  provided,    however,     that
      should Franchisee designate
      should                  designate a supplier in     inany
                                                              anysuch
                                                                   such notice
                                                                         notice who     shall previously
                                                                                  who shall   previously have
                                                                                                            havebeen
                                                                                                                   beendisapproved
                                                                                                                          disapproved by   by
      Franchisor ororits
                       its Affiliate,
                           Affiliate, itit shall
                                           shall not
                                                  notbebepermitted to  topurchase from      suchsupplier
                                                                                     fromsuch     supplier unless
                                                                                                            unless and
                                                                                                                     anduntil
                                                                                                                          until the
                                                                                                                                the30 30day
                                                                                                                                         day
      periodfrom
      period  fromdelivery
                     deliveryof  ofsuch
                                    suchnotice
                                            noticeshall
                                                      shallhave
                                                            haveexpired
                                                                   expiredwithout
                                                                            withoutdelivery      fromFranchisor
                                                                                       deliveryfrom     Franchisoror  orits  Affiliateof
                                                                                                                         itsAffiliate    of aa
      statement of disapproval.
                      disapproval.

               (c)In
               (c) Insome
                     someinstances,
                          instances. Franchisor's
                                     Franchisor's specifications
                                                  specifications may besuch
                                                                 maybe suchthat
                                                                            thatonly
                                                                                onlyaa single
                                                                                       smgle supplier
                                                                                              supplier or
                                                                                                       oraa limited
                                                                                                            limited
      numberof
      number ofsuppliers
               supplierscan
                         canmeet
                            meetsuch
                                 suchspecifications.
                                     specifications. With
                                                     Withrespect
                                                          respectto
                                                                 tosuch products,Franchisee
                                                                    suchproducts,           shallpurchase
                                                                                  Franchiseeshall purchase
      suchproducts only
      such              fromthe
                   only from thesource
                                sourceor
                                       orsources
                                         sources designated byFranchisor
                                                 designated by Franchisor or
                                                                          orits
                                                                             its Affiliate.
                                                                                 Affiliate.
                10.04
                10. 04 Insurance.
                       Insurance.


                 (a)Subject to
                (a)             anyother
                             toany  otheradditional requirements
                                                    requirements set setforth
                                                                        forthin
                                                                              inthe
                                                                                theMaster
                                                                                    Master Lease,
                                                                                           Lease,sublease
                                                                                                   sublease or
                                                                                                             orequipment
                                                                                                                equipment
      lease, Franchisee
              Franchisee shall
                            shall procure
                                  procure and
                                           and maintain
                                               maintain at
                                                         at Franchisee's
                                                             Franchisee's expense
                                                                            expense during
                                                                                    during the
                                                                                            the Term
                                                                                                 Term hereof   policies of
                                                                                                       hereofpolicies     of
      insurance meeting
      insurance    meedng minimum standards,
                                       standards, coverages,
                                                  coverages, and
                                                               andlimits   andinsuring
                                                                    limits and insuring Franchisee
                                                                                        Franchisee against   theinsurable
                                                                                                    againstthe    insurable
      risksprescribed
      risks prescribedin  inFranchisor's
                            Franchisor'sOperations
                                          OperationsBulletins.
                                                     Bulletins. AllAllsuch
                                                                       suchpolicies
                                                                            policiesof
                                                                                    ofinsurance
                                                                                       insuranceshall
                                                                                                  shallname
                                                                                                        nameFranchisor,
                                                                                                               Franchisor,
      itsAffiliates,
      its Affiliates, if
                      ifapplicable,  andsuch
                         applicable, and  suchother
                                              otherparties
                                                    parties as     maydesignate
                                                            asitit may designate as additional insureds,
                                                                                 asadditional  insureds, as
                                                                                                         astheir
                                                                                                            theirinterests
                                                                                                                   interests
      mayappear,and
      may            andshall
                           shallprovide
                                providethat
                                         thatFranchisor,
                                             Franchisor,its
                                                          itsAffiliates,
                                                              Affiliates,if
                                                                          ifapplicable,
                                                                            applicable,and
                                                                                        andother  partiesshall
                                                                                            otherparties  shallreceive
                                                                                                                 receiveat at
      least10
      least 10days
                 daysprior
                      priorwritten
                            writtennotification
                                    notificationof
                                                ofany
                                                   anycancellation,
                                                       cancellation,termination,
                                                                       termination,amendment
                                                                                    amendmentor  ormodification
                                                                                                    modificationthereof.
                                                                                                                    thereof.
              (b)Franchisee shall
             (b)             shall provide Franchisor,  its Affiliates,
                                            Franchisor, its Affiliates, if
                                                                        ifapplicable,  andany
                                                                           applicable, and  any other
                                                                                                 other parties
                                                                                                       parties designated
                                                                                                               designated
      byFranchisor
      by Franchisorwith
                     withCertificates
                          Certificatesof
                                      ofInsurance
                                         Insuranceevidencing
                                                   evidencingthetherequired
                                                                     requiredcoverage   at least 10
                                                                              coverageatleast10daysprior
                                                                                                    days  priorto
                                                                                                                tothe
                                                                                                                  thedate
                                                                                                                      date
      on which
      on whichthe
                theFranchised
                    FranchisedRestaurant
                                 Restaurant opens
                                            opensfor
                                                  forbusiness
                                                     businessto  tothe
                                                                    thepublic,1010days
                                                                                   daysprior
                                                                                         priorto
                                                                                               tothe
                                                                                                  thedate
                                                                                                      dateonon whichany
                                                                                                                which  any
      insurancepolicy
      insurance  policyis
                       isscheduled
                          scheduledtotoexpire,
                                       expire,and
                                               andat
                                                   atsuch    othertimes
                                                      suchother     timesasasFranchisor  mayreasonably
                                                                             Franchisormay     reasonablyrequire.
                                                                                                            require.
              (c) If
              (c) IfFranchisee fails   orrefuses to
                                fails or          to procure andandmaintain    insurance conforming
                                                                    maintain insurance    conforming to to the
                                                                                                           therequirements
                                                                                                               requirements
      prescribed by
      prescribed bythe
                     theOperations Bulletins,
                                     Bulletins, or
                                                orfails
                                                    failsor
                                                          orrefuses  to provide  Franchisor  or any other
                                                             refuses toprovide Franchisor oranyotherparty  partydesignated
                                                                                                                  designated
      by Franchisor
      by  Franchisor with
                      witha certificate
                             certificate of
                                          ofsuch
                                             suchinsurance,
                                                   insurance. Franchisor
                                                                Franchisor maymay but
                                                                                   butshall
                                                                                       shall not
                                                                                             not be
                                                                                                 be obligated
                                                                                                      obligated toto procure,
                                                                                                                     procure,
      through agents
      through  agents and
                       andinsurance
                           insurance companies
                                      companies of  ofits  own choosing,
                                                       its own   choosing, such
                                                                             suchinsurance
                                                                                  insurance as
                                                                                             asis
                                                                                                is necessary
                                                                                                   necessary toto meet
                                                                                                                   meet such
                                                                                                                         such
      requirements, provided,
      requirements,  provided, however,
                               however,such
                                          suchinsurance
                                               insuranceneedneednot
                                                                  notname
                                                                     nanieFranchisee
                                                                            Franchiseeas asan
                                                                                           aninsured
                                                                                              insuredororadditional
                                                                                                          additionalinsured
                                                                                                                      insured
                   Paymentsfor
      thereunder. Payments    forsuch
                                  suchinsurance
                                        insuranceshall
                                                   shallbebeborne
                                                             bornebybyFranchisee.
                                                                       Franchisee. Nothing
                                                                                      Nothingherein
                                                                                               hereinshall
                                                                                                       shallbe
                                                                                                             beconstrued
                                                                                                                consttuedor or
      deemedto
      deemed   toimpose
                 imposeanyanyduty
                               dutyororobligation
                                        obligation ononFranchisor
                                                         Franchisortotoprocure
                                                                        procure suchinsurance or asanundertaking or
                                                                                  such insurance   or as  an undertaking    or
                      by Franchisor that
      representation by               that such
                                           suchinsurance
                                                 insurance as as may
                                                                  nmy be
                                                                       be procured
                                                                          procured by by Franchisee
                                                                                         Franchisee oror by
                                                                                                          by Franchisor
                                                                                                             Franchisor forfor
      Franchisee will
      Franchisee  willinsure
                       insureFranchisee
                              Franchiseeagainst
                                           againstany
                                                    any or
                                                         or all
                                                            aUinsurable
                                                                msurable risks
                                                                           risksof  loss which
                                                                                 ofloss whichmay or canariseout
                                                                                                may  or  can arise  outof,
                                                                                                                        of, or
                                                                                                                            or
      in connection
      in connection with
                     with the
                          the Franchised
                              Franchised Restaurant.
                                           Restaurant. Franchisee
                                                          Franchisee may
                                                                       may obtain    suchother
                                                                              obtainsuch  other or
                                                                                                or additional insurance
                                                                                                                insurance asas
      Franchiseedeems
      Franchisee  deemsproper
                         properininconnection
                                    connectionwith
                                                 withthetheoperation
                                                            operationofofits
                                                                          itsbusiness.
                                                                              business.




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                10.05 Compliance
                10.05 Corn liancewith
                                 with Applicable
                                          licableLaws
                                                 Lawsand     rationsBulletins.
                                                      andOperations Bull tins.
                  Franchiseeshall
                  Franchisee    shalloperate
                                      operatethetheFranchised
                                                     FranchisedRestaurant
                                                                    Restaurantin            compliance with
                                                                                      strictcompliance
                                                                                   instrict               withall
                                                                                                                allApplicable
                                                                                                                    ApplicableLaws
                                                                                                                                 Lawsand and
       withthe
       with   thestandard
                  standardprocedures,
                             procedures,policies,rules rulesandandregulations
                                                                   regulationsestablished
                                                                                  establishedby  byFranchisor
                                                                                                    Franchisorandandincorporatedherein,
                                                                                                                     incorporated    herem^
       orininFranchisor's
      or      Franchisor's'Operatio
                             Operations  nsBulletins.
                                           BuUetins. Such Suchstandard
                                                                 standardprocedures,
                                                                            procedures,policies,
                                                                                            policies,rules   andregulations
                                                                                                       rulesand   regulationsestablished
                                                                                                                                established
       byFranchisor
       by Franchisormay   maybeberevised
                                   revisedfrom
                                            fromtime
                                                   timetototime
                                                            timeasascircumstances
                                                                      circumstanceswarrant,
                                                                                         warrant,andFranchiseeshall
                                                                                                   and  Franchisee   shallstrictly  comply
                                                                                                                           st"cdy(:om    Ply
       wiAaii'suc
       with   all suchhprocedures
                        procedures as asthey
                                         theymaymayexist
                                                      existfrom
                                                             fromtime
                                                                    timetototime
                                                                             timeas  asthough    theywerespecifically setforthin
                                                                                        thoughthey     were  specifically set  forth  inthis
                                                                                                                                         this
       Agreementand
      Agreement            whenincorporated
                      and when    incorporatedin   inFranchisor's
                                                      Franchisor'sOperations
                                                                      OperadonsBulletins
                                                                                     Bulletinsthe
                                                                                                thesame    shallbe
                                                                                                     sameshall   bedeemed
                                                                                                                    deemedmcoincorporated
                                                                                                                                 rPorated
      h^iem'by      reference,. By
       herein by reference.      Bywaywayofofillustration
                                               illustration andandwithout
                                                                   withoutlimitation,
                                                                              limitation, such      standardprocedures,
                                                                                             suchstandard     procedures, policies,
                                                                                                                            policies rules
                                                                                                                                       rules
       and'regular
      and             ions may
            regulations     mayoror'will'spe  cify accounting
                                     will specify    accountingrecords
                                                                   recordsand      information,    payment    procedures,   specifications
                                                                             andinformation, paymentprocedures, specifications
      for're'quire
      for   requireddsupplies
                        suppliesandandpurchases,
                                        purchases,including
                                                       includingTrademarked
                                                                    TrademarkedProducts,
                                                                                       Products,hours
                                                                                                   hoursofofoperation,
                                                                                                              operation,advertising
                                                                                                                          advertisingand and
      promotion, cooperative
      promotion,       cooperative programs,
                                       programs, specifications
                                                     specifications regarding          required   insurance,   minimum
                                                                        regardmg required insurance nunimum standards      standards andand
      quaTificationsfor
      qualifications      foremployees,
                              employees,design
                                             designand andcolor
                                                             colorof ofunifonn
                                                                        uniforms,  s,menu    items,methods
                                                                                      menuitems,      methodsof ofproduction
                                                                                                                    productionand      food
                                                                                                                                  andrepair
                                                                                                                                       focrf
      presentation, including
      presentation,       including thethe size
                                            size and serving thereof, standards of sanitation, maintenance and rePau
                                                   and   serving    thereof,    standards    of   sanitation,  maintenance      and
      requirements,specifications
      requirements,       specifica'tionsofoffurniture,
                                              furniture,fixtures
                                                            fixturesandandequipment,
                                                                            equipment,flue fluecleaning,
                                                                                                 cleaning,and
                                                                                                            andfire
                                                                                                                 fireprevention
                                                                                                                      preventionservice,
                                                                                                                                   service.
      appearanceand
      appearance      andcleanliness
                           cleanlinessof ofthepremises,accountmgandinventorymethodsandcontrols,forms
                                           the   premises,    accounting    and  inventory   methods    and  controls, forms   and
                                                                                                                               Mld reports,
                                                                                                                                   rePorts'
      mdin
      and    ingeneral
                generalwillwillgovern
                               governall allmatters
                                             mattersthat,
                                                       that,ininFranchisor's
                                                                 Franchisor'sjudgment,         requirestandardization
                                                                                 judgment,require       standardiz   ationand
                                                                                                                          and   uniformity
                                                                                                                                uniformity
      in all
      in  all IHOP
                HOP Restaurants.
                         Restaurants. Franchisor
                                          Franchisor or   or its
                                                              its Affiliate
                                                                  Affiliate will
                                                                               will furnish
                                                                                      furnish Franchisee      with Franchisor's
                                                                                                Franchisee with     Franchisor's current
                                                                                                                                    current
      Operations Bulletins upon
      Operations                    upon the
                                          the execution of this Agreement. Said Operations Bulletins and
                                               execution      of this  Agreement.        Said   Operations    Bulletins  and all
                                                                                                                               all notices,
                                                                                                                                   notices,
      amendments and
      amendments         andsupplements
                              supplements relating
                                              relatingthereto
                                                          thereto shall
                                                                    shall at
                                                                           at all
                                                                               all times
                                                                                    times remain
                                                                                           remain thetheproperty
                                                                                                         property of ofFranchisor
                                                                                                                        Franchisor or  orits
                                                                                                                                          its
      Affiliate Franchisee shall
      Affiliate.                   shallnot
                                         notreproduce any   anyportion ofsuchOperadons Bulletins by anymeans, shallat
                                                                 portion   of such    Operations    Bulletins  by  any means,   shall  atall
                                                                                                                                          ^1
      times maintain
      times    maintain same
                           sameinin a secure
                                       secureplace
                                                placeat atthe
                                                           theFranchised
                                                                Franchised Location
                                                                              Locationand,and, upon
                                                                                                upontermination
                                                                                                       termination ororexpiration
                                                                                                                        expiration ofofthis
                                                                                                                                        this
      Agreement shall
      Agreement        shall deliver
                              deliver said
                                        saidOperations
                                              Operations Bulletins
                                                              Bulletins to to Franchisor
                                                                               Franchisor or  orits
                                                                                                  its Affiliate.
                                                                                                      Affiliate. Without
                                                                                                                   Without limiting the
                                                                                                                              limiting   the
      generalityof
      generality     ofthe
                        theforegoing,
                            foregoing. Franchisor
                                         Franchisormay  mayestablish      emergency procedures
                                                               establishemergency        procedures pursuant
                                                                                                       pursuanttotowhich
                                                                                                                    whichititmay
                                                                                                                              may   require
                                                                                                                                    require
      Franchiseeto
      Franchisee      totemporarily
                         temporarilyclose
                                        closethe
                                               theFranchised
                                                    FranchisedRestaurant
                                                                   Restaurantto       thepublic,
                                                                                  tothe   public,ininwhich
                                                                                                      whichevent
                                                                                                              eventFranchisor
                                                                                                                     Franchisorshall
                                                                                                                                  shallnot
                                                                                                                                         not
      be  liable to
      be liable    to Franchisee for forany
                                         anylosses
                                              losses or orcosts,including
                                                                   including consequential
                                                                                 consequential damages
                                                                                                   damages or orlost
                                                                                                                 lost profits
                                                                                                                      profits occasioned
                                                                                                                               occasioned
      thereby.
      thereby.

                10.06
                10. 06 Taxes.
                       Taxes.

              Franchiseeshall
              Franchisee  shallpay
                               payin
                                   infull
                                     fullany
                                          anyand
                                             andall
                                                  allcity,county,
                                                          county,state
                                                                  stateand federaltaxes
                                                                       andfederal taxesarising
                                                                                        arisingin
                                                                                               inconnection
                                                                                                  connectionwith
                                                                                                             with
      orlevied
      or leviedor
               orassessed
                  assessedby
                           byany
                             anyGovernmental
                                  Governmental Authority
                                                 Authorityin
                                                           inconnection
                                                              connectionwith
                                                                         withall
                                                                              allor
                                                                                 orany
                                                                                    anypart
                                                                                        partof this
                                                                                             ofthisAgreement,
                                                                                                    Agreement, or
                                                                                                               or
      theoperation
      the operationof
                    ofthe
                      theFranchised
                          FranchisedBusiness,
                                      Business,or
                                                orall
                                                   allor
                                                       orany
                                                         anyof
                                                             ofthe
                                                                themerchandise
                                                                    merchandiseand
                                                                                 andassets
                                                                                     assetsbeing
                                                                                            beingsold
                                                                                                  soldhereunder,
                                                                                                       hereunder,
      promptly when
                whendue,
                     due,and
                           andprior
                               priorto
                                    toany
                                       anydelinquency.
                                           delinquency.
                10.07 Inspection
                10.07 Ins ectionbby Franchisor.
                                    Franchisor.

               Franchiseeexpressly
               Franchisee expresslyauthorizes
                                     authorizesFranchisor,
                                                   Franchisor,or
                                                               orits
                                                                 itsrepresentatives,
                                                                      representatives, or
                                                                                       orthose
                                                                                          thoseofofits
                                                                                                   itsAffiliate,
                                                                                                       Affiliate,to
                                                                                                                 toenter
                                                                                                                    enterthe
                                                                                                                         the
      Franchised Restaurant atat any
                                 anytime
                                      time itit is
                                                is open
                                                   open for
                                                        for business,
                                                            business, without notice,
                                                                               notice, to
                                                                                        toinspect
                                                                                            inspect the  premises,  fixtures,
                                                                                                     the premises, fixtures.
                   andequipment therein,
      furnishings and              Uierein, and
                                              andto toexamine
                                                      examine and
                                                               andinspect    theoperations
                                                                     inspect the operations in inall
                                                                                                 all respects
                                                                                                      respects to
                                                                                                               todetermine
                                                                                                                  determine
                   withthis
      compliance with   this Agreement
                             Agreement andandwith withFranchisor's
                                                       Franchisor's standard  operating    procedures,
                                                                     standard operating procedures, policies, rules
                                                                                                         policies, mles and
                                                                                                                         and
      regulations.
      regulations.

               10.08 Participation
               10.08               in Operation
                     Partici ationinO     rationof FranchisedBusiness.
                                                ofFranchised Business.

               Franchisee shall
               Franchisee   shall actively
                                  actively participate
                                           panicipateinin the
                                                          theday-to-day
                                                              day-to-day operation
                                                                          operation ofofthe
                                                                                         the Franchised
                                                                                              Franchised Restaurant
                                                                                                          Restaurant and
                                                                                                                      and
      devotesuch
      devote  suchof
                   ofits
                     itstime
                         timeasasis
                                  isreasonably
                                    reasonablynecessary
                                                necessaryfor
                                                           forthe
                                                              theefficient
                                                                  efficientoperation
                                                                            operationofofthe
                                                                                          theFranchised
                                                                                              FranchisedRestaurant
                                                                                                          Restaurantand
                                                                                                                      and
      theperformance
      the performance of
                       ofits
                           itsobligations under
                                           underthis
                                                 thisAgreement,
                                                      Agreeroent, all
                                                                  allancillary
                                                                      ancillary documents
                                                                                 documents relating
                                                                                             relating hereto
                                                                                                      heretoand
                                                                                                             andall
                                                                                                                 allother
                                                                                                                    other
      agreementswhich
      agreements  whichmaymaythen
                               thenbebein
                                       ineffect
                                          effectbetween
                                                betweenFranchisor
                                                          Franchisorand/or   its Affiliate and Franchisee, or Franchisee
                                                                      and/oritsAffiliateandFranchisee,orFranchisee
      mayemploy
      may  employ a manager
                     manager to to operate
                                    operate the
                                            theFranchised
                                                Franchised Restaurant,
                                                             Restaurant, who
                                                                         whohashaspreviously
                                                                                    previously satisfactorily
                                                                                                satisfactorily completed
                                                                                                               completed
IHOPOC3 05
IHOPOC305                                                                 25
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     training conducted by Franchisorr for  forthe
                                                theoperation
                                                    operationof ofan
                                                                   anIHOP
                                                                       MOPRestaurant,
                                                                              Restaurant,subject
                                                                                          subject   to
                                                                                                    tothe  prior approva
                                                                                                       thepiior^  approvall of
                                                                                                                             ^
     Franc'tSso'rruunless
     Franchisor,    nfe'sTwa ived by Franchisor
                          waived      Franchisor inin'its
                                                      its sole subjective
                                                               subjective judgment,
                                                                           judgment, exercised
                                                                                      exercised in
                                                                                                 in good faith,
                                                                                                          futfi, by reason  of
                                                                                                                     reason c

     suS*'^rs
     such      on;s"prio
           person's  priorrtraining
                           trainingand
                                    andexperience.
                                          experience. Franchisee
                                                         Franchiseeshall
                                                                     shallnot
                                                                            notdivorce  hi°lselfor
                                                                                divorcehimself       herselflffrom
                                                                                                  OTherse     fromthe
                                                                                                                    the active
                                                                                                                        active
     condwt"of
     conduct   of"the'o  perationofof the
                   the operation      theFranchised
                                           FranchisedRestaurant.
                                                          Restaurant. Franchisee    shall be  entitled  to engage    in other,
                                                                        Franchiseeshall be entitled to eneaSe, ltl_otoer-
      n^Smpetitiv'e    b^smess activities
     noncompetitive business     activit ies (as
                                             (as defined
                                                 defined inin Section 14.01 below)
                                                                       l4;01  below) so
                                                                                     so long
                                                                                        long as
                                                                                             as same       not unreasonably
                                                                                                 same do not    unreason  ably
     interfere with
     interfere withthe
                     theconduct
                         conductofofthe
                                     theoperation
                                           operation of       FranchisedRestaurant.
                                                          theFranchised
                                                      ofthe                Restaurant.
               TheMajority
               The   MajorityOwner
                              Ownerof    ofany
                                            anyBusiness
                                                 BusinessEntity
                                                           Entityshall
                                                                  shallbe,
                                                                       be,as
                                                                           asapplicable,   thepresident
                                                                               applicable,the presidentof     Franchisee
                                                                                                           ofFrmch    ;seeifand^it
      isaa corporation,
      is   corporationTthe   managerififititisisa limited
                        the manager               limitedliability
                                                          liabilitycompany,
                                                                   company,the            partner if it is a Partnership,
                                                                              thegeneralpartnerifitisaPartnCTship^ai
                                                                                  general
      th^coiiya
      the       rable position
          comparable            ifltit is
                       position if        any other form
                                       is any        fonnof           Entity, unless otherwise
                                                          of Business Entity,        othenvise consented
                                                                                               CODSented to by Franchisor
                                                                                                             to, byFranch   is.OT
      in'its"srie
      in         ,~subjec
         its sole,         tivejudgment.
                    subjective judgment'. Franchisor
                                                Franchisor will
                                                            will review anyproposed deviations from theseaPProy^
                                                                 review  any   proposed  deviations   from    these  approved
      s'tmctuies'provide
      structures  provideddFranchisee
                            Franchiseeagrees
                                           agreestotoreimburse
                                                      reimburseFranchisor
                                                                Franchisorfor
                                                                            forall
                                                                                alllegal
                                                                                   legalfees  andcosts
                                                                                         feesand  costsititmay
                                                                                                             mayincur
                                                                                                                   incurininthis
                                                                                                                             this
      review process.
      review  process.

               Franchiseeisisentering
               Franchisee    enteringinto
                                      intothis
                                          thisAgreement
                                               Agreementfor
                                                        forits
                                                            itsown
                                                               ownaccount,
                                                                   account,and
                                                                           andnot
                                                                               notwith
                                                                                  withthe intentto transfer the
                                                                                       theintent totransferthe
      same(except
      same (except"aasspenmtte d~pmsua
                       permitted       at to
                                 pursuant toSection
                                             Section11.03(b)
                                                    11.03(b)below),
                                                             below),or
                                                                    orto
                                                                       tooffer,
                                                                         offer,sell,
                                                                                sell.or negotiate
                                                                                     OT_"egot! ate, the sale of
                                                                                                    the,saLe of
      franchTs'es'OT
      franchises        lu;CTse7to
                    or licenses    to any
                                      any third
                                            third party, or
                                                          or otherwise
                                                             otherwise subfranchise,        sublicense, subcontract
                                                                          subfranchise. sublicense,       subcontract (including
                                                                                                                         (mcludmg
      exec'utio   nofany'm   anageme
      execution of any management       nt agreement),
                                             agreement), share, divide or partition this Agreement and
                                                           share, divide   or  partition   this Agreement    andnothing
                                                                                                                   nothingin   this
                                                                                                                            in^tlus
      Agreement will be construed as granting         Franchisee  the  right  to do  so.  Without   limiting the  generality
                                                                                       3. Withoutlimitingthegeneralityof     ofthe
                                                                                                                                the
             3ing, 'Franchis
      foregoing,    Franchiseeee shall
                                  shall not:
                                        not:"(l)  delegate, contract
                                              (1) delegate,  contract for
                                                                       foror    ottierwise permit
                                                                            or otherwise     pennit aa third
                                                                                                       third party
                                                                                                             party  to
                                                                                                                     to perform
                                                                                                                        perform  or
                                                                                                                                  or
      aTsu^ie   res ponsibili
      assume responsibility   ty for any
                                 for any part
                                         part  of the operation
                                                      operation  of the Franchise     Restaurant,
                                                                                      Restaura  nt, including
                                                                                                    including  in
                                                                                                              m connection with
                                                                                                                  connectio D
                                                                                                                               with
      a management
         management contract,purchase
                                    purchase ororother   similaragreement;
                                                  othersimilar   agreement; or  or(2)  require
                                                                                    (2)requu   e or accepttanyP^m
                                                                                                 or^<;eP   any paymententl or other
      considera
      consideration    from-any
                  tion from   any'person
                                   person for            to manage
                                           for the right to manage oror work
                                                                        work in in the Franchised
                                                                                       Franchised Restaurant.
                                                                                                     Restaurant.   Further,
                                                                                                                   Further, except
                                                                                                                            except
      with'the
      with  the prior  written consent
                 prior written                Franchisor and
                                 consent of Franchisor     and otherwise
                                                               otherwise inin compliance
                                                                               compliance withwith the provisions
                                                                                                       Provisionsof of Section
                                                                                                                       secd0?1 11,
                                                                                                                                 nl
      noemplo
      no  employeey'eeor  independentcontractor
                      or independent    contractormaymaybe bean
                                                              anOwner
                                                                 Owner   of
                                                                         of  Franchisee
                                                                             Franchis         Franchisee  is a
                                                                                        eeifFranchiseeisa BusinessEntityor
                                                                                           if                  Business   Entity
                                                                                                                                  or
      otherwise have
      otherwise    havean aninterest
                             interestin
                                      inthis
                                         this Agreement
                                               Agreement or orthe FranchisedBusiness.
                                                              theFranchised      Business.
               10.09 Personal
               10.09 Persona Computer.
                              Corn uter.

              Uponrequest
              Upon request by
                           byFranchisor,
                              Franchisor. Franchisee
                                          Franchiseeshall,
                                                     shall,at
                                                           atits
                                                              itsown
                                                                 owncost
                                                                      costand
                                                                          andexpense,
                                                                               expense, obtain
                                                                                        obtamand
                                                                                               andmaintain
                                                                                                  maintain aa
      personalcomputer
      personal computeras
                       asFranchisor
                          Franchisoror
                                    orits
                                       itsAffiliate
                                           Affiliatemay specify from time to
                                                    mayspecifyfromtimetotime.time.

               10.10
               10. 10 Business and
                               and Ethical Practices.
                                           Pr c ices.

               Asof
               As ofthe
                      thedate
                          dateof
                               ofthis
                                  thisAgreement,
                                      Agreement, Franchisee
                                                  Franchiseeand
                                                             andeach
                                                                  eachof ofits
                                                                            itsOwners
                                                                               Ownersshall
                                                                                        shallbe
                                                                                             beand,
                                                                                                 and,during
                                                                                                     dunngthetheTerm
                                                                                                                 Term
      shallremain,
      shall reimin, 'in fullcompliance
                     in full compliance'with  allApplicable
                                        with all Applicable Laws
                                                            Lawsin ineachjurisdiction inwhichFranchisee or
                                                                      each  jurisdiction in which  Franchisee  orsuch
                                                                                                                  such
      Owners,as asapplicable,
                  applicable,conducts
                               conductsbusiness
                                        busmessthat
                                                 thatprohibits
                                                     prohibitsunfair,
                                                               unfair, 1fraudulent or corrupt business practices in the
      performancerof~it
      performance   of itssobligations
                           obiigationsunder
                                       underthis
                                             thisAgreement
                                                  Agreementand
                                                             andrelated
                                                                  relatedactivities,
                                                                           activities,including
                                                                                      includmgbut
                                                                                                butnot
                                                                                                    notlimited
                                                                                                         limitedto
                                                                                                                 tothe
                                                                                                                    the
      following
      followingprohibitions:
                 prohibidons:
               NeitherFranchisee
               Neither  Franchisee nornorany
                                          anyof
                                              ofthe
                                                 theOwners
                                                      Ownersshall
                                                               shallmake
                                                                     makeanyanyexpenditure
                                                                                expenditure other
                                                                                              otherthan
                                                                                                    thanfor
                                                                                                         forlawful
                                                                                                             lawfulpurposes
                                                                                                                      purposes
      ordirectly
      or directlyor
                  orindirectly
                     indirectlyoffering,
                                offering,giving,
                                           giving,promising
                                                   promisingto togiveorauthorizingthepaymentorthegiftof
                                                                  give or authorizing  the payment  or the gift ofany
                                                                                                                  any  money,
                                                                                                                       money,
      oranydu
      or        ngofvalu
         anything          e, to
                    of value, toany
                                 anyperson
                                      peraonoror'Busine
                                                 Businessss Entity, whileknowingorhavingreasontoknowthatallora
                                                            Entity,  while knowing   or  having  reason to know   that  all or a
      portionof
      portion  of'such  moneyor
                  such money    orthing
                                   tfiingof
                                          ofvaluewillbegivenorpromised,directlyormdirectly toanygovemIIBIlt
                                             value  will be given  or promised,  directly  or indirectly, to any government
      official,official
      official, officialof
                        ofan
                           aninternational
                              intemationalorganization,
                                             organization,officer
                                                             officeror
                                                                     oremployee
                                                                        employeeof   a foreign
                                                                                  ofaforei  gngovernment
                                                                                               governmentor  oranyone
                                                                                                                anyoneacting
                                                                                                                         acting
      m'an
      in    officialcapacity
         an official  capacityfor
                                fora foreign
                                       foreigngovernment,
                                               government, for for thepurpose of(a) influencing anyaction,inaction
                                                                   the purpose  of (a)  influencing  any  action,  inaction^o orr
      decisionof
      decision  ofsuch
                   suchofficial
                         officialin
                                  ina manner
                                       mannercontrary
                                               contrary totohis
                                                             hisor
                                                                 orher
                                                                    herposition
                                                                        positionor  creating  an improper   advantage;
                                                                                 orcreating animproper advantage; or(b)  or (b)
      mducYngsuch
      inducing   suchofficial
                      officialto
                               toinfluence
                                  influence any
                                             anygovernment
                                                  government or orinstrumentality
                                                                   instrumentality thereof
                                                                                    thereoftotoeffect
                                                                                                effector
                                                                                                      orinfluence
                                                                                                         mfluenceany anyact
                                                                                                                          actor
                                                                                                                              or
      decisionof
      decision  ofsuch
                    suchgovernment
                         governmentor   orinstrumentality.
                                          instrumentality.


IHOPOC3
IHOPOC30OS
         5                                                            26
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                Nogovernment
                No governmentofficial,
                             official,official
                                       officialof
                                               ofan
                                                  aninternational
                                                    internationalorganization,
                                                                  organization.political
                                                                               Poutic^Pa party or officiall thereof,
                                                                                            rtyorofficia    thereof'or
                                                                                                                     or
      candidateis
      candidate is'ao Owneror
                   an Owner orhas
                              hasany
                                  anyinvestment
                                     investinent interest in therevenues
                                                          inthe revenues or
                                                                         orprofit  ofFranchisee.
                                                                            profit of Franchisee.
              NeitherFranchisee
              Neither Franchiseenor
                                  norany
                                       anyof
                                           ofits
                                             itsOwners
                                                 Ownersconducts
                                                          conductsany
                                                                  anyactivity,
                                                                       activity,or hasfailed
                                                                                orhas failedto
                                                                                             toconduct
                                                                                                conductany
                                                                                                        anyactivity,
                                                                                                             activity,
      if such
      if such action
              action or
                     or inaction
                        inaction constitutes
                                  consdtutes a money
                                                 money laundering
                                                         laundering crime, including any
                                                                    crime, including       money laundering
                                                                                      any money                crime
                                                                                                   laundering_crime
      prohibitedunder
      prohibited underthe
                       the-bitema  tional Money
                           International  MoneyLaundering
                                                 LaunderingAbatement     and  Anti-Terrorist Financing Act  ("Patriot
                                                              AbatementandAnti-Terrorist FinancingAct("Patriot
            andany
      Act") and      amendments or
                 anyamendments        successors thereto.
                                   orsuccessors  thereto.
              Franchisee nor
              Franchisee   nor any
                               any ofofits
                                        its Owners
                                             Owners nor
                                                      nor any
                                                           any employee
                                                                employee of   of any  of them
                                                                                 any of  them isis named
                                                                                                    named asas aa "Specially
                                                                                                                   "Specially
      DesignatedNationals"
      Designated  Nationals" or
                              or"Blocked
                                 "BlockedPersons"
                                             Persons"asasdesignated
                                                          designatedby         U.S.  Department    of the
                                                                        bytheU. S.Department oftheTreasury's Office
                                                                           the                            Treasury's   Office
      of"F^iei^i
      of  Foreign~ Assets
                    Assets Control. Currently,
                                          Currently, this
                                                      this list
                                                            list isis published
                                                                       published under
                                                                                   under the
                                                                                           die internet
                                                                                                 internet website
                                                                                                           website    address
                                                                                                                      address
      ::www^us^reas.gov/terrorism. html". Franchisee
      "www.ustreas.goviterrorism.htrn1".      Franchiseeisisneither
                                                            neitherdirectly
                                                                       directlynor  indirectlyowned
                                                                                norindirectly   ownedor orcontrolled
                                                                                                           controlledbyby the
                                                                                                                           the
      government of
      government   of°any  country that
                      any country  thatisissubject
                                            subjecttotoa United Statesembargo. NordoesFraDchisee^or. any^ofhs
                                                        a United    States embargo.    Nor   does  Franchisee   or  any of its
      Owners'ac
      Owners  acttdirectly
                  directlyor
                           orindirectly
                             indirecdyon onbehalf
                                             behalfof
                                                    ofthe
                                                       thegovernment
                                                           government of     anycountry
                                                                          ofany  countrythat
                                                                                          thatis
                                                                                               issubject  toaa United
                                                                                                  subjectto    UnitedStates
                                                                                                                        States
      embargo7FFranchisee
      embargo.    ranchiseeagrees
                            agreesthat
                                   thatititwill
                                           willnotify
                                                notifyCompanyinwritingimmediatelyoftheoccurrenceof
                                                      Company    in   writing immediately   of the occurrence   of any
                                                                                                                   any event,
                                                                                                                       event,
      which'rend
      which      ers the
             renders theforegoing representations          warranties of
                                                      andwarranties
                                    representations and                    this paragraph
                                                                         ofthis paragraph incorrect.
                                                                                            incorrect.
              Franchiseeand
              Franchisee   andits
                               itsOwners
                                   Ownersrepresent
                                           representthat
                                                       thatthey
                                                           theyunderstand
                                                                 understandandandhave
                                                                                   havebeen
                                                                                        beenadvised
                                                                                              advisedbybylegal
                                                                                                            legalcounsel
                                                                                                                   counselon
                                                                                                                           on
      therequirements
      the requirements ofofthe
                             theapplicable
                                 applicablelaws
                                              lawsreferred to above, including the United StatesForeignCorrupt
                                                   referred  to  above,   including  the  United   States  Foreign    Corrupt
      Practices Act
      Practices  Act(currently
                     (currently located
                                  located at
                                           at www.usdoj.govicriminal/fraud/fcpa.html),
                                               www.usdoj. gov/criminaVfraud/fcpa. html), any   any local
                                                                                                     local foreign
                                                                                                             foreign corrupt
                                                                                                                      corrupt
      practiceslaws
      practices lawsand
                     andthethePatriot
                               PatriotAct(currendylocatedatwww-ePic-OT8/Privacy/terrorism/h^3.162-html)'^nd
                                       Act (currently   located at www.epic.orgiprivacyherrorisin/hr3162.html),           and
      herebyacknowledge
      hereby acknowledge thetheimportance
                                importance toCompany, theSystemandtheparties' relationship oftheu-respective
                                             to Company,    the System   and  the parties' relationship of   their respective
      compliance with
                   withthe
                       therequirements
                            requirements of
                                          ofthis
                                              thisSection
                                                  Section10.09,
                                                            10.09,including
                                                                   includinganyanyapplicable
                                                                                    applicableauditing
                                                                                                auditingrequirements
                                                                                                          requirements andand
      any requiremen
      any requirementt to
                       toreportorprovideaccesstoinformation toCompanyoranygovemment, that
                          report  or provide access  to information   to Company    or any  government,    that is
                                                                                                                is  made
                                                                                                                    made part
                                                                                                                         part
      of'any'app
      of         licable law.
         any applicable   law. Franchisee
                                 Franchisee shall
                                              shall take  all reasonable
                                                    take all                steps to
                                                              reasonable steps    to require
                                                                                     require its
                                                                                              its consultants,
                                                                                                  consultants, agents
                                                                                                                  agents and
                                                                                                                          and
      employees to
                 tocomply with
                             withsuch
                                   suchlaws   prior to engaging   or employing    any such
                                        lawsprior to engaging oremploying anysuchpersons.   persons.

      INITIALS:
      INITIALS:         1385 - Tyler,
                        1385   Tyler. Inc.
                                      Inc.(By:
                                           (By: Meredith Elston, President)
                                                MeredithElston,  President)                                                      ^

               Franchisee represents to
              Franchisee             toCompany
                                        Company that
                                                  thatitithas takenall
                                                          hastaken  allnecessary
                                                                       necessary and
                                                                                 andproper
                                                                                     properaction
                                                                                           actionrequired
                                                                                                  requiredbybythe
                                                                                                               the
      laws of the DevelopmentArea
      laws of the Development  Areaand
                                     andhas
                                         hasthe
                                            theright
                                                rightto
                                                     toexecute
                                                          executethis
                                                                  thisAgreement
                                                                      Agreementand
                                                                                 andperform
                                                                                     performunder
                                                                                            underall
                                                                                                   allof
                                                                                                      ofits terms.
                                                                                                         itsterms.
                                                             XI
                                                        ASSIGNMENT
                                                        ASSIGNMENT

               11.01
               11.01 Assignment
                     Assi mentb by Franchisor.
                                   Franchisor.

               Franchisorshall
               Franchisor shallhave
                               havethe
                                    theright
                                       rightto
                                             toassign
                                               assignthis
                                                      thisAgreement andall
                                                          Agreementand allof
                                                                           ofits
                                                                             itsrights
                                                                                 rightsand privilegeshereunder
                                                                                       andprivileges hereunder
      toany
      to anyother
            otherperson
                  personor
                         orBusiness
                           BusinessEntity;
                                    Entity;provided
                                           providedthat,
                                                     that,in
                                                          inrespect
                                                             respectto
                                                                    toany
                                                                       anyassignment
                                                                          assignmentresulting
                                                                                      resultingin
                                                                                               inthe
                                                                                                  thesubsequent
                                                                                                     subsequent
      performanc
      performancee by
                   bythe
                      theassignee
                         assigneeof
                                  ofthe
                                    thefunctions
                                        functions of
                                                  ofFranchisor,
                                                     Franchisor,the
                                                                 theassignee
                                                                    assigneeshall
                                                                             shallexpressly
                                                                                  expressly assume
                                                                                             assumeand
                                                                                                    andagree
                                                                                                        agreeto
                                                                                                             to
      perform
      performsuch
              suchobligations.
                  obligations.

               11.02 Assignment
               11.02 Assi nmentbte, Franchisee.
                                    Franchisee.

               (a) During
               (a) During the
                            the Term,
                                 Term, Franchisee
                                       Franchisee shall
                                                    shall have
                                                          have the
                                                                the right
                                                                    right to
                                                                           to assign,
                                                                              assign, transfer
                                                                                      transfer or
                                                                                               or sell
                                                                                                    sell its
                                                                                                         its interest
                                                                                                             interest in
                                                                                                                      in this
                                                                                                                         this
      Agreement, upon
      Agreement,   uponthe
                        theterms
                             termsand
                                   andconditions provided
                                                  providedherein,
                                                             herein,and
                                                                     andsubject
                                                                         subjectto
                                                                                 tothe
                                                                                    theprovisions
                                                                                        provisionscontained      in Sections
                                                                                                     contained m Sections
      1 L03,and
      11.03,  and11.04.
                  11M. The
                        Theterms "Assign" and     "Assignment" shall
                                              and"Assignment"     shallinclude,
                                                                       include, if
                                                                                 ifFranchisee
                                                                                   Franchisee isisaa Business
                                                                                                     Business Entity,
                                                                                                                Entity, each
                                                                                                                        each
      of the
      of the following: (i)the
                       (i)  Aesale,assignment,
                                     assignment,transfer,
                                                 transfer,conveyance,
                                                            conveyance,gift,
                                                                          gift,pledge,
                                                                               pledge,mortgage,
                                                                                        mortgage,or orother
                                                                                                       otherencumbrance
                                                                                                               encumbrance
      ofmore
      of more than
                than49%
                    49%in  in the
                               the aggregate, whether
                                              whetherinin one
                                                           one or
                                                               or more
                                                                   more transactions,
                                                                          transactions, of
                                                                                         ofthe
                                                                                            the Stock
                                                                                                Stockof  ofFranchisee,
                                                                                                             Franclusee, by
                                                                                                                          by
      operationof
      operation  oflaw
                   laworotherwiseor
                       or otherwise   orany
                                        anyother
                                            otherevent(s)
                                                   event(s)orortransaction(s)
                                                               transaction(s) which,
                                                                                which,directly
                                                                                        directlyor
                                                                                                 orindirectly,
                                                                                                    indu'ectly,effectively
                                                                                                                 effectively
IHOPOC3 05
IHOPOC305                                                          27
                                                                   27
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     changes managementt control  controlof  ofFranchisee;
                                                Franchisee;(ii)  (ii)the
                                                                       theissuance
                                                                           issuanceof    ofanyanysecurities
                                                                                                   securitiesby  byFranchisee
                                                                                                                     Franchiseewhich whichitself
                                                                                                                                              itseKoror
     i'nco^bin
     in          au'OTwi
        combination      with thany-ot   hertransaction(s)
                                 any other    transacrion(s)results
                                                                 resultsin inthe    Ownersexisting
                                                                               theOwners                    as   of the   Effective
                                                                                                  existingasoftheEffectiveDateownlD8   Date   owning
     !e"s7than
     less        '5T%of
          than 51%     ofthetheoutstanding
                                 outstandingshares,
                                                  shares,membership
                                                            membershipinterests
                                                                              interestsor   orvoting
                                                                                               votingpower
                                                                                                         powerof  ofFranchisee
                                                                                                                      Franchiseeas    asconstituted
                                                                                                                                          constituted
     aTof'the
     as         EffectiveDate;
         of the Effective       Date;(iii)
                                       (iii)ififFranchisee
                                                Franchiseeis    isaa Partnership,
                                                                       Partnership,the         withdrawal,death
                                                                                         thewithdrawal,                  or legal
                                                                                                                deathorlegal incapacity^of a
                                                                                                                                    incapacity
     generalrpartn7r"
              partner or or'litmted
                              limitedp'artner      owning51%
                                        partner owning        51%or  ormore
                                                                          moreof of"the
                                                                                    the Partnership
                                                                                            PartnershipRights
                                                                                                            Rightsof      the Partnership,
                                                                                                                      offlle   paJt»e"lh   lP-. or the
                                                                                                                                                 or^e
     ^dmissi^nofany'a
     admission                 dditionalgeneral
                   of any additional      generalpartner
                                                      partnerororthe
                                                                   thetransfer
                                                                         transferor     assignment       by  any   general    partner
                                                                                    orassignmentbyany8elleralParttlerofanyot_lt          of any  of its
     Partn'erelupRights
     Partnership     Rights -m"thePM        tnership; (iv)
                               in the Partnership;             the death or
                                                          (iv) the           or legal incapacity
                                                                                           incapacity of any  any direct or  or indirect
                                                                                                                                 indirect Majority
     Owiier;"((v)
     Owner;          thFsale,
               vj ) the           assignment, transfer,
                          sale, assignment,        transfer, conveyance,
                                                               conveyance, gift,          issuance of securities or
                                                                                  gift, issuance           ^securities     or any
                                                                                                                              any other
                                                                                                                                     other^e event
                                                                                                                                                 D^oror
                     whedier'iinnone
     transaction, whether
     transaction,                   one or           transactions, by any
                                             more transactions,
                                         or more                           any direct or  or indirect    Majority Owner
                                                                                              indirect Majority       Owner as  as of the Effective
                                                                                                                                             Bffectiye
     Date~wh
     Date   whichichresults
                     resultsin  insuch
                                   suchMajority
                                          Majority OwnerOwnerowning,
                                                                  owning,directly
                                                                               directlyor   orindirectly,
                                                                                                indirectly, less
                                                                                                               lessthan
                                                                                                                     than51% 51%of  ofthe
                                                                                                                                        theStock
                                                                                                                                             Stockin in
     Franchisee; and
     Franchisee;     and(vi)
                           (vi) any
                                 anymerger, stock stockredemption,
                                                          redemption, consolidation,
                                                                            consolidation, reorgaiiization, recapitalization^ or other
                                                                                                  reorganization,      recapitalization
     trwsferof
     transfer  ofcontrol
                   controlof  ofthe
                                 theFranchisee,
                                      Franchisee,however
                                                       howevereffected.
                                                                  effected. Notwithstanding
                                                                                Notwithstandingthe        theforegoing,
                                                                                                              foregoing.Franchisee
                                                                                                                              Franchiseeshallshallnot
                                                                                                                                                    not
     haveAe'n
     have        ght'to-pie
           the right           dge, -encumb
                       to pledge,     encumber,   er, hypothecate
                                                      hypothecate or    orotherwise giveanythirdparty a securitymterest in
                                                                           otherwise      give    any  third  party    a security    interest   m^ this
     Franchise'Igreem
     Franchise     Agreement  ent°or   anyof
                                   or any    ofthe
                                                 therights
                                                       nghtsof ofFranchisee
                                                                   Franchiseehereunder,
                                                                                   hereunder,or      orininthe
                                                                                                            theoperation
                                                                                                                  operationof   ofthetheFranchised
                                                                                                                                          Rand
     Restaurant by
     Restaurant     by any
                         any other
                                other person, in                          whatsoever,        without    the
                                                   in any manner whatsoever, without the exPress written permission
                                                        any  manner                                           express      written    Permls^o    n.(of
     Fra^hisor/wUch
     Franchisor,               permission may
                     which permission          maybe  bewithheld
                                                          withheldfor   foranyreasonwhatsoever inFranchisor'ssolesubjective
                                                                            any   reason      whatsoever      in  Franchisor's      sole   subjective
     judgment. t.~'In  all events,
                    In all   events. Franchisor
                                       Franchisor shallshall have
                                                              havethe      right, but
                                                                      theright,    butnot notthethe obligation,
                                                                                                     obligation^to  to furnish
                                                                                                                        furnish anyanyprospective
                                                                                                                                         prospective
     Sneew
     assignee withitii copies
                       copies     of all financial
                                          financial    statements
                                                        statemen   ts  which    have
                                                                                have    been
                                                                                        been     furnished
                                                                                                 furnishe   d by   Franchisee
                                                                                                              byFranc      tuseeto^to Franchisor
                                                                                                                                        raDchiso     in
                                                                                                                                                    r^
     accOTdancewith
     accordance      withthis
                           AisAgreement
                                 Agreementduringduringthe the3 yearperiodpriortothedateforwhichapprovalof
                                                              3  year    period  prior    to  the  date  for which     approval     of the  proposed
     L'signmentisis'sough
     Assignment         sought.t.Ipranchi      sor'sapproval
                                    Franchisor's      approval'of      suchproposed
                                                                  of such    proposedtransaction
                                                                                             transactionshall
                                                                                                            shallnotnot,-however,
                                                                                                                          however'bedeembe deemed ed^ a
     represen   tatioD
     representation or  orguarantee
                             guaranteeby    byFranchisor
                                                Franchisorthattheterms andcondidonsoftheProPosed,t^nsac
                                                               that    the  terms    and     conditions     of   the  proposed      transaction     are
                                                                                                                                               tl^ar^
     economicallysound
     economically      soundor   orthat,
                                     that,ififthe
                                               thetransaction
                                                     transactionisisconsummated,
                                                                         consummated,the       theproposed        assignee ewillbec
                                                                                                     ProPosedassigne           will be capable
                                                                                                                                          aPableo    of
                                                                                                                                                     ,f
     successfuily''cond
     successfully            uctmg the
                      conducting      theFranchised
                                           Pranchised Business
                                                            Businessand   andnonoinference
                                                                                   inferenceto     tosuch
                                                                                                      sucheffect
                                                                                                             effect   shall
                                                                                                                      shall   be
                                                                                                                              be  made
                                                                                                                                   made    from   such
                                                                                                                                           fromsuch
     approval.L "Notwith      standing anything
                   Notwithstanding        anythingto    tothe
                                                           thecontrary
                                                                contrary herein,
                                                                             herein,in  inthetheevent
                                                                                                  eventof ofthe
                                                                                                             thedeath
                                                                                                                   deathor  orlegal
                                                                                                                               legalincapacity
                                                                                                                                       incapacity of of
     F^nctu:se e~or,   ifFranchi    seeisa'B
     Franchisee or,if Franchisee is a Business  usinessEEntity,
                                                             ntity, the
                                                                      theOwner
                                                                           Ownerholding
                                                                                    holding5     50%
                                                                                                   0%or ormore
                                                                                                           more   of
                                                                                                                   of the  Stockkor
                                                                                                                      theStoc      or voting
                                                                                                                                       voting   power
                                                                                                                                                power
     oflFFranchisee,
     of   ranchisee, 'the
                        the transfer of  of Franchisee's
                                              Franchisee's or  or'such
                                                                  such Owner's interestinterest in  in this
                                                                                                       this agreement
                                                                                                             agreemen^o     to its   heire, personal
                                                                                                                                its heirs,   personal
     representatives or conservators,as applicable,shall       e, shallnotnotgive
                                                                              giverise
                                                                                    riseto  toFranchisor's
                                                                                               Franchisor's right
                                                                                                                rightofoffirst
                                                                                                                          firstrefusal
                                                                                                                                refusalhereunder,
                                                                                                                                          hereunder,
     akhou^isuch
     although    suchright
                        rightshall
                                 shallapply
                                       applyas  astotoanyanyproposed
                                                              proposedAssignment
                                                                            Assignmentby       bysuch
                                                                                                    suchheirs,
                                                                                                           heirs,personal
                                                                                                                   personalrepresentatives
                                                                                                                                representatives or   or
     conservators.
     conservators,


              (b)      In     event Franchisee
                       In the event  Franchisee has executed this Franchise
                                                                     Franchise Agreement
                                                                                 Agreement pursuant
                                                                                             pursuant to
                                                                                                       to a
                                                                                                          a Multi-Store
              (b)                                                                                           Myl ti-Store
      Development    Agreement, then notwithstanding
      Development Agreement,      then notwithstanding anything toto the
                                                                     the contrary
                                                                         contraiy herein, during
                                                                                   herein'd       the term
                                                                                            uIiinSthete    of the !Multi'
                                                                                                        mlofthe   Multi-
      Store'De
      Store     velopimnt Agreement,
            Development     Agreement, this
                                         thisFranchise
                                              FranchiseAgreement
                                                        Agreement may  maynot
                                                                            not be  transferred
                                                                                 betransferred or assignedwithout aa
                                                                                                 or assigned  without
      simultaneousassignment
      simultaneous   assigninentto
                                 tothe
                                    thesame
                                        sameassignee
                                              assigneeof
                                                       ofall
                                                          allthen
                                                             thenexisting
                                                                   existingFranchise
                                                                            FranchiseAgreements
                                                                                        Agreementsexecuted
                                                                                                     executedpursuant
                                                                                                               pursuant
      to'theMu
      to       iti^Store'Develop
         the Multi-Store          ment Agreeme
                          Development    Agreement nt(and
                                                     (andall
                                                           all of
                                                               ofthe
                                                                  theassets
                                                                       assets of
                                                                              ofthe
                                                                                 the Restaurants
                                                                                     Restaurants developed and
                                                                                                  developed   and  under
                                                                                                                   under
      development pursuan
      development    pursuantt thereto) and
                                        and ofofthe
                                                the Multi-Store
                                                     Multi-Store Development
                                                                   Development Agreement        (or any
                                                                                   Agreement (or any successor area
                                                                                                         successor  area
      developmentagreement(s)
      development   agreement(s)executed
                                   executedfor
                                             forthe
                                                theDevelopment
                                                    DevelopmentArea,
                                                                   Area,ininwhole
                                                                             wholeor   inpart).
                                                                                    orin  part).
                11.03 Conditions to Assignment
                11 m r'nw. Aitinmr tn A c monthby Franchisee.
                                                  El^XinbJX^

               (a) Any
               (a) Any Assignment
                       Assignment by
                                  byFranchisee
                                     Franchisee shall
                                                shall be
                                                      besubject
                                                         subject to
                                                                 tothe
                                                                    thefollowing
                                                                       followmg conditions:
                                                                                 conditions:
                       (i) Except
                      (i)  Exceptin
                                  inthe
                                     thecase
                                         caseof
                                              ofFranchisee's
                                                Franchisee's death
                                                             deathororlegal
                                                                       legalincapacity,
                                                                            mcapacity, Franchisee
                                                                                         Franchisee shall
                                                                                                    shallserve
                                                                                                          serveupon
                                                                                                               upon
      Franchisorwritten
      Franchisor  writtennotice
                           noticeof
                                 ofthe
                                    theproposed
                                        proposedAssignment,
                                                  Assignment, setting
                                                                settingforth
                                                                        forthall of its terms and
                                                                             all ofitsterms andconditionsand
                                                                                                  conditions  andall
                                                                                                                 all
      available information
      available information concerning
                             concerning the
                                         the proposed
                                             proposed assignee.
                                                      assignee.
                        (ii) Franchisee
                       (ii)  Franchiseeshall
                                        shallobtain
                                             obtainFranchisor's
                                                    Franchisor's written
                                                                 writtenconsent,
                                                                          consent, not
                                                                                   notto
                                                                                       tobe unreasonably withheld,
                                                                                         beunreasonably     withheld, of
                                                                                                                      of
      theproposed
      the  proposedAssignment.
                     Assignment. TheThewithholding
                                        withholdingofofsuch
                                                        suchconsent
                                                             consentby byFranchisorshallbereasonableif,by
                                                                         Franchisor  shall be reasonable  if, by way of
                                                                                                                 way  of
      illustratioDand
      illustration andnot
                       notbybylimitation,
                               limitation,the
                                          theproposed
                                              proposedassignee
                                                        assignee(1)
                                                                 (I)isisnot
                                                                        notfinancially
                                                                            financiallyresponsible
                                                                                        responsibleand
                                                                                                     andeconomically
                                                                                                         economically
      orotherwise
      or  otherwisecapable
                    capableofofperforming
                                performing the
                                           theobligations
                                               obligationsof
                                                          ofFranchisee
                                                             Franchiseehereunder;   (2) does  not meet
                                                                         hereunder; (2)doesnotmeetthe  thethen-current
                                                                                                           then-current
IHOPOC3
IHOPOC3005
         5                                                                     28
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       standards set
      standards    setbybyFranchisor
                            Franchisor with
                                        withrespect
                                              respect totoits
                                                           itsnew
                                                              newfranchisees;
                                                                    franchisees;(3)
                                                                                  (3) fails tocomplete
                                                                                      failsto  complete Franchisor's
                                                                                                           Franchisor's Initial
                                                                                                                          Initial
      Trammgpprogram
      Training       royam ininaccordance
                                 accordancewith
                                             withFranchisor's
                                                   Franchisor'sthenthencurrent   standards,(4)
                                                                         currentstandards,        fails to
                                                                                              W failstodesignate
                                                                                                           desi^e,a    a single
                                                                                                                          smgle
       individ'ilafaacceptable
      individual      rceptable totoFranchisor,
                                     Franchisor, with
                                                  withwhom
                                                         whomFranchisor
                                                                Franchisormay mayprimarily
                                                                                   primarilycommunicate,
                                                                                              communicate,(5)   (5) fails,
                                                                                                                    fails,upon
                                                                                                                           upon
      Franchi~sor's-request,
      Franchisor's               tosign
                       request, to  signFranchisor's
                                         Franchisor'sform
                                                        formofoffranchise
                                                                  franchiseagreement
                                                                             agreementthen
                                                                                         thenbeing    offeredto
                                                                                               beingoffered     toprospective
                                                                                                                   prospective
       franchisees(except
      franchisees     (exceptthat:
                              that:(x)
                                     (x)the
                                        theassignee
                                            assigneeshall
                                                      shallnot
                                                             notbe  obligatedto
                                                                beobligated     payany
                                                                              topay  anyInitial
                                                                                          InitialFranchise
                                                                                                 FranchiseFeeFeeother
                                                                                                                  otherthan
                                                                                                                        than  its
                                                                                                                               its
      assumptionof
      assumption      ofany
                         anyexisting
                             existingpromissory
                                       promissory note
                                                   noteexecuted
                                                          executedby byits
                                                                        itsassignor
                                                                           assignorwhich
                                                                                    whichshall    not  have  been  paid
                                                                                             shallnothavebeenPaidinfttu;in  full;
      (y)therTen
      (y) the Termn andandany
                            anyremaining
                                remamingRenewal
                                            RenewalRights
                                                      Rightsthereunder
                                                              thereundershall   bethe
                                                                           shallbe      sameas
                                                                                   thesame    asset  forth in
                                                                                                 setforth  m this  Agreement;
                                                                                                              this.ASreem   eDt'
      aDd~(z)-the
      and  (z) the-assignee's     Condnuing Royalty,
                      assignee's Continuing   Royalty, National
                                                          National Advertising
                                                                    Advertising Fee
                                                                                 FeeandandLocal
                                                                                            Local Advertising    Fee
                                                                                                   AdvertisingFee shall
                                                                                                                      shaU   not
                                                                                                                             not
      exceedthe
      exceed  therates
                    rates'set forthin
                          set forth inSections
                                       Sections6.01,
                                                6^01, '7. 01and
                                                       7.01  and7.02
                                                                 7.02hereof);  or(6)
                                                                      hereof); or (6)if
                                                                                      ifany
                                                                                        anyofofthe
                                                                                               theassignee's
                                                                                                    assignee'sOwners     and/or
                                                                                                                Owners and/or
       spouses,as
      spouses,   asapplicable,
                      applicable, fail
                                   failor
                                       orrefuse
                                          refuseto
                                                 toexecute
                                                    executeaa guaranty
                                                                guarantyininform
                                                                             formsatisfactory
                                                                                   satisfactoryto
                                                                                                toFranchisor.
                                                                                                   Franchisor.
                       (iii)Franchisee,
                       (iii) Franchisee,ororFranchisee's
                                            Franchisee'sheirs,
                                                         heirs,personal
                                                               personalrepresentatives
                                                                         representativesororconservators
                                                                                             conservatorsin  inthe
                                                                                                                thecase
                                                                                                                    caseof
                                                                                                                         of
      Franchisee's death
      Franchisee's  death or
                           or incapacity,
                               incapacity, shall
                                           shall pay
                                                 payFranchisor   the transfer
                                                     Franchisor the  transfer fee
                                                                              fee specified   from   time
                                                                                   specified from time to timein
                                                                                                           to  time  in the
                                                                                                                        the
      Operations Bulletins
      Operations  Bulletins(the
                              (the"Transfer
                                   'TransferFee").
                                              Fee"); As
                                                     Asof  thedate
                                                         ofthe  dateof
                                                                     ofthis
                                                                        thisagreement,
                                                                             agreement, the   transferr fee
                                                                                          thetraasfe         COIlsi_stsof
                                                                                                        feeconsists    of aa
      $5,000transfer
      $5,000  transferfee
                      feeand
                           anda $5,000
                                 $5,000training
                                         trainingfee. Franchisor
                                                      Franchisor may
                                                                  maywaive   all or part of the training fee  to
                                                                       waiveaUorpartofthetraining feetotheextent the extent
      thatFranchisor
      that Franchisordetermines
                      determines in inits solesubjective
                                      itssole  subjectivejudgment that  theassignee
                                                                   thatthe  assigneedoes
                                                                                       doesnot
                                                                                             notrequire
                                                                                                 requiretraining.
                                                                                                          training.
                       (iv) As
                      (iv)  Asof
                               ofthe
                                 thedate
                                     dateof
                                          ofany
                                             anysuch
                                                 suchAssignment,
                                                       Assignment, Franchisee
                                                                     Franchisee shall
                                                                                shallbe
                                                                                      bein
                                                                                         incompliance
                                                                                            compliance with
                                                                                                       withall
                                                                                                            allof
                                                                                                               ofits
                                                                                                                  its
      obligationsowing
      obligations  owingtotoFranchisor
                             Franchisorororany
                                            anyofitsAffiliates whetherpursuantto thisAgreement, oranyother
                                                of its Affiliates whether  pursuant to this Agreement,  or any other
      agTwmemswith
      agreements   withFranchisor
                        Franchisoror
                                   orits
                                      itsAffiliate,
                                         AffiUate,and
                                                    andshall
                                                        shallpay
                                                              payin
                                                                  infull
                                                                    fullall
                                                                         aUoutstanding
                                                                            outstandingamounts
                                                                                        amountsowed
                                                                                                 owedto   Franchisorr
                                                                                                       tojranchiso
      andits
      and itsAffiliates,
             Affiliates,and
                         andthe
                             theremaining
                                remainingbalance,if  ifany,of theInitial
                                                            ofthe InitialFranchise Fee, unless waived by Franchisor.
                                                                         FranchiseFee,unlesswaivedbyFranchisor.
                        (v) As
                       (v)  Asa condition
                                 condition precedent totoFranchisor's
                                                         Franchisor's written
                                                                      writtenconsent,
                                                                              consent, Franchisor
                                                                                       Franchisoritself,
                                                                                                   itself, or
                                                                                                           orthrough
                                                                                                              throughits
                                                                                                                      its
      Affiliate, shall
      Affiliate, shallhave
                       havethe
                             theright, at
                                       atits
                                          itssole
                                             solediscretion,
                                                  discretion, to conduct an audit and/or sales
                                                              to conduct anaudit and/or sales verification priorto
                                                                                               verification  prior tothe
                                                                                                                     the
      proposedAssignment.
      proposed   Assignment.

                     (vi)Unless
                     (vi) UnlessFranchisor
                                Franchisorotherwise
                                             otherwiseconsents,ififthe
                                                                    theproposed
                                                                        proposedassignee
                                                                                  assigneeis
                                                                                           isaa Business
                                                                                                BusinessEntity,
                                                                                                         Entity,one
                                                                                                                one
      personapproved
      person approved by
                      byFranchisor shall atalltimes owndirectly orindirectly, 51%ormoreofthe
                         Franchisor shall at all times own directly  or indirectly,51%  or more  of theStock
                                                                                                       Stockofofthe
                                                                                                                the
      proposed
      proposedassignee.
               assignee.

                        (vii)Franchisee
                        (vii) Franchiseeshall
                                        shallexecute
                                              executeand
                                                     anddeliver to Franchisor
                                                         deliverto Franchisoraa general
                                                                                generalrelease, onaa form
                                                                                        release,on   formprescribed
                                                                                                          prescribed
      byFranchisor
      by Franchisorof
                   ofany
                      anyand
                         andall
                             allknown
                                knownclaims
                                      claimsagainst
                                            againstFranchisor
                                                    Franchisorand
                                                              andits Affiliatessand
                                                                  its^Affiliate andtheir
                                                                                    theirofficers,
                                                                                         officers,directors,
                                                                                                   directors,
             shareholders and
      agents,shareholders andemployees,  withrespect
                              employees, with respect to thisFranchised
                                                      tothis Franchised Restaurant.
                                                                        Restaurant.
                (b)If
               (b)  IfFranchisee is
                                  isan
                                     anindividual
                                        mdividual and
                                                   andnot
                                                       notaa Business
                                                              Business Entity,
                                                                        Entity, he
                                                                                heor
                                                                                   orshe
                                                                                     sheshall
                                                                                          shall have
                                                                                                 havethe
                                                                                                      theright,
                                                                                                          right, without
                                                                                                                 without
      paying a Transfer Fee
              a  Transfer Fee and
                              and without
                                   without complying with
                                                       withthe
                                                            the provisions
                                                                provisions of Section 11.04,
                                                                                      11. 04, to
                                                                                              to Assign this Agreement
                                                                                                 Assist      Agreement
      toa BusinessEntity
      to             Entityformed
                           formedby byFranchisee for  thepurpose
                                                  forthe  purposeof  owningand
                                                                   ofowning  andoperating
                                                                                  operatingthe   FranchisedRestaurant,
                                                                                            theFranchised    Restaurant,
      after first complying with
      after first                  thefollowing
                             withthe   following conditions:
                                                 conditions:

                        (i)Franchisee
                        (i) Franchiseeshall,together
                                            togetherwith
                                                     withsaid BusinessEntity,
                                                         saidBusiness Entity,be
                                                                              bejointly
                                                                                jointlyand
                                                                                        andseverally
                                                                                           severaUyliable  forall
                                                                                                     liablefor all
      existingor
      existing orsubsequent
                 subsequentbreaches
                            breachesof
                                    ofthis
                                       thisAgreement
                                           Agreementand anyother
                                                     andany otheragreement
                                                                 agreementbetween
                                                                           betweenFranchisee
                                                                                  Pranchiseeand Franchisor
                                                                                             andFranchi sor
      or its
      or its Affiliate, and
                         and for
                              for all
                                  all obligations
                                      obligations accrued   or accruing
                                                   accrued or  accming thereunder.
                                                                        thereunder. Franchisee,
                                                                                        Franchisee, his/her
                                                                                                    his/her spouse,
                                                                                                            spouse, as
                                                                                                                    as
      applicable,and
                   andall
                       allother
                          otherOwners
                                 Ownersand
                                         andtheir
                                              theirspouses,
                                                    spouses,as
                                                            asapplicable,
                                                               applicable, shall
                                                                           shallsign
                                                                                 signaa guaranty
                                                                                        guarantyin
                                                                                                 inthe form prescribed
                                                                                                   theformprescribed
      byFranchisor.
      by Franchisor. Franchisee
                        Franchiseeshall
                                     shallwaive
                                          waivenotice
                                                 noticeorordemand
                                                           demandininthe
                                                                      theevent
                                                                          eventofofdefault,
                                                                                    default,and
                                                                                             andwill
                                                                                                 willbe
                                                                                                      bebound
                                                                                                         boundby
                                                                                                               byany
                                                                                                                   any
      modificationsor
      modifications   orsupplemental
                         supplemental agreements
                                        agreementsentered
                                                     enteredinto
                                                            intobetween
                                                                 betweenthe
                                                                         theassignee
                                                                              assigneeBusiness
                                                                                        BusinessEntity
                                                                                                 Entityand
                                                                                                        andFranchisor
                                                                                                            Franchisor
      and/or
      and/orits
             its Affiliate, as
                            as hereinafter
                               heremafterset
                                           setforth;
                                               forth;

                      (ii)
                      (ii)The
                           Theassignee Business Entity
                                                 Entityshall
                                                       shallprovide
                                                             provideFranchisor
                                                                    Franchisor with
                                                                               withall
                                                                                    allcharter
                                                                                       charteror
                                                                                               orother
                                                                                                 otherdocuments,
                                                                                                       documents,
      andexecute
      and executean
                  anacceptance
                     acceptanceof
                                ofsuch
                                   suchassignment,
                                         assignment,in
                                                     inthe formprescribed
                                                       theform  prescribedby
                                                                           byFranchisor
                                                                              Franchisorwhich
                                                                                         whichshall
                                                                                                shallcontain
                                                                                                     containcove-
                                                                                                             cove-
      nants agreeing to
      nants          tobe
                        bebound
                            bound by
                                  by all
                                     all of theterms and
                                         ofthe       andconditions
                                                         conditions herein
                                                                    herein contained;
                                                                           contained;

IHOPOC3 05
IHOPOC305                                                            29
                                                                     29
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                      (iii)Franchisee
                      (iii) Franchiseeshall
                                        shallbe
                                              bepossessed
                                                possessedof
                                                          ofand
                                                              andretain
                                                                   retainat
                                                                         atall dmes.legal
                                                                            alltimes, legaland
                                                                                           andbeneficial
                                                                                                benefiualownership
                                                                                                         ownership
      ofnot
      of notless
             lessthan
                 than51%
                      51%of ofall
                              allthe
                                  theoutstanding
                                       outstandingStock
                                                  Stockof
                                                        ofthe
                                                           theassignee
                                                               assignee(including
                                                                         (includingthe
                                                                                    thevotingpowerof
                                                                                        voting power ofsuch
                                                                                                       such Stock),
                                                                                                            Stock),
      unlessotherwise
      unless  otherwiseagreed
                        agreedto
                               toinin writing
                                      writingby
                                              byFranchisor
                                                Franchisorin  its sole discretion;
                                                            inits solediscretion;
                       (iv)All
                       (iv) Allof
                                ofthe
                                  theStock
                                      Stockcertificates
                                            certificatesor
                                                         orother
                                                           otherevidence
                                                                 evidenceof
                                                                          ofOwnership     issued by
                                                                             Ownershipissued         assigneeBusiness
                                                                                                 byassignee   Business
      Entityshall
      Entity shallhave
                   haveendorsed
                        endorsedupon
                                 uponthem
                                       themthe
                                            thefollowing
                                                followinglegend."Thetransferofthis[Stock]issubjectto
                                                           legend: "The transfer of this [Stock] is subject   the terms
                                                                                                            toAetenn s
      and'cond
      and       itionsof
          conditions  ofaa Franchise
                           FranchiseAgreement,
                                     Agreement,relating
                                                  relatingto
                                                          toan
                                                             anIHOP
                                                                IHOPRestaurant,   dated .,20
                                                                      Restaurant,dated                20-",",andi the
      dateof
      date ofthis
              this Agreement
                   Agreement shall
                               shallbe
                                    beinserted
                                       insertedinto  suchstatement;
                                                intosuch  statement; and
                                                                     and
                       (v)When
                      (v)  Whenincorporation
                                  incorporation or
                                                 ororganization
                                                    organization of
                                                                 ofthe
                                                                    theBusiness  Entityshall
                                                                        BusinessEntity   shallhave
                                                                                              havebeen
                                                                                                   beencompleted,
                                                                                                        completed,
      Franchiseeshall
      Franchisee  shalladvise
                        adviseFranchisor
                               Franchisorand
                                           andthereafter
                                               thereafterkeep
                                                          keepFranchisor
                                                               Franchisoradvised
                                                                          advisedofthenames,addressesand
                                                                                  of the names, addresses andtitles
                                                                                                               tides
      ofthe
      of theofficers,
             officers, directors,
                       directors, and
                                  andresident
                                      resident agent
                                                agentof
                                                      ofthe
                                                         theassignee
                                                             assignee corporation,
                                                                      corporation, the names and addresses of
                                                                                   the names   and addresses of  the
                                                                                                                  the
      shareholders'and
      shareholders  and 'the  number of
                          the number   of shares
                                          shares'is sued to
                                                 issued  to each,
                                                            each, and  the address
                                                                  and the address of the principal office
                                                                                    of the principal office of  said
      corporation.
      corporation.

                     (vi)No
                     (vi) NoAssignment
                            Assignmentpursuant
                                       pursuantto
                                                tothis
                                                  thisparagraph
                                                       paragraph11.03(b)
                                                                  11. 03(b)shall
                                                                           shallbe deemedto
                                                                                 bedeemed tobe
                                                                                            beeffective
                                                                                               effectiveunless
                                                                                                        unless
      anduntil
      and untilFranchisee
               Franchiseeshall
                          shallhave
                               havecomplied
                                    complied with
                                             withall of the provisions hereunder.
                                                  alloftheprovisions hereunder.
                11.04 Franchisor's
                11.04                 ht of
                                   Right
                        anchisor'sRi     of First Refusal.
                                                  Refusal.

              (a)Except
              (a) Exceptwith
                        withrespect
                             respectto
                                    toananAssignment
                                           Assignmentto toaa Business
                                                             BusinessEntity
                                                                      Entityas
                                                                            asprovided
                                                                               providedfor  inparagraph
                                                                                        forin ParagraPh11.03(b),
                                                                                                        ll-0. 3(b)'
      or an Assignm em toFranchisee's
      or an Assignment to Franchisee's heirs,
                                       heirs,personalrepresentatives
                                              personal representatives or
                                                                       orconservators  inthe
                                                                          conservators in     caseof
                                                                                          thecase    Franchisee's
                                                                                                  ofFraDch  isee's
      deader
      death     legalincapacity,
             or legal   mcapacity, within
                                   within30 30days
                                               daysafter
                                                    afterFranchisor's
                                                         Franchisor's receipt
                                                                      receiptof
                                                                              ofFranchisee's
                                                                                Franchisee'snotice  of its
                                                                                             notuieoHts    intent to
                                                                                                        mtert^^^^^ ^^^^assign
      its'intere stTnthis  Agreement(or
      its interest in this Agreement   (orififFranchisor
                                              Franchisorshall
                                                         shallrequest
                                                              requestadditional
                                                                      additionalinformation,
                                                                                 informat ion,within
                                                                                              within 30
                                                                                                     30 days
                                                                                                         days  afterreceipt
                                                                                                              after  receipt
      ofsuch
      of  suchadd    itionaiinf
               additional       omiation). Franchisor
                            information),  Franchisormay,at  atits
                                                               itsoption,accept
                                                                          acceptthe
                                                                                  theproposed
                                                                                     proposedAssignment
                                                                                               Assignmentto  toitself
                                                                                                                itselfororits
                                                                                                                           its
      nominee, upon
      nominee,    uponthetheterms
                             tennsand
                                   andconditions    specifiedin
                                        conditions specified  inthe
                                                                 thenotice.
                                                                    notice.
             (b) Should
            (b)  Should Franchisor
                         Franchisor not
                                    notexercise
                                        exercise its
                                                 its option
                                                     option and
                                                            andFranchisee
                                                                 Franchisee fails
                                                                            fails to
                                                                                  toconsummate
                                                                                     consummate thetheproposed
                                                                                                       proposed
      Assignm ent within
      Assignment  wYthin90
                         90days
                            daysupon
                                uponthe
                                      thesame
                                          sameterms
                                               termsandandwith
                                                           withthe
                                                                thesame  assigneeasdisclosed u the
                                                                    sameassignee   as disclosed in  thenotice
                                                                                                       noticeto
                                                                                                              to
      Franchisor,Franchisor's
      Franchisor, Franchisor'sright
                              rightof
                                    offirst
                                      firstrefusal
                                            refusalshall
                                                   shallrevive.
                                                         revive,
                11.05
                11.05 Offers
                      Of           of
                             of Securities.
                                Securities.

                  Securities,partnership
                  Securities,    partnershipor orother
                                                   otherownership
                                                          ownershipinterests
                                                                        interestsin  inFranchisee
                                                                                        Franchiseemay maynot
                                                                                                           notbebeoffered
                                                                                                                   offered^totothe
                                                                                                                                 thepublic
                                                                                                                                      public
       underthe
       under    theSecu     rities'Ac
                     Securities    Act tof 1933,as
                                        of 1933,  asamended,
                                                      amended,nor normay
                                                                       maythey
                                                                             theybeberegistered
                                                                                       registeredunder
                                                                                                    underthe
                                                                                                           theSecurities
                                                                                                               SecuritiesExchange
                                                                                                                           ExchangeAct   Act
       of1934,
      of   1934,as asamended,
                       amended, or   orany
                                        anycomparable
                                             comparable federal,state stateororforeign
                                                                                foreignlaw,
                                                                                          law, rule
                                                                                                 ruleor
                                                                                                      orregulation.
                                                                                                         regulation. Such
                                                                                                                      Suchinterest
                                                                                                                              interest may
                                                                                                                                        may
       beoffered
      be   offeredby  byprivate
                         privateoffering
                                    offeringororotherwise
                                                  otherwiseonlyonlywith
                                                                    withthetheprior
                                                                                priorwritten
                                                                                       writtenconsent
                                                                                                consentof ofFranchisor,
                                                                                                             Franchisor,which       consent
                                                                                                                           whichstate
                                                                                                                                    consent
      shall    not'be'um
       shall not          easonably withheld.
                   be unreasonably                       materia'ls required for
                                         withheld. All materials                 for any
                                                                                      any such
                                                                                          such private offering by federall or
                                                                                                                     federa    or state law
                                                                                                                                         law
       siiali'be"
      shall         submitted to
               be submitted       to Franchisor
                                      Franchisor for    a limited
                                                    for a  lunited review as       discussed below prior to
                                                                               as discussed                    to being
                                                                                                                  being filed      with
                                                                                                                          filed^with any any
      governmentalI agency;
                          agency,and  andany
                                           anymaterials
                                               materialsto  tobe
                                                               beused
                                                                  usedin inany
                                                                            anyexempt
                                                                                  exemptoffering
                                                                                            offeringshallbesubmittedto
                                                                                                      shall be submitted    toFranchisor
                                                                                                                                Franchisor
       forsuch
      for  suchreview
                   reviewprior
                            priorto totheir
                                       theiruse. NoNosuch
                                                       suchoffering
                                                              offeringbybyFranchisee
                                                                            FranchiseeshallshallimplythatFranchisorisparticipating
                                                                                                 imply  that Franchisor   is participa  ting
       inan'und
      in            erwriting. Yssuanc
          an underwriting,       issuanceeororoffering
                                               offeringof ofsecurities
                                                             securitiesof ofFranchisee
                                                                             Franchiseeor   orFranchisor,
                                                                                               Franchisor,and
                                                                                                            andFranchisor'
                                                                                                                 Franchis      s review
                                                                                                                             or's review   of
                                                                                                                                           of
       anyoffen
      any            ng materials
              offering   mateiials shall
                                       shall be
                                             belimited
                                                 limited solely
                                                           solely to
                                                                   to the
                                                                       thesubject
                                                                             subject ofAe relationshiP, between Franclusee and
                                                                                       of  the  relationship  between    Franchisee      and
       Franchisorand
      Franchisor      andits
                           itsAffiliates.
                                Affiliates. Franchisor
                                             Franchisor may,
                                                          may,at atits
                                                                    itsoption,require
                                                                                  requireFranchisee's
                                                                                            Franchisee's offering
                                                                                                           offering materials
                                                                                                                    materials to tocontain
                                                                                                                                    contain
      aa written
         writtenstatement
                    statementprescribed
                                 prescribedby byFranchisor
                                                  Franchisorconcerning
                                                                concerningthe  thelimitations
                                                                                    limitationsdescribed
                                                                                                  describe  din
                                                                                                             in the
                                                                                                                the preceding
                                                                                                                    precedin    g sentence.
                                                                                                                                  sentence.
      FranchTsee, its
      Franchisee,      itsOwners
                          Ownersand   andthe
                                           theother
                                               otherparticipants
                                                      participants ininthe
                                                                        theoffering
                                                                             offering must     fullydefend
                                                                                        mustfully    defendand
                                                                                                             andindemnify
                                                                                                                 indemnify Franchisor,
                                                                                                                               Franchisor,
       andits
      and   itsAffiliates,
                 Affiliates,their
                              theirrespective
                                     respective officers,directors,
                                                             directors,manager(s)
                                                                         manager(s)(if  (ifaalimited
                                                                                             limitedliability  company),    shareholders,
                                                                                                      Uabilitycompany)^hareho         lders,
       membere,partners,
      members,       partners,agents,
                                 agents,representatives,
                                          representatives,independent
                                                              independentcontractors,
                                                                              contractors,servants
                                                                                              servantsand   employees
                                                                                                        andempl  oyees   of each of
                                                                                                                         ofeacho       them,
                                                                                                                                     fthem,
      fromand
      from     andagainst
                    againstanyany'and    alllosses,costs
                                    and all           costsand
                                                             andliability
                                                                 liabilityininconnection
                                                                                connectionwith      the offering
                                                                                               withtheofferingandshallexecuteany
                                                                                                                  and  shall  execute    any
IHOPOC30055
IHOPOC3                                                                    30
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       additional documentation
       additional   documentation required
                                    required by
                                              by Franchisor
                                                 Franchisor to  tofurther
                                                                  further evidence
                                                                          evidence this
                                                                                     thisindemnity.
                                                                                          indemnity. For
                                                                                                       Foreach
                                                                                                           eachproposed
                                                                                                                 proposed
       offenng'.'Fr
       offering,    anchiseeshall
                 Franchisee   shallpay,in
                                        inaddition
                                           additionto
                                                    toany  transferfee
                                                       anytransfer               under   Section 11.05 of
                                                                     feerequiredunderSection 1L05ofthisAgreement,
                                                                        required                          this A^eemem*
       to Franchisor
       to Franchisor such
                        such amount asasis
                                         is necessary to
                                                       to reimburse Franchisor
                                                                      Franchisor for   its reasonable
                                                                                  for its  reasonable costs
                                                                                                      costs and
                                                                                                             andexpenses
                                                                                                                 expenses
       associated   wit h'reviewuig
       associated with                   proposed offering
                          reviewing the proposed              including without limitation,
                                                   offering including             limitation, legal and
                                                                                                     and accounting
                                                                                                         accounting fees.
                                                                                                                      fees.
       Franchiseeshall
       Franchisee   shallgive
                           giveFranchisor
                               Franchisor written  noticeat
                                           written notice  atleast
                                                               least30  dayspriortothedateofcommencement ofany
                                                                    30days   prior to the  date of commencement     of any
                    othertransaction covered
                or other
       offering or                    covered by  this Section.
                                               by this Section,
               11.06
               11.06 Deleation by Franchisor.
                     Dele ationb  Franchisor.

                Franchisor shall
               Franchisor  shallhave
                                 havethe
                                      theright
                                          rightto
                                                todelegate
                                                  delegateto
                                                           toone
                                                             oneor ormore
                                                                     moreofofits Affiliates some
                                                                             itsAffiliates  someororall
                                                                                                     allof
                                                                                                        ofFranchisor's
                                                                                                           Franchisor's
       duties to
       duties toFranchisee
                 Franchisee under
                            underthis
                                   this Agreement;
                                        Agreement; provided,
                                                    provided, however,
                                                               however. Franchisor   shall remain  fully
                                                                         Franchisor shall remain fuUyresponsible
                                                                                                         responsible to
                                                                                                                      to
       Franchiseefor
       Franchisee  forthe
                      thefull
                          falland
                               andfaithful
                                   faithfulperformance
                                            performanceofofall
                                                            allits
                                                               itsobligations toFranchisee
                                                                   obligationsto Franchiseehereunder.
                                                                                              hereunder.
                                                        XII
                                                        XD
                                               DEFAULT BY FRANCHISEE
                                               DEFAULT    FEtANCfflSEE

               12.01 Ri
               12.01 RiOtt
                        htof
                           ofTermination
                             TerminationAfter
                                         AfterNotice ofDefault.
                                              Noticeof Default.

               Except as
               Except as otherwise expressly
                                   expressly provided
                                             provided for
                                                      for in
                                                          in this
                                                             this Agreement, Franchisormay
                                                                  Agreanent, Franchisor mayterminate
                                                                                           terminate this
                                                                                                     this
       Agreement prior
       Agreement  priorto
                        toits
                          its expiration
                              expiration after
                                         afterproviding
                                               providmg written
                                                         written notice
                                                                 noticeof  Franchisee'sMaterial
                                                                        ofFranchisee's  Material Breach
                                                                                                 Breachof
                                                                                                        ofthis
                                                                                                           this
       Agreenffin
       Agreementt to
                  toFranchisee,
                     Franchisee,ififsuch
                                    suchMaterial
                                         Material Breach shall not be cured within77 days.
                                                  Breach shallnotbecuredwithin       days. If
                                                                                           Ifany
                                                                                              anysuch Material
                                                                                                  suchMaterial
       Breach,except
                exceptthose
                      thoserelating
                             relatingto
                                     tothe
                                        thenonpayment
                                            nonpayment of ofmoney,
                                                             money, bybyits
                                                                         itsnature
                                                                            naturecannot
                                                                                   cannotbe
                                                                                          becured
                                                                                              curedwithin
                                                                                                     mthinsuch
                                                                                                            such77 day
                                                                                                                   day
       period  andFranchisee
       period,and  Franchiseeshall
                               shallimmediately
                                    immediatelycommence
                                                  commenceand anddiligently
                                                                  diligentlycontinue
                                                                             continueto
                                                                                     to cure
                                                                                        cure  such
                                                                                              such default,
                                                                                                   default.Franchisor
                                                                                                            Franchisor
       shallallow
       shall allowFranchisee
                   Franchiseesuch
                               suchadditional
                                    additional reasonable
                                               reasonableperiod
                                                            periodof
                                                                  oftime
                                                                      timeas
                                                                           asFranchisor
                                                                              Franchisordeems
                                                                                         deemsreasonably
                                                                                                 reasonably necessary
                                                                                                             necessary
       to cure such
       to cure such Material Breach.  As  used
                             Breach. As used herein,
                                                herein, the
                                                        thephrase  "Material Breach"
                                                            phrase "Material  Breach" shall
                                                                                      shallinclude:
                                                                                            include:
                         (a) The
                        (a)  The express
                                  express repudiation by
                                                       by Franchisee
                                                          Franchisee of
                                                                      of any
                                                                         any of
                                                                              of its
                                                                                  its payment
                                                                                      payment obligations
                                                                                                obligations under
                                                                                                             under the
                                                                                                                   the
       agreeinentslisted
       agreements   listedin
                           inparagraph
                             paragraph16.03
                                        16.03hereinbelow
                                              herembelow(hereinafter,
                                                           (hereinafter,"the
                                                                        "theagreements")
                                                                             agreements")or   its stated or announced
                                                                                            oritsstatedorannounced
       refusalthereafter
       refusal thereaftertotomeet
                             meetany
                                   anysuch
                                      suchpayment
                                            paymentobligations,
                                                     obligations,which
                                                                 whichrepudiation
                                                                        repudiationor orrefusal
                                                                                        refusalshall
                                                                                                shallnot
                                                                                                      notbe
                                                                                                          beexpressly
                                                                                                             expressly
       withdrawn in
       withdrawn   inwriting
                       writing by
                               byFranchisee within
                                             within77 days
                                                      daysafter written notice
                                                           afterwritten nodcefrom
                                                                               fromFranchisor
                                                                                     Franchisor so  to do.
                                                                                                 soto do.
                      (b)The
                      (b) Thefailure
                                failure or
                                        orrefusal
                                           refusal by
                                                   byFranchisee
                                                      Franchisee to
                                                                 topay
                                                                    payits
                                                                        itspayment
                                                                            payment obligations
                                                                                     obligations to
                                                                                                 toFranchisor
                                                                                                    Franchisor arising
                                                                                                               arising
      under the
      under  the agreements during
                                during each
                                         each of
                                               of 22 or
                                                      or more
                                                         more weekly
                                                                weeMy transmittal
                                                                         transmittal periods,
                                                                                     periods, eidier consecutive
                                                                                               either  consecutive oror
      nonconsecutive. Such
      nonconsecutive.   Suchfailure
                             failuretotopay
                                         paywill
                                             willbe
                                                 bedeemed
                                                     deemedto
                                                            tohave
                                                               haveoccurred
                                                                     occurredwhenever
                                                                              wheneveran aninsufficient
                                                                                            insufficientpayment
                                                                                                        paymentshall
                                                                                                                 shall
      accompanyany
      accompany    anytransmittal
                      transmittalor orwhenever
                                       wheneverany
                                                 anytransmittal
                                                      transmittalshall
                                                                 shallnot
                                                                       nothave
                                                                           havebeen
                                                                               beensubmitted
                                                                                      submittedby   Franchiseewithin
                                                                                                 byFranchisee  within
      5 days
        days after
             aftersame
                   sameis
                        is due.
                           due.

                     (c)Any
                     (c) Anyother
                             otherfailure
                                  failureto
                                          tomeet
                                            meetFranchisee's
                                                 Franchisee'smonetary
                                                             monetaryobligations
                                                                      obligationsto
                                                                                 toFranchisor
                                                                                    Franchisoror
                                                                                              orits
                                                                                                 itsAffiliate,
                                                                                                    Affiliate,
       whereinany
       wherein anypart
                  partof
                       ofsuch
                         suchunpaid
                              unpaidobligations
                                     obligationsshall
                                                 shallbe
                                                      bemore
                                                         morethan
                                                              than35 days past due.
                                                                  35 dayspastdue.
                        (d)Failure to
                       (d)         tokeep
                                      keepthe
                                          theFranchis
                                              Franchised
                                                       ed Restaurantopen
                                                                       openfor
                                                                             forbusiness
                                                                                businessduring
                                                                                         duringordinary    business hours
                                                                                                  ordinary business  hours
      for a continuous period
      for                period of
                                of more
                                    more than
                                         than 3 days, without
                                                        without the
                                                                  theprior
                                                                      prior written
                                                                            written consent
                                                                                    consent of   Franchisor,
                                                                                             of Franchisor, (hereinafter
                                                                                                              (hereinafter
                  Abandonment"), unless
      "Voluntary Abandonment"),      unlessand
                                            andfor
                                                 forso
                                                    solong
                                                       longasasthe
                                                                theFranchised
                                                                    Franchised Restaurant
                                                                                Restaurant was
                                                                                            wasclosed
                                                                                                  closedby
                                                                                                        byreason
                                                                                                            reasonof:
                                                                                                                    of:(1)
                                                                                                                       (1)
      actionby
      action byany
                anyGovernmental
                    Governmental Authority,
                                     Authority, not
                                                notrelated  toaa breach
                                                    relatedto    breachbybyFranchisee   of this Agreement,  (2)
                                                                            Franchisee ofthisAgreement, (2)thedeath
                                                                                                                the  death
      ordisability
      or disabiUty'ofofFranchisee,
                       Franchisee,oror(3)
                                       (3)force
                                          forcemajeure     notcaused,
                                                  majeure not   caused,directly
                                                                         direcdyororindirectly,
                                                                                     indirectly, by
                                                                                                  byFranchisee's
                                                                                                     Franchisee's willful
                                                                                                                   willful
      conduct.
      conduct.


                       (e) Any
                       (e) Anydefault by
                                       byFranchisee under
                                                      underany
                                                            anymortgage,
                                                                mortgage, deed
                                                                          deedof
                                                                               oftrust,
                                                                                  trust. lease
                                                                                         leaseor
                                                                                               orsublease, including
                                                                                                  sublease^in cluding
      anysublease
      any  subleasewith
                    withFranchisor or itsLeasing
                                   orits LeasingAffiliate, coveringthe
                                                 Affiliate,covering thepremisesin  which   the Franchised Restaurant
                                                                       premises inwhich^hePranctusedRestaurant
      is located, which
      is          whichresults
                        resultsin
                               m Franchisee
                                  Franchiseebeing
                                             beingunable
                                                    unabletotocontinue
                                                              continue operations
                                                                       operations at
                                                                                   atthe
                                                                                     theFranchised
                                                                                          FranchisedRestaurant.
                                                                                                       Restaurant.
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                          (0Franchisee's
                         (f)  Franchisee'sinsolvency
                                             insolvency(as
                                                         (asrevealed
                                                              revealedbybyits
                                                                            itsrecords
                                                                                recordsor
                                                                                       orotherwise);   or,ififFranchisee
                                                                                           otherwise)^or,                  files a
                                                                                                              Franchlseefll"a
      voluntary petition
      voluntary   petition/aand
                              nd'is"adj udicated aa bankrupt;
                                  is adjudicated     bankrupt;or  orifaninvoluntary Petitionisfiled,aga"lrth_andswh
                                                                     if an involuntary   petition is filed  against  it and  such
        SkioTfsis ^ot'di'srm
      petition               ss~ed''mA
                  not dismissed         in3030 days;
                                    within      days; or    it'shall
                                                      or if it shall make anan assignment
                                                                                assignment for the benefit of creditors; or if a
                                                                                               Ae benefit
                                                                                                             °fcreditorcharge
                                                                                                                        s;_o^if_a
      S^eTveror
      receiver  'ortrustee
                   trusteein inbankruptcy
                                bankruptcyor  orsimilar
                                                 similarofficer,
                                                         officer,temporary
                                                                   temporaryor   orpermanent,
                                                                                   permanent,bebeappointed
                                                                                                  appointedto  to take
                                                                                                                  take  chargeofof
      F7anc'hisee's7ff^
      Franchisee's   affairss or
                              or'any'of
                                 any ofits^  property; or
                                         its property; orififdissolution
                                                              dissolutionbebe^c^
                                                                               commenced    by or against  Franchisee    or if any
      judgmentagainst
      judgment    againstFranchisee
                           Franchiseeremains
                                         reniainsunsatisfied
                                                   unsatisfiedor   unbondedof
                                                                 orunbonded     ofrecord
                                                                                   recordfor
                                                                                          for15
                                                                                              15days;
                                                                                                 days;
                     (g)Franchisee's
                    (g) Franchisee'sfailure
                                      failureto
                                             tocomply
                                                complywith
                                                       withany
                                                            anyother
                                                                othermaterial
                                                                     materidobligation
                                                                              obligationof        useeunder
                                                                                           Franchisee
                                                                                         ofFralct           the
                                                                                                       UDderdl^
       agreements,inclu^ing'afaiiure'to complywithFranchisor'sOperationsBulletinsasdescribedm paragraph
      agreements,including a failure to comply with Franchisor's Operations Bulletins as described in paragraph
      10.05.
      10. 05.

               12.02
               12. 02             Termination
                                  TenninationWithout
                                              WithoutNotice

               Franchisor shall
               Franchisor shall have
                                havethe
                                     the right
                                         right to
                                               toterminate
                                                  terminate this Agreement immediately,
                                                            this Agreement immediately. without
                                                                                        without prior
                                                                                                prior notice to
                                                                                                  notice to
      FranchiseeT'upon
      Franchisee, upon 'the occurrence of
                       the occurrence  ofany
                                          anyor
                                             orall
                                                allof
                                                   ofthe
                                                      thefollowing
                                                         following events,
                                                                   events, each
                                                                           eachof
                                                                                ofwhich
                                                                                  whichshall
                                                                                        shallbe
                                                                                             bedeemed
                                                                                                deemedanan
      incurable
      incurablebreach
                breachof this Agreement:
                      ofthis  Agreement:

                        (a)Franchisee's
                        (a)Franchisee'sknowingly
                                        knowinglywithholding
                                                 withholdingthe
                                                             therendering
                                                                renderingor
                                                                          orreporting
                                                                            reportingof
                                                                                      ofany
                                                                                        anyof
                                                                                            ofFranchisee's
                                                                                              Franchisee'sGross
                                                                                                           Gross
      Sales.
      Sales.

                        (b) Franchisee's
                        (b) Franchisee's material
                                         material misrepresentation
                                                  misrepresentation to
                                                                    to Franchisor
                                                                       Franchisor with
                                                                                  with respect
                                                                                       respect to any information
                                                                                    to any information
      providedin
      provided inconnection
                 connection'with itsapplication
                            with its applicadonto
                                                tobecome
                                                  becomean
                                                         anMOP
                                                           MOPFranchisee,
                                                               Franchisee,including any
                                                                          including anyrelevant
                                                                                        relevantcredit
                                                                                                 credit
      information.
      information.


                        (c)If
                       (c) IfFranchisee
                              Franchiseeshall
                                        shallattempt
                                              attemptto
                                                     toAssign
                                                        Assignthis
                                                              thisAgreement,
                                                                   Agreement,without
                                                                              withoutthe
                                                                                      theprior
                                                                                         priorwritten
                                                                                               writtenconsent
                                                                                                      consentof
                                                                                                              of
      Franchisor, or
      Franchisor, orififan
                        anAssignment
                           Assignmentofofthis
                                         thisAgreement
                                              Agreement by
                                                         byFranchisee
                                                           Franchiseeshall
                                                                      shalloccur
                                                                           occurby
                                                                                 byoperation
                                                                                   operationof
                                                                                             oflaw,orby
                                                                                               law, or byreason
                                                                                                         reason
      of
      ofjudicial process.
                 process.
                        (d)If
                        (d) IfFranchisee
                              Franchiseeshall
                                          shallattempt
                                               attemptto toAssign
                                                            AssignFranchisor's
                                                                  Franchisor'sTrademarks,
                                                                                Trademarks,or orthe
                                                                                                 thegoodwill
                                                                                                     goodwillconnected
                                                                                                              connected
      thereto,or
      thereto, orif
                  ifFranchisee
                    Franchiseeshall
                                shalluse,ororpermit
                                             permitthe
                                                     theuse
                                                          useof
                                                              ofsaid
                                                                saidTrademarks,
                                                                     Trademarks,or orthe goodwill
                                                                                      thegoodwillconnectedthereto
                                                                                                    connected  thereto in
                                                                                                                       in
      der'ogation of Franchisor's
      derogation     Franchisor's rights pursuant
                                         pursuant to
                                                  to this Agreement,
                                                          Agreement, or
                                                                      or if Franchisee
                                                                            Franchisee shall
                                                                                       sha11use or permit the use
                                                                                             ys ^orPe"muhe    use of said
                                                                                                                  ofsald
      Trad^mrks. or
      Trademarks,   orthe
                       thegoodwill
                          goodwillannexed
                                    annexedthereto
                                             theretoininaa manner,
                                                           manner,or
                                                                  orat
                                                                     atlocations
                                                                       locationsnot
                                                                                  notauthorized
                                                                                      authorizedbybyFranchisor
                                                                                                     Franchisorpursuant
                                                                                                                pursuant
             tenns of this Agreement.
      to the terms         Agreement.

                     (e) Conviction
                     (e) Convictionof
                                    ofFranchisee,
                                       Franchisee,or
                                                   orany
                                                     anyof
                                                         ofits
                                                            itsprincipal
                                                               principalshareholders,
                                                                         shareholders, of
                                                                                       ofaa felony
                                                                                            felonyor
                                                                                                   orany
                                                                                                     anyother
                                                                                                         other
      criminal misconduct
      criminal misconduct which
                          whichis
                                isrelevant
                                  relevantto
                                           tothe
                                             theoperation
                                                 operationof
                                                          ofthe
                                                             thefranchise.
                                                                 franchise.
                        (f)If
                        (f) Ifin
                              inFranchisor's
                                 Franchisor'sreasonable
                                             reasonablejudgment,
                                                        judgment,Franchisee's
                                                                 Franchisee'scontinued operationof
                                                                              continuedoperation ofthe
                                                                                                   thefranchise
                                                                                                       franchise
      will resultin
      will result inan
                    animminent
                       inmiinentdanger
                                dangerto
                                       topublic
                                         publichealth
                                                healthor
                                                      orsafety.
                                                         safety.
                    (h)If
                    (h) IfFranchisee
                          Franchiseefails,for
                                          fora period
                                               periodof
                                                      of1010days
                                                             daysafter
                                                                 afternotification
                                                                       notification of noncompliance,
                                                                                    ofnoncom pliance, to
                                                                                                      tocomply
                                                                                                         comply
      withany
      with anyApplicable
              Applicable Law
                         Lawgoverning
                              governing the
                                        theoperation  of the Franchised Restaurant.
                                            operation oftheFranchised Restaurant.
                      (i)If
                      (i) IfFranchisee
                            Franchiseeis isa party
                                             partyto
                                                   toa sublease
                                                       subleasewith
                                                                 withFranchisor
                                                                      Franchisoror
                                                                                orits
                                                                                   itsLeasing
                                                                                      LeasingAffiliate,
                                                                                              Affiliate,the
                                                                                                        theattachment
                                                                                                            attachment
      ofany
      of anyinvoluntary
              involuntary lien
                           lien in
                                 in the
                                    thesum
                                        sumof of$10,000
                                                 $10,000or  or more upon any ofthe business assets orproperty
                                                               more  upon  any  of the business assets  or property  of
                                                                                                                     of
      Franclusee'which
      Franchisee  whichUen    isnot
                        lien is  notremoved,
                                     removed, ororfor
                                                   forwhich
                                                       whichFranchisee
                                                              Franchisee does
                                                                          doesnot
                                                                               notpost  bond sufficient to satisfy such
                                                                                   post bond sufficient to satisfy such
      lien within
      lien within 30
                  30days
                     days after
                           after notification
                                 notification of
                                              ofsuch
                                                 suchlien.
                                                       lien.




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                                                                     32
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                       (J)ff
                       (j) Ifthis
                             thisAgreement
                                  Agreementhas
                                             hasbeen
                                                 beensigned
                                                      signedunder
                                                             underthe
                                                                    theSingle StoreDevelopment
                                                                       SingleStore  DevelopmentProgram,
                                                                                                  Program,and
                                                                                                            and
       Franchiseefails
       Franchisee failsto
                       toopen
                          openthe
                               theRestaurant
                                   Restaurantby
                                             bythe
                                                thedate
                                                   datespecified
                                                        specifiedin Section4.02
                                                                 inSection 4.02(a)
                                                                                (a)or 4.02(b)
                                                                                   or4.02(b)(unlessFranchisee
                                                                                             (unless Franchisee
       hascomplied
       has          with Section
           complied with  Section4.02
                                  4. 02(d)).
                                       (d)).
                12. 03 Form
                12.03  Fonn of Notice.
                               Notice.

                Franchisorshall
                Franchisor shallprovide
                                providenotice
                                        noticeof
                                              ofdefault
                                                 defaultto
                                                        toFranchisee    accordancewith
                                                                     inaccordance
                                                           Franchiseein           withthe
                                                                                       thefollowing:
                                                                                          following:
                      (a)With
                     (a) Withrespect
                               respecttotothe
                                          thenon-payment
                                              non-paymentofoffinancial
                                                              financialobligations
                                                                        obligationsbybyFranchisee,
                                                                                        Franchisee,said
                                                                                                     saidnotice
                                                                                                         noticeshall
                                                                                                                shall
      containan
      contain anaccounting,
                 accounting,taken
                             takenfrom
                                   fromthe
                                         thebooks
                                            booksand
                                                   andrecords
                                                       recordsof
                                                               ofFranchisor  oritsAffiliate, oftheamountsof
                                                                  Franchisoror  its Affiliate,of the amounts ofeach
                                                                                                                each
      ofthe
      of theunpaid
             unpaidobligations,
                    obligations, the
                                 theitems
                                     itemsfor
                                           forwhich
                                               whichsuch
                                                      suchobligations
                                                           obligations are unpaid,and
                                                                       areunpaid,    andthe
                                                                                         thedates
                                                                                             datesupon
                                                                                                    uponwhich
                                                                                                         whichsuch
                                                                                                                such
      obligationsbecame
      obligations becamedue,
                          due,as
                               aswell
                                  wellas
                                       asan
                                          anallocation
                                             allocationof creditsmade
                                                        ofcredits madefor
                                                                        forpartial
                                                                           partialpayments,
                                                                                    payments,ififany.
                                                                                                  any.
                       (b)With
                       (b) Withrespect
                                 respectto
                                        tonotice
                                           noticeof
                                                  ofdefault
                                                     defaultand ofintent
                                                            andof intentto terminateififsaid
                                                                         toterminate     saiddefault
                                                                                              defaultis
                                                                                                     isnot
                                                                                                        notcured,
                                                                                                            cured,in
                                                                                                                  in
      respectof
      respect ofaa breach
                   breach'of contractother
                          of contract otherthanthenon-payment ofmoney,suchnoticeshallcontainthefollowing;
                                           than the non-payment  of money, such notice  shall contain the following:

                                 (i)The
                                 (i) Thespecific
                                        specificprovision or
                                                          orprovisions of
                                                                       ofthe specificagreement
                                                                          thespecific          orstandard
                                                                                      agreementor standardoperating
                                                                                                          operating
      procedures violated;
                 violated;

                                 (ii)
                                 (ii) The
                                      Thenature
                                          nature of
                                                 ofthe
                                                    the violation
                                                        violation or
                                                                  or violations;
                                                                     violations;

                                 (iii) The
                                 (iii) Thedate
                                           datesuch
                                               suchviolations
                                                    violations were
                                                               wereobserved,
                                                                    observed,and
                                                                             andby whomthey
                                                                                 bywhom theywere
                                                                                            wereobserved
                                                                                                 observedand
                                                                                                         and
      reported;and
               andthe
                   thedate
                      dateor
                           ordates,
                             dates,ififany,
                                       any,that
                                           thatFranchisor
                                                Franchisorhad
                                                          hadgiven
                                                              givenany
                                                                   anyprevious
                                                                       previouswritten
                                                                               writtennotice
                                                                                       noticeof
                                                                                             ofsuch
                                                                                                suchviolation
                                                                                                    violation
      or violations to Franchisee.
                       Franchisee.

                        (c)The
                        (c) Thecuring
                               curingof
                                      ofany
                                        anybreach
                                            breachwithin
                                                  withinthe
                                                         thetime
                                                            timeperiod
                                                                 periodspecified inthe
                                                                       specifiedin thenotice
                                                                                       noticeof
                                                                                             ofdefault
                                                                                                defaultshall
                                                                                                       shall
      nullifyFranchisor's
      nullify Franchisor'sright
                          rightof
                                oftemiinationfor
                                  termination forthe
                                                 thecauses
                                                     causesstated
                                                           statedin
                                                                  insaid
                                                                    saidnotice
                                                                         notice(but
                                                                               (butnot
                                                                                    notfor
                                                                                       foraa recurrence
                                                                                             recurrenceof
                                                                                                        ofany
                                                                                                          anysuch
                                                                                                              such
      caus'e'ther
      cause       eafter); provided, however, that
             thereafter);                      thatif
                                                   if there
                                                      thereshall
                                                            shallbe
                                                                  beaa course ofconduct
                                                                       courseof  conductin in bad
                                                                                              badfaith
                                                                                                  faithfollowed
                                                                                                         followed byby
      Franchisee   overan'exte
      Franchisee over          nded period
                        an extended  periodin
                                            inproviding good
                                                         goodcause
                                                              causefor
                                                                    fortermination and,subsequently,
                                                                       terminadon and,  subsequently, timely
                                                                                                       timelycuring
                                                                                                                curing
      ofdeficiencies
      of deficiencies upon
                      uponreceipt
                             receiptof
                                    ofnotice
                                       noticeof
                                             ofdefault,
                                                default,such
                                                        suchcontinued
                                                             continuedand  repeatedcourse
                                                                       andrepeated  courseofofconduct
                                                                                               conductshall
                                                                                                       shaUitself
                                                                                                              itselfbe
                                                                                                                    be
      goodcause
      good  causefor
                   forimmediate
                       immediate termination
                                  termination of
                                               ofthe
                                                 theAgreement   withoutfurther
                                                     Agreement without   furthernotice of intention to terminate.
                                                                                notice ofintention toterminate.
               12. 04 Conformity
               12.04  Conformit With Laws.
                                     Laws.

              Ifany
              If anylaw
                     lawor
                         orregulation
                            regulationby
                                      byany
                                         anycompetent
                                             competentauthority
                                                         authoritywith jurisdictionover
                                                                  withjurisdiction overthis
                                                                                        thisAgreement
                                                                                             Agreementshall
                                                                                                          shalllimit
                                                                                                               limit
      Franchisor'srights
      Franchisor's rightsof
                         oftermination
                            terminationor
                                       orrequire
                                          requireaa longer
                                                    longeror
                                                           ordifferent
                                                             differentnotice
                                                                       noticethan
                                                                             thanthat
                                                                                  thatspecified
                                                                                      specifiedinthisArticleXII,
                                                                                                in this Article XH,
      same shall be
      same       bedeemed amended to  toconform
                                         confonn with  theminimum requirements
                                                  withthe            requirements of
                                                                                   ofsuch
                                                                                     suchlaw
                                                                                           lawor
                                                                                               orregulation.
                                                                                                  regulation.
                                                        XIII
                                                        xm
                                              ARBITRATION
                                              ARBFTRATION AND
                                                          AND REMEDIES
                                                              REMEDES

               13.01
               13.01 Arbitration.
                     Arbi ration.

               (a)Subject
               (a) SubjecttotoSection
                               Section13.01(b),
                                        13.01(b),any
                                                  anycontroversy
                                                       controversy or
                                                                    orclaim,
                                                                       claim,except
                                                                               exceptthose
                                                                                      thosedescribed
                                                                                             describedin  inparagraph
                                                                                                            paragraph 13.03,
                                                                                                                         13.03,
       arisingout
      arising outof
                  ofor
                     orrelating
                        relatmgtotothis
                                    thisAgreement,
                                        Agreement, or orany
                                                        anyagreement
                                                            agreementrelating    thereto,  or any  breach
                                                                         relatingthereto, oranybreachofthisof thisAgreement
                                                                                                                   Agreement
      includingany
      including  anyclaim
                      claimthat
                             thatthis
                                  thisAgreement
                                       Agreementor orany  portionthereof
                                                      anyportion   thereofisisinvalid,
                                                                              invaUd.illegal
                                                                                       illegalor
                                                                                               orotherwise
                                                                                                   otherwisevoidable,
                                                                                                               voidable,shall
                                                                                                                          shall
      be submitted to
      be             to arbitration before
                                     before and
                                            andinin accordance with
                                                                with the
                                                                      thecommercial
                                                                           commercial rules    ofthe
                                                                                        rules of  the American
                                                                                                      American Arbitration
                                                                                                                   Arbitration
                    provided that
      Association provided     thatthe
                                    thejurisdiction of
                                                     ofthe  arbitrators shall
                                                        thearbitrators   shallbe
                                                                               belimited
                                                                                  limited to
                                                                                           toaa decision
                                                                                                decision rendered
                                                                                                           rendered pursuant
                                                                                                                     pursuant
      to California
      to  Californiacommon
                     common and andstatutory
                                     statutory law
                                               lawand
                                                    andjudgment
                                                        judgment upon
                                                                    uponthe   awardmay
                                                                          theaward    maybe beentered
                                                                                               enteredin in any  courthaving
                                                                                                            anycourt    having
                             provided, however,
      jurisdiction thereof; provided,    however, that
                                                   thatthis  clauseshall
                                                        thisclause   shallnot
                                                                           notlimit
                                                                               lunitFranchisor's
                                                                                     Franchisor's ororits
                                                                                                       itsAffiliate's
                                                                                                           Affiliate's right
                                                                                                                       nght  to
                                                                                                                             to
      obtainany
      obtain  anyprovisional
                  provisional remedy,including
                                          includinginjunctive
                                                     injunctive relief,
                                                                 relief, or
                                                                         orto
                                                                            to obtain
                                                                               obtain writs  of  recovery   of possession,
                                                                                       writs of recovery ofpossession, or    or

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                                                                    33
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     similarrelief, from
     similar         fromany
                           anycourt
                                courtof ofcompetent      jurisdiction, as
                                           competentjurisdiction,        asFranchisor
                                                                            Franchisoror     itsAffiliate
                                                                                          orits  Affiliatedeems
                                                                                                            deemstotobe
                                                                                                                      benecessary
                                                                                                                         necessary
     orappropriate
     or appropriatein m Franchisor's
                         Franchisor'sor  orsuch
                                            suchAffiliate's    solesubjective
                                                   Affiliate'ssole                judgment, to
                                                                      subjectivejudgment,       tocompelFranchiseetocomply,
                                                                                                  compel    Franchisee  to conq>ly>
     orto
     or toprohibit
           prohibitFranchisee's
                    Franchisee'snon-compliance,
                                   non-compliance, with       itsobligations
                                                         withits  obligationshereunder
                                                                                hereunderorunder
                                                                                             or  underthe
                                                                                                        thesublease, ifapplicable,
                                                                                                            sublease,if applicable,
     orto
     or to obtain
           obtain possession of ofthe
                                   theFranchised       Location, or
                                         Franchised Location,       ortotoprotect
                                                                           protect the
                                                                                    theTrademarks
                                                                                        Trademarks or   orother  property rights
                                                                                                           other property  rights of
                                                                                                                                  of
     Franchisor. Franchisor
     Franchisor.   Franchisor ororsuch
                                    such Affiliate
                                           Affiliate may,
                                                      may, asaspart
                                                                partofofsuch
                                                                          suchaction
                                                                               actionor orproceeding,seek      damages.costs
                                                                                                          seekdamages,   costsand
                                                                                                                                and
     expensescaused
     expenses   causedto toor
                           orincurred
                              incurredby  byititby
                                                byreason
                                                    reasonof ofthe   actor
                                                                theact    oraction
                                                                            actionor    non-actionof
                                                                                     ornon-action     ofFranchisee   whichcaused
                                                                                                         Franchiseewhich     caused
     Franchisoror
     Franchisor   or such
                      suchAffiliate
                           Affiliateto  toinstitute
                                           institutesuch
                                                      suchaction
                                                             actionor or proceeding. The Theinstitution
                                                                                                mstitution ofofany
                                                                                                                anysuch   actionor
                                                                                                                    suchaction    or
     proceedingby
     proceeding   byFranchisor
                     Franchisoror orits
                                      itsAffiliate
                                          Affiliateshall
                                                     shallnot
                                                           notbe               waiveron
                                                                   deemedaa waiver
                                                               bedeemed                 onits
                                                                                           itspart  toinstitution
                                                                                               partto  institutionof MIarbitration
                                                                                                                   ofan arbitration
     proceedingpursuant
     proceeding   pursuanttotothe
                                theprovisions
                                     provisionsof  ofthis
                                                      thisArticle.
                                                            Article. If IfFranchisee
                                                                          Franchiseesubleases
                                                                                        subleasesthe     FranchisedRestaurant
                                                                                                    theFranchised    Restaurantor or
     Franchised
     Franchised   Location
                  Location   by
                             by   or
                                 or  through
                                     through    Franchisor
                                                Franchisor     or its Affiliate, in the event of an arbitration award
                                                              or  its  Affiliate, in  the event   of an  arbitration award which
                                                                                                                              which
                                       thisAgreementis
                                 thatthis
     includes a determination that                        isor
                                                             orhas
                                                                hasexpired
                                                                    expiredor orhas   beenterminated
                                                                                 hasbeen   terminated by byreason
                                                                                                             reasonof
                                                                                                                    ofFranchisee's
                                                                                                                      Franchisee's
     default thereof.
     default thereof,  Franchisee
                       Franchisee   consents    to
                                                to the
                                                   the entry
                                                       entry  of
                                                              of a judgment
                                                                   judgment    by
                                                                               by  a court
                                                                                     court ofcompetent jurisdiction containing
                                                                                           of  competent   jurisdiction containing
     anappropriate writ
     an               writfor
                           forthe
                               therecovery
                                    recovery of    possession of
                                                ofpossession     ofthe
                                                                    thepremises.
                                                                         premises. The     situsof
                                                                                      Thesitus    ofarbitration  proceedings shall
                                                                                                     arbitration proceedings   shall
     be
     bein   LosAngeles,California.
         in Los            California.

              (b) All
              (b) All arbitration
                      arbitrationproceedings andclaims
                                  proceedingsand claimsshall
                                                       shallbe
                                                             befiled andprosecuted
                                                               filedand prosecutedseparately
                                                                                   separatelyand
                                                                                             andindividually
                                                                                                 individually
     inthe
     in thename
           nameof
                ofFranchisee
                  Franchiseeand Franchisor(and/or
                             andFranchisor (and/orits
                                                  its Affiliate), andnotin
                                                      Affiliate), and   inany
                                                                           anyrepresentative capacity,
                                                                                             capacity,and
                                                                                                      andshall
                                                                                                          shall
     notbe
     not beconsolidated
            consolidated with
                           withclaims
                                claimsasserted
                                       assertedby
                                                byor
                                                   oragainst      otherfranchisee.
                                                              anyother
                                                     againstany         firanchisee. The
                                                                                       Thefollowing
                                                                                            following shallnot
                                                                                                      shalhgtbebesubject
                                                                                                                   subject
     toarbitration: any
     to              anyclaim
                         claimorordispute
                                   disputeinvolving  orcontesting
                                           involvingor  contestingthe  validityof
                                                                    thevalidity  ofany
                                                                                     anyof
                                                                                         ofthe
                                                                                            theTrademarks,
                                                                                                Trademarks,anyanydispute
                                                                                                                   dispute
     alleginga violation
     alleging    violationof
                           offederal
                              federalor  statesecurities
                                      orstate securitieslaw,
                                                         law,and
                                                               andclass  actionclaims.
                                                                   classaction   claims. The
                                                                                          Thedecision
                                                                                                decisionofofwhether
                                                                                                             whetherany any
            claim, controversy or
     issue,claim,                           isarbitrable shall
                                 ordispute is            shall be made by
                                                               be made   by the
                                                                             thearbitrator,
                                                                                 arbitrator, who
                                                                                             whoshall
                                                                                                  shall have
                                                                                                        havejurisdiction
                                                                                                             jurisdiction
     tomake
     to makesuch
              suchdetermination.
                    determination. Unless
                                    Unlessprohibited  bylaw,
                                            prohibitedby  law,both
                                                               bothFranchisor
                                                                    FranchisorandandFranchisee
                                                                                      Franchiseehereby
                                                                                                  herebywaive
                                                                                                          waivethe
                                                                                                                 theright,
                                                                                                                     right,
     ifany,to
     if      toobtain
                obtainany
                       anyaward
                            awardfor
                                   forexemplary
                                       exemplary ororpunitive
                                                     punitivedamages      fromthe
                                                                damagesfrom     theother
                                                                                     otherin
                                                                                           inany
                                                                                              anyarbitration,
                                                                                                  arbitration, or
                                                                                                               orjudicial
                                                                                                                  judicial
     proceeding, ororother
                      otheradjudication, arising
                                           arisingout
                                                   outof
                                                       ofor        respectto
                                                             withrespect
                                                          or with              this Agreement,
                                                                            tothis   Agreement, ororany
                                                                                                    any breach
                                                                                                          breachthereof,
                                                                                                                  thereof,
     includingany
     including  anyclaim
                     claimthat
                           thatsaid
                                saidAgreement,   orany
                                     Agreeinent,or  anypart  thereof,is
                                                         partthereof, isinvalid,
                                                                         invalid,illegal
                                                                                  illegalor
                                                                                          orotherwise
                                                                                             otherwisevoidable
                                                                                                        voidableororvoid.
                                                                                                                      void.
     Thearbitration and
     The              andthe
                          theparties'
                             parties' agreementtherefor shall bebedeemed to    beself-executing,
                                                                            tobe self-executing, and
                                                                                                  andif
                                                                                                      ifeither
                                                                                                         eitherparty
                                                                                                               partyfails
                                                                                                                       fails
     toappear
     to appearatatany
                   anyproperly-noticed
                       properly-noticed arbitration
                                         arbitrationproceeding,
                                                    proceeding,an anaward
                                                                     awardmaymaybe    enteredagainst
                                                                                  beentered    againstsuch  party  despite
                                                                                                      suchpartydespite
     said
     saidfailure
          failureto
                  to appear.
                     appear.

               13. 02 Remedies of Franchisor.
               13.02              Franchisor.

                (a)In
               (a)  Inthe
                        theevent
                            event of ofa Material
                                         Material Breach
                                                   Breachof   this Agreement,
                                                           ofthis   Agreement, Franchisor
                                                                                  Franchisormay,    may, atatits
                                                                                                              itselection
                                                                                                                  election pursue
                                                                                                                             pursuethe
                                                                                                                                     the
     following remedies in    inaddition totosuch
                                              suchother
                                                   otherremedies
                                                        remedies as    maybe
                                                                   asmay    beavailable
                                                                               available to   to it hereunder andatlawor
                                                                                                 it hereunder   and  at law   orequity:
                                                                                                                                 equity:
     (i) terminate
     (i)  temlinate this
                      this Agreement,
                            Agreement, and and thereafter bring
                                                          bring such
                                                                 such action
                                                                        action asas itit may
                                                                                         may deem
                                                                                                deem proper
                                                                                                        proper toto protect
                                                                                                                    protect its
                                                                                                                              its rights
                                                                                                                                  rights
     hereunder, in in accordance
                       accordance with      the provisions
                                      with the  provisions of
                                                            of this
                                                               this Article
                                                                     Article XIII,
                                                                              Xffl, andand(ii)     seekto
                                                                                             (ii) seek      recover   such    damages,
                                                                                                         to recover such damages,
     including all
     including    all sums
                      sums due    andowing
                             dueand     owing pursuant to
                                                        to this
                                                           this Agreement and andany
                                                                                   anyotherother agreement
                                                                                                   agreement relating
                                                                                                                relating thereto,
                                                                                                                          thereto, and
                                                                                                                                     and
     thebenefit
     the  benefitof   itsbargain
                   ofits bargainhereunder,as    asFranchisor  may,in
                                                  Franchisormay,     inits
                                                                       itsdiscretion,
                                                                           discretion,deem         appropriate.
                                                                                           deemappropriate. Incomputingsuch
                                                                                                                  In computing      such
     damages, itit is
     damages,       is agreed
                       agreed that    the benefit of
                                thatthe           ofFranchisor's bargain
                                                                   bargain shall
                                                                             shall include
                                                                                    include Franchisor's
                                                                                                Franchisor's average
                                                                                                                 average Continuing
                                                                                                                            Continuing
     Royaftyfee
     Royalty   feeofof4.5%
                        4.5%of ofFranchisee's
                                  Franchisee'sGross
                                                 GrossSales,confuted onthebasisofthelast26weeksthat
                                                       Sales, computed     on the  basis    of the   last 26  weeks   thatFranchisee
                                                                                                                            Franchisee
     conducted business
     conducted    businessat    itsFranchised
                              atits  FranchisedRestaurant(or (orif any
                                                                   anysuch
                                                                        suchFranchised
                                                                              FranchisedRestaurant is        isopen
                                                                                                                openfor
                                                                                                                      forless
                                                                                                                           lessthan
                                                                                                                                than2626
             theentire
     weeks,the     entireperiod
                           periodthat
                                    thatany
                                         anysuch   FranchisedRestaurant
                                              suchFranchised                is open     for  business)    multiplied
                                                               Restaurant is openforbusiness) multipUed bythenumber    by  the  number
     ofweeks
     of  weeksremaining
                 remaining under
                               underthis
                                      thisFranchise
                                           FranchiseAgreement,
                                                      Agreement, computed
                                                                   computedfrom fromthe  theeffective
                                                                                             effectivedatedateofofthe
                                                                                                                   thetermination
                                                                                                                       termination of of
     this
     thisAgreement.
           Agreement. Said Saidsum
                                 sumshall              be "present   valued"   by discounting
                                       shall thereupon be "present valued" by discounting the same, on anannual
                                            thereupon                                                the  same,  on  an  annual basis,
                                                                                                                                  basis,
     predicated upon      theprime
                   upon the   priroe rate
                                      ratecharged
                                          chargedbybythe  Chase Manhattan
                                                      theChase   Manhattan BankBankof   ofNew
                                                                                            NewYorkYorkCity,
                                                                                                          City, on
                                                                                                                onthe
                                                                                                                    theeffective
                                                                                                                        effective date
                                                                                                                                    date
     of  such termination.
     ofsuch   termination.

             (b) Franchisor will not,nor
             (b) Franchisor          nor will it
                                              it threaten
                                                 threaten to
                                                          to or
                                                             orstate
                                                                stateor
                                                                     orrepresent that
                                                                                  thatit
                                                                                      it has
                                                                                         hasthe
                                                                                             theright
                                                                                                 rightor
                                                                                                      orintention
                                                                                                         intention to,
                                                                                                                   to,
     exerciseself
     exercise selfhelp
                   helpin
                        in regaining
                           regauiingpossession
                                     possessionof    the Franchised  Restaurant  or premises   or physically
                                                  of the FranchisedRestaurantor premisesor physicallyevict   evict or
                                                                                                                    or
     attemptto
     attempt toevict
               evictFranchisee
                     Franchiseefrom
                                 fromthe  FranchisedRestaurant
                                      theFranchised    Restaurantother  thanby
                                                                   otherthan  bydue
                                                                                 dueprocess
                                                                                     processofoflaw.
                                                                                                 law. In
                                                                                                      Inthe
                                                                                                          theevent
                                                                                                             eventofof
     temiination. Franchisor
     termination, Franchisor will obtain
                                  obtain possession
                                         possession ofofthe
                                                         the premises only
                                                                       only through
                                                                            through the
                                                                                    the voluntary surrender thereof


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      byFranchisee,
      by Franchisee, or
                     or pursuant to
                                 tothe legal enforcement
                                    thelegal             ofaa judgment
                                             enforcement of            ofaa court
                                                              judgment of   court of
                                                                                  ofcompetent
                                                                                     competent jurisdiction
                                                                                               jurisdiction or
                                                                                                            orof
                                                                                                               of
      anaward
      an awardof
               ofan
                  anarbitration
                     arbitrationtribunal in accordance
                                tribunalin  accordancewith  Section13.01.
                                                       withSection 13.01.

                      Summary Possessory
                13.03 Summary
                13.03         Possessory Actions.
                                         Actions.

                (a)If
               (a)  IfFranchisee subleases the theFranchised Restaurant or    orFranchised
                                                                                 Franchised Location
                                                                                              Location from    Franchisor or
                                                                                                         from Franchisor     orits
                                                                                                                                its
                  Franchisoror
      Affiliate,Franchisor     orsuch
                                  suchAffiliate
                                        Affiliateshall
                                                  shallbe
                                                        beentitled
                                                           entitledtotomaintain
                                                                        maintainactions    in unlawful
                                                                                   actionsin   unlawful or
                                                                                                         orforcible
                                                                                                            forcibledetainer
                                                                                                                      detameror  or
       otherappropriate
      other  appropriatesummary
                           sununarypossessory       actionfor
                                       possessoryaction        recovery of
                                                           forrecovery    ofthe
                                                                             thepremises    of  said Franchised   Restaurant
                                                                                  premises ofsaidFranchisedRestaurant or        or
      Location, in in a court
                         court of
                                of competent jurisdiction     without being
                                                jurisdiction without    being required
                                                                                required to
                                                                                          to resort
                                                                                              resort to
                                                                                                      to arbitration
                                                                                                         arbitration(except
                                                                                                                      (except as as
      provided in
      provided    in Section
                     Section 13.03(c)(ii)
                               13.03(c)(ii) hereof), in   respect of
                                                       in respect   of any
                                                                        any uncured
                                                                            uncureddefault
                                                                                       default by Franchisee m payment of
                                                                                                by  Franchisee   in payment     of
      premisesrental
      premises    rentalunder
                         underthe   subleaseor
                                thesublease       byreason
                                               orby  reasonofofany
                                                                 anyofofthe
                                                                         thecauses
                                                                             causesspecified
                                                                                      specifiedinin Sections
                                                                                                    Sections12.01
                                                                                                              12.01(a)
                                                                                                                     (a)through
                                                                                                                         tlu-ough
      (g), for
      (g), fora judgment
                 judgment which
                             whichshall,if ifFranchisor ororsuch   Affiliate  shall prevail therein,  include
                                                             suchAffiliate shallprevaU therein, include both anorder
                                                                                                               both an  orderfor
                                                                                                                               for
                   ofthe
      restitution of  thepremises andandany
                                         anymonetary relief incident
                                                                incident thereto which    mayby
                                                                                   whichmay     bylaw
                                                                                                   lawbebeawarded
                                                                                                           awardedin inany
                                                                                                                        anysuch
                                                                                                                             such
      possessoryaction. In
      possessory             Inany
                                anysuch
                                    suchpossessory
                                          possessoryaction        Franchisoror
                                                              byFranchisor
                                                       actionby                   suchAffiliate,
                                                                               orsuch   Affiliate,Franchisee
                                                                                                   Franchiseeshall
                                                                                                                shallbe
                                                                                                                      beentitled
                                                                                                                         entitled
      to assert
      to assert defenses, set set offs  and counterclaims, if
                                  offs and                    if any, which     are permitted
                                                                        which are   permitted by by applicable
                                                                                                     applicable law in
                                                                                                                 law   in such
                                                                                                                           such a
                    action, but
      possessory action,        no others;and,if
                            butno                ifFranchisee  shall
                                                                shallprevail thereon, itmayobtain anyreliefthereon which
                                                                      prevail thereon, it may  obtain  any reliefthereon   which
      may
      may bybylaw
               law be   awarded   in such
                     be awarded in such    possessory   action.
                                                        action.

               (b)With
               (b)Withrespect
                       respectto
                              toany
                                 anysuch           actionsprovided
                                         possessoryactions
                                    suchpossessory         providedand
                                                                   andreferred toin
                                                                       referredto inSection
                                                                                    Section13.03(a),
                                                                                            13.03(a),wherein
                                                                                                     wherein
      suchpossessory
      such possessoryaction
                     actionis
                            isbased
                              basedon          default,neither
                                      monetarydefault,
                                    onmonetary                 Franchisornor
                                                       neitherFranchisor norits
                                                                             itsAffiliate
                                                                                Affiliateshall
                                                                                          shallbase
                                                                                               baseany
                                                                                                    anyclaim
                                                                                                       claim
      ofmonetary
      of monetaiy default
                   default upon its having
                           uponits  havingapplied
                                           appliedany
                                                  anyFranchisee   payments to
                                                       Franchiseepayments    toit
                                                                                it to
                                                                                   tothe
                                                                                      theaccelerated
                                                                                          accelerated and
                                                                                                      andunaccrued
                                                                                                          unaccmed
      portion of
              of Franchisee's Initial Franchise Fee
                                                Fee note or notes, if applicable, at any time
                                                    note or notes, if applicable, at  any time that
                                                                                               that such
                                                                                                    such application
                                                                                                         application
      wouldhave
      would  haveleft
                  leftany
                      anyother
                           othercurrent
                                currentororpast
                                           pastdue
                                                dueobligations
                                                    obligationsunpaid.
                                                               unpaid.
               (c) Should
               (c) ShouldFranchisee
                          Franchiseedeny
                                    denyor
                                         ordispute theamount
                                           disputethe        ofthe
                                                      amountof theindebtedness
                                                                   indebtednessdescribed
                                                                               describedor
                                                                                         orreferred
                                                                                           referredto
                                                                                                    toin
                                                                                                      inthe
                                                                                                         the
      notice of
      notice  of default,
                 default, it shall
                             shall within
                                   within the
                                          the time
                                              time specified   for the
                                                    specified for  the cure ofsuch
                                                                       cure of such default
                                                                                    default deliver
                                                                                            deliver to
                                                                                                     to Franchisor
                                                                                                        Franchisor or
                                                                                                                   or its
                                                                                                                      its
      Affiliate a written
                  written statement of  theamount claimed
                                      ofthe           claimed by
                                                              byit to  bethe
                                                                    to be thecorrect amount of
                                                                                             ofthe
                                                                                                theindebtedness   andof
                                                                                                    indebtedness and   of
      the factual
      the factual basis
                   basisfor
                         for such
                              such claim;
                                    claim; and
                                           and it
                                                it shall
                                                   shall either accompany such
                                                         either accompany         statement with
                                                                             suchstatement   with its
                                                                                                  its remittance
                                                                                                      remittance of
                                                                                                                  of full
      payment of
               ofthe
                 theamount acknowledged by      itto
                                             byit tobe
                                                     beowing
                                                        owingororshall
                                                                 shall make
                                                                        makesuch
                                                                             sucharrangements
                                                                                  arrangements with    Franchisor for
                                                                                                withFranchisor    for
      the payment of
      the          ofsuch
                     such amount
                           amount as  shall be
                                   asshall      satisfactory and
                                             be satisfactory andacceptable
                                                                 acceptable to
                                                                             to Franchisor
                                                                                Franchisor or
                                                                                           or its
                                                                                              its Affiliate.
                                                                                                   Affiliate. Should
                                                                                                              Should
      Franchiseehave
      Franchisee havetimely
                      timelydone
                             doneso,itit will
                                         willthen
                                              thenbe
                                                   bepermitted
                                                      permitted to
                                                                tolitigate
                                                                   litigateany
                                                                           anysuch
                                                                               suchdispute
                                                                                    disputeas
                                                                                           asto
                                                                                              tothe
                                                                                                  theamount,
                                                                                                     amount,if ifany,
                                                                                                                 any,
      of theremaining
      ofthe remaining indebtedness  asfollows:
                       indebtedness as follows:

                       (i)
                       (i)In
                           Inthose
                             thosestates   wherein litigation
                                    states wherein  litigation ofofsuch
                                                                   suchdispute
                                                                          disputeis  ispermitted ininpossessory actions
                                                                                                                  actionsby
                                                                                                                          bylaw,
                                                                                                                             law,
      stipulation or
                  oragreement of ofthe  parties, such
                                    theparties,  suchdispute
                                                        dispute shall
                                                                  shall be
                                                                         beso
                                                                            solitigated.
                                                                                litigated. ItItshall
                                                                                               shall not
                                                                                                      not be a ground  for denial
                                                                                                          be a ground for denial
      ofa judgment for
      of             forpossession to toFranchisor or orits
                                                         its Affiliate
                                                             Affiliate that
                                                                        thatthe
                                                                             theamount
                                                                                   amount ofofthe
                                                                                                theindebtedness
                                                                                                    indebtedness sosodetermined
                                                                                                                      detemiined
      may be
      may     less than
           beless  than or
                         ordifferent from
                                      from the
                                            the amount claimed
                                                           claimed by    Franchisor or
                                                                     by Franchisor      orits
                                                                                           its Affiliate.
                                                                                               Affiliate. Execution
                                                                                                           Execution upon
                                                                                                                       upon such
                                                                                                                             such
      judgment,
      judgment, however,
                 however, shall
                            shall be
                                  bestayed
                                      stayed for
                                              for77 days,
                                                     days,during     whichtime
                                                            during which     tune Franchisee
                                                                                     Franchisee may
                                                                                                  mayretain
                                                                                                        retain possession of
                                                                                                               possession  ofthe
                                                                                                                               the
      FranchisedRestaurant and
      Franchised              andobtain
                                   obtainvacation
                                           vacationof   thejudgment
                                                     ofthe   judgment by by(1)
                                                                             (I) paying
                                                                                  payingtoto Franchisor
                                                                                              Franchisoror orits
                                                                                                             itsAffiliate the
                                                                                                                          thefull
                                                                                                                              full
      amountof
      amount  ofthe
                 theadjudicated
                     adjudicatedand    unpaidindebtedness,
                                  andunpaid    indebtedness,plusplusthe
                                                                      thefull
                                                                          fullamount
                                                                                amountof  ofany
                                                                                             anyand
                                                                                                  andall
                                                                                                       allsubsequently
                                                                                                          subsequentlyaccruing
                                                                                                                        accruing
      and
      andunpaid
          unpaidobligations    toFranchisor
                  obligations to Franchisoror  orits
                                                  its Affiliate
                                                      Affiliate up
                                                                 uptotoand
                                                                         andincluding
                                                                              includingthethedate
                                                                                               dateof   entry
                                                                                                     ofentryof ofsuch judgment,
                                                                                                                 suchjudginent,
      orby
      or by(2)
            (2) making  sucharrangements with
                makingsuch                    withFranchisor
                                                    Franchisoror  orits
                                                                     its Affiliate
                                                                         Affiliatefor forthe
                                                                                         thepayment
                                                                                              payinentofofsuch
                                                                                                            suchamount
                                                                                                                 amountas asshall
                                                                                                                            shall
      be
      besatisfactory and
                      andacceptable to to Franchisor
                                          Franchisor or orits
                                                           its Affiliate,  as applicable.
                                                               Affiliate, as   applicable.

                       (ii)
                       (ii)In thosestates
                            Inthose  states where
                                            wherelitigation
                                                  litigation of theamount of
                                                             ofthe            ofsuch
                                                                                 suchindebtedness is
                                                                                                   isnot          insuch
                                                                                                     notpermitted in such
      possessoryactions,the
      possessory            thepossessory    actionmay
                                possessoryaction    naaynonetheless
                                                          nonethelessbebecommenced
                                                                           commencedand  andmaintained   by
                                                                                             maintainedbyFranchisoror
                                                                                                            Franchisor or
          applicable Affiliate.
      the applicable
      the                          Disputes as
                      Affiliate. Disputes     as to
                                                 to the   amount of
                                                     the amount    of indebtedness
                                                                      indebtedness may may be
                                                                                            be concurrently
                                                                                               concurrently submitted
                                                                                                             submitted to
                                                                                                                        to
      arbitration.
      arbitration. Following   arbitration. Franchisee
                   Following arbitration,   Franchiseeshall
                                                        shall have
                                                              havethe
                                                                    thesame
                                                                        samerights
                                                                               rights of
                                                                                      ofpayment and
                                                                                                 andcure
                                                                                                      cureof
                                                                                                          ofdefault,upon
                                                                                                                     upon
      the
      thesame
          sameconditions,
                conditions, as
                             asare
                                are hereinabove provided
                                                  provided inin section
                                                                section(i)
                                                                         (i) of
                                                                             ofthis
                                                                                this subparagraph
                                                                                     subparagraph(c).
                                                                                                  (c).



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                      (iii)Nothing
                     (iii) Nothingcontained
                                     contamedininthis
                                                  thissubparagraph
                                                      subparagraph(c)         bedeemed,
                                                                         shallbe
                                                                     (c)shall    deemed,construed
                                                                                          constmedor orinterpreted
                                                                                                         interpretedas
                                                                                                                     as
     allowing Franchisee
     allowing Franchiseein insuch
                              suchpossessory
                                    possessory action
                                                actionto
                                                       tolitigate
                                                          litigateany
                                                                   anyclaims     defenses
                                                                              ordefenses other thandieissue
                                                                       claimsor           other  than  the  issueof
                                                                                                                  ofthe
                                                                                                                    the
     correctcomputation
     correct confutation ofofits
                              itsindebtedness
                                  indebtedness(exclusive
                                                (exclusive of  setoffs
                                                            ofset      orcounterclaims)
                                                                  offsor counterclaims) unless
                                                                                         unlessthe
                                                                                                thelitigation
                                                                                                    litigation of
                                                                                                                ofsuch
                                                                                                                   such
     other claims or
     other        ordefenses is             inpossessory actions
                                ispermitted in              actions by
                                                                    bythe  applicable law
                                                                       the applicable     of the subject   state.
                                                                                      law of the subject state.
               13.04  Interest on Late Payments.
               13. 04 Interest         Pa    nts.

             In addition
             In  addition to to the
                                theother
                                    other remedies
                                          remedies available
                                                    available to
                                                              to Franchisor,in in the
                                                                                   theevent
                                                                                       event that
                                                                                              thatFranchisee   shallfail
                                                                                                   Franchisee shall  fail or
                                                                                                                          or
     refuse to
     refuse to make
               make any
                      anyof   ofthe
                                 thepayments due
                                               due under  this Agreement, any sublease, any equipment lease, orany
                                                   under this  Agreement,   any   sublease,  any  equipment   lease, or any
     purchasecontracts
     purchase  contractsfor  forequipment
                                 equipmentororsupplies
                                               supplies which
                                                        whichwere
                                                                wereentered    intoprior
                                                                      enteredinto    priorto,
                                                                                           to,contemporaneously
                                                                                              contemporaneously withwithoror
     subsequent to
     subsequent   tothis
                    thisAgreement,
                         Agreement, when      due,Franchisee shallpayinterest atthehighestratepennitted bylaw,
                                       whendue,   Franchisee   shall pay interest  at the highest rate permitted by law,oror
     1.5%per
     1.5%  permonth, whichever
                        wlucheverisisless,
                                        less,of
                                              ofsuch
                                                 suchlate
                                                      lateobligations
                                                           obligationstotodefray
                                                                           defraythe    costof
                                                                                    thecost   ofmaintaining
                                                                                                 maintainingFranchisee's
                                                                                                               Franchisee's
              in arrears,
     account in  arrears, itit being
                               beingexpressly understood that
                                                           that payment ofthis charge shaU not forgive
                                                                payment   of this charge   shall not forgive or
                                                                                                             orexcuse
                                                                                                                excuse any
                                                                                                                        any
     arrearage.
     arrearage.

                                                               XIV
                                                               XIV
                                                         NON-COMPETITION
                                                         NON-COMPETmON

               14.01 General.
               14.01 General.

              WithoutFranchisor's
              Without   Franchisor'sprior
                                        priorwritten
                                             writtenconsent
                                                       consentwhich
                                                                 whichmaymaybe bewithheld
                                                                                   withheldforforany
                                                                                                  anyreason
                                                                                                       reasonin  inFranchisor's
                                                                                                                    Franchisor'ssole sole
     subjectivediscretion,
     subjective  discredon, Franchisee
                               Franchiseeshall
                                             shallnot,
                                                    not,during
                                                         duringthe theTerm,
                                                                       Term,including
                                                                                includingany anyextension
                                                                                                  extensionor       renewalthereof,
                                                                                                                orrenewal       thereof,
     directly or
     directly or indirectly,
                  indirectly, own,
                               own, operate,
                                       operate, control
                                                 control oror have
                                                               have any
                                                                     any financial
                                                                          financial interest
                                                                                       interest in
                                                                                                 in any
                                                                                                     any family
                                                                                                          family style
                                                                                                                     style restaurant,
                                                                                                                            restaurant,
     pancake house,coffee
     pancake           coffeeshop,
                                shop, buffet
                                        buffetserving
                                               serving breakfast,
                                                        breakfast, or    diner,including
                                                                     ordiner,    including butbutnot
                                                                                                  notlimited
                                                                                                       limited to    tfie Village
                                                                                                                  tothe   VUlageInn, bin,
     Bob's Big
     Bob's  Big Boy,
                 Boy, Shoney's,
                        Shoney's, Denny's,
                                     Denny's, Perkins',
                                                Perkins', Waffle
                                                          Waffle House,
                                                                    House, Baker's
                                                                              Baker's Square,
                                                                                        Square. Coco's,
                                                                                                  Coco's, JB's,
                                                                                                             JB's, Allie's,
                                                                                                                     Allie's, Cracker
                                                                                                                                Cracker
     Barrel, Marie
              Marie'Callenda    r's, Friendly's, Bob
                     Callendar's,                 BobEvans'Farms,
                                                                Fanns, Mimi's
                                                                          Muni's Carrows,
                                                                                    Carrows, Denny's
                                                                                                 Denny's Diner,
                                                                                                            Diner. Golden
                                                                                                                      Golden Corral,
                                                                                                                                 Corral,
     Original Pancake
     Original  PancakeHouse,
                          House, Country Kitchen,
                                             Kitchen, Hometown
                                                        Hoxnetown Buffet,
                                                                       Buffet, or
                                                                                orany
                                                                                   anyother
                                                                                         otherfood
                                                                                                foodservice
                                                                                                      service operation
                                                                                                                 operation that
                                                                                                                              thatsells
                                                                                                                                    sells
     pancakesor
     pancakes   orderives
                   derivesmore
                            morethan
                                   than25%
                                         25%of   itstotal
                                              ofits totalsales   fromsit
                                                          salesfrom    sitdown
                                                                          downbreakfast
                                                                                  breakfastitems.
                                                                                              items. The    foregoing prohibitions
                                                                                                      Theforegoing       prohibitions
     shallnot
     shall notapply
               applytotoownership
                         ownershipby  byFranchisee
                                          Franchiseeof ofless
                                                         lessthan
                                                               than3%3%ofofthe
                                                                            theissued
                                                                                 issuedand
                                                                                         andoutstanding
                                                                                              outstandingstockstockofofany
                                                                                                                        anycompany
                                                                                                                              company
     whose shares
     whose   shares are
                     arelisted
                         listed for
                                fortrading   over any
                                     trading over   anypublic
                                                        public exchange
                                                                 exchange or orover-the-counter
                                                                                 over-the-counter market
                                                                                                      market andand whose
                                                                                                                      whose business
                                                                                                                               business
     includesthe
     includes  theowning,operating, or     orfranchising
                                              franchisingof  offamily
                                                                familystyle
                                                                         stylerestaurants,
                                                                               restaurants, pancake
                                                                                               pancakehouses,
                                                                                                          houses,or  orcoffeeshops,
                                                                                                                        coffee    shops,
     providedFranchisee
     provided   Franchiseedoesdoesnot    controlany
                                    notcontrol    anysuch    company, Franchisee
                                                       suchcompany,       Franchiseealso alsoagrees
                                                                                               agreesthat    it
                                                                                                       thatit willnot
                                                                                                                will  notatatany
                                                                                                                              anytime
                                                                                                                                    time
     communicate, divulge,
     communicate,     divulge, or
                                oruse
                                    usefor
                                         forthe
                                            thebenefit ofofhimself or  orherself
                                                                          herselfororany
                                                                                      anyother
                                                                                           other person
                                                                                                   person ororentity,
                                                                                                                entity, other
                                                                                                                         otherthan
                                                                                                                                 thanin in
     thecourse
     the courseofofconduct
                    conductof ofthe
                                 theFranchised
                                      FranchisedRestaurant,any   anyinformation
                                                                      infonnationor orknowledge
                                                                                        knowledgewhichwhichit  itmay
                                                                                                                  mayhave
                                                                                                                        haveacquired
                                                                                                                              acquired
     in connection with
     in              with the
                            the operation ofofthe
                                                the Franchised Restaurant,
                                                                  Restaurant, andandthat
                                                                                      thatitit will
                                                                                               will not
                                                                                                    notdodo any
                                                                                                             any act
                                                                                                                   act prejudicial
                                                                                                                        prejudicial or or
     injuriousto
     injurious  tothe
                   thebusiness
                       businessor  orgoodwill
                                       goodwillof ofFranchisor,
                                                    Franchisor,any anyofofits
                                                                           itsAffiliates,
                                                                               Affiliates, or anyotherIHOPfranchisee. As
                                                                                             or any  other  IHOP      franchisee.      As
     used in
     used  in this
              this paragraph "Franchisee" shall   shall include
                                                        include Franchisee
                                                                   Franchisee andand each
                                                                                       each ofof its
                                                                                                 its Owners
                                                                                                     Owners and  and affiliates,
                                                                                                                       affiliates, thethe
     respectiveofficers,directors,managers
     respective                         managersandandaffiliates   ofeach
                                                        affiliatesof  eachofofthem,   and  the  spouse   and  family
                                                                               them,andthespouseandfamilymembers        memberswho  who
     livein
     live inthe
            thesame
                 samehousehold
                        householdof   ofeach
                                         eachof
                                              ofthe
                                                  theforegoing
                                                      foregoingwho whoare
                                                                        areindividuals.
                                                                             individuals.

                                                           XV
                                                 INDEMNITY
                                                 INDEMNITY BY FRANCHISEE

               15.01
               15. 01 Indemnity b Franchisee.
                      Indemnit by Franchisee.

              Franchiseeshall
              Franchisee   shalldefend,
                                defend,indemnify
                                         indemnifyand   holdFranchisor
                                                    andhold  Franchisorand andeach
                                                                               eachAffiliate harmless
                                                                                             hannless from
                                                                                                        fromand
                                                                                                             andagainst
                                                                                                                 against
     any and
     any and all
               all claims,           losses, damages,
                           demands, losses,
                   claims, demands,          damages, costs,
                                                        costs, liabilities
                                                               liabilities and expenses  (including
                                                                           and expenses (including attorneys' fees
                                                                                                     attorneys' fees and
                                                                                                                     and
     costs of
     costs ofsuit)ofofwhatever
                       whateverkind
                                 kind or
                                       orcharacter,
                                          character, on
                                                     onaccount
                                                        account of  anyactual
                                                                 ofany   actualor
                                                                                oralleged
                                                                                   allegedloss,
                                                                                          loss.injury
                                                                                                injury or
                                                                                                       ordamage
                                                                                                          damagetotoany
                                                                                                                     any
              finn or
     person, firm    or corporation
                        corporation or
                                    or to
                                        to any property arising
                                           any property  arising out
                                                                  out ofof or
                                                                           or in
                                                                              in connection
                                                                                 connection with
                                                                                             with the
                                                                                                   the operation
                                                                                                        operation of
                                                                                                                  of the
                                                                                                                      the
     Franchised
     FranchisedRestaurant.
                  Restaurant.



IHOPOC305
IHOFOC305                                                                36
                                                                         36
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                                                                XVI
                                                           MISCELLANEOUS
                                                           MISCELLANEOUS

                16.01  Ri ht To Cure Defaults
                16. 01 Right         Defaults

                In  additionto
                Inaddition   to all other                   granted, if Franchisee shall
                                                     hereingranted,
                                    otherremedies herein                            shall default in   theperformance
                                                                                                    in the perfonnance of
                                                                                                                        ofany
                                                                                                                          any
      of  its obligations or
      ofits                or breach
                              breach any
                                       anyterm    orcondition of
                                            term or               this Agreement or
                                                               ofthis                  anyrelated
                                                                                   or any            agreement, Franchisor
                                                                                            related agreement,   Franchisor or
                                                                                                                            or
      its Affiliate may,
      its            may, at     election, immediately or
                              itselection,
                           atits                          or at
                                                             atany        thereafter, without waiving
                                                                anytime thereafter,             waiving any   claimfor
                                                                                                         anyclaim   forbreach
                                                                                                                       breach
      hereunderand
      hereunder    andwithout    noticeto
                       withoutnotice      toFranchisee
                                            Franchiseecure
                                                        curesuch
                                                             suchdefault
                                                                   defaultfor theaccount
                                                                           forthe accountand andon
                                                                                                 onbehalf
                                                                                                     behalfof
                                                                                                            ofFranchisee,and
      the
      thecost
           costtoto Franchisor
                    Franchisoror    its Affiliate
                                 orits  Affiliatethereof
                                                  thereofshall
                                                         shaUbe bedue
                                                                   dueand   payableon
                                                                        andpayable   ondemand
                                                                                         demandand andshall
                                                                                                        shallbe
                                                                                                              bedeemed
                                                                                                                 deemedtoto be
      additional compensation due    due toto Franchisor or its Affiliate hereunder and
                                                         or its                       and shall bebe added
                                                                                                      added to  the amount
                                                                                                             to the amount of
                                                                                                                            of
      compensation next     accruing hereunder,
                       next accruing     hereunder, at
                                                     atthe          ofFranchisor or
                                                       the election of                 its Affiliate.
                                                                                   orits   Affiliate.

                16.02
                16.02      Obligations
                           Obli ationsU  on Termination
                                       Upon Termination

              (a)
               (a) In  theevent of
                    Inthe         ofthe
                                     thetermination
                                          tennination or  orexpiration of   ofthis
                                                                               this Agreement for  for whatever reason,
                                                                                                                  reason, Franchisee
                                                                                                                            Franchisee
      shall forthwith discontinue the use useof Franchisor's Trademarks and       and shall not thereafter operate or do   dobusiness
                                                                                                                               business
      under  any name
      under any   name or   in any
                         or in any manner that that might tend
                                                             tend to
                                                                   to give
                                                                      give thethe general public
                                                                                            public the
                                                                                                     the impression
                                                                                                         impression that
                                                                                                                       that it
                                                                                                                            it is
                                                                                                                               is either
                                                                                                                                   either
      directly or                          affiliated, franchised
                             associated, affiliated,
               orindirectly associated,                 franchisedor orlicensed
                                                                         licensedby byororrelated
                                                                                           relatedto,
                                                                                                    to,the CHOPRestaurant system,
                                                                                                       theIHOP                  system,
      and
      andshallnot,   eitherdirectly or
                not,either            orindirectly,
                                         indirectly, use         name,logotype,
                                                           anyname,
                                                       useany            logotype, symbol or   orformat confusingly similar
                                                                                                                         similarto tothe
                                                                                                                                      the
      IHOP
      fflOP  Trademarks    or  formats,
                               formats,    at either   the Franchised       Location,
                                                                            Location,    the  Franchised   Restaurant
                                                                                                           Restaurant    or
                                                                                                                         or  any
                                                                                                                             any   other
                                                                                                                                   other
                not then
      location not
      location       then franchised
                          franchised to     Franchiseeby
                                        to Franchisee      by Franchisor. Since           Franchisor'sIHOP
                                                                                  Since Franchisor's     IHOPRestaurants
                                                                                                                 Restaurants have a
      disdncdvecolor
      distinctive                  unless Franchisorexercises its right to cause an assigmnent of
                  color scheme, unless       Franchisor    exercises    its  right  to cause   an  assignment    ofthe
                                                                                                                     thelease    forthe
                                                                                                                         lease for
      Franchised Location or    Franchised
                             orFranchised      Restaurant    pursuant   to   paragraph    4.04(a),
                                                              pursuant to paragraph 4.04(a),        Franchisee  shall
                                                                                                                sball  promptly    upon
                                                                                                                                    upon
      demand
      demand by by Franchisor or or its
                                    its Affiliate    repaint   the  Franchised
                                                               the Franchised      Restaurant    in
                                                                                                 in  a different   color  scheme.
                                                                                                                          scheme. In
      addition,
      addition, upon    such expiration or
                 upon such                      terminadon, Franchisee shall
                                            or termination,                     shall not,   either directly
                                                                                       not, either   du-ectly or
                                                                                                              or indirectly,
                                                                                                                  indirectly, for
                                                                                                                                for any
                                                                                                                                     any
      purpose whatsoever,
               whatsoever, useuse any
                                  any ofofFranchisor's Trade       Secrets,    procedures,    techniques
                                                           Trade Secrets, procedures, techniques or        or materials   acquired
                                                                                                                          acquired by
                  byvirtue of
      Franchisee by             therelationship created
                             ofthe                   createdby bythis  Franchise Agreement,
                                                                  this Franchise     Agreement, including,
                                                                                                    including,(i)   recipes, formulae
                                                                                                               (i) recipes,   formulae
      and descriptionsof
      anddescriptions    offood
                           foodproducts;(ii)  (ii)the   OperationsBulletins
                                                   theOperations      Bulletinsand andall
                                                                                        all manuals,   Bulletins,
                                                                                            manuals.Bulletins,instruction
                                                                                                                   instructionsheets,
                                                                                                                                 sheets,
      and
      andsupplements thereto and andshall return same sametotoFranchisor;(iii) (hi)all forms,
                                                                                        forms, advertising matter,    marks,devices,
                                                                                                             matter, marks,    devices,
      insignias, slogans and
                          and designs     used from
                                designs used      from time to time in     in connection with       MOP Restaurants;
                                                                                             with1HOP      Restaurants; andand(iv)
                                                                                                                                 (iv) all
                                                                                                                                       all
                   Trademarksand
      copyrights.Trademarks
      copyrights,                andpatents
                                      patentsnow nowor orhereafter    appliedfor
                                                          hereafterapplied       foror   grantedin
                                                                                     orgranted    inconnection
                                                                                                     connectionwithwiththe
                                                                                                                        theoperation
         MOPRestaurants.
      of HOP    Restaurants.

               (b) Further,Franchisee
               (b)          Franchiseeshall,at  at Franchisor's         cancelor
                                                   Franchisor'soption,cancel    or assign
                                                                                   assigntoto Franchisor
                                                                                              Franchisoror orits
                                                                                                              itsdesignate
      all
      all of
          ofFranchisee's
             Franchisee'sright, title     interestin
                                      andinterest
                                title and             anyinternet
                                                    inany          andwebsite
                                                           internetand websitehome
                                                                                 homepages,
                                                                                       pages,domain
                                                                                                domainname
                                                                                                        namelistings
                                                                                                               listingsand
      registrations which
      registrations whichcontain
                           containthe
                                    the Trademarks, or  or any ofthem,
                                                           anyof  them, in
                                                                         in whole
                                                                            whole or
                                                                                   or part,
                                                                                       part, and
                                                                                             and Franchisee
                                                                                                  Franchiseeshall
                                                                                                               shall notify
      Network              InterNICor
      Network Solutions,InterNIC          other applicable
                                       or other applicabledomain
                                                             domain name
                                                                     nameregistrar
                                                                            registrar and
                                                                                      andall
                                                                                           all listing
                                                                                               listing agencies, upon
                                                                                                                  uponthe
      termination
      tenmnationor orexpiration
                      expirationhereof,of ofthe  terminationof
                                            thetermination    of Franchisee's
                                                                 Franchisee'sright
                                                                               rightto  useany
                                                                                     to use anydomain
                                                                                                 domainname,web   webpage
      andother
      and  otherintemet        associatedwith
                        deviseassociated
                internetdevise                   Franchisor or
                                            withFranchisor    orany
                                                                any"HOP"
                                                                    "IHOP"Restaurant,
                                                                             Restaurant,and
                                                                                          andauthorize
                                                                                               authorizeand
                                                                                                         andinstruct
                                                                                                             instmcttheir
      cancellation or transfer to Franchisor,
                                      Franchisor, as             by Franchisor.
                                                    as directed by   Franchisor. Franchisee
                                                                                    Franchisee is is not
                                                                                                     not entitled
                                                                                                          entided to to any
                                                                                                                        any
      compensation
      compensationfrom
                     fromFranchisor       Franchisorexercises
                           Franchisorif Franchisor     exercisesits
                                                                 itssaid
                                                                    saidrights
                                                                         rightsor
                                                                                or options.
                                                                                   options.

              (c)
               (c) Franchisor
                   Franchisorshall
                              shallhave  theoption,exercisable
                                    havethe         exercisablebybywritten
                                                                    writtennotice
                                                                            noticewithin
                                                                                    within30    daysafter
                                                                                            30days   afterthe
                                                                                                          thetermination
      of
      ofthis
         thisAgreement,to totake
                            takeananassignment  ofall telephone
                                     assignmentof      telephonenumbers
                                                                  numbers(and
                                                                           (andassociated
                                                                                 associatedlistings)forforthe
                                                                                                           theFranchised
      Restaurant,  and Franchisee shall notify the telephone company and
      Restaurant, and                                                     and all listing agencies of the termination
                                                                                                           teimmation or
      expiration of Franchisee's right to use
                                          use any
                                              any telephone number and and any
                                                                           any classified or other telephone directory
                                                                                                                directory
      listings associated with
                          with the Restaurant,  and authorize
                                    Restaurant, and  authorize and
                                                                and instruct their transfer
                                                                    instruct their  transfer to
                                                                                              to Franchisor.
                                                                                                 Franchisor. Franchisee
                                                                                                              Franchisee
      hereby irrevocably appoints Franchisor asasFranchisee's attorney-in-fact
                                                               attomey-in-fact to  execute in
                                                                                 toexecute   inthe name ofand
                                                                                                            andon
                                                                                                                onbehalf
      of
      ofFranchisee
         Franchiseeany
                     anyand
                         andall  instrumentsnecessary
                             allinstruments   necessaryororappropriate
                                                            appropriatetototransfer
                                                                           transferanyanyor
                                                                                          orall
                                                                                            allsuch
                                                                                                 suchtelephone
                                                                                                      telephonenumbers
      and
      and listings to Franchisor,
                      Franchisor, if Franchisee fails to do so
                                                            so for any
                                                                   any reason.
                                                                       reason.

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IHOPOC305                                                                37
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               (d) The
              (d)  Thecovenants
                       covenants of
                                 ofFranchisee
                                    Franchisee contained
                                               containedin thisparagraph
                                                         inthis paragraph 16.02 shallsurvive
                                                                          16.02shall survive the
                                                                                             thetermination
                                                                                                 tennination of
                                                                                                             of
      this Agreement.
           Agreement.

               16.03 Entire Agreement.
               16.03 Entire A reement.

              This Agreement
              This  Agreement contains
                                  contains all
                                             all of
                                                 ofthe
                                                     theterms
                                                         terms and
                                                                 andconditions
                                                                      conditions agreed   upon by
                                                                                  agreedupon     bythe
                                                                                                     the parties
                                                                                                          parties hereto
                                                                                                                  hereto with
                                                                                                                          with
                tothe
      reference to the'specific           matter hereof,and
                       specific subject matter             andnonoother
                                                                    otheragreements
                                                                          agreements oral
                                                                                      oralor  otherwise shall
                                                                                            orotherwise    shall bedeemed
                                                                                                                be  deemedto to
      existor
      exist orto
              tobind
                 bindany
                       anyof
                           ofthe
                              theparties
                                   partieshereto
                                            heretoand
                                                    andall
                                                        allprior
                                                             priorand
                                                                  andcontemporaneous
                                                                        contemporaneous agreements,
                                                                                           agreements.understandings
                                                                                                          underetandingsandand
      representations are
      representations  aremerged
                           mergedherein
                                    hereinand
                                            andsuperseded
                                                 superseded hereby.
                                                               hereby. NoNoofficer  oremployee
                                                                            officeror enyloyee or oragent
                                                                                                      agentof
                                                                                                            ofFranchisor
                                                                                                               Franchisorhashas
      anyauthority
      any  authority to
                     to make
                        makeanyanyrepresentation
                                    representation or     promise not
                                                       orpromise    notcontained
                                                                         containedin        Agreement
                                                                                    m this Agreement or inany
                                                                                       this               or in  anyOffering
                                                                                                                     Offering
      Circularfor
      Circular forprospective
                   prospectivefranchisees
                                franchiseesrequired
                                               requiredbybyApplicable
                                                             ApplicableLaw,
                                                                          Law,and   Franchiseeagrees
                                                                                andFranchisee   agreesthat
                                                                                                         thathe
                                                                                                              hehas
                                                                                                                 hasexecuted
                                                                                                                     executed
      thisAgreement without
      this             withoutreliance
                               relianceupon
                                          uponany
                                                anysuch
                                                      suchrepresentation
                                                           representation or  promise.
                                                                            orpromise. Notwithstanding theforegoing,for
                                                                                         Notwithstanding    the foregoing,  for
      purposesof
      purposes  ofdefault,with
                           withrespect
                                  respecttotoany   otheragreements
                                             anyother    agreementsrelating     hereto,including
                                                                       relatinghereto,  includinganyanypurchase
                                                                                                        purchaseagreement,
                                                                                                                   agreement,
                  ofpurchase
      assignment of  purchaseagreement,
                                agreement, lease
                                              leaseororsublease
                                                        sublease for
                                                                   forthe
                                                                       theFranchised
                                                                           FranchisedLocation
                                                                                       Locationor orFranchised
                                                                                                      Franchised Restaurant,
                                                                                                                  Restaurant,
      anyequipment purchase
      any             purchaseagreement,
                                agreement,equipment
                                              equipmentleaseleaseorsublease,anysignlease,oranypurchase
                                                                 or  sublease, any sign lease, or any            contractsfor
                                                                                                       purchasecontracts    for
      equipment or
      equipment   or supplies
                     supplies which
                               which were
                                        were entered
                                                entered into
                                                         into prior   to, contemporaneously
                                                               prior to,  contemporaneously with,
                                                                                                with. or
                                                                                                       or subsequent
                                                                                                           subsequent toto  the
                                                                                                                            the
      EffectiveDate
      Effective Datebetween
                      betweenFranchisee
                               Franchiseeand andFranchisor
                                                  Franchisoror    itsAffiliate,or
                                                               orits            orbetween
                                                                                   betweenFranchisee
                                                                                            Franchiseeand     thirdparties,
                                                                                                          andthird  parties,or
                                                                                                                             or
      any franchise
      any  franchise fee
                      fee promissory
                          promissory Note,
                                        Note, any     material  default   thereof shall also  be  a
                                                 any material default thereof shall also be a material breach of
                                                                                                     material  breach  ofthis
                                                                                                                           this
                   ThisAgreement
      Agreement. This    Agreementcannot
                                      cannotbe bemodified
                                                  modifiedor  orchanged
                                                                changedexcept
                                                                           exceptby
                                                                                  bywritten
                                                                                     writteninstrument
                                                                                             instrumentexpressly
                                                                                                          expresslyreferring
                                                                                                                     referring
         thisAgreement,signed
      tothis
      to                  signedby    all of the  parties hereto.
                                   byall ofthepartieshereto.
               16.04
               16, 04 Severability.
                      Severabilit .

               Nothingcontained
               Nothing     contained in
                                      in this
                                          this Agreement
                                               Agreement shall
                                                             shall be
                                                                   beconstrued
                                                                       construed as
                                                                                  asrequiring
                                                                                     requiring thethe commission
                                                                                                        commission of  ofany
                                                                                                                         anyactact
      contraryto
      contrary  tolaw.
                    law." Whenever
                          Wheneverthereis anyconflictbetweenanyprovisions ofthisAgreement ortheOperations
                                      there is any conflict  between   any provisions   of  this Agreement     or the Operations
      Bulletins and
                  andany
                       anypresent ororfuture           law,ordinance,
                                       future statute,law,   ordinance, regulation,
                                                                         regulation, or
                                                                                     orjudicial
                                                                                         judicialdecision,
                                                                                                   decision, contrary
                                                                                                               contraiy to which
                                                                                                                        towhich
      the parties   have no
      the parties have     no legal
                              legal right
                                    right to
                                           to contract,
                                              contract, the
                                                         the latter
                                                             latter shall
                                                                    shall prevail,
                                                                          prevail, but
                                                                                   but inin such
                                                                                             such event
                                                                                                   event the
                                                                                                           the provision
                                                                                                                provision of
                                                                                                                           ofthis
                                                                                                                              this
      Agreement or  orthe
                       theOperations Bulletins    thusaffected
                                        Bulletins thus  affectedshall
                                                                 shallbe
                                                                       becurtailed
                                                                          curtailedand
                                                                                    andlimited     onlyto
                                                                                          limitedonly    tothe
                                                                                                            theextent
                                                                                                                extentnecessary
                                                                                                                       necessary
      to'bring
      to       itwithin
         bring it withinthetherequirements ofofthe
                                                thelaw.
                                                    law. In
                                                          Inthe
                                                             theevent
                                                                 eventthat
                                                                        thatany
                                                                            anypart,
                                                                                 part, Article,
                                                                                       Article, paragraph,
                                                                                                 paragraph, sentence
                                                                                                              sentenceororclause
                                                                                                                           clause
      ofthis
      of thisAgreement
             Agreementor    orthe
                              theOperations
                                  OperationsBulletins
                                               Bulletinsshall
                                                          shallbe
                                                               beheld
                                                                  heldtotobe
                                                                          beindefinite,
                                                                             indefinite,invalid
                                                                                          invalidor
                                                                                                  orotherwise
                                                                                                      otherwiseunenforceable,
                                                                                                                  unenforceable,
      the indefinite,
      the indefinite, invalid or or unenforceable
                                    unenforceable provision shall be   be deemed deleted,
                                                                                    deleted, and
                                                                                               and the
                                                                                                     the remaining
                                                                                                          remaining part
                                                                                                                      part of
                                                                                                                           of the
                                                                                                                               the
      Agreement shall
      Agreement      shallcontinue
                            continuein
                                     infull
                                         full force
                                              force and
                                                     andeffect,
                                                          effect, unless
                                                                  unless said
                                                                          saidprovision
                                                                                provision pertains
                                                                                            pertains toto the
                                                                                                           the payment   of  fees,
                                                                                                               payment offees,
      pursuant
      piu-suant toto Articles   V, VI
                      Articles V,       and VII
                                   VI and    VD hereof,
                                                 hereof, inin which
                                                              which case
                                                                      case this
                                                                            this Agreement
                                                                                 Agreement shall,
                                                                                                shall, at
                                                                                                        at Franchisor's
                                                                                                            Franchisor's option,
                                                                                                                          option,
      terminate.
      terminate.


               16.05   aiver And Delay.
               16. 05 Waiver     Delay.

              No waiverby
              No waiver   byFranchisor
                             Franchisorofofany
                                            anybreach
                                                breachororseries
                                                           seriesof  breachesor
                                                                  ofbreaches  ordefaults
                                                                                 defaultsin
                                                                                          inperformance
                                                                                             performancebybyFranchisee
                                                                                                              Franchisee
      andno
      and no failure, refusal  or neglect
                       refusal or neglect ofof Franchisor
                                               Franchisoreither
                                                            eitherto
                                                                   to exercise  anyright,
                                                                      exerciseany    right, power
                                                                                            poweroror option
                                                                                                      option given
                                                                                                              giventoto it
                                                                                                                         it
      hereunder or
      hereunder  or to
                    to insist
                        bsist upon
                              upon strict
                                    strict compliance with
                                                         with or
                                                               or performance
                                                                  perfomiance of of Franchisee's
                                                                                    Franchisee's obligations
                                                                                                 obligations under
                                                                                                               under this
                                                                                                                      this
      Agreement ororthe
                     theOperations Bulletins,
                                      Bulletins, shall
                                                 shallconstitute     waiverof
                                                       constitute aa waiver ofthe
                                                                               theprovisions
                                                                                   provisions of
                                                                                               ofthis
                                                                                                  thisAgreement
                                                                                                       Agreement ororthe
                                                                                                                       Ae
      Operations Bulletins with
                             with respect toto any
                                               any prior,
                                                    prior, concurrent
                                                           concurrent or
                                                                       or subsequent
                                                                          subsequent breach
                                                                                        breach thereof or a waiver by
                                                                                                thereof  or a waiver   by
      Franchisorof
      Franchisor ofits
                   itsrights
                       rightsat
                              atany
                                anytime
                                    timethereafter
                                          thereafterto
                                                     torequire
                                                       requireexact
                                                                exactand
                                                                      andstrict
                                                                          strictcompliance
                                                                                compliancewith
                                                                                             withthe
                                                                                                  theprovisions
                                                                                                      provisionsthereof.
                                                                                                                 thereof.
               16.06
               16.06 Survival
                     Survival Of
                              Of Covenants.
                                 Covenants.

               Thecovenants
               The covenantscontained
                               containedin
                                         inthis
                                            thisAgreement
                                                 Agreement which
                                                            whichbybytheir
                                                                      theirterms
                                                                           termsrequire
                                                                                 requireperformance
                                                                                        performanceby bythe
                                                                                                        theparties
                                                                                                            parties
      afterthe
      after theexpiration
                expiration or termination of
                           ortermination  ofthis
                                             thisAgreement shall
                                                             shallbe
                                                                  beenforceable
                                                                     enforceablenotwithstanding
                                                                                 notwithstanding said
                                                                                                 saidexpiration
                                                                                                      expirationor
                                                                                                                 or
      other
      other termination
             temiination of
                         ofthis
                            this Agreement for
                                             for any
                                                 any reason
                                                     reason whatsoever.
                                                            whatsoever.



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               16.07
               16.07 Successors And Assigns.
                      uccessors And Assi s.

              This Agreement shall
              This             shall be
                                     be binding
                                        bindmg upon
                                                upon and
                                                     and inure
                                                          inure to  the benefit
                                                                 to the benefit of
                                                                                ofthe
                                                                                   the successors  and assigns
                                                                                       successors and  assigns of
                                                                                                                of
      Franchisorand
      Franchisor andshall
                     shallbe
                          bebinding
                             bindingupon
                                      uponand
                                           andinure
                                               inureto
                                                    tothe benefitof
                                                       thebenefit  ofFranchisee   andits
                                                                      Franchiseeand  its or
                                                                                         ortheir
                                                                                            theirrespective
                                                                                                 respective heirs,
                                                                                                            heirs,
                administrators, successors
      executors,administrators, successorsand
                                           andassigns,subject
                                                       subjectto therestrictions on
                                                              tothe              onAssignment
                                                                                    Assignmentcontained
                                                                                                containedherein.
                                                                                                          herein.
               16.08 Joint And Several Liability.
               16.08                   Liabilit .

                IfFranchisee
               If Franchiseeconsists of
                                     ofmore
                                        morethan
                                             thanone  personor
                                                  oneperson orentity,
                                                               entity, or
                                                                       ora combination thereof,
                                                                                       thereof, the
                                                                                                theobligations and
                                                                                                               and
      liabilitiesof
      liabilities ofeach
                    eachsuch
                         suchperson
                              personororentity toFranchisor
                                        entityto Franchisorare
                                                            arejoint andseveral.
                                                               jointand   several.
               16.09 Oovemin Law.
               16.09 Governing Law.

              This Agreement shall
              This              shallbe
                                     bedeemed
                                         deemedexecuted
                                                  executedin m California,and this Agreement
                                                                          andthis  Agreement and
                                                                                              andthe
                                                                                                  thelegal
                                                                                                     legalrelations
                                                                                                           relations
      aoiongthe
      among  theparties
                  parties hereto
                          hereto shall
                                 shall be
                                       begoverned
                                           governed by   and  construed in
                                                      by and construed in accordance with the taws ofthe
                                                                           accordance  with the laws of thestate
                                                                                                            stateof
                                                                                                                  of
      California without giving
      California          giving effect
                                 effectto
                                        to conflict of
                                                    oflaws.
                                                       laws.

              16. 10 Counterparts.
              16.10  Counte arts.

             This Agreement may
             This                 beexecuted in
                              may be            Inany
                                                   any number
                                                       number of counterparts, each
                                                              ofcounterparts,  eachof
                                                                                    ofwhich
                                                                                       which shall
                                                                                             shall be
                                                                                                   bedeemed
                                                                                                      deemed to
                                                                                                             to
      bean
      be anoriginal
           originaland all of which together shall be deemed to be one and the same
                    andall ofwhichtogethershallbedeemedto beoneandthesameinstrument. instrument.
              16.11
              16. 11 Fees AndExpenses.
                     Fees And Ex nses.

              Should any
              Should   any party
                            party hereto
                                  hereto commence any any action
                                                           action or
                                                                   or proceeding
                                                                      proceeding for    the purpose
                                                                                   for the   purpose of
                                                                                                      of enforcing,
                                                                                                         enforcing, or
                                                                                                                     or
      preventing the
                  the breach     any provision hereof,
                      breach of, any             hereof, whether  by arbitration,
                                                         whether by  arbitration, judicial
                                                                                  judicial or
                                                                                            or quasi-judicial
                                                                                               quasi-judicial action
                                                                                                              action or
                                                                                                                     or
      otherwise,or
                 orfor
                    fordamages
                        damagesfor   anyalleged
                                 forany  allegedbreach
                                                  breachof
                                                         ofany  provision hereof,
                                                            anyprovision   hereof,or
                                                                                   orfor
                                                                                      foraa declaration
                                                                                            declaradonofofsuch
                                                                                                           suchparty's
                                                                                                                party's
      rights
      rights or
             or obligations hereunder,
                             hereunder, or
                                         or commence
                                             commence anysay appeal
                                                             appeal therefrom,
                                                                     therefrom, then
                                                                                  then the
                                                                                        the prevailing
                                                                                             prevailing party
                                                                                                        party shall
                                                                                                               shall be
                                                                                                                     be
      reimbursedby
      reimbursed  bythe
                     thelosing
                         losingparty
                               partyfor
                                     forall
                                        allcosts
                                            costsand
                                                 andexpenses
                                                     expensesincurred
                                                               incurredin
                                                                        m connection
                                                                          connectionherewith,
                                                                                       herewith,including
                                                                                                  includingreasonable
                                                                                                            reasonable
      attorneys'
      attorneys' fees
                 fees for theservices rendered
                      for the         rendered to
                                               tosuch
                                                  suchprevailing party.
                                                                 party.

              16. 12 Notices.
              16.12  Notices.

                           whichFranchisor
               All notices which Franchisor is
                                            is required
                                               required or
                                                        or may
                                                           maydesire
                                                                desire to
                                                                       to give
                                                                          giveto  Franchisee under
                                                                               to Franchisee underororin
                                                                                                       inconnection
                                                                                                         connection
      withthis
      with thisAgreement
                Agreementmaymaybebedelivered
                                   deliveredtotoFranchisee
                                                 Franchiseeorormay
                                                                maybe
                                                                    besent
                                                                        sentby
                                                                             bycertified
                                                                                certifiedor
                                                                                          orregistered
                                                                                            registeredmail,
                                                                                                       mail,postage
                                                                                                             postage
      prepaid,addressed
               addressedtotoFranchisee
                            Franchiseeat
                                       atthe
                                         theFranchised
                                             FranchisedLocation.
                                                         Location. All  noticeswhich
                                                                    All notices whichFranchisee
                                                                                       Franchiseeis
                                                                                                  isrequired
                                                                                                     requiredor
                                                                                                              ormay
                                                                                                                 may
      desireto
      desire togive
               givetotoFranchisor
                       Franchisorunder
                                  underor
                                       orin
                                          inconnection
                                             connectionwith
                                                         withthis
                                                              thisAgreement,
                                                                  Agreement,must
                                                                               mustbe
                                                                                    besent
                                                                                        sentby
                                                                                            bycertified
                                                                                               certifiedor
                                                                                                        orregistered
                                                                                                           registered
      mail,postage
            postageprepaid,addressed
                             addressedto
                                       toFranchisor
                                          Franchisorasasfollows:
                                                         follows:
                      General Counsel
                               Counsel
                      International
                      International House of Pancakes,
                                             Pancakes, Inc.
                                                       Inc.
                      450
                      450N.N. Brand
                               BrandBoulevard,7th
                                                7thFloor
                                                   Hoor
                      Glendale,
                      Glendale, California 91203-2306
                                           91203-2306

              Theaddresses
              The             hereingiven
                   addressesherein   givenfor
                                           fornotice
                                              nodcemay
                                                     maybe
                                                         bechanged
                                                            changedatatany
                                                                       anytime  byeither
                                                                           timeby  eitherparty
                                                                                           partyby
                                                                                                 bywritten
                                                                                                    writtennotice
                                                                                                           notice
      given
      givento
            to the otherparty
               the other  party as
                                as herein
                                   hereinprovided. Notices
                                                    Noticesshall bedeemed
                                                           shall be deemedeffective
                                                                            effective 55 days
                                                                                         days after
                                                                                              afterdeposit
                                                                                                    depositin
                                                                                                           in the
                                                                                                              the
      United States mails.
                    inails.




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              16. 13 Relationship
              16.13               OfFranchisee
                     Relationshi Of FranchiseeTo
                                               To Franchisor.
                                                  Franchisor.

               Itis
              It isexpressly agreed
                              agreedthat
                                      thatthe
                                            theparties
                                               partiesintend      this Agreement
                                                               bythis
                                                        intend by      Agreement to toestablish  between Franchisor
                                                                                       establish between  Franchisor and
                                                                                                                       and
                   the relationship of
      Franchisee the                of franchisor andand franchisee, and that
                                                         franchisee, and  that it
                                                                               it is
                                                                                  is not the intention of either
                                                                                     not the intention of  either party
                                                                                                                  party to
                                                                                                                         to
                    joint venture or
      undertake a joint            or to
                                      to make
                                         make Franchisee in     any sense
                                                             in any  sense an  agent, partner,
                                                                           an agent,   partner, employee
                                                                                                employee or    affiliate of
                                                                                                           or affiliate  of
                  orany
      Franchisor or  anyFranchisor Affiliate.
                                     Affiliate. It isfurther agreed
                                                Itis                thatFranchisee
                                                             agreedthat Franchisee hashasno
                                                                                         noauthority  tocreate
                                                                                            authority to createor
                                                                                                                orassume
                                                                                                                   assume
      inthe
      in thename
            nameof,or  oron
                          onbehalf
                             behalfof,
                                    of.Franchisor
                                        Franchisoror orany  FranchisorAffiliate
                                                        anyFranchisor   Affiliate any              express or implied, or
                                                                                       obligation. express
                                                                                  anyobligation,            or implied,  or
      toact
      to actor
            orpurport
               purporttotoact
                           actas
                              asthe
                                 theagent
                                    agentororrepresentative
                                              representative of
                                                              ofFranchisor  orany
                                                                 Franchisoror  anyFranchisor    Affiliate for
                                                                                     FranchisorAffiliate  forany  purpose
                                                                                                              anypurpose
      whatsoever.
      whatsoever.

              16.14
              16. 14 Gender And Construction.
                     Gender And Construcdon.

                          usedin
              All terms used   inany
                                  anyone
                                      onenumber or   orgender shall
                                                               shall extend
                                                                      extend toto mean
                                                                                  mean and
                                                                                         andinclude
                                                                                              include any   other number
                                                                                                       anyother    number and
                                                                                                                            and
      genderas
     gender  asthe
                thefacts,context,
                           context, orsenseofthisAgreement oranyArticle orSection hereofmayrequire. As
                                    or sense  of this Agreement   or any  Article  or Section   hereof  may  require.      used
                                                                                                                        Asused
      m this
     in thisAgreement,
             Agreement,the thewords
                               words"include,"
                                      "include, " "includes" or"including"
                                                  "includes"or   "including"are areused
                                                                                    usedininaa non-exclusive
                                                                                               non-exclusive sense.      Unless
                                                                                                                sense. Unless
      otherwiseexpressly
     otherwise   expressly provided
                             provided herein
                                        hereinto the contrary, any consent, approval or authorization ofFranchisor
                                               to  the contrary, any  consent,    approval  or   authorization  of   Franchisor
      whichFranchisee may
     which                maybeberequired totoobtain
                                               obtain hereunder may
                                                                 may be    given or
                                                                       begiven       withheld by
                                                                                  or withheld   byFranchisor
                                                                                                    Franchisor in
                                                                                                                inits
                                                                                                                    itssole
                                                                                                                       soleand
                                                                                                                            and
      absolute discretion, and
     absolute               andonon any
                                    anyoccasion     where Franchisor is required or peraiitted hereunder to makeany
                                         occasion where    Franchisor   is required   or permitted    hereunder   to  make  any
     judgment or or determination,   including any
                      detennination, including    any decision
                                                       decision as
                                                                 as to  whether any
                                                                     to whether     any condition
                                                                                         condition or or circumstance     meets
                                                                                                         circumstance meets
     Franchisor'sstandards
     Franchisor's    standardsor
                               or satisfaction,Franchisor
                                                 Franchisormay
                                                             maydo dososoinin its
                                                                              its sole
                                                                                   solesubjective
                                                                                        subjectivejudgment.       Sectionand
                                                                                                     judgment. Section      and
     paragraphtitles
     paragraph   titlesused
                        usedin
                             inthis
                               thisAgreement
                                    Agreementare arefor convenienceonly
                                                     forconvenience   onlyand    shall not be  deemed   to affect
                                                                            andshallnotbedeemedtoaffecttfaemeaningthe  meaning
      ofany
     of anyofofthe
                theterms, provisions,
                            provisions, covenants
                                         covenants ororconditions
                                                        conditions of
                                                                    ofthis  Agreement.
                                                                       this Agreement.
               16.15
               16. 15 Payments.
                      Payments.

               All payments required hereunder,
                                     hereunder, shall bepaid
                                                shall be paidin United States
                                                             in United States Dollars.
                                                                              Dollars.
               16.16
               16. 16 Non-Solicitation.
                      Non-SoIicitation.

                During the
                During  the Term
                            Term of  this Agreement and
                                  ofthis               andfor
                                                            for 11 year
                                                                   year following
                                                                        following the
                                                                                    the expiration
                                                                                        expiration or
                                                                                                   ortermination
                                                                                                      terminadon and
                                                                                                                   andeach
                                                                                                                       each
                    Franchiseeshall
      Assignment,Franchisee      shallnot,
                                      not, without   theprior
                                            without the         written consent
                                                         priorwritten     consentof
                                                                                  ofFranchisor,
                                                                                     Franchisor, directly
                                                                                                  directlyor
                                                                                                           orindirectly:
                                                                                                              mdirectly:(a)
                                                                                                                         (a)
      employ or
      employ   or attempt
                   attempt to
                            to employ
                               einploy any
                                         any person
                                              person who
                                                      who at at that
                                                                that time
                                                                      time is
                                                                            is employed
                                                                               employed by by Franchisor,
                                                                                               Franchisor, an   Affiliate of
                                                                                                            an Affiliate  of
      Franchisor,ororany
                      anyother
                          otherFranchisee
                               Franchiseeor orarea
                                               areadeveloper
                                                   developerof ofFranchisor,
                                                                   Franchisor,including,   withoutlimitation,
                                                                                including, without limitation, any manager
                                                                                                               anymanager
      orassistant
      or assistantmanager;(b)(b)employ
                                 employor orattempt
                                             attemptto
                                                     toemploy
                                                        employany anyperson
                                                                       personwho
                                                                               whowithin
                                                                                    withinsix
                                                                                           six(6)
                                                                                               (6)months
                                                                                                  monthsprior
                                                                                                           priorthereto had
                                                                                                                 theretohad
      been employed by
      been              by Franchisor,
                            Franchisor, anan Affiliate of
                                                        of Franchisor,
                                                           Franchisor, or     any other
                                                                           or any other Franchisee
                                                                                         Franchisee oror area
                                                                                                         area developer
                                                                                                              developer ofof
                   or(c)
      Franchisor; or  (c)induce
                          induceor
                                 orattempt
                                    attemptto toinduce
                                                induceany
                                                        anyperson
                                                             personto    leavehis
                                                                      toleave  hisor
                                                                                   orher
                                                                                      heremployment     with Franchisor,
                                                                                          employment with    Franchisor,anan
      Affiliate of
      Affiliate ofFranchisor,   or any
                   Franchisor, or  anyfranchisee
                                       firanchisee or  areadeveloper of
                                                    orarea               ofFranchisor.
                                                                            Franchisor.

                                                        XVD
                                                        XVII
                                              SUBMISSION
                                              SUBMISSIONOF
                                                         OF AGREEMENT
                                                            AGREEMENT

               17.01
               17.01 General.
                     General.

              Thesubmission
              The  submissionof
                              ofthis
                                this Agreement
                                     Agreementdoes
                                                doesnot
                                                    notconstitute
                                                        constitute an
                                                                   anoffer,
                                                                      offer, and
                                                                             andthis  Agreement shall
                                                                                 this Agreement       become
                                                                                                shall become
      effectiveonly
      effective onlyupon
                    uponthe
                         theexecution
                            executionthereof byFranchisor
                                      thereofby Franchisorand
                                                          andFranchisee.
                                                              Franchisee. THIS   AGREEMENT SHALL
                                                                          THISAGREEMENT         SHALLNOTNOT
      BE BINDING
      BE  BINDINGON  ONFRANCHISOR
                         FRANCfflSORUNLESS
                                         UNLESSANDAND UNTIL
                                                        UNTILITIT SHALL
                                                                   SHALLHAVEHAVEBEENBEEN ACCEPTED
                                                                                           ACCEPTEDAND
      SIGNED BY
      SIGNED     BY AN
                     AN AUTHORIZED OFFICER
                                         OFHCER OF OF FRANCHISOR.
                                                       FRANCHISOR. THIS  THIS AGREEMENT SHALL  SHALL NOTNOT
      BECOME     EFFECTIVEUNTIL
      BECOME EFFECTIVE       UNTILANDANDUNLESS
                                          UNLESSFRANCHISEE
                                                   FRANCfflSEE SHALL
                                                                  SHALLHAVE RECEIVED
                                                                                  RECEIVEDAA FRANCHISE
                                                                                               FRANCfflSE




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      OFFERING
      01          CIRCULAR IN
        ,1-1JRING CIRCULAR IN SUCH
                              SUCH FORM
                                   FORM AND
                                        AND MANNER AS MAY
                                            MANNER AS MAY BE
                                                          BE REQUIRED
                                                             REQUKED UNDER
                                                                      UNDER OR
                                                                            OR
      PURSUANTTO
      PURSUANT       APPUCABLELAW.
                  TOAPPLICABLE  LAW.

               INWITNESS
              IN WTTNESSWHEREOF,
                            WHEREOF,Franchisor     andFranchisee have
                                         Franchisorand                causedthis
                                                                 havecaused this Agreement to
                                                                                           to be
                                                                                              beexecuted as
                                                                                                         as
       of theday
       ofthe     andyear
             dayand      firstabove
                    yearfirst above written.
                                    written.

                                                    FRANCHISOR:
                                                    INTERNATIONAL HOUSE
                                                    INTERNATIONAL     HOUSE OF
                                                                            OFPANCAKES,
                                                                               PANCAKES. INC.,
                                                                                         INC.,
                                                    a Delaware
                                                      Delawarecorporation


                                                    By:
                                                    By:
                                                              1C and C.
                                                            Ric        Cello
                                                                      -CO

                                                    Its:         President-- Franchise
                                                            VicePresident
                                                            Vice             Franchise& DevclqmieDt
                                                                                        Development

                                                    B,fYV\. o^J>^-
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